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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

WSOU INVESTMENTS, LLC d/b/a BRAZOS
LICENSING AND DEVELOPMENT,
                       Plaintiff,
                                           C.A. No. 20-1228-CFC-JLH
           v.                              (Consolidated)
XILINX, INC.,
                       Defendant.


        DEFENDANT XILINX, INC.’S INITIAL INVALIDITY CONTENTIONS
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 I.     INTRODUCTION

        Pursuant to Paragraph 7(d) of this Court’s Scheduling Order (Doc. 63), Defendant Xilinx,

 Inc. (“Xilinx”) hereby serves its Initial Invalidity Contentions and accompanying document

 production on Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development

 (“WSOU”). These Initial Invalidity Contentions address the following patents (“asserted

 patents”) and their patent claims (“asserted claims”), as asserted by WSOU in its October 27,

 2021 Initial Claims Chart (“Infringement Contentions”) and the amendments to WSOU’s

 Infringement Contentions provided on November 8, 2021:

                U.S. Patent No. 6,784,653: claims 1 and 7.

                U.S. Patent No. 7,068,950: claims 1 and 17.

                U.S. Patent No. 7,613,938: claim 13.

                U.S. Patent No. 7,903,971: claims 1 and 15.

                U.S. Patent No. 9,312,838: claim 1.

 Xilinx reserves the right to amend and supplement these Initial Invalidity Contentions to the full

 extent allowed by the Court’s Scheduling Order and following the Court’s Claim Construction

 Order, including to produce final invalidity contentions and any supplementation of invalidity

 references under Paragraph 7(f) and the schedule of the Scheduling Order. This may include

 disclosing or charting additional prior art references or combinations of references. This also

 may include providing additional obviousness combinations and motivations to combine the

 prior art, or further explaining those combinations and motivations to combine. And, this may

 include providing additional contentions regarding lack of enablement, lack of written

 description, indefiniteness, and unpatentable subject matter.

        Xilinx’s Initial Invalidity Contentions do not constitute an admission that any of the

 accused products infringe the asserted claims literally or under the doctrine of equivalents.

 Unless otherwise stated, Xilinx has relied on the claim constructions of the asserted claims that

 WSOU has adopted in its Infringement Contentions. Such reliance should not be taken to mean

 that Xilinx adopts or agrees with WSOU’s apparent constructions. Xilinx reserves its right to


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 contest WSOU’s apparent constructions, and to otherwise present Xilinx’s own proposed claim

 constructions for each of the asserted patents and their asserted claims under Paragraphs 11–13

 of the Court’s Scheduling Order.

        Xilinx’s Initial Invalidity Contentions are based, in part, on the apparent claim

 constructions presented by WSOU’s Infringement Contentions. However, those contentions

 suffer from a number of deficiencies. Xilinx has raised these deficiencies in its November 11,

 2021 Letter from J. Smith to H. Stern (“ICs Deficiencies Letter”). To date, WSOU has not

 provided any substantive response to Xilinx’s ICs Deficiencies Letter regarding WSOU’s

 failures to provide sufficient notice of WSOU’s infringement theories. Due to the deficiencies

 with WSOU’s Infringement Contentions, Xilinx reserves the right to amend and supplement

 these Initial Invalidity Contentions, including in the event that WSOU provides additional claim

 charts for Xilinx’s accused products or presents additional, apparent claim constructions for the

 asserted claims. Xilinx also reserves the right to amend and supplement these Initial Invalidity

 Contentions if WSOU in any way amends or supplements its Infringement Contentions.

        Xilinx’s Initial Invalidity Contentions are made in the alternative, and they should not be

 interpreted or relied upon, or in any way affect, the noninfringement arguments Xilinx intends to

 assert in this case. Xilinx does not infringe any of the asserted patents or their asserted claims.

 To the extent that Xilinx raises prior art versions of its accused products or their accused features

 and components, Xilinx’s doing so is not an admission that its accused products infringe any of

 the asserted claims. Instead, Xilinx has done so under the “century-old axiom of patent law that

 a product ‘which would literally infringe if later in time anticipates if earlier.’” Upsher-Smith

 Labs., Inc. v. Pamlab, L.L.C., 412 F.3d 1319, 1322 (Fed. Cir. 2005) (citations omitted); accord

 Peters v. Active Mfg. Co. 129 U.S. 530, 537(1889) (“That which infringes, if later, would

 anticipate, if earlier.”). Accordingly, to the extent that the allegedly-infringing features and

 components accused by WSOU are in prior art versions of the Xilinx products, then the asserted

 claims are anticipated, and the claims also may be obvious as a result.

        Xilinx’s Initial Invalidity Contentions, including the appended claim charts, include


                                                 -2-                       Xilinx’s Invalidity Contentions
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 citations to representative and exemplary disclosures in the prior art identifying where and how

 each limitation of the asserted claims is found in the prior art. These citations provide notice

 regarding Xilinx’s invalidity contentions and where and how the limitations are found in the

 prior art, as well as why it would have been obvious to combine the prior art. Accordingly,

 Xilinx may not cite every disclosure of a limitation in the prior art, and its explanations regarding

 motivations to combine the prior art rely upon representative and exemplary citations and

 explanation. Xilinx reserves the right to rely on additional and similar disclosures within the

 prior art references related to the cited disclosures, as well as to provide further explanation

 regarding motivations to combine the prior art. Xilinx also reserves the right to rely upon expert

 testimony and evidence in support of its invalidity contentions. Xilinx further reserves the right

 to rely on additional, similar, or other disclosures that may become applicable in light of any

 claim constructions, changes in WSOU’s infringement theories, and information obtained during

 discovery.

        Where Xilinx cites to a particular figure in a prior art reference, the citation should be

 understood to encompass the caption and description of the figure and vice versa. Where Xilinx

 cites and relies on a patent or patent publication, Xilinx necessarily cites, relies on, and

 incorporates by reference as additional prior art foreign and domestic priority applications,

 publications, and patents cited in the identified patent or patent publication. The cited patents

 and patent publications are intended to be representative of related patents and publications (e.g.,

 divisionals, continuations, continuations-in-part, parents, children, and other relationships and

 claims of priority). The cited patents and patent publications are also intended to be

 representative of counterparts in other jurisdictions, and other patents and publications that they

 incorporate (or are incorporated in) by reference. Xilinx reserves the right to rely on uncited

 portions of the prior art references, and on other evidence, including expert testimony, to explain

 the disclosures in the prior art references, as evidence of the state of the art, and as evidence that

 the asserted claims would have been obvious in view of the prior art references.

        Xilinx incorporates in full all prior art references, and other admitted prior art, cited and


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 described in the asserted patents, the references incorporated by reference in those references,

 and the prosecution history of each asserted patent.

        In the Initial Invalidity Contentions, reference to “a person of ordinary skill in the art,” or

 any other similar term, refers to a person having ordinary skill in the art at the time of the alleged

 invention as set forth in 35 U.S.C. § 103 for the particular asserted patent being discussed.

        The prior art references identified in Xilinx’s Initial Invalidity Contentions may disclose

 the elements of the relevant asserted claim(s) explicitly or inherently. In certain instances,

 obviousness based on a single reference or a combination of references may be asserted in the

 alternative to anticipation. By disclosing obviousness as an alternative to anticipation, Xilinx

 does not concede that the anticipatory reference is not in fact anticipatory. Further, Xilinx may

 assert that a reference both anticipates an asserted claim, as well as renders obvious the asserted

 claim in combination with another prior art reference or when viewed and understood with the

 knowledge of a person of ordinary skill in the art.

        In certain instances, Xilinx has disclosed and charted as invalidating certain prior art

 patents and printed publications. Xilinx also asserts that any and all prior art products,

 apparatuses, systems, methods, and tangible things that reduce to practice or embody the matters

 disclosed by the charted prior art patents and printed publications also anticipate or render

 obvious the asserted claims. Xilinx’s discovery into the prior art is ongoing. Xilinx reserves the

 right to further identify any specific prior art products, apparatuses, systems, methods, and

 tangible things that practice or embody the prior art and that qualifies as prior art under

 35 U.S.C. § 102 due to prior manufacture, use, sale, offer for sale, or importation.

        WSOU has not provided any validity contentions or otherwise explained why the asserted

 claims are not invalid for the reasons discussed in these Initial Invalidity Contentions. For

 example, WSOU has not yet identified which limitations it asserts are not found in the prior art,

 or why it asserts that it would not have been obvious to combine certain prior art. WSOU also

 has not provided any validity contentions regarding enablement, written description,

 definiteness, or patentable subject matter. WSOU also has not provided any expert report on the


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 issue of validity or responding to these Initial Invalidity Contentions. Xilinx reserves the right to

 amend and supplement these contentions based upon any validity contentions or other related

 evidence or assertions provided by WSOU later in fact or expert discovery. This may include,

 but is not limited to, identifying additional prior art, further explaining how and why the claim

 limitations are found in the prior art, further explaining how and why it would have been obvious

 to combine the prior art, and presenting additional information and evidence regarding persons of

 ordinary skill in the art and their knowledge and understanding.

        Xilinx reserves the right to present expert evidence and testimony in further support of

 these Invalidity Contentions and to otherwise demonstrate that the asserted claims are invalid.

        Xilinx’s Initial Invalidity Contentions are based on information currently available to

 Xilinx. Xilinx’s investigation and analysis is ongoing, and Xilinx may amend these Initial

 Invalidity Contentions as it obtains further information and discovery, including both fact and

 expert discovery.

 II.    U.S. PATENT NO. 6,784,653

        A.      Identification Of Prior Art

        Xilinx identifies the following prior art that anticipates or renders obvious asserted claims

 1 and 7 of U.S. Patent No. 6,784,653 (“the ’653 patent”):

                                  Patents and Patent Publications

  Patent or Publication No.                               Country Date of Publication or

                                                                      Issue

  EP1143654A2 (“Waschura ’654”)                           EP          October 10, 2001

  U.S. Patent No. 5,373,400 (“Kovacs”)                    USA         December 13, 1994

  U.S. Patent No. 5,333,147 (“Nohara”)                    USA         July 26, 1994

  U.S. Patent No. 6,728,311 (“Waschura”)                  USA         April 27, 2004 (filed April 4,

                                                                      2000)

  U.S. Patent No. 4,823,360 (“Tremblay”)                  USA         April 18, 1989

  U.S. Patent No. 5,220,581 (“Ferriaolo”)                 USA         June 15, 1993


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  U.S. Patent No. 6,433,899 (“Anslow”)             USA   August 13, 2002 (filed

                                                         December 15, 1998)

  U.S. Patent No. 4,376,309 (“Fenderson”)          USA   March 8, 1983

  U.S. Patent No. 5,774,242 (“O’Sullivan”)         USA   June 30, 1998

  U.S. Patent No. 6,188,737 (“Bruce”)              USA   February 13, 2001 (filed

                                                         November 24, 1999)

  U.S. Patent No. 5,502,746 (“Ozguc”)              USA   March 26, 1996

  U.S. Patent No. 4,837,642 (“Smidth”)             USA   June 6, 1989

  U.S. Patent No. 4,381,546 (“Armstrong”)          USA   April 26, 1983

  U.S. Patent No. 4,449,223 (“Liskov”)             USA   May 15, 1984

  U.S. Patent No. 4,475,210 (“Couch”)              USA   October 2, 1984

  U.S. Patent No. 4,847,874 (“Kroeger”)            USA   July 11, 1989

  U.S. Patent No. 5,736,875 (“Sakamoto”)           USA   June 10, 1997

  U.S. Patent No. 6,278,391 (“Walker”)             USA   August 21, 2001 (filed

                                                         September 14, 2000)

  U.S. Patent No. 6,282,592 (“Aston”)              USA   August 8, 2001 (filed

                                                         December 14, 1998)

  U.S. Patent Pub. No. 2002/060820 (“Oliver”)      USA   May 23, 2002 (filed October

                                                         16 2001)

  EP1282256A1 (“Baumert”)                          EP    August 1, 2001

  GB2352597 (“Sugawara”)                           GB    September 11, 2002 (filed

                                                         June 6, 2000)

  U.S. Patent No. 5,001,367 (“Vinal ’367”)         USA   March 19, 1991

  U.S. Patent No. 5,391,949 (“Vinal ’949”)         USA   February 21, 1995

  U.S. Patent No. 6,463,108 (“Shakiba”)            USA   October 8, 2002 (filed April

                                                         3, 1998)



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   U.S. Patent No. 6,643,346 (“Pedrotti”)                    USA         November 4, 2003 (filed

                                                                         February 23, 1999)

   U.S. Patent No. 4,825,452 (“Wong”)                        USA         April 25, 1989

   U.S. Patent No. 5,138,633 (“Cortese”)                     USA         August 11, 1992

   U.S. Patent No. 5,202,902 (“Isard”)                       USA         April 13, 1993

   U.S. Patent No. 6,275,959 (“Ransijn”)                     USA         August 14, 2001

   U.S. Patent No. 5,889,802 (“Walker ‘802”)                 USA         March 30, 1999



                                       Other Printed Publications

   Title                                             Author and Publisher        Date of Publication

   A 10Gb/s Eye Opening Monitor IC for               Tobias Ellermeyer           2000

   Decision-Guided Optimization of the

   Frequency Response of an Optical Receiver

   Adaptation of an Electronic PMD Mitigation H. Bulow and W.                    2000

   By Maximization of the Eye Opening                Baumert

   Fast Eye Monitor for 10Gb/s and its               H. Bulow and W.             2000

   Application for Optical PMD Compensation          Baumert

   Understanding Eye-Pattern Analysis_               Clark Foley                 May 1996

   Evaluation Engineering

   The IEEE 1355 Standard: Developments,             Stefan Haas                 December 1998

   Performance and Application in High

   Energy Physics

           B.     Anticipation And Obviousness Grounds

           Xilinx asserts that the following prior art anticipates the indicated asserted claims:




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   Prior Art                                          Asserted Claim(s) Anticipated

   Waschura                                           1, 7

   Tremblay                                           1, 7

   Bruce                                              1, 7

   Anslow                                             1, 7

   Nohara                                             1, 7

   Pedrotti                                           1, 7

   Ferraiolo                                          1, 7

   Smidth                                             1, 7

           Xilinx asserts that the following prior art renders obvious the indicated asserted claims

  for the reasons provided:

   Prior Art                                          Asserted Claim(s) Rendered Obvious

   Waschura                                           1, 7

   Tremblay                                           1, 7

   Bruce                                              1, 7

   Fenderson                                          1, 7

   Anslow                                             1, 7

   Nohara                                             1, 7

   Pedrotti                                           1, 7

   Ferraiolo                                          1, 7

   Smidth                                             1, 7

   Waschura in view of Tremblay                       1, 7

   Waschura in view of Anslow                         1, 7

   Waschura in view of Nohara                         1, 7

   Waschura in view of Ferraiolo                      1, 7

   Waschura in view of Fenderson                      1, 7


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   Waschura in view of Bruce                         1, 7

   Waschura in view of Smidth                        1, 7

   Tremblay in view of Nohara                        1, 7

   Tremblay in view of Ferraiolo                     1, 7

   Tremblay in view of Fenderson                     1, 7

   Tremblay in view of Bruce                         1, 7

   Tremblay in view of Pedrotti                      1, 7

   Tremblay in view of Smdith                        1, 7

   Tremblay in view of Anslow                        1, 7

   Nohara in view of Fenderson                       1, 7

   Nohara in view of Bruce                           1, 7

   Bruce in view of Ferraiolo                        1, 7

   Anslow in view of Smidth                          1, 7

   Anslow in view of Pedrotti                        1, 7

   Anslow in view of Fenderson                       1, 7

   Anslow in view of Ferraiolo                       1, 7

   Anslow in view of Bruce                           1, 7

   Anslow in view of Nohara                          1, 7

         Tremblay:
         In addition to anticipating asserted claims 1 and 7, Tremblay also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be




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  insubstantial.

         Waschura:

         In addition to anticipating asserted claims 1 and 7, Waschura also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Nohara:

         In addition to anticipating asserted claims 1 and 7, Nohara renders those claims obvious

  based on its disclosures, its express teachings, suggestions, and motivations to combine its

  disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that WSOU

  alleges that any limitation is not anticipated by this reference, such a limitation would be obvious

  based on the teachings in the reference and the knowledge of a person of ordinary skill in the art,

  and any differences between the reference and such a limitation would be insubstantial.

         Anslow:

         In addition to anticipating asserted claims 1 and 7, Anslow also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Bruce:

         In addition to anticipating asserted claims 1 and 7, Bruce also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine


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  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Ferraiolo:

         In addition to anticipating asserted claims 1 and 7, Ferraiolo also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Pedrotti:

         In addition to anticipating asserted claims 1 and 7, Pedrotti also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Smidth:

         In addition to anticipating asserted claims 1 and 7, Smidth also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill


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  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Fenderson:

         Fenderson renders claims 1 and 7 obvious based on its disclosures, its express teachings,

  suggestions, and motivations to combine its disclosures, and the knowledge of a person of

  ordinary skill in the art. To the extent that WSOU alleges that any limitation is not anticipated

  by this reference, such a limitation would be obvious based on the teachings in the reference and

  the knowledge of a person of ordinary skill in the art, and any differences between the reference

  and such a limitation would be insubstantial.

         Waschura in view of Tremblay:

         A person of ordinary skill in the art would have been motivated to combine Waschura

  and Tremblay to obtain well-known, expected benefits to Waschura, and would have had a

  reasonable expectation of success in making this combination. For example, Tremblay provides

  the benefit of utilizing a performance monitor for generating an adaptive threshold level for

  binary data regeneration. Tremblay, 3:47–68, Figs. 1, 3. Tremblay further teaches that a

  difference integrator could be utilized in combination with a performance monitor for error

  counting. Id. 4:18–34, Figs. 1, 3. Waschura can then apply these benefits to its design of an

  apparatus and method for eye diagram construction in order to adjust when errors are counted at

  an eye monitor.

         There are many similarities between Waschura and Tremblay. For example, they both

  are related to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provide methods and apparatus for monitoring error rates due to reduced transmission quality.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device




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  ready for improvement to yield predictable results.

         Waschura in view of Anslow:

         A person of ordinary skill in the art would have been motivated to combine Waschura

  and Anslow to obtain well-known, expected benefits to Waschura, and would have had a

  reasonable expectation of success in making this combination. For example, Anslow provides

  the benefit of comparing an average voltage to a threshold voltage to generate an diagram.

  Anslow, 2:19–30, Fig. 1. Anslow further teaches that a pseudo-error counting with the eye

  diagram wherein the same number of errors are counted above as counted below the average

  voltage, when measuring near the middle of the eye. Id. Waschura can then apply these benefits

  to its design of an apparatus and method for eye diagram construction in order to measure the

  quality of an optical signal such that the cause of error noise or distortion can be identified from

  the eye monitor.

         There are many similarities between Waschura and Anslow. For example, they both are

  relate to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provides methods and apparatus for updating a variable voltage threshold for generation of the

  eye diagram.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Waschura in view of Nohara:

         A person of ordinary skill in the art would have been motivated to combine Waschura

  and Tremblay to obtain well-known, expected benefits to Waschura, and would have had a

  reasonable expectation of success in making this combination. For example, Nohara provides

  the benefit of generating a digital eye diagram which may be utilized in combination with a

  complex integrator. Nohara, 5:40–63, Figs. 3, 7. Nohara further teaches that a complex

  integrator could be utilized in combination with an eye diagram for counting pseudo error rates.


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  Id. Waschura can then apply these benefits to its design of an apparatus and method for eye

  diagram construction in order to generate a digital eye diagram for edge monitoring or counting

  errors at circuit voltage and time measurements of an eye diagram.

          There are many similarities between Waschura and Nohara. For example, they both are

  related to generation of eye diagrams for evaluation of digital channel conditions. Moreover,

  they both reference optical transmission systems or otherwise cite to publications that relate to

  optical fibers.

          The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

          Waschura in view of Ferraiolo:

          A person of ordinary skill in the art would have been motivated to combine Waschura

  and Ferraiolo to obtain well-known, expected benefits to Waschura, and would have had a

  reasonable expectation of success in making this combination. For example, Ferraiolo provides

  the benefit utilizing a variable threshold level and counting the number of positive edge

  measurements above and below the threshold. See, Ferraiolo, 5:61–6:63, Figs. 3, 4. These counts

  are used to generate an understanding of the eyes horizontal shrinkage for the input signal. Id.

  Waschura can then apply these benefits to its design of an apparatus and method for eye diagram

  construction in order to adjust when errors are counted at an eye monitor.

          There are many similarities between Waschura and Ferraiolo. For example, they both are

  related to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provide methods and apparatus for monitoring error rates due to reduced transmission quality.

          The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device




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  ready for improvement to yield predictable results.

         Waschura in view of Fenderson:

         A person of ordinary skill in the art would have been motivated to combine Waschura

  and Fenderson to obtain well-known, expected benefits to Waschura, and would have had a

  reasonable expectation of success in making this combination. For example, Fenderson provides

  the benefit of generating an error signal based on multiple sampling times. Fenderson, 4:15–25,

  Figs. 1–2, 6. Fenderson further teaches that a difference integrator could be utilized in

  combination with a performance detection circuit for error counting. Id. 3:42–59, Figs. 1–2, 6.

  Waschura can then apply these benefits to its design of an apparatus and method for eye diagram

  construction in order to adjust when errors are counted at an eye monitor.

         There are many similarities between Waschura and Fenderson. For example, they both

  are related to generation of eye diagrams for evaluation of digital transmission systems.

  Moreover, they both provides methods and apparatus for monitoring error rates due to reduced

  transmission quality.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Waschura in view of Bruce:

         A person of ordinary skill in the art would have been motivated to combine Waschura

  and Bruce to obtain well-known, expected benefits to Waschura, and would have had a

  reasonable expectation of success in making this combination. For example, Bruce provides the

  benefit of utilizing a “pseudo channel” at upper and lower levels to generate pseudo-errors for

  binary data regeneration. Bruce, 7:36–8:23, Figs. 2, 4. Bruce further teaches that an integrator

  could be utilized in combination with the “pseudo channel” for pseudo-error counting. Id.

  Waschura can then apply these benefits to its design of an apparatus and method for eye diagram




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  construction in order to adjust when errors are counted at an eye monitor.

         There are many similarities between Waschura and Bruce. For example, they both are

  related to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provides methods and apparatus for monitoring error rates due to reduced transmission quality.

  Both utilize comparators in combination with flip-flops, wherein the comparator compares the

  input signal to a variable threshold.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Waschura in view of Smidth:

         A person of ordinary skill in the art would have been motivated to combine Waschura

  and Tremblay to obtain well-known, expected benefits to Waschura, and would have had a

  reasonable expectation of success in making this combination. For example, Smidth provides

  the benefit of a tracking system for threshold levels to distinguish between binary ones and

  zeroes. Smidth, 2:57–3:3, Figs. 1-2. Waschura can then apply these benefits to its design of an

  apparatus and method for eye diagram construction in order to track voltage thresholds for

  accurate error detection at an eye monitor.

         There are many similarities between Waschura and Smidth. For example, they both are

  relate eye pattern diagrams and generation of eye diagrams to evaluate signal quality. Moreover,

  they both provide methods and apparatus for monitoring error rates due to reduced transmission

  quality. Both utilize comparators in combination with flip-flops, wherein the comparator

  compares the input signal to a variable threshold.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device




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  ready for improvement to yield predictable results.

         Tremblay in view of Nohara:

         A person of ordinary skill in the art would have been motivated to combine Tremblay and

  Nohara to obtain well-known, expected benefits to Tremblay, and would have had a reasonable

  expectation of success in making this combination. For example, Nohara provides the benefit of

  generating a digital eye diagram which may be utilized in combination with a complex

  integrator. Nohara, 5:40–63, Figs. 3, 7. Nohara further teaches that a complex integrator could

  be utilized in combination with an eye diagram for counting pseudo error rates. Id. Tremblay

  can then apply these benefits to improve its design of utilizing an adaptive threshold for eye

  monitoring in coordination with Nohara’s digital eye diagram and complex integrator.

         There are many similarities between Tremblay and Nohara. For example, they both are

  related to generation of eye diagrams for evaluation of digital channel conditions. Moreover,

  they both reference optical transmission systems for monitoring to optical fibers.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Tremblay in view of Ferraiolo:

         A person of ordinary skill in the art would have been motivated to combine Tremblay and

  Ferraiolo to obtain well-known, expected benefits to Tremblay, and would have had a reasonable

  expectation of success in making this combination. For example, Ferraiolo provides the benefit

  utilizing a variable threshold level and counting the number of positive edge measurements

  above and below the threshold. See, Ferraiolo, 5:61-6:63, Figs. 3-4. These counts are used to

  generate an understanding of the eyes horizontal shrinkage for the input signal. Id. Tremblay

  further teaches that a difference integrator could be utilized in combination with a performance

  monitor for error counting. Id. 4:18–34, Figs. 1, 3. Tremblay can then apply these benefits to

  improve its design of utilizing an adaptive threshold for monitoring the eyes vertical shrinkage in


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  coordination with Ferraiolo’s count to understand the horizontal shrinkage of the digital eye.

         There are many similarities between Tremblay and Ferraiolo. For example, they both are

  related to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provide methods and apparatus for monitoring transmission quality.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Tremblay in view of Fenderson:

         A person of ordinary skill in the art would have been motivated to combine Tremblay and

  Fenderson to obtain well-known, expected benefits to Tremblay, and would have had a

  reasonable expectation of success in making this combination. For example, Fenderson provides

  the benefit of generating an error signal based on multiple sampling times. Fenderson, 4:15–25,

  Figs. 1–2, 6. Fenderson further teaches that a difference integrator could be utilized in

  combination with a performance detection circuit for error counting. Id. 3:42-59, Figs. 1–2, 6.

  Tremblay can then apply these benefits to its design of a variable threshold for monitoring the

  vertical length of the signal eye by utilizing a difference integrator for error regeneration.

         There are many similarities between Tremblay and Fenderson. For example, they both

  are related to generation of eye diagrams for evaluation of digital transmission systems.

  Moreover, they both provides methods and apparatus for monitoring error rates due to reduced

  transmission quality.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Tremblay in view of Bruce:

         A person of ordinary skill in the art would have been motivated to combine Tremblay and


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  Bruce to obtain well-known, expected benefits to Tremblay, and would have had a reasonable

  expectation of success in making this combination. For example, Bruce provides the benefit of

  utilizing a “pseudo channel” at upper and lower levels to generate pseudo-errors for binary data

  regeneration. Bruce, 7:36-8:23, Figs. 2, 4. Bruce further teaches that an integrator could be

  utilized in combination with the “pseudo channel” for pseudo-error counting. Id. Tremblay can

  then apply these benefits to its design of a variable threshold for monitoring the vertical length of

  the signal eye by utilizing the pseudo channels for pseudo error counting as described in Bruce.

          There are many similarities between Tremblay and Bruce. For example, they both are

  related to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provides methods and apparatus for monitoring error rates due to reduced transmission quality.

  Both utilize comparators in combination with flip-flops, wherein the comparator compares the

  input signal to a variable threshold.

          The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

          Tremblay in view of Pedrotti:

          A person of ordinary skill in the art would have been motivated to combine Tremblay and

  Pedrotti to obtain well-known, expected benefits to Tremblay, and would have had a reasonable

  expectation of success in making this combination. For example, Pedrotti provides a frequency

  detector in combination with an integrator within a closed loop for clock recovery. Pedrotti,

  7:46–60, Figs. 3, 6. Tremblay further teaches that peak detectors in combination with a

  summing injunction for can operate in a closed loop to identify the widest part of the eye. Id.

  8:56–9:34, Figs. 3, 6. Tremblay can then apply these benefits to its design of a variable threshold

  for monitoring the vertical length of the signal eye by utilizing the phase-locked loop described

  in Pedrotti.

          There are many similarities between Tremblay and Pedrotti. For example, they both are


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  related to monitoring digital signals and characterizing transmission signal quality based on an

  eye diagram. Moreover, they both provide methods and apparatus for monitoring error rates,

  such as an error signal or through adjusting the vertical threshold. Both Tremblay and Pedrotti

  discuss use within an optical network.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Tremblay in view of Anslow:

         A person of ordinary skill in the art would have been motivated to combine Tremblay and

  Anslow to obtain well-known, expected benefits to Tremblay, and would have had a reasonable

  expectation of success in making this combination. For example, Anslow provides the benefit of

  comparing an average voltage to a threshold voltage to generate an diagram. Anslow, 2:19–30,

  Fig. 1. Anslow further teaches that a pseudo-error counting with the eye diagram wherein the

  same number of errors are counted above as counted below the average voltage, when measuring

  near the middle of the eye. Id. Tremblay can then apply these benefits to its design of a variable

  threshold for monitoring the vertical length of the signal eye by utilizing the average voltage

  threshold of Anslow for comparison of pseudo-errors as an additional indicator of transmission

  quality.

         There are many similarities between Tremblay and Anslow. For example, they both are

  relate to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provides methods and apparatus for updating a variable voltage threshold for generation of the

  eye diagram.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device




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  ready for improvement to yield predictable results.

         Anslow in view of Bruce:

         A person of ordinary skill in the art would have been motivated to combine Anslow and

  Bruce to obtain well-known, expected benefits to Anslow, and would have had a reasonable

  expectation of success in making this combination. For example, Bruce provides the benefit of

  utilizing a “pseudo channel” at upper and lower levels to generate pseudo-errors for binary data

  regeneration. Bruce, 7:36–8:23, Figs. 2, 4. Bruce further teaches that an integrator could be

  utilized in combination with the “pseudo channel” for pseudo-error counting. Id. Anslow can

  then apply these benefits to its design of an eye monitor for data regeneration, such as by

  utilizing multiple pseudo channels or the integrator for pseudo-error counting from Bruce.

         There are many similarities between Anslow and Bruce. For example, they both are

  related to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provides methods and apparatus for monitoring error rates due to reduced transmission quality.

  Both utilize comparators in combination with flip-flops, wherein the comparator compares the

  input signal to a variable threshold.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Anslow in view of Fenderson:

         A person of ordinary skill in the art would have been motivated to combine Anslow and

  Fenderson to obtain well-known, expected benefits to Anslow, and would have had a reasonable

  expectation of success in making this combination. For example, Fenderson provides the benefit

  of generating an error signal based on multiple sampling times. Fenderson, 4:15–25, Figs. 1–2,

  6. Fenderson further teaches that a difference integrator could be utilized in combination with a

  performance detection circuit for error counting. Id. 3:42–59, Figs. 1-2, 6. Anslow can then

  apply these benefits to its design of an eye monitor for data regeneration, such as the utilizing an


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  error signal from Fenderson to adjust the pattern generator or provide additional transmission

  quality information.

         There are many similarities between Anslow and Fenderson. For example, they both are

  related to generation of eye diagrams for evaluation of digital transmission systems. Moreover,

  they both provides methods and apparatus for monitoring error rates due to reduced transmission

  quality.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Anslow in view of Nohara:

         A person of ordinary skill in the art would have been motivated to combine Anslow and

  Nohara to obtain well-known, expected benefits to Anslow, and would have had a reasonable

  expectation of success in making this combination. For example, Nohara provides the benefit of

  generating a digital eye diagram which may be utilized in combination with a complex

  integrator. Nohara, 5:40-63, Figs. 3, 7. Nohara further teaches that a complex integrator could be

  utilized in combination with an eye diagram for counting pseudo error rates. Id. Anslow can

  then apply these benefits to its design of an eye monitor for data regeneration, such as by

  utilizing the digital eye diagram from Nohara to compare to the error rates generated by Anslow.

         There are many similarities between Anslow and Nohara. For example, they both are

  related to generation of eye diagrams for evaluation of digital channel conditions. Moreover,

  they both utilize a variable threshold or detection threshold for comparison to the input signal

  through comparators.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device




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  ready for improvement to yield predictable results.

         Anslow in view of Pedrotti:

         A person of ordinary skill in the art would have been motivated to combine Anslow and

  Pedrotti to obtain well-known, expected benefits to Anslow, and would have had a reasonable

  expectation of success in making this combination. For example, Pedrotti provides a frequency

  detector in combination with an integrator within a closed loop for clock recovery. Pedrotti,

  7:46–60, Figs. 3, 6. Tremblay further teaches that peak detectors in combination with a

  summing injunction for can operate in a closed loop to identify the widest part of the eye. Id.

  8:56–9:34, Figs. 3, 6. Anslow can then apply these benefits to its design of an eye monitor for

  data regeneration, such as by utilizing the phase-locked loop described in Pedrotti.

         There are many similarities between Tremblay and Pedrotti. For example, they both are

  related to monitoring digital signals and characterizing transmission signal quality based on an

  eye diagram. Both Anslow and Pedrotti discuss the communication systems application within

  an optical network.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Anslow in view of Ferraiolo:

         A person of ordinary skill in the art would have been motivated to combine Anslow and

  Ferraiolo to obtain well-known, expected benefits to Anslow, and would have had a reasonable

  expectation of success in making this combination. For example, Ferraiolo provides the benefit

  utilizing a variable threshold level and counting the number of positive edge measurements

  above and below the threshold. See, Anslow, 5:61-6:63, Figs. 3-4. These counts are used to

  generate an understanding of the eyes horizontal shrinkage for the input signal. Id. Anslow

  further teaches that a difference integrator could be utilized in combination with a performance

  monitor for error counting. Id. 4:18-34, Figs. 1, 3. Anslow can then apply these benefits to its


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  design of an eye monitor for data regeneration, such as by utilizing variable threshold count from

  Ferraiolo to adjust the voltage average in Anslow.

         There are many similarities between Anslow and Ferraiolo. For example, they both are

  related to generation of eye diagrams for evaluation of optical signals. Moreover, they both

  provide methods and apparatus for monitoring transmission quality.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Nohara in view of Fenderson:

         A person of ordinary skill in the art would have been motivated to combine Nohara and

  Fenderson to obtain well-known, expected benefits to Nohara, and would have had a reasonable

  expectation of success in making this combination. For example, Fenderson provides the benefit

  of generating an error signal based on multiple sampling times. Fenderson, 4:15-25, Figs. 1-2, 6.

  Fenderson further teaches that a difference integrator could be utilized in combination with a

  performance detection circuit for error counting. Id. 3:42-59, Figs. 1-2, 6. Nohara can then

  apply these benefits to its design of a digital eye diagram by utilizing a difference integrator as

  its complex integrator, wherein one could remove the threshold counter.

         There are many similarities between Nohara and Fenderson. For example, they both are

  related to generation of eye diagrams for evaluation of digital transmission systems using

  counting within different sampling times. Moreover, they both utilize integrators in combination

  with a detection circuit for error counting.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device




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  ready for improvement to yield predictable results.

         Nohara in view of Bruce:

         A person of ordinary skill in the art would have been motivated to combine Nohara and

  Bruce to obtain well-known, expected benefits to Nohara, and would have had a reasonable

  expectation of success in making this combination. For example, Bruce provides the benefit of

  utilizing a “pseudo channel” at upper and lower levels to generate pseudo-errors for binary data

  regeneration. Bruce, 7:36–8:23, Figs. 2, 4. Bruce further teaches that an integrator could be

  utilized in combination with the “pseudo channel” for pseudo-error counting. Id. Nohara can

  then apply these benefits to its design of an apparatus for generating a digital eye diagram and

  identifying errors in order to count pseudo error in the lower or upper portion of the eye through

  a variable threshold count for particularized error count locations.

         There are many similarities between Nohara and Bruce. For example, they both are

  related to generation of eye diagrams for evaluation of digital transmission signals. Moreover,

  they both provides methods and apparatus for monitoring error rates due to reduced transmission

  quality. Both utilize comparators in combination with flip-flops, wherein the comparator

  compares the input signal to a variable threshold.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Bruce in view of Ferraiolo:

         A person of ordinary skill in the art would have been motivated to combine Bruce and

  Ferraiolo to obtain well-known, expected benefits to Bruce, and would have had a reasonable

  expectation of success in making this combination. For example, Ferraiolo provides the benefit

  utilizing a variable threshold level and counting the number of positive edge measurements

  above and below the threshold. See, Bruce, 5:61-6:63, Figs. 3-4. These counts are used to

  generate an understanding of the eyes horizontal shrinkage for the input signal. Id. Bruce further


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 teaches that a difference integrator could be utilized in combination with a performance monitor

 for error counting. Id. 4:18-34, Figs. 1, 3. Bruce can then apply these benefits to its design of an

 apparatus and method for generating and measuring signal error by measuring horizontal eye

 shrinkage based on positive edge counts.

          There are many similarities between Bruce and Ferraiolo. For example, they both are

 related to generation of eye diagrams for evaluation of optical signals. Moreover, they both

 provide methods and apparatus for monitoring error rates due to reduced transmission quality.

          The combination of these references results in the combination of prior art elements

 according to known methods to obtain predictable results, a predictable use of prior art elements

 according to their established functions, and applying a known technique to a known device

 ready for improvement to yield predictable results.

          C.     Claim Charts

          Xilinx provides charts at the exhibit numbers indicated below, which identify specifically

 where and how in each alleged item of prior art each limitation of each asserted claim

 (anticipated or rendered obvious by the respective grounds identified above) is found, including

 for each limitation that Xilinx contends is governed by 35 U.S.C. § 112(a), the identity of the

 structure(s), act(s), or material(s) in each item of prior art that performs the claims function:

  Ground                                             Exhibit(s)

  Waschura                                           A-1

  Tremblay                                           A-2

  Bruce                                              A-3

  Fenderson                                          A-4

  Anslow                                             A-5

  Nohara                                             A-6

  Pedrotti                                           A-7

  Ferriolo                                           A-8

  Smidth                                             A-9


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         D.      Grounds Based On 35 U.S.C. § 112

         35 U.S.C. § 112(a) – Lack of Written Description / Lack of Enablement:

         Asserted claims 1 and 7 of the ’653 patent are invalid because there is inadequate written

  description support and enablement for at least the claim limitations: “output signal of the

  integrator is used to recognize the edges of the eye diagram” and “using an output signal of the

  integrator to recognize the edges of the eye diagram.” Based on Defendant’s current

  understanding of Plaintiff’s infringement allegations and claim construction positions, it appears

  Plaintiff may contend that the Ueyenew signals provides a second value which may be used to

  indicate the edges of an eye diagram. The ’653 patent does not describe the second value and

  does not indicate a mechanism for calculating threshold values Ut1, Ut2 for comparing Ueyenew

  to threshold values and indicating edges of the eye diagram. Consequently, the ’653 patent does

  not “convey with reasonable clarity to those skilled in the art that, as of the filing date sought,

  [the inventor] was in possession,” Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563–64 (Fed. Cir.

  1991), of the claim’s limitation that “used to recognize the edges of the eye diagram” without

  elements to compare Uout to Ueyenew such as a EXOR logic gate. Further, for these same

  reasons and due to this lack of disclosure, the specification and claims of the ’653 patent do not

  enable a person of ordinary skill in the art to practice the full scope of the asserted claims without

  undue experimentation.

  III.   U.S. PATENT NO. 7,068,950

         A.      Identification Of Prior Art

         Xilinx identifies the following prior art that anticipates or renders obvious asserted claims

  13, 14, 15, and 16 of U.S. Patent No. 7,068,950 (“the ’950 patent”):

                                   Patents and Patent Publications

   Patent or Publication No.                                Country Date of Publication or Issue

   U.S. Patent No. 7,013,091 (“Corbeil”)                    USA         March 14, 2006 (filed

                                                                        January 16, 2002)

   U.S. Patent No. 7,209,669 (“Kang ’669”)                  USA         April 24, 2007 (provisional


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                                                            filed February 1, 2002)

   U.S. Patent No. 7,394,992 (“Kimmitt”)              USA   July 1, 2008 (filed March 11,

                                                            2003)

   U.S. Patent Application Publication No.            USA   January 3, 2002

   2002/0001115 (“Ishida”)

   U.S. Patent No. 6,952,534 (“Sikora”)               USA   October 4, 2005 (filed

                                                            August 10, 2001)

   U.S. Patent No. 7,312,909 (“Glingener”)            USA   December 25, 2007 (PCT

                                                            filed December 19, 2000)

   U.S. Patent No. 6,677,820 (“Miyatani”)             USA   January 13, 2004 (filed

                                                            December 31, 2001)

   U.S. Patent No. 6,671,079 (“Fuller”)               USA   December 30, 2003 (filed

                                                            December 14, 2001)

   U.S. Patent No. 7,680,665 (“Shigyo”)               USA   March 16, 2010 (PCT filed

                                                            August 24, 2001)

   U.S. Patent No. 6,768,827 (“Yoo”)                  USA   July 27, 2004 (filed February

                                                            22, 2002)

   U.S. Patent Application Publication No.            USA   November 28, 2002

   2002/0176129 (“Dinu”)                                    (provisional filed May 23,

                                                            2001)

   U.S. Patent No. 1,666,206 (“Hartley”)              USA   April 17, 1928

   U.S. Patent No. 4,513,249 (“Baghdady”)             USA   April 23, 1985

   U.S. Patent No. 4,546,322 (“Crutcher”)             USA   October 8, 1985

   U.S. Patent No. 5,367,536 (“Tsujimoto”)            USA   November 22, 1994

   U.S. Patent No. 5,418,815 (“Ishikawa”)             USA   May 23, 1995

   U.S. Patent No. 5,754,607 (“Powell”)               USA   May 19, 1998



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   U.S. Patent No. 5,784,403 (“Scott”)                  USA   July 21, 1998

   U.S. Patent No. 5,873,065 (“Akagiri”)                USA   February 16, 1999

   U.S. Patent No. 6,112,067 (:Seike”)                  USA   August 29, 2000

   U.S. Patent No. 6,204,709 (“Searle”)                 USA   March 20, 2001

   U.S. Patent No. 6,347,128 (“Ransijn”)                USA   February 12, 2002 (filed July

                                                              20, 1998)

   U.S. Patent No. 6.417,942 (“Seto”)                   USA   July 9, 2002 (filed February

                                                              3, 1999)

   U.S. Patent No. 6,487,352 (“Sobiski”)                USA   November 26, 2002 (filed

                                                              February 16, 2001)

   U.S. Patent No. 6,490.727 (“Nazarathy”)              USA   December 3, 2002 (October

                                                              7, 1999)

   U.S. Patent No. 6,496,079 (“Pleasant”)               USA   December 17, 2002 (filed

                                                              May 22, 2001)

   U.S. Patent No. 6,526,109 (“Chang”)                  USA   February 25, 2003 (filed

                                                              December 5, 2000)

   U.S. Patent No. 6,549,046 (“Klecka, III”)            USA   April 15, 2003 (filed

                                                              December 29, 2000)

   U.S. Patent No. 6,731,906 (“Sokolovskiy”)            USA   May 4, 2001

   U.S. Patent No. 6,836,739 (“Sato”)                   USA   December 28, 2004 (PCT

                                                              filed June 12, 2001)

   U.S. Patent No. 6,978,937 (“Iwaguchi”)               USA   December 27, 2005

                                                              (continuation of application

                                                              filed January 25, 2002)

   U.S. Patent No. 7,167,533 (“Glenn”)                  USA   January 23, 2007 (filed June

                                                              30, 2001)



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   U.S. Patent Application No. 60353628PO               USA   February 1, 2002

   US. Patent Application No. 60364822PO                USA   March 18, 2002

   U.S. Patent Application No. 2001/0030791             USA   October 18, 2001

   (“Taneda”)

   U.S. Patent No. 2002/0121892 (“Vandersteen”)         USA   September 5, 2002 (filed

                                                              May 31, 2001)

   U.S. Patent No. 2002/0149824 (“Beaulieu”)            USA   October 17, 2002 (filed

                                                              February 27, 2001)

   U.S. Patent No. 2002/0191260 (“Bergano”)             USA   December 19, 2002 (filed

                                                              January 17, 2001)

   U.S. Patent No. 2002/0191261 (“Notargiacomo”)        USA   December 19, 2002 (PCT

                                                              filed December 20, 2000)

   U.S. Patent No. 2005/0143987 (“Cox”)                 USA   June 30, 2005 (provisional

                                                              filed December 10, 1999)

   U.S. Patent No. 2008/0144701 (“Gold”)                USA   June 19, 2008 (filed April 9,

                                                              2001)




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                                    Other Printed Publications

   Title                                            Author and Publisher       Date of Publication

   A 1.25 Gigabit Per Second Binary-Phase-          Igor D. Gonta              June 1995

   Shift-Keyed Optical Homodyne Receiver

   (“Gonta”)

   A novel method for synchronizing the pulse       Inuk Kang et al.           At least as early as

   carver and electroabsorption data modulator                                 February 1, 2002

   RZ optical transmitters (“Kang ’628”)

   Method for Ensuring Time Synchronization         Mintera Corporation        At least as early as

   between Data Modulator and Pulse Carver                                     March 15, 2002

   in Return-to-Zero Optical Transmitters

   (“Mintera”)

   Direct-Conversion Radio Transceivers for         Asad A. Abidi              December 1995

   Digital Communications

   Design Considerations for Direct-                Behzad Razavi              June 1997

   Conversion Receivers

   Recent Developments in High Integration          Jacques C. Rudell, et al

   Multi-Standard CMOS Transceivers for

   Personal Communication Systems

   A Third Method of Generation and                 Donald K. Weaver, Jr.

   Detection of Single-Sideband Signals

   Frequency and Time – Their Measurement           Samuel R. Stein            1985

   and Characterization

   Homodyne                                         F. M. Colebrook            February 20, 1924

   A High Stability, Low Noise RF                   Josef Frisch, et al        2001

   Distribution System



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   A 900-MHz Transceiver Chipset for Two-              Sergio A. Sanielevici,     December 1998

   Way Paging Applications                            et al

            B.     Anticipation And Obviousness Grounds

            Xilinx asserts that the following prior art anticipates the indicated asserted claims:

   Prior Art                                            Asserted Claim(s) Anticipated

   Corbeil                                              1, 17

   Glingener                                            1, 17

   Gonta                                                1, 17

   Ishida                                               1, 17

   Kang ’628                                            1, 17

   Kang ’669                                            1, 17

   Kimmitt                                              1, 17

   Mintera                                              1, 17

   Miyatani                                             1, 17

   Sikora                                               1, 17

            Xilinx asserts that the following prior art renders obvious the indicated asserted claims

  for the reasons provided:

   Prior Art                                            Asserted Claim(s) Rendered Obvious

   Corbeil                                              1, 17

   Corbeil in view of Dinu                              1, 17

   Glingener                                            1, 17

   Glingener in view of Dinu                            1, 17

   Gonta                                                1, 17

   Gonta in view of Dinu                                1, 17

   Ishida                                               1, 17

   Ishida in view of Dinu                               1, 17


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   Kang ’628                                         1, 17

   Kang ’628 in view of Dinu                         1, 17

   Kang ’669                                         1, 17

   Kang ’669 in view of Dinu                         1, 17

   Kimmitt                                           1, 17

   Kimmitt in view of Dinu                           1, 17

   Mintera                                           1, 17

   Mintera in view of Dinu                           1, 17

   Miyatani                                          1, 17

   Miyatani in view of Dinu                          1, 17

   Sikora                                            1, 17

   Sikora in view of Dinu                            1, 17

         Corbeil:

         In addition to anticipating asserted claims 1 or 17, Corbeil also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Corbeil in view of Dinu:
         A person of ordinary skill in the art would have been motivated to combine Corbeil and

  Dinu to obtain well-known, expected benefits to Corbeil, and would have had a reasonable

  expectation of success in making this combination. For example, Dinu provides the benefits of

  identifying the presence of misalignment between a pulse carver and a data modulator at the

  transmitter by locating a dip in the power spectrum at a frequency corresponding to about 0.5 of



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  the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id.

  Corbeil can then apply these benefits to its design of an optical transmitter in order to correct for

  misalignment at an optical modulator.

         There are many similarities between Corbeil and Dinu. For example, they both are

  related to synchronization of pulse and data sources in an optical transmitter. Moreover, they

  both provides methods and apparatus for correcting misalignment in part by analyzing the power

  of a transmitted signal and generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Glingener:

         In addition to anticipating asserted claims 1 or 17, Glingener also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Glingener in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Glingener

  and Dinu to obtain well-known, expected benefits to Glingener, and would have had a reasonable

  expectation of success in making this combination. For example, Dinu provides the benefits of

  identifying the presence of misalignment between a pulse carver and a data modulator at the

  transmitter by locating a dip in the power spectrum at a frequency corresponding to about 0.5 of


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                                     5103


  the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id.

  Glingener can then apply these benefits to its design of an optical transmitter in order to correct

  for misalignment at an optical modulator.

         There are many similarities between Glingener and Dinu. For example, they both are

  related to synchronizing a data signal in an optical transmitter. Moreover, they both provides

  methods and apparatus for correcting misalignment in part by analyzing the power of a

  transmitted signal and generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Gonta:

         In addition to anticipating asserted claims 1 or 17, Gonta also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Gonta in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Gonta and

  Dinu to obtain well-known, expected benefits to Gonta, and would have had a reasonable

  expectation of success in making this combination. For example, Dinu provides the benefits of

  identifying the presence of misalignment between a pulse carver and a data modulator at the

  transmitter by locating a dip in the power spectrum at a frequency corresponding to about 0.5 of


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                                     5104


  the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id. Gonta

  can then apply these benefits to its design of an optical transmitter in order to correct for

  misalignment at an optical modulator.

         There are many similarities between Gonta and Dinu. For example, they both are related

  to synchronizing a data signal in an optical transmitter. Moreover, they both provides methods

  and apparatus for correcting misalignment in part by analyzing the power of a transmitted signal

  and generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Ishida:

         In addition to anticipating asserted claims 1 or 17, Ishida also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Ishida in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Ishida and

  Dinu to obtain well-known, expected benefits to Ishida, and would have had a reasonable

  expectation of success in making this combination. For example, Dinu provides the benefits of

  identifying the presence of misalignment between a pulse carver and a data modulator at the

  transmitter by locating a dip in the power spectrum at a frequency corresponding to about 0.5 of


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                                     5105


  the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id. Ishida

  can then apply these benefits to its design of an optical transmitter in order to correct for

  misalignment at an optical modulator.

         There are many similarities between Ishida and Dinu. For example, they both are related

  to stabilizing a data signal in an optical transmitter. Moreover, they both provides methods and

  apparatus for correcting misalignment in part by analyzing the power of a transmitted signal and

  generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Kang ’628:

         In addition to anticipating asserted claims 1 or 17, Kang ’628 also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Kang ’628 in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Kang ’628

  and Dinu to obtain well-known, expected benefits to Kang ’628, and would have had a

  reasonable expectation of success in making this combination. For example, Dinu provides the

  benefits of identifying the presence of misalignment between a pulse carver and a data modulator

  at the transmitter by locating a dip in the power spectrum at a frequency corresponding to about


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  0.5 of the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id.

  Kang ’628 can then apply these benefits to its design of an optical transmitter in order to correct

  for misalignment at an optical modulator.

         There are many similarities between Kang ’628 and Dinu. For example, they both are

  related to synchronizing the pulse carver and data modulator in an optical transmitter. Moreover,

  they both provides methods and apparatus for correcting misalignment in part by analyzing the

  power of a transmitted signal and generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Kang ’669:

         In addition to anticipating asserted claims 1 or 17, Kang ’669 also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Kang ’669 in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Kang ’669

  and Dinu to obtain well-known, expected benefits to Kang ’669, and would have had a

  reasonable expectation of success in making this combination. For example, Dinu provides the

  benefits of identifying the presence of misalignment between a pulse carver and a data modulator

  at the transmitter by locating a dip in the power spectrum at a frequency corresponding to about


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                                     5107


  0.5 of the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id.

  Kang ’669 can then apply these benefits to its design of an optical transmitter in order to correct

  for misalignment at an optical modulator.

         There are many similarities between Kang ’669 and Dinu. For example, they both are

  related to synchronizing the pulse carver and data modulator in an optical transmitter. Moreover,

  they both provides methods and apparatus for correcting misalignment in part by analyzing the

  power of a transmitted signal and generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Kimmitt

         In addition to anticipating asserted claims 1 or 17, Kimmitt also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Kimmitt in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Kimmitt and

  Dinu to obtain well-known, expected benefits to Kimmitt, and would have had a reasonable

  expectation of success in making this combination. For example, Dinu provides the benefits of

  identifying the presence of misalignment between a pulse carver and a data modulator at the

  transmitter by locating a dip in the power spectrum at a frequency corresponding to about 0.5 of


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                                     5108


  the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id.

  Kimmitt can then apply these benefits to its design of an optical transmitter in order to correct for

  misalignment at an optical modulator.

         There are many similarities between Kimmitt and Dinu. For example, they both are

  related to synchronizing the data and pulse modulators in an optical transmitter. Moreover, they

  both provides methods and apparatus for correcting misalignment in part by analyzing the power

  of a transmitted signal and generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Mintera:

         In addition to anticipating asserted claims 1 or 17, Mintera also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Mintera in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Mintera and

  Dinu to obtain well-known, expected benefits to Mintera, and would have had a reasonable

  expectation of success in making this combination. For example, Dinu provides the benefits of

  identifying the presence of misalignment between a pulse carver and a data modulator at the

  transmitter by locating a dip in the power spectrum at a frequency corresponding to about 0.5 of


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                                     5109


  the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id.

  Mintera can then apply these benefits to its design of an optical transmitter in order to correct for

  misalignment at an optical modulator.

         There are many similarities between Mintera and Dinu. For example, they both are

  related to synchronizing the data modulator and pulse carver in an optical transmitter. Moreover,

  they both provides methods and apparatus for correcting misalignment in part by analyzing the

  power of a transmitted signal and generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Miyatani:

         In addition to anticipating asserted claims 1 or 17, Miyatani also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Miyatani in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Miyatani and

  Dinu to obtain well-known, expected benefits to Miyatani, and would have had a reasonable

  expectation of success in making this combination. For example, Dinu provides the benefits of

  identifying the presence of misalignment between a pulse carver and a data modulator at the

  transmitter by locating a dip in the power spectrum at a frequency corresponding to about 0.5 of


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  the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

  decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

  maximum amplitude of that spectral component may correspond to proper alignment. Id.

  Miyatani can then apply these benefits to its design of an optical transmitter in order to correct

  for misalignment at a transmitter.

         There are many similarities between Miyatani and Dinu. For example, they both are

  related to compensating for signal distortion in a transmitter. Moreover, they both provides

  methods and apparatus for correcting misalignment in part by analyzing the power of a

  transmitted signal and generating a feedback signal based on that analysis.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Sikora:

         In addition to anticipating asserted claims 1 or 17, Sikora also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Sikora in view of Dinu:

         A person of ordinary skill in the art would have been motivated to combine Sikora and

  Dinu to obtain well-known, expected benefits to Sikora, and would have had a reasonable

  expectation of success in making this combination. For example, Dinu provides the benefits of

  identifying the presence of misalignment between a pulse carver and a data modulator at the

  transmitter by locating a dip in the power spectrum at a frequency corresponding to about 0.5 of


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                                                 5111


 the modulation clock frequency. Dinu, ¶ [0055], Figs. 5–7. Dinu therefore teaches that a

 decrease in the amplitude of the 1/(2T) component may be indicative of misalignment, whereas a

 maximum amplitude of that spectral component may correspond to proper alignment. Id. Sikora

 can then apply these benefits to its design of an optical transmitter in order to correct for

 misalignment at an optical modulator.

           There are many similarities between Sikora and Dinu. For example, they both are related

 to synchronizing the data and clock signals in an optical transmitter. Moreover, they both

 provides methods and apparatus for correcting misalignment in part by analyzing the power of a

 transmitted signal and generating a feedback signal based on that analysis.

           The combination of these references results in the combination of prior art elements

 according to known methods to obtain predictable results, a predictable use of prior art elements

 according to their established functions, and applying a known technique to a known device

 ready for improvement to yield predictable results.

           C.     Claim Charts

           Xilinx provides charts at the exhibit numbers indicated below, which identify specifically

 where and how in each alleged item of prior art each limitation of each asserted claim

 (anticipated or rendered obvious by the respective grounds identified above) is found, including

 for each limitation that Xilinx contends is governed by 35 U.S.C. § 112(6), the identity of the

 structure(s), act(s), or material(s) in each item of prior art that performs the claims function:

  Ground                                             Exhibit(s)

  Corbeil                                            B-1

  Glingener                                          B-2

  Gonta                                              B-3

  Ishida                                             B-4

  Kang ’628                                          B-5

  Kang ’669                                          B-6

  Kimmitt                                            B-7


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   Mintera                                           B-8

   Miyatani                                          B-9

   Sikora                                            B-10

         D.      Grounds Based On 35 U.S.C. § 112

         35 U.S.C. § 112(2) – Indefiniteness:

         The following limitations of the asserted claims of the ’950 patent are indefinite under

  pre-AIA 35 U.S.C. § 112 ¶ 2. Any claims having these limitations, as well as all claims that

  directly or indirectly depend from those claims, are also invalid as indefinite. By asserting that

  these limitations are indefinite, Xilinx does not waive its rights to argue that the claims may also

  be anticipated or obvious under §§ 102 and 103. Claim construction has not yet begun, and

  Xilinx reserves the right to add to, amend, and supplement this list to identify further indefinite

  limitations.

              1. “A spectral band corresponding to a spectral null” (claims 1, 17)

              2. “an analyzer configured (i) to analyze spectral power of an input signal

                 corresponding to the carrier and data signals, the spectral power being in a

                 spectral band corresponding to a spectral null of the input signal, and (ii) to

                 generate a control signal based on the analysis” (claim 1)

         35 U.S.C. § 112(1) – Lack of Written Description / Lack of Enablement:

         To the extent WSOU reads asserted claims 1 and 17 of the ’950 patent to cover methods

  and apparatuses dealing with the transmission of signals other than optical signals, the asserted

  claims are invalid for lack of written description and/or lack of enablement. For example, the

  ’950 patent describes only how “power analysis” or “spectrum analysis” may be performed using

  optical signals to generate a control signal that a phase shifter would use to introduce a phase

  shift between a data signal and a clock signal based on the analysis. For instance, the

  specification discloses an embodiment wherein the transmitted signal is “a data-modulated

  optical signal produced using an optical pulse train of soliton pulses and a pseudo-random non



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  return-to-zero (NRZ) data signal having a bit rate of about 10 GBit/s.” ’950 Patent at 3:19–23.

  The specification further discloses that, in one embodiment, the spectral null(s) of a data-

  modulated optical signal will lie “at about 0.6 X GHz.” Id. at 3:29–41. The specification,

  however, fails to disclose any teaching with respect to any other transmittable signal, e.g., radio-

  frequency (RF) signals, including whether such other signals exhibit similar “spectral nulls” and

  where such nulls may be located. In short, the ’950 patent does not teach how to analyze a non-

  optical signal or how to design or implement a phase shift to reduce misalignment between a data

  signal and a clock signal based on that analysis. Consequently, the ’950 patent does not “convey

  with reasonable clarity to those skilled in the art that, as of the filing date sought, [the inventor]

  was in possession,” Vas-Cath Inc. v. Mahurkar, 935 F.2d 1555, 1563–64 (Fed. Cir. 1991), of the

  full scope of the claimed invention. Further, for these same reasons and due to this lack of

  disclosure, the specification and claims of the ’950 patent do not enable a person of ordinary skill

  in the art to practice the full scope of the asserted claims without undue experimentation.

  IV.     U.S. PATENT NO. 7,613,938

          A.      Identification Of Prior Art

          Xilinx identifies the following prior art that anticipates or renders obvious asserted claim

  13 of U.S. Patent No. 7,613,938 (“the ’938 patent”):

                                    Patents and Patent Publications

   Patent or Publication No.                                 Country Date of Publication or Issue

   U.S. Patent No. 6,760,850 (“Atkinson”)                    USA         July 6, 2004 (filed July 31,

                                                                         2000)

   U.S. Patent No. 7,659,746 (“Chua-Eoan ’746”)              USA         February 9, 2010 (filed

                                                                         September 16, 2005)

   U.S. Patent No. 5,721,936 (“Kikinis”)                     USA         February 24, 1998 (filed July

                                                                         24, 1996)

   U.S. Patent No. 5,721,937 (“Kurihara”)                    USA         February 24, 1998 (filed

                                                                         March 3, 1997)


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   U.S. Patent No. 5,715,465 (“Savage”)               USA   February 3, 1998 (filed

                                                            November 22, 1995)

   U.S. Patent No. 5,715,467 (“Jirgal”)               USA   February 3, 1998 (filed April

                                                            4, 1996)

   U.S. Patent No. 4,723,269 (“Summerlin”)            USA   February 2, 1988 (filed

                                                            December 23, 1985)

   U.S. Patent Application Publication No.            USA   December 15, 2005

   2005/0276132 (“Severson”)

   U.S. Patent No. 7,529,958 (“Roth”)                 USA   May 5, 2009 (filed

                                                            November 15, 2004)

   U.S. Patent No. 5,353,240 (“Mallory”)              USA   October 4, 1994

   U.S. Patent No. 5,664,205 (“O’Brien”)              USA   September 2, 1997

   U.S. Patent No. 5,809,223 (“Lee”)                  USA   September 15, 1998

   U.S. Patent No. 6,230,273 (“Rieker”)               USA   May 8, 2001

   U.S. Patent No. 6,557,106 (“Yuzawa”)               USA   April 29, 2003

   U.S. Patent No. 6,625,739 (“Kobayashi”)            USA   September 23, 2003

   U.S. Patent No. 6,851,068 (“Jochiong”)             USA   February 1, 2005

   U.S. Patent No. 7,672,104 (“Reynolds”)             USA   March 2, 2010 (provisional

                                                            filed May 6, 2002)

   U.S. Patent No. 7,702,424 (“Cannon”)               USA   April 20, 2010 (provisional

                                                            filed August 20, 2003)

   U.S. Patent No. 8,063,664 (“Chua-Eoan ’664”)       USA   November 22, 2011

                                                            (provisional filed February

                                                            14, 2005)

   U.S. Patent No. 8,509,097 (“Gourlay”)              USA   August 13, 2013 (filed

                                                            August 5, 2004)



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   U.S. Patent Application No. 2001/0030469            USA   October 18, 2001

   (Tsujikada”)

   U.S. Patent Application No. 2002/0023233            USA   February 21, 2002

   (“O’Meany”)

   U.S. Patent Application No. 2203/0224835            US    December 4, 2003

   (“Everett”)

   U.S. Patent Application No. 2005/0099753 (“Lin”)    USA   May 12, 2005

   U.S. Patent Application No. 2006/0044723            USA   March 2, 2006

   (“Beneditz”)

   U.S. Patent Application No. 2006/0271797            USA   November 30, 2006 (filed

   (“Ginggen”)                                               May 27, 2005)

   U.S. Patent Application No. 2006/0277421            USA   December 7, 2006 (filed

   (“Balestriere”)                                           June 3, 2005)

   U.S. Patent Application No. 2010/0097101 (“Chua- USA      April 22, 2010 (provisional

   Eoan ’101”)                                               filed February 14, 2005)




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                                   Other Printed Publications

   Title                                           Author and Publisher       Date of Publication

   Sentry Remote Power Manager Installation        Server Technology,         January 2001

   and Setup Manual                                Inc.

   NBB-1600 Network Boot Bar - Web                 Western Telematic          2004

   Browser Based “Zero U” Power Control            Incorporated (“WTI”)

   GC4016 and GC4116 Power Cycling                 Texas Instruments          October 2004

   Considerations                                  Incorporated

   GC4016 Multi-Standard Quad DDC Chip             Texas Instruments          August 27, 2001

   Data Sheet, Rev 1.0                             Incorporated

   Wake on Wireless: An Event Driven Energy        Eugene Shih et al.         2002

   Saving Strategy for Battery Operated

   Devices (“Shih”)

   ARM11 MPCore Processor Technical                ARM Limited                September 14, 2005

   Reference Manual, Rev r0p2



                                          Prior Art Products

   Product                                     Date Offered for       Entity Making Offer

                                               Sale

   Sentry Remote Power Manager                 At least as early as   Server Technology

                                               January 2001

   NBB-1600 Network Boot Bar                   At least as early as   WTI

                                               2004

   TI GC4016 and GC4116 chips                  At least as early as   Texas Instruments

                                               August 2001

   ARM11 MPCore Processor                      At least as early as   ARM Limited



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                                                  February 2005

           Sentry Remote Power Manager:

           Sentry Remote Power Manager was offered for sale by Server Technology at least as

 early as January 2001, before the earliest possible priority date of the ’938 patent.

           NBB-1600 Network Boot Bar:

           The NBB-1600 Network Boot Bar was offered for sale by WTI at least as early as 2004,

 before the earliest possible priority date of the ’938 patent.

           TI GC4016 and GC4116 Chips:

           The TI GC4016 and GC4116 chips were offered for sale by Texas Instruments at least as

 early as August 2001, before the earliest possible priority date of the ’938 patent.

           ARM11 MPCore Processor:

           The ARM11 MPCore Processor was offered for sale by ARM Limited at least as early as

 February 2005, before the earliest possible priority date of the ’938 patent.

           B.     Anticipation And Obviousness Grounds

           Xilinx asserts that the following prior art anticipates the indicated asserted claims:

  Prior Art                                            Asserted Claim(s) Anticipated

  Atkinson                                             13

  Chua-Eoan ’746                                       13

  Jirgal                                               13

  Kikinis                                              13

  Kurihana                                             13




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  Sentry Remote Power Manager                         13

  Savage                                              13

  Severson                                            13

  Summerlin                                           13

  Shih                                                13

  ARM11 MPCore Processor                              13

  Roth                                                13

           Xilinx asserts that the following prior art renders obvious the indicated asserted claims

 for the reasons provided:

  Prior Art                                           Asserted Claim(s) Rendered Obvious

  GC4016 and GC4116 Power Cycling                     13

  Considerations in view of GC4016 Multi-

  Standard Quad DDC Chip Data Sheet, Rev

  1.0

  Atkinson                                            13

  Chua-Eoan ’746                                      13

  Jirgal                                              13

  Kikinis                                             13

  Kurihana                                            13

  Sentry Remote Power Manager                         13

  Savage                                              13

  Severson                                            13

  Summerlin                                           13

  Shih                                                13

  ARM11 MPCore Processor                              13

  Roth                                                13


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   Atkinson in view of Roth                          13

   Chua-Eoan ’746 in view of Roth                    13

   Jirgal in view of Roth                            13

   Kikinis in view of Roth                           13

   Kurihana in view of Roth                          13

   Savage in view of Roth                            13

   Severson in view of Roth                          13

   Summerlin in view of Roth                         13

   Shih in view of Roth                              13

         GC4016 and GC4116 Power Cycling Considerations in view of GC4016 Multi-Standard

  Quad DDC Chip Data Sheet, Rev 1.0:

         A POSITA would have been motivated to combine the teachings of GC4016 and

  GC4116 Power Cycling Considerations in view of GC4016 Multi-Standard Quad DDC Chip

  Data Sheet, Rev 1.0 at least because both are publications by Texas Instruments concerning the

  specifications and operability of at least the GC4016 chip.

         Atkinson:

         In addition to anticipating asserted claim 13, Atkinson also renders that claim obvious

  based on its disclosures, its express teachings, suggestions, and motivations to combine its

  disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that WSOU

  alleges that any limitation is not anticipated by this reference, such a limitation would be obvious

  based on the teachings in the reference and the knowledge of a person of ordinary skill in the art,

  and any differences between the reference and such a limitation would be insubstantial.

         Chua-Eoan ’746:
         In addition to anticipating asserted claim 13, Chua-Eoan ’746 also renders that claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that



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  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Jirgal:

         In addition to anticipating asserted claim 13, Jirgal also renders that claim obvious based

  on its disclosures, its express teachings, suggestions, and motivations to combine its disclosures,

  and the knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that

  any limitation is not anticipated by this reference, such a limitation would be obvious based on

  the teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         Kikinis:

         In addition to anticipating asserted claim 13, Kikinis also renders that claim obvious

  based on its disclosures, its express teachings, suggestions, and motivations to combine its

  disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that WSOU

  alleges that any limitation is not anticipated by this reference, such a limitation would be obvious

  based on the teachings in the reference and the knowledge of a person of ordinary skill in the art,

  and any differences between the reference and such a limitation would be insubstantial.

         Kurihana:

         In addition to anticipating asserted claim 13, Kurihana also renders that claim obvious

  based on its disclosures, its express teachings, suggestions, and motivations to combine its

  disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that WSOU

  alleges that any limitation is not anticipated by this reference, such a limitation would be obvious

  based on the teachings in the reference and the knowledge of a person of ordinary skill in the art,

  and any differences between the reference and such a limitation would be insubstantial.

         Sentry Remote Power Manager:

         In addition to the anticipation of asserted claim 13 by Sentry Remote Power Manager, as


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  evidenced at least by the Sentry Remote Power Manager Installation and Setup Manual, Sentry

  Remote Power Manager (and its manual) also renders that claim obvious in combination with the

  knowledge of a person of ordinary skill in the art.

         Savage:

         In addition to anticipating asserted claim 13, Savage also renders that claim obvious

  based on its disclosures, its express teachings, suggestions, and motivations to combine its

  disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that WSOU

  alleges that any limitation is not anticipated by this reference, such a limitation would be obvious

  based on the teachings in the reference and the knowledge of a person of ordinary skill in the art,

  and any differences between the reference and such a limitation would be insubstantial.

         Severson:

         In addition to anticipating asserted claim 13, Severson also renders that claim obvious

  based on its disclosures, its express teachings, suggestions, and motivations to combine its

  disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that WSOU

  alleges that any limitation is not anticipated by this reference, such a limitation would be obvious

  based on the teachings in the reference and the knowledge of a person of ordinary skill in the art,

  and any differences between the reference and such a limitation would be insubstantial.

         Summerlin:

         In addition to anticipating asserted claim 13, Summerlin also renders that claim obvious

  based on its disclosures, its express teachings, suggestions, and motivations to combine its

  disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that WSOU

  alleges that any limitation is not anticipated by this reference, such a limitation would be obvious

  based on the teachings in the reference and the knowledge of a person of ordinary skill in the art,

  and any differences between the reference and such a limitation would be insubstantial.

         Shih:

         In addition to anticipating asserted claim 13, Shih also renders that claim obvious based

  on its disclosures, its express teachings, suggestions, and motivations to combine its disclosures,


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  and the knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that

  any limitation is not anticipated by this reference, such a limitation would be obvious based on

  the teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         ARM11 MPCore Processor:

         In addition to the anticipation of asserted claim 13 by ARM11 MPCore Processor, as

  evidenced at least by the ARM11 MPCore Processor Technical Reference Manual, ARM11

  MPCore Processor (and its manual) also renders that claim obvious in combination with the

  knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that any

  limitation is not anticipated by this reference, such a limitation would be obvious based on the

  teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         Roth:

         In addition to anticipating asserted claim 13, Roth also renders that claim obvious based

  on its disclosures, its express teachings, suggestions, and motivations to combine its disclosures,

  and the knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that

  any limitation is not anticipated by this reference, such a limitation would be obvious based on

  the teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         Atkinson in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Atkinson and

  Roth to obtain well-known, expected benefits to Atkinson, and would have had a reasonable

  expectation of success in making this combination. For example, Roth provides the benefits of

  implementing an apparatus for power management on a system-on-a-chip and within a single

  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Atkinson can then apply these benefits to its

  design of an power management system for a computer wakeup device.

         There are many similarities between Atkinson and Roth. For example, they both are


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  related to power management in electronics. Moreover, they both provides methods and

  apparatus for decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Chua-Eoan ’746 in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Chua-Eoan

  ’746 and Roth to obtain well-known, expected benefits to Chua-Eoan ’746, and would have had

  a reasonable expectation of success in making this combination. For example, Roth provides the

  benefits of implementing an apparatus for power management on a system-on-a-chip and within

  a single chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Chua-Eoan ’746 can then apply these

  benefits to its design of an power management system.

         There are many similarities between Chua-Eoan ’746 and Roth. For example, they both

  are related to power management in electronics. Moreover, they both provides methods and

  apparatus for decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Jirgal in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Jirgal and

  Roth to obtain well-known, expected benefits to Jirgal, and would have had a reasonable

  expectation of success in making this combination. For example, Roth provides the benefits of

  implementing an apparatus for power management on a system-on-a-chip and within a single

  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Jirgal can then apply these benefits to its design of




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  an power management system.

         There are many similarities between Jirgal and Roth. For example, they both are related

  to power management in electronics. Moreover, they both provides methods and apparatus for

  decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Kikinis in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Kikinis and

  Roth to obtain well-known, expected benefits to Kikinis, and would have had a reasonable

  expectation of success in making this combination. For example, Roth provides the benefits of

  implementing an apparatus for power management on a system-on-a-chip and within a single

  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Kikinis can then apply these benefits to its design

  of an power management system.

         There are many similarities between Kikinis and Roth. For example, they both are

  related to power management in electronics. Moreover, they both provides methods and

  apparatus for decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Kurihara in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Kurihara and

  Roth to obtain well-known, expected benefits to Kurihara, and would have had a reasonable

  expectation of success in making this combination. For example, Roth provides the benefits of

  implementing an apparatus for power management on a system-on-a-chip and within a single


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  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Kurihara can then apply these benefits to its

  design of an power management system.

         There are many similarities between Kurihara and Roth. For example, they both are

  related to power management in electronics. Moreover, they both provides methods and

  apparatus for decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Savage in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Savage and

  Roth to obtain well-known, expected benefits to Savage, and would have had a reasonable

  expectation of success in making this combination. For example, Roth provides the benefits of

  implementing an apparatus for power management on a system-on-a-chip and within a single

  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Savage can then apply these benefits to its design

  of an power management system.

         There are many similarities between Savage and Roth. For example, they both are

  related to power management in electronics. Moreover, they both provides methods and

  apparatus for decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Savage in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Savage and

  Roth to obtain well-known, expected benefits to Savage, and would have had a reasonable

  expectation of success in making this combination. For example, Roth provides the benefits of


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  implementing an apparatus for power management on a system-on-a-chip and within a single

  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Savage can then apply these benefits to its design

  of an power management system.

         There are many similarities between Savage and Roth. For example, they both are

  related to power management in electronics. Moreover, they both provides methods and

  apparatus for decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Severson in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Severson and

  Roth to obtain well-known, expected benefits to Severson, and would have had a reasonable

  expectation of success in making this combination. For example, Roth provides the benefits of

  implementing an apparatus for power management on a system-on-a-chip and within a single

  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Severson can then apply these benefits to its

  design of an power management system.

         There are many similarities between Severson and Roth. For example, they both are

  related to power management in electronics. Moreover, they both provides methods and

  apparatus for decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Severson in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Severson and

  Roth to obtain well-known, expected benefits to Severson, and would have had a reasonable


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  expectation of success in making this combination. For example, Roth provides the benefits of

  implementing an apparatus for power management on a system-on-a-chip and within a single

  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Severson can then apply these benefits to its

  design of an power management system.

         There are many similarities between Severson and Roth. For example, they both are

  related to power management in electronics. Moreover, they both provides methods and

  apparatus for decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Shih in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Shih and

  Roth to obtain well-known, expected benefits to Shih, and would have had a reasonable

  expectation of success in making this combination. For example, Roth provides the benefits of

  implementing an apparatus for power management on a system-on-a-chip and within a single

  chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Shih can then apply these benefits to its design of

  an wake-on-wireless system.

         There are many similarities between Shih and Roth. For example, they both are related

  to power management in electronics. Moreover, they both provides methods and apparatus for

  decoupling or restoring power to a controller and one or more devices.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Summerlin in view of Roth:

         A person of ordinary skill in the art would have been motivated to combine Summerlin


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 and Roth to obtain well-known, expected benefits to Summerlin, and would have had a

 reasonable expectation of success in making this combination. For example, Roth provides the

 benefits of implementing an apparatus for power management on a system-on-a-chip and within

 a single chip package. Roth, 2:10–22, 5:3–12, Fig. 3. Summerlin can then apply these benefits

 to its design of an power management system.

           There are many similarities between Summerlin and Roth. For example, they both are

 related to power management in electronics. Moreover, they both provides methods and

 apparatus for decoupling or restoring power to a controller and one or more devices.

           The combination of these references results in the combination of prior art elements

 according to known methods to obtain predictable results, a predictable use of prior art elements

 according to their established functions, and applying a known technique to a known device

 ready for improvement to yield predictable results.

           C.     Claim Charts

           Xilinx provides charts at the exhibit numbers indicated below, which identify specifically

 where and how in each alleged item of prior art each limitation of each asserted claim

 (anticipated or rendered obvious by the respective grounds identified above) is found, including

 for each limitation that Xilinx contends is governed by 35 U.S.C. § 112(6), the identity of the

 structure(s), act(s), or material(s) in each item of prior art that performs the claims function:

  Ground                                             Exhibit(s)

  Atkinson                                           C-1

  Chua-Eoan                                          C-2

  Jirgal                                             C-3

  Kikinis                                            C-4

  Kurihara                                           C-5

  Savage                                             C-6

  Sentry Remote Power Manager                        C-7

  Severson                                           C-8


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   Shih                                               C-9

   Summerlin                                          C-10

   GC4016 and GC4116 Power Cycling                    C-11

   Considerations in view of GC4016 Multi-

   Standard Quad DDC Chip Data Sheet, Rev

   1.0

   ARM11 MPCore Processor                             C-12

   Roth                                               C-13

          D.     Grounds Based On 35 U.S.C. § 112

          35 U.S.C. § 112(1) – Lack of Written Description / Lack of Enablement:

          Asserted claim 13 of the ’938 patent is invalid for lack of written description and/or lack

  of enablement. Claim 13 broadly recites an “electrical power device” that wakes both the

  controller and the switch on a circuit card after a predetermined time whenever the controller

  causes the switch to disconnect power to the card, resulting in the controller itself no longer

  having power. Given this breadth, the full scope of the claim must be enabled. However, the

  specification of the ’938 patent is relatively short and directed only to one particular

  embodiment: power up to correct an error on a line card after a sufficient time to allow the card

  to reset. There is no evidence that the named inventors conceived of other techniques or devices

  for power management that may similarly be covered by claim 13. Moreover, there is no

  evidence that the named inventors conceived of the broad genus of all types of “circuit cards,”

  “controllers,” and “switches” that could be implemented.

          Additionally, the specification—by disclosing only a single embodiment—fails to enable

  the full scope of claim 13, in particular because the specification does not address complicated

  issues such as timing and the interrelationship between different card components.

  Consequently, the ’938 patent does not “convey with reasonable clarity to those skilled in the art

  that, as of the filing date sought, [the inventor] was in possession,” Vas-Cath Inc. v. Mahurkar,



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  935 F.2d 1555, 1563–64 (Fed. Cir. 1991), of the full scope of the claimed invention. Further, for

  these same reasons and due to this lack of disclosure, the specification and claims of the ’938

  patent do not enable a person of ordinary skill in the art to practice the full scope of the asserted

  claims without undue experimentation.

         E.      Grounds Based On 35 U.S.C. § 101

         Claim 13 of the ’938 patent is invalid for claiming only patent-ineligible subject matter

  under 35 U.S.C. § 101. The ’938 patent is directed to the generic idea that, if a controller causes

  power to be disconnected from it (and one or more other devices), another component (referred

  to in the ’938 patent as an “electrical power device”) must be present to “independently” cause

  power to be restored to the controller (and the one or more other devices). The ’938

  specification discusses only black-box, conventional components such as a “controller,” an

  “electrical power device,” and a “switch.” And even if the specification more narrowly describes

  the problem to be solved as one of allowing remote power up to correct an error on a line card

  after a sufficient time to allow the card to reset, the “claim[] at issue here do[es] not contain

  meaningful limitations restricting them to non-routine, specific applications of the abstract idea.”

  Rondevoo Techs., LLC v. Aernos, Inc., No. CV 19-680-RGA, 2020 WL 1441116, at *5 (D. Del.

  Mar. 24, 2020); see also ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 766–70 (Fed.

  Cir. 2019) (ruling ineligible claims for an apparatus with remote enabling/disabling of charge

  transfer to electric vehicles as being directed to “nothing more than the abstract idea of

  communication over a network for interacting with a device, applied to the context of electric

  vehicle charging stations”), cert. denied, 140 S. Ct. 983 (2020).

  V.     U.S. PATENT NO. 7,903,971

         A.      Identification Of Prior Art

         Xilinx identifies the following prior art that anticipates or renders obvious asserted claims

  1 and 15 of U.S. Patent No. 7,903,971 (“the ’971 patent”):




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                                Patents and Patent Publications

   Patent or Publication No.                         Country Date of Publication or

                                                                  Issue

   U.S. Patent No. 7,471,903 (“Friskney”)            USA          December 30, 2008 (filed

                                                                  June 26, 2002)

   U.S. Patent No. 6,411,410 (“Wright”)              USA          July 25, 2002

   U.S. Patent No. 6,804,256 (“Chang”)               USA          October 12, 2004

   U.S. Patent No. 7,181,146 (“Yorks”)               USA          February 20, 2007 (filed

                                                                  December 20, 2001)

   U.S. Patent No. 6,417,942 (“Seto”)                USA          July 9, 2002

   U.S. Patent No. 7,242,868 (“Soto”)                USA          July 10, 2007 (filed June 10,

                                                                  2004)

   U.S. Patent No. 6,891,858 (“Mahesh”)              USA          May 10, 2005 (filed June 30,

                                                                  2000)

   U.S. Patent No. 7,085,500 (“Spickermann”)         USA          August 1, 2006 (filed April

                                                                  30, 2001)

   U.S. Patent No. 7,130,587 (“Hikokubo”)            USA          October 31, 2006 (filed

                                                                  August 22, 2002)

   U.S. Patent Pub. No. 2004/0170226 (“Agazzi”)      USA          September 2, 2004

   U.S. Patent No. 7,602,806 (“Yang”)                USA          October 13, 2009 (filed

                                                                  December 7, 2004)

   U.S. Patent No. 7,342,954 (“Fitton”)              USA          March 11, 2008 (filed

                                                                  February 25, 2003)

   U.S. Patent No. 6,763,193 (“Chand”)               USA          July 13, 2004

   U.S. Patent No. 6,546,014 (“Kramer”)              USA          April 8, 2003

   U.S. Patent No. 5,956,165 (“Fee”)                 USA          September 21, 1999



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                                Patents and Patent Publications

   Patent or Publication No.                            Country Date of Publication or

                                                                  Issue

   U.S. Patent No. 5,930,018 (“Effenberger”)            USA       July 27, 1999

   U.S. Patent No. 6,701,087 (“Beine”)                  USA       March 2, 2004

   U.S. Patent No. 6,850,711 (“Tsuruta”)                USA       February 1, 2005 (filed July

                                                                  6, 2001)

   U.S. Patent No. 7,171,123 (“Lee”)                    USA       January 30, 2007 (filed

                                                                  January 28, 2003)

   U.S. Patent No. 7,460,785 (“Dinu”)                   USA       December 2, 2008 (filed

                                                                  March 28, 2002)

   U.S. Patent No. 5,062,152 (“Faulkner”)               USA       October 29, 1991

   U.S. Patent No. 5,920,416 (“Beylat”)                 USA       July 6, 1999

   CN Patent No. 1,479,477 (“CN’477”)                   CN        March 2, 2004

   CN Patent No. 1,578,200 (“CN ’200”)                  CN        February 9, 2005 (filed July

                                                                  7, 2004)

   CN Patent No. 1,588,950 (“CN ’950”)                  CN        March 2, 2005 (filed July 22,

                                                                  2004)

   JP Patent No. 2,501,024 (“JP ’024”)                  JP        April 5, 1990

   JP Patent No. 2002/344,466                           JP        November 29, 2002

   JP Patent No. 2004/266,804                           JP        September 24, 2004

   JPH09247087                                          JP        September 19, 1997

   WO Patent No. 2004/040,832 (“Sudo”)                  WO        May 13, 2004

   U.S. Patent Pub. No. 2002/172,216 (“Asashiba”)       USA       November 21, 2002

   U.S. Patent Pub. No. 2003/011,835 (“Elbers”)         USA       January 16, 2003

   U.S. Patent Pub. No. 2003/011,854 (“Kahn”)           USA       January 16, 2003



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                                  Patents and Patent Publications

   Patent or Publication No.                           Country Date of Publication or

                                                                    Issue

   U.S. Patent Pub. No. 2004/057,733 (“Azadet”)        USA          March 25, 2004

   U.S. Patent Pub. No. 2005/180,575 (“Maeda”)         USA          August 18, 2005

   U.S. Patent No. 6,862,622 (“Jorgensen”)             USA          March 1, 2005 (filed July 9,

                                                                    1999)

   U.S. Patent Pub. No. 2002/0099854 (“Jorgensen       USA          July 25, 2002

   ’854”)

   WO Patent No. 1997/035,410A1 (“Hou”)                WO           September 25, 1997



                                    Other Printed Publications

   Title                           Author and Publisher             Date of Publication

   Optical Network unit for        Romero, et al. (EE Times)        December 10, 2002

   ATM-Based Passive Optical

   Networks

   Technical Report No. 59         Alliance for                     September 1999

   “Single-Carrier Rate            Telecommunications Industry

   Adaptive Digital Subscriber     Solutions (ATIS)

   Line (RADSL)”

   Internet Telephony: An          Erik Forsell                     June 10, 2005

   Internet Service Provider’s

   Perspective (Royal Institute

   of Technology Master of

   Science Thesis)

   Passive Optical Networks        Raj Jain                         September 7–11, 2003



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   Recent Developments and

   Issues (Presentation at

   Optical Transmission

   Systems and Equipment for

   WDM Networking II SPIE

   Conference)

   The IEEE 1355 Standard:        Stefan Haas                  December 1998

   Developments, Performance

   and Application in High

   Energy Physics

   Optical interconnection        Magnus Jonsson (SPIE         July/August 2003

   technology in switches,        Optical Networks Magazine)

   routers, and optical cross

   connects

   Digital Communications         Bernard Sklar                1988

   Fundamentals and

   Applications (Chapter 4 –

   Communications Link

   Analysis)

   Ethernet Passive Optical       Micheal P. McGarry et al.    2008

   Networks Architecture and

   Dynamic Bandwidth

   Allocation Algorithms

   Transmitter Equalization for   William J. Dally et al.      September 1996

   4Gb/s Signalling

   Star Comm V.34 and V.32        Star Comm                    January 2000



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   Data/Fax Modems Manual



                                          Prior Art Products

   Product                                       Date Offered for       Entity Making Offer

                                                 Sale

   Alcatel 7450 Ethernet Service Switch,         March 2004             Alcatel

   Release 1.0

          B.     Anticipation And Obviousness Grounds

          Xilinx asserts that the following prior art anticipates the indicated asserted claims:

   Prior Art                                            Asserted Claim(s) Anticipated

   Friskney                                             1, 15

   Spickermann                                          1, 15

   Agazzi                                               1, 15

   Chand                                                1, 15

   Yang                                                 1, 15

          Xilinx asserts that the following prior art renders obvious the indicated asserted claims

  for the reasons provided:

   Prior Art                                            Asserted Claim(s) Rendered Obvious

   Friskney                                             1, 15

   Friskney in view of Wright                           1, 15

   Friskney in view of Agazzi                           1, 15

   Friskney in view of Yang                             1, 15

   Friskney in view of Chand                            1, 15

   Friskney in view of Soto                             1, 15

   Spickermann in view of Soto                          1, 15

   Spickermann in view of Wright                        1, 15


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   Prior Art                                          Asserted Claim(s) Rendered Obvious

   Yang in view of Wright                             1, 15

   Yang in view of Soto                               1, 15

         Friskney:

         In addition to anticipating asserted claims 1 and 15, Friskeney also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Spickermann:
         In addition to anticipating asserted claims 1 and 15, Spikermann also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Agazzi:
         In addition to anticipating asserted claims 1 and 15, Agazzi also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be



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  insubstantial.

         Chand:

         In addition to anticipating asserted claims 1 and 15, Chand also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Yang:

         In addition to anticipating asserted claims 1 and 15, Yang also renders those claims

  obvious based on its disclosures, its express teachings, suggestions, and motivations to combine

  its disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that

  WSOU alleges that any limitation is not anticipated by this reference, such a limitation would be

  obvious based on the teachings in the reference and the knowledge of a person of ordinary skill

  in the art, and any differences between the reference and such a limitation would be

  insubstantial.

         Friskney in view of Wright:

         A person of ordinary skill in the art would have been motivated to combine Friskney and

  Wright to obtain well-known, expected benefits to Friskney, and would have had a reasonable

  expectation of success in making this combination. For example, Wright provides the benefit of

  wavelength-division multiplexing in passive optical networks. Wright further teaches the flexible

  sharing of downstream capacity to different optical receivers within a passive optical network.

  Id. 2:33-46, Figs. 1–2. Friskney can then apply these benefits to its design of an optical

  communication system with different bit rates employed to different links in order to adjust bit

  rate or symbols within a passive optical network.

         There are many similarities between Friskney and Wright. For example, they both are


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  related to optical communications systems and, in particular, systems using wavelength division

  multiplexed channels. Moreover, they both provide adaptive modulation for optical

  communication networks.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results. Further, no redesign of Friskney is required

  to apply the invention of Fiskney to the passive optical network framework with optical fibers as

  described in Wright.

         Friskney in view of Soto:

         A person of ordinary skill in the art would have been motivated to combine Friskney and

  Soto to obtain well-known, expected benefits to Friskney, and would have had a reasonable

  expectation of success in making this combination. For example, Soto provides particular m-ary

  modulation and equalization with the benefit of increased distance between OLT and ONU/ONT

  without increasing the line rate as compared to conventional systems with equivalent data

  throughput. See, Soto 6:1–11. Soto further teaches varies systems of channel equalization which

  utilize inner and outer coders for channel modulation, which may improve a PON system as the

  adaptable modulation described in Friskney. Id. Figs. 2–7, Friskney Abstract. Friskney can then

  apply these benefits to its design of an optical communication system with different bit rates

  employed to different links in order to adjust bit rate or symbols within a passive optical network

  based on acceptable signal-to-noise ratio measurements at the receiver as described in Soto.

         There are many similarities between Friskney and Soto. For example, they both are

  related to optical communications systems within optical networks and, in particular, systems

  using wavelength division multiplexed channels. Moreover, they both provide adaptive

  modulation or adaptive functions to line code for optical communication networks.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements


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  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results. Further, no redesign of Friskney is required

  to apply the invention of Fiskney to the passive optical network framework with optical fibers as

  described in Soto.

         Friskney in view of Yang:

         A person of ordinary skill in the art would have been motivated to combine Friskney and

  Yang to obtain well-known, expected benefits to Friskney, and would have had a reasonable

  expectation of success in making this combination. For example, Yang provides selection of a

  modulation scheme based on transmission distance. Yang 4:5–19, Fig. 4. Yang further teaches

  measuring the energy of a signal when determining a coding scheme. Id. Friskney can then

  apply these benefits to its design of an optical communication system with different bit rates

  employed to different links in order to select a particular NRZ or PAM4 modulation scheme

  within a passive optical network.

         There are many similarities between Friskney and Yang. For example, they both are

  related to communication systems and, in particular, systems using modulation schemes based on

  network quality.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results. Further, no redesign of Friskney is required

  to apply the invention of Fiskney to the passive optical network framework with optical fibers

  and select a modulation scheme based on transmission conditions as described in Yang.

         Friskney in view of Agazzi:

         A person of ordinary skill in the art would have been motivated to combine Friskney and

  Agazzi to obtain well-known, expected benefits to Friskney, and would have had a reasonable

  expectation of success in making this combination. For example, Agazzi describes methods and

  apparatus to utilize existing fiber optics systems to achieve high data transfer rates; further


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  describing multi-carrier modulation concepts. See, Agazzi ⁋ [0003], [0073]. Agazzi teaches that

  the multi-carrier modulation concepts can be implemented at improve transmission quality with

  lower improvement costs. Id. at [0084]. Friskney can then apply these benefits to its design of an

  optical communication system with different bit rates employed to different links in order to

  adjust bit rate or improve modulation for a passive optical network.

         There are many similarities between Friskney and Agazzi. For example, they both are

  related to optical communications systems within optical networks and, in particular, systems

  using modulation, coding, and signal processing techniques.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results. Further, no redesign of Friskney is required

  to apply the improvements taught by Agazzi to the optical network framework with optical fibers

  as described in Friskney.

         Friskney in view of Chand:

         A person of ordinary skill in the art would have been motivated to combine Friskney and

  Chand to obtain well-known, expected benefits to Friskney, and would have had a reasonable

  expectation of success in making this combination. For example, Chand describes methods and

  apparatus to utilize various modulation techniques within a passive optical network, including

  techniques for a passband system. See, Chand 3:16–47, 2:4–9. Chand teaches that 16 QAM or 64

  QAM may be selected based on the number of desired modulation states for the signal-to-noise

  ratio. Id. at 2:40–48. Friskney can then apply these benefits to its design of an optical

  communication system with different bit rates employed to different links in order to adjust bit

  rate or improve modulation for a passive optical network based on transmission quality.

         There are many similarities between Friskney and Chand. For example, they both are

  related to optical communications systems within optical networks and, in particular, systems

  using modulation to efficient communication. Additionally both disclose optimally transmitting a


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  signal among a plurality of end-user fibers by adjusting a signal.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results. Further, no redesign of Friskney is required

  to apply the improvements taught by Agazzi to the optical network framework with optical fibers

  as described in Friskney.

         Yang in view of Wright:

         A person of ordinary skill in the art would have been motivated to combine Yang and

  Wright to obtain well-known, expected benefits to Yang, and would have had a reasonable

  expectation of success in making this combination. For example, Wright provides the benefit of

  wavelength-division multiplexing in passive optical networks. Wright further teaches the flexible

  sharing of downstream capacity to different optical receivers within a passive optical network.

  Id. 2:33-46, Figs. 1–2. Yang can then apply these benefits to its design of a modulation selection

  based on transmission distance in order to adjust signal state or select a coding scheme within a

  passive optical network based on transmission quality.

         There are many similarities between Yang and Wright. For example, they both are

  related to optical communications systems and, in particular, systems using wavelength division

  multiplexed channels.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Yang in view of Soto:

         A person of ordinary skill in the art would have been motivated to combine Yang and

  Soto to obtain well-known, expected benefits to Yang, and would have had a reasonable

  expectation of success in making this combination. For example, Soto provides particular m-ary


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  modulation and equalization with the benefit of increased distance between OLT and ONU/ONT

  without increasing the line rate as compared to conventional PON systems with equivalent data

  throughput. See, Soto 6:1–11. Soto further teaches varies systems of channel equalization which

  utilize inner and outer coders for channel modulation, which may improve a PON system. Id.

  Figs. 2–7. Yang can then apply these benefits to its design of a modulation selection based on

  transmission distance in order to adjust signal state or select a coding scheme within a passive

  optical network based on acceptable signal-to-noise ratio or transmission distance.

         There are many similarities between Yang and Soto. For example, they both are related

  to coding modulation which may be adjusted based on transmission factors.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Spickermann in view of Wright:

         A person of ordinary skill in the art would have been motivated to combine Spickermann

  and Wright to obtain well-known, expected benefits to Spickermann, and would have had a

  reasonable expectation of success in making this combination. For example, Wright provides the

  benefit of wavelength-division multiplexing in passive optical networks. Wright further teaches

  the flexible sharing of downstream capacity to different optical receivers within a passive optical

  network. Id. 2:33-46, Figs. 1–2. Spickermann can then apply these benefits to its design of a

  programmable optical vector modulator and method for coherent optical signal communication

  within a passive optical network.

         There are many similarities between Spickermann and Wright. For example, they both

  are related to optical communications systems and, in particular, systems using optical

  modulation. Moreover, they both provide adaptive modulation for optical communication

  networks such as use of mesh points, 8-ary or 4-ary formats for symbol mapping.

         The combination of these references results in the combination of prior art elements


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  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results. Further, no redesign of Spickermann is

  required to apply the invention of Spickermann to the passive optical network framework with

  optical fibers as described in Wright.

         Spickermann in view of Soto:

         A person of ordinary skill in the art would have been motivated to combine Spickermann

  and Soto to obtain well-known, expected benefits to Spickermann, and would have had a

  reasonable expectation of success in making this combination. For example, Soto provides

  particular m-ary modulation and equalization with the benefit of increased distance between

  OLT and ONU/ONT without increasing the line rate as compared to conventional systems with

  equivalent data throughput. See, Soto 6:1–11. Soto further teaches varies systems of channel

  equalization which utilize inner and outer coders for channel modulation, which may improve a

  PON system. Id. Figs. 2–7. Spickermann can then apply these benefits to its design of

  maximizing the data using programmable software for phase constellations within a passive

  optical network based on acceptable signal-to-noise ratio measurements at the receiver as

  described in Soto.

         There are many similarities between Spickermann and Soto. For example, they both are

  related to optical communications systems and, in particular, systems using optical modulation.

  Moreover, they both provide adaptive modulation for optical communication networks such as

  use of various modulation techniques to maximize data rake based on transmission qualities

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results. Further, no redesign of Spickermann is

  required to apply the software adjustable optical modulation network of Spickermann to the




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  passive optical network framework with optical fibers as described in Soto.

         C.      Claim Charts

         Xilinx provides charts at the exhibit numbers indicated below, which identify specifically

  where and how in each alleged item of prior art each limitation of each asserted claim

  (anticipated or rendered obvious by the respective grounds identified above) is found, including

  for each limitation that Xilinx contends is governed by 35 U.S.C. § 112(6), the identity of the

  structure(s), act(s), or material(s) in each item of prior art that performs the claims function:

   Ground                                             Exhibit(s)

   Friskney                                           D-1

   Yang in view of Wright                             D-2

   Friskney in view of Yang                           D-3

   Friskney in view of Agazzi                         D-4

   Friskney in view of Soto                           D-5

   Friskney in view of Chand                          D-6

   Friskney in view of Wright                         D-7

   Spickermann in view of Wright                      D-8

   Spickermann in view of Soto                        D-9

   Yang in view of Soto                               D-10




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  VI.    U.S. PATENT NO. 9,312,838

         A.     Identification Of Prior Art

         Xilinx identifies the following prior art that anticipates or renders obvious asserted claim

  1 of U.S. Patent No. 9,312,838 (“the ’838 patent”):

                                  Patents and Patent Publications

   Patent or Publication No.                              Country Date of Publication or

                                                                      Issue

   U.S. Patent No. 8,531,222 (“Britton”)                  USA         September 10, 2013 (filed

                                                                      April 4, 2001)

   U.S. Patent No. 6,756,822 (“Kaviani”)                  USA         June 29, 2004

   U.S. Patent No. 7,471,120 (“Lou”)                      USA         December 30, 2008

   U.S. Patent Application Publication No.                USA         November 26, 2009

   2009/0289667 (“Novellini”)

   U.S. Patent Application Publication No.                USA         May 20, 2010

   2010/0123492 (“Atsumi”)

   U.S. Patent Application Publication No.                USA         May 30, 2013 (filed

   2013/0135011 (“Chen”)                                              November 30, 2011)

   U.S. Patent Application Publication No.                USA         March 24, 2005

   2005/0063502 (“Ware”)

   U.S. Patent No. 3,261,919 (“Aaron ’919”)               USA         July 19, 1966

   U.S. Patent No. 3,261,920 (“Aaron ’920”)               USA         July 19, 1966

   U.S. Patent No. 3,959,648 (“Pitts”)                    USA         May 25, 1976

   U.S. Patent No. 5,056,119 (“Sakalian”)                 USA         October 8, 1991

   U.S. Patent No. 5,297,869 (“Benham”)                   USA         March 29, 1994

   U.S. Patent No. 5,602,880 (“Webster”)                  USA         February 11, 1997

   U.S. Patent No. 5,834,979 (“Yatsuka”)                  USA         November 10, 1998

   U.S. Patent No. 6,111,447 (“Ternullo”)                 USA         August 29, 2000

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                                Patents and Patent Publications

   Patent or Publication No.                           Country Date of Publication or

                                                                  Issue

   U.S. Patent No. 6,396,888 (“Notani”)                USA        May 28, 2002

   U.S. Patent No. 7,499,368 (“Rao”)                   USA        March 3, 2009

   U.S. Patent No. 8,344,769 (“Adachi”)                USA        January 1, 2013

   U.S. Patent No. 8, 390,347 (“Sinha”)                USA        March 5, 2013

   U.S. Patent Application No. 2002/0181360            USA        December 5, 2002

   (“Hamada”)

   U.S. Patent Application No. 2006/0267640            USA        November 30, 2006

   (“Travis”)

   U.S. Patent Application No. 2007/0025489            USA        February 1, 2007

   (“Milton”)

   U.S. Patent Application No. 2008/0266001            USA        October 30, 2008

   (“Griffin”)

   U.S. Patent Application No. 2008/0315921 (“Cha”)    USA        December 25, 2008

   U.S. Patent Application No. 2011/0055671 (“Kim”) USA           March 3, 2011

   U.S. Patent Application No. 2011/0063039            USA        March 17, 2011

   (“Maruko”)

   U.S. Patent Application No. 2011/0150065            USA        June 23, 2011

   (“Tailliet”)

   U.S. Patent Application No. 2011/0156766 (“Ahn      USA        June 30, 2011

   ’766”)

   U.S. Patent Application No. 2011/0156767 (“Ahn      USA        June 30, 2011

   ’767”)

   U.S. Patent Application No. 2011/0291730 (“Ahn      USA        December 1, 2011



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                                  Patents and Patent Publications

   Patent or Publication No.                            Country Date of Publication or

                                                                    Issue

   ’730”)

   U.S. Patent Application No. 2014/0097877             USA         April 10, 2014 (filed

   (“Baeckler”)                                                     December 25, 2008)



                                    Other Printed Publications

   Title                           Author and Publisher             Date of Publication

   MMCM Dynamic                    Xilinx                           June 9, 2010

   Reconfiguration, XAPP878

   (v1.1)

   Virtex-5 FPGA User Guide,       Xilinx                           December 11, 2007

   UG190 (v3.2)

   Virtex-5 FPGA User Guide,       Xilinx                           March 16, 2012

   UG190 (v5.4)

   UltraScale Architecture         Xilinx                           December 10, 2013

   Clocking Resources:

   Advance Specification User

   Guide, UG572 (v1.0)

   Altera Stratix Device           Altera Corporation               April 2004

   Handbook, Volume 2,

   Chapter 1: General-Purpose

   PLLs in Stratix & Stratix GX

   Devices




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                                         Prior Art Products

   Product                                     Date Offered for       Entity Making Offer

                                               Sale

   Virtex-5 FPGA devices                       At least as early as   Xilinx

                                               December 2007

   Virtex-6 FPGA devices                       At least as early as   Xilinx

                                               June 2010

   Xilinx UltraScale FPGA devices              At least as early as   Xilinx

                                               December 2013

   Altera Stratix & Stratix GX devices         At least as early as   Altera

                                               April 2004

         Xilinx FPGA Devices:

         To the extent WSOU attempts to read claim 1 of the asserted ’838 as infringed by the

  clock management functionality in Xilinx’s accused products, the same or substantially similar

  functionality existed in at least the Virtex-5, Virtex-6 FPGA, and UltraScale devices, which

  predate the ’838 patent’s March 16, 2013 filing date. Xilinx produced documents evidencing

  this fact as part of its September 29, 2021 production of technical documents pursuant to

  Paragraph 7(b) of the Scheduling Order, see, e.g., XILINX_WSOU-0029127 (a Virtex-5 FPGA

  User Guide UG190 illustrating the same block diagram WSOU accuses of infringing claim 1, as

  detailed in Xilinx’s Initial Claim Chart Exhibit E-7); XILINX_WSOU-0017566 (an UltraScale

  User Guide UG572 identifying December 20, 2013 as the Initial Release version 1.0 and

  illustrating the same block diagram WSOU accuses of infringing claim 1, as detailed in Xilinx’s

  Initial Claim Chart Exhibit E-9), and is producing additional prior art documentation concurrent

  with these Initial Invalidity Contentions. Accordingly, although Xilinx’s accused products do

  not infringe claim 1, under WSOU’s Infringement Contentions, claim 1 is anticipated and

  rendered obvious by at least the prior art Virtex-5, Virtex-6, and UltraScale Xilinx devices, as



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  well as by related product documentation and manuals that also qualify as prior art and disclose

  the same or substantially similar functionality as WSOU has accused of infringement.

            Altera Stratix & Stratix GX Devices:

            Altera Stratix and Stratix GX devices were offered for sale by Altera Corporation at least

  as early as April 2004, before the earliest possible priority date of the ’838 patent.

            B.     Anticipation And Obviousness Grounds

            Xilinx asserts that the following prior art anticipates the indicated asserted claims:

   Prior Art                                            Asserted Claim(s) Anticipated

   Britton                                              1

   Kaviani                                              1

   Lou                                                  1

   Novellini                                            1

   Atsumi                                               1

   Chen                                                 1

   MMCM Dynamic Reconfiguration, XAPP878 1

   (v1.1)

   Virtex-5 FPGA User Guide, UG190 (v3.2 and 1

   v5.4)

   UltraScale Architecture Clocking Resources:          1

   Advance Specification User Guide, UG572

   (v1.0)

   Xilinx Virtex-5 FPGA devices                         1

   Xilinx Virtex-6 FGPA devices                         1

   Xilinx UltraScale FPGA devices                       1

   Altera Stratix & Stratix GX devices                  1

            Xilinx asserts that the following prior art renders obvious the indicated asserted claims

  for the reasons provided:


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   Prior Art                                           Asserted Claim(s) Rendered Obvious

   Britton                                             1

   Kaviani                                             1

   Lou                                                 1

   Lou in view of Britton                              1

   Lou in view of Kaviani                              1

   Novellini                                           1

   Atsumi                                              1

   Chen                                                1

   MMCM Dynamic Reconfiguration, XAPP878 1

   (v1.1)

   Virtex-5 FPGA User Guide, UG190 (v3.2 and 1

   v5.4)

   UltraScale Architecture Clocking Resources:         1

   Advance Specification User Guide, UG572

   (v1.0)

   Xilinx Virtex-5 FPGA devices                        1

   Xilinx Virtex-6 FGPA devices                        1

   Xilinx UltraScale FPGA devices                      1

   Altera Stratix & Stratix GX devices                 1

            Britton:

            In addition to anticipating asserted claim 1, Britton also renders that claim obvious based

  on its disclosures, its express teachings, suggestions, and motivations to combine its disclosures,

  and the knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that

  any limitation is not anticipated by this reference, such a limitation would be obvious based on

  the teachings in the reference and the knowledge of a person of ordinary skill in the art, and any



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  differences between the reference and such a limitation would be insubstantial.

         Kaviani:

         In addition to anticipating asserted claim 1, Kaviani also renders that claim obvious based

  on its disclosures, its express teachings, suggestions, and motivations to combine its disclosures,

  and the knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that

  any limitation is not anticipated by this reference, such a limitation would be obvious based on

  the teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         Lou:

         In addition to anticipating asserted claim 1, Lou also renders that claim obvious based on

  its disclosures, its express teachings, suggestions, and motivations to combine its disclosures, and

  the knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that any

  limitation is not anticipated by this reference, such a limitation would be obvious based on the

  teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         Lou in view of Britton:

         A person of ordinary skill in the art would have been motivated to combine Lou and

  Britton to obtain well-known, expected benefits to Lou, and would have had a reasonable

  expectation of success in making this combination. For example, Britton provides the benefits of

  one or more frequency dividers that divide the frequency of a clock signal. See, e.g., Britton,

  10:4–10, Fig. 5. Lou can then apply these benefits to its design of a clock switch for generation

  of a multi-frequency clock signal in order to stabilize clock signals at a lower frequency.

         There are many similarities between Lou and Britton. For example, they both are related

  to clock management circuits equipped to synchronize or stabilize multiple asynchronous input

  clock signals. Moreover, they both provides methods and apparatus for generating a reference

  clock signal based on the multiple asynchronous input clock signals.

         The combination of these references results in the combination of prior art elements


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  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Lou in view of Kaviani:

         A person of ordinary skill in the art would have been motivated to combine Lou and

  Kaviani to obtain well-known, expected benefits to Lou, and would have had a reasonable

  expectation of success in making this combination. For example, Kaviani provides the benefits

  of one or more frequency dividers that divide the frequency of a clock signal by a preselected

  amount “D” or “M.” See, e.g., Kaviani, 2:57–65. Lou can then apply these benefits to its design

  of a clock switch for generation of a multi-frequency clock signal in order to stabilize clock

  signals at a lower frequency.

         There are many similarities between Lou and Kaviani. For example, they both are related

  to clock management circuits equipped to synchronize or stabilize multiple asynchronous input

  clock signals. Moreover, they both provides methods and apparatus for generating a reference

  clock signal based on the multiple asynchronous input clock signals.

         The combination of these references results in the combination of prior art elements

  according to known methods to obtain predictable results, a predictable use of prior art elements

  according to their established functions, and applying a known technique to a known device

  ready for improvement to yield predictable results.

         Novellini:

         In addition to anticipating asserted claim 1, Novellini also renders that claim obvious

  based on its disclosures, its express teachings, suggestions, and motivations to combine its

  disclosures, and the knowledge of a person of ordinary skill in the art. To the extent that WSOU

  alleges that any limitation is not anticipated by this reference, such a limitation would be obvious

  based on the teachings in the reference and the knowledge of a person of ordinary skill in the art,




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  and any differences between the reference and such a limitation would be insubstantial.

         Atsumi:

         In addition to anticipating asserted claim 1, Atsumi also renders that claim obvious based

  on its disclosures, its express teachings, suggestions, and motivations to combine its disclosures,

  and the knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that

  any limitation is not anticipated by this reference, such a limitation would be obvious based on

  the teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         Chen:

         In addition to anticipating asserted claim 1, Chen also renders that claim obvious based

  on its disclosures, its express teachings, suggestions, and motivations to combine its disclosures,

  and the knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that

  any limitation is not anticipated by this reference, such a limitation would be obvious based on

  the teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         Virtex-5 FPGA User Guide, UG190 and Virtex-5 FPGA Devices:

         In addition to the anticipation of asserted claim 1 by Virtex-5 FPGA devices and the

  Xilinx Virtex-5 FPGA User Guide, UG190, those devices and that manual also render that claim

  obvious, including in combination with the knowledge of a person of ordinary skill in the art. To

  the extent that WSOU alleges that any limitation is not anticipated by this reference, such a

  limitation would be obvious based on the teachings in the reference and the knowledge of a

  person of ordinary skill in the art, and any differences between the reference and such a

  limitation would be insubstantial.

         MMCM Dynamic Reconfiguration, XAPP878 (v1.1) and Virtex-6 FPGA Devices:

         In addition to the anticipation of claim 1 by Virtex-6 FPGA devices and Application Note

  878 (XAPP878), entitled “MMCM Dynamic Reconfiguration,” those devices and that document

  also render that claim obvious, including in combination with the knowledge of a person of


                                                - 85 -                    Xilinx’s Invalidity Contentions
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  ordinary skill in the art. To the extent that WSOU alleges that any limitation is not anticipated

  by this reference, such a limitation would be obvious based on the teachings in the reference and

  the knowledge of a person of ordinary skill in the art, and any differences between the reference

  and such a limitation would be insubstantial.

         UltraScale Architecture Clocking Resources: Advance Specification User Guide, UG572

  (v1.0) and Xilinx UltraScale FPGA Devices:

         In addition to the anticipation of claim 1 by UltraScale FPGA devices and the UltraScale

  Architecture Clocking Resources: Advance Specification User Guide, UG572 (v1.0), those

  devices and that document also render that claim obvious, including in combination with the

  knowledge of a person of ordinary skill in the art. To the extent that WSOU alleges that any

  limitation is not anticipated by this reference, such a limitation would be obvious based on the

  teachings in the reference and the knowledge of a person of ordinary skill in the art, and any

  differences between the reference and such a limitation would be insubstantial.

         Altera Stratix & Stratix GX Devices:

         In addition to the anticipation of claim 1 by Altera Stratix and Stratix GX devices, as

  evidenced at least by the Altera Stratix Device Handbook, Volume 2, those devices (and that

  device handbook) also render that claim obvious, including in combination with the knowledge

  of a person of ordinary skill in the art. To the extent that WSOU alleges that any limitation is not

  anticipated by this reference, such a limitation would be obvious based on the teachings in the

  reference and the knowledge of a person of ordinary skill in the art, and any differences between

  the reference and such a limitation would be insubstantial.

         C.      Claim Charts

         Xilinx provides charts at the exhibit numbers indicated below, which identify specifically

  where and how in each alleged item of prior art each limitation of each asserted claim

  (anticipated or rendered obvious by the respective grounds identified above) is found, including

  for each limitation that Xilinx contends is governed by 35 U.S.C. § 112(f), the identity of the

  structure(s), act(s), or material(s) in each item of prior art that performs the claims function:


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C a s e         1 : 2 0 - c v - 0 1 2 2 8 - C F C - J L H                                        D o c
                                 5 1 5 5



  Ground                                          Exhibit(s)

  Britton                                         E-1

  Kaviani                                         E-2

  Lou                                             E-3

  Novellini                                       E-4

  Atsumi                                          E-5

  Chen                                            E-6

  Xilinx Virtex-5 FPGA devices and Virtex-5       E-7

  FPGA User Guide, UG190

  Xilinx Virtex-6 FGPA devices and MMCM           E-8

  Dynamic Reconfiguration, XAPP878 (v1.1)

  Xilinx UltraScale devices and UltraScale        E-9

  Architecture Clocking Resources: Advance

  Specification User Guide, UG572 (v1.0)

  Altera Stratix & Stratix GX devices             E-10




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  VII.   DOCUMENT PRODUCTION ACCOMPANYING INITIAL INVALIDITY

         CONTENTIONS

         Concurrent with service of these Initial Invalidity Contentions, Xilinx has served or is

  serving a copy or sample of the prior art identified pursuant to Paragraph 7(d) of the Scheduling

  Order. Documents produced pursuant to Paragraph 7(d) bear Bates Nos. XILINX_WSOU-

  0043725 – XILINX_WSOU-0049830.

         Information designated “HIGHLY CONFIDENTIAL – SOURCE CODE” relating to

  Xilinx’s Virtex-5 FPGA, Virtex-6 FPGA, and UltraScale FPGA prior art products is being

  produced on a Source Code Review computer, as set forth in paragraph 12 of the Protective

  Order, at the offices of Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North

  King Street, Wilmington, DE 19801.




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   Dated: December 1, 2021

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                                 CERTIFICATE OF SERVICE

         I hereby certify that the foregoing document was served on all counsel of record via

  electronic service on December 1, 2021.

                                                     /s/ Thomas W. Ritchie
                                                     Thomas W. Ritchie




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                                                             5159
WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH               U.S. Patent No. 6,784,653


                                                    U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated and/or obvious in view of U.S. Patent No.
6,728,311 entitled “Apparatus and Method for Creating Eye Diagram” to Waschura et al. (“Waschura”), either alone or combination
with the knowledge of a person of ordinary skill in the art (“POSA”).

Waschura was filed on April 4, 2000, and issued on April 27, 2004. Therefore, Waschura qualifies as prior art under at least pre-AIA
35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                  Prior Art Teachings
 1(a) Eye monitor for          To the extent that the preamble is limiting, Waschura discloses and renders obvious an eye monitor for
 evaluating a binary input     evaluating a binary input signal of a transmission link and for recognizing the edges of an eye diagram
 signal of a transmission      of the input signal. Waschura discloses an eye monitor for evaluating a binary input signal of a
 link and for recognizing      transmission link and for capturing an eye diagram of the input signal.
 the edges of an eye
 diagram of the input          Waschura describes determining characteristics of a high speed binary pulse coded bit stream.
 signal,                       Waschura generates an eye diagram to determine those characteristics.

                               See Waschura, Abstract.




                                                                   1
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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH               U.S. Patent No. 6,784,653


  ’653 Claim Language                                     Prior Art Teachings




                         See Waschura, 1:6-10.




                         See Waschura, 1:12-22.




                                                      2
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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH               U.S. Patent No. 6,784,653


  ’653 Claim Language                                     Prior Art Teachings




                         See Waschura, 1:34-54.




                                                      3
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                                                             5162
WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH               U.S. Patent No. 6,784,653


  ’653 Claim Language                                     Prior Art Teachings




                         See Waschura, 2:6-17.




                                                      4
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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH               U.S. Patent No. 6,784,653


  ’653 Claim Language                                     Prior Art Teachings




                         See Waschura, 2:27-39.




                         See Waschura, 2:40-52.




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  ’653 Claim Language                                     Prior Art Teachings




                         See Waschura, 2:53-64.




                         See Waschura, 3:4-9.




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  ’653 Claim Language                                            Prior Art Teachings




                        Waschura discloses an eye diagram generated in the display as the statistical eye diagram. See Waschura,
                        FIG. 1.




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  ’653 Claim Language                                     Prior Art Teachings

                        See Waschura, 3:10-11.




                        See Waschura, FIG. 2.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, 6:30-34.




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  ’653 Claim Language                                                  Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious.
                              Moreover, it would have been obvious to one of ordinary skill in the art to modify Waschura so as to
                              include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(b) comprising a decision    Waschura discloses and renders obvious a decision circuit which is directly connected to an integrator.
circuit which is directly     Waschura discloses a decision circuit. Waschura discloses the integrator connected to the decision
connected to an integrator,   circuit without an EXOR gate (or any EXOR function) between the decision circuit and the integrator.

                              Waschura discloses an eye monitor with logic elements.

                              See Waschura, 4:66-67, 5:1-9.




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  ’653 Claim Language                                     Prior Art Teachings
                        See Waschura, FIG. 1.




                        See Waschura, FIG. 2.




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  ’653 Claim Language                                            Prior Art Teachings




                        Waschura discloses a decision circuit which is directly connected to an integrator; wherein the integrator
                        is the control logic in combination with the threshold and measurement window counter. See Waschura,
                        5:5-26, Fig. 2




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  ’653 Claim Language                                     Prior Art Teachings




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  ’653 Claim Language                                               Prior Art Teachings




                          To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious. Moreover,
                          it would have been obvious to one of ordinary skill in the art to modify Waschura so as to include this
                          claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(c) wherein the input   Waschura discloses the input signal and a variable threshold being provided to the decision circuit.
 signal and a variable
                          See Waschura, 4:66-67, 5:1-9.



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  ’653 Claim Language                                      Prior Art Teachings
 threshold are provided to
 the decision circuit and




                             See Waschura, 5:27-38.




                             See Waschura, 7:48-57.




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  ’653 Claim Language                                            Prior Art Teachings




                        Waschura discloses a variable offset and input signal provided to a decision circuit.
                        See Waschura, 5:5-26, Fig. 2




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  ’653 Claim Language                                     Prior Art Teachings




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   ’653 Claim Language                                                  Prior Art Teachings




                               To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Waschura so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(d) wherein an output        Waschura discloses an output signal of the integrator being used to recognize the edges of the eye
 signal of the integrator is   diagram.


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  ’653 Claim Language                                             Prior Art Teachings
 used to recognize the
 edges of the eye diagram.   See Waschura, 3:54-60, Fig. 2




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, Fig. 1.




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  ’653 Claim Language                                                  Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious.
                              Moreover, it would have been obvious to one of ordinary skill in the art to modify Waschura so as to
                              include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.


 7(a) Method of evaluating    To the extent that the preamble is limiting, Waschura discloses and renders obvious a method of
 a binary input signal of a   evaluating a binary input signal of a transmission link and of recognizing the edges of an eye diagram
 transmission link and of     of the input signal. Waschura discloses an eye monitor for evaluating a binary input signal of a
 recognizing the edges of     transmission link and for capturing an eye diagram of the input signal.
 an eye diagram of the
 input signal,                Waschura describes determining characteristics of a high speed binary pulse coded bit stream.
                              Waschura generates an eye diagram to determine those characteristics.

                              See Waschura, Abstract.



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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, 1:6-10.




                        See Waschura, 1:12-22.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, 1:34-54.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, 2:6-17.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, 2:27-39.




                        See Waschura, 2:40-52.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, 2:53-64.




                        See Waschura, 3:4-9.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, FIG. 1.




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  ’653 Claim Language                                     Prior Art Teachings
                        See Waschura, 3:10-11.




                        See Waschura, FIG. 2.




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   ’653 Claim Language                                                   Prior Art Teachings
                               See Waschura, 6:30-34.




                               To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Waschura so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(b) wherein a decision       Waschura discloses and renders obvious wherein a decision circuit is directly connected to an
 circuit is directly           integrator. Waschura discloses a decision circuit. Waschura discloses the integrator connected to the
 connected to an integrator,   decision circuit without an EXOR gate (or any EXOR function) between the decision circuit and the
 and                           integrator.

                               Waschura discloses an eye monitor with logic elements.

                               See Waschura, 4:66-67, 5:1-9.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, FIG. 1.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, FIG. 2.




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  ’653 Claim Language                                            Prior Art Teachings




                        To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious.
                        Moreover, it would have been obvious to one of ordinary skill in the art to modify Waschura so as to
                        include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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  ’653 Claim Language                                                Prior Art Teachings
 7(c) comprising the steps   Waschura discloses comprising the steps of providing the input signal and a variable threshold to the
 of providing the input      decision circuit.
 signal and a variable
 threshold to the decision   See Waschura, 4:66-67, 5:1-9.
 circuit and




                             See Waschura, 5:27-38.




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  ’653 Claim Language                                            Prior Art Teachings

                        See Waschura, 7:48-57.




                        Waschura discloses a variable offset and input signal provided to a decision circuit.
                        See Waschura, 5:5-26, Fig. 2




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  ’653 Claim Language                                     Prior Art Teachings




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  ’653 Claim Language                                            Prior Art Teachings




                        To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious.
                        Moreover, it would have been obvious to one of ordinary skill in the art to modify Waschura so as to
                        include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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  ’653 Claim Language                                                  Prior Art Teachings
                              To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious.
                              Moreover, it would have been obvious to one of ordinary skill in the art to modify Waschura so as to
                              include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(d) using an output signal Waschura discloses an output signal of the integrator being used to recognize the edges of the eye
 of the integrator to        diagram.
 recognize the edges of the
 eye diagram.                See Waschura, 3:54-60, Fig. 2




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  ’653 Claim Language                                     Prior Art Teachings




                        See Waschura, Fig. 1.




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  ’653 Claim Language                                            Prior Art Teachings




                        To the extent this limitation is not explicitly disclosed by Waschura, it is inherent or obvious.
                        Moreover, it would have been obvious to one of ordinary skill in the art to modify Waschura so as to
                        include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                    U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated and/or obvious in view of U.S. Patent No.
4,823,360 entitled “Binary Data Regenerator With Adaptive Threshold Level” to Tremblay et al. (“Tremblay”). Tremblay was filed on
February 12, 1988, and issued on April 18, 1989. Therefore, Tremblay qualifies as prior art under at least pre-AIA 35 U.S.C. §§ 102(a),
(b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                  Prior Art Teachings
 1(a) Eye monitor for          To the extent that the preamble is limiting, Tremblay discloses analyzing eye closure diagrams to
 evaluating a binary input     determine signal quality of the input signal. Eye closure diagrams could be used to identify the edges of
 signal of a transmission      an eye diagram. See Tremblay, 3:20-33.
 link and for recognizing
 the edges of an eye
 diagram of the input
 signal,




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  ’653 Claim Language                                         Prior Art Teachings
                         See Tremblay, Figs. 2a-2c.




                         See Tremblay, 5:63-68, 6:1-12.




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  ’653 Claim Language                                                   Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Tremblay, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Tremblay so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(b) comprising a decision    Tremblay discloses a decision circuit which is directly connected to an integrator. Although Tremblay
circuit which is directly     discloses an EXOR gate, the integrator in Tremblay is directly connected to the decision circuit (the
connected to an integrator,   comparator 40 and flip flop 46 or the comparator 44 and the flip flop 50) with the integrator output
                              connected to the input of the decision circuit in a closed loop. See, Tremblay, Fig. 3.




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  ’653 Claim Language                                           Prior Art Teachings




                        Tremblay discloses multiple difference integrators formed by various electrical components in Figure
                        3, with each of the integrators being directly coupled to a decision circuit. See Tremblay, 6:45-55.




                        See Tremblay, 4:1-34.



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  ’653 Claim Language                                       Prior Art Teachings




                        See Tremblay, 4:52-68, 5:1-7.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Tremblay, Fig. 3.




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  ’653 Claim Language                                                  Prior Art Teachings




                             To the extent this limitation is not explicitly disclosed by Tremblay, it is inherent or obvious.
                             Moreover, it would have been obvious to one of ordinary skill in the art to modify Tremblay so as to
                             include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(c) wherein the input      Tremblay discloses an input signal and variable threshold provided to a decision circuit. Tremblay
 signal and a variable       discloses a data input 28 provided to decision circuitry in Figure 3, with each of the integrators being
 threshold are provided to   directly coupled to a decision circuit. See Tremblay, 6:45-55.
 the decision circuit and




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  ’653 Claim Language                                             Prior Art Teachings
                         Alternatively, the performance monitor in Tremblay may be identified as the decision circuitry. See
                         Tremblay, 5:13-37.




                         In Tremblay an input signal is provided to the decision circuit through the data input line 28. See
                         Tremblay, Fig. 1.




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  ’653 Claim Language                                            Prior Art Teachings




                         Variable thresholds are provided to the decision circuit through V+/V- outputs from the error counting
                         circuits (22, 24) and the output of the difference integrators 64 and 66. See Tremblay, Fig. 3.




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   ’653 Claim Language                                                  Prior Art Teachings




                               To the extent this limitation is not explicitly disclosed by Tremblay, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Tremblay so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(d) wherein an output        Tremblay discloses an output signal of the integrator is used to recognize the edges of the eye diagram.
 signal of the integrator is
 used to recognize the         Tremblay discloses the use of thresholds provided to a decision circuit. See Tremblay, 5:13-37.
 edges of the eye diagram.




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  ’653 Claim Language                                      Prior Art Teachings




                         See Tremblay, 1:21-34.




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  ’653 Claim Language                                      Prior Art Teachings




                         See Tremblay, Figure 3.




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  ’653 Claim Language                                                  Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Tremblay, it is inherent or obvious.
                              Moreover, it would have been obvious to one of ordinary skill in the art to modify Tremblay so as to
                              include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.


 7(a) Method of evaluating    To the extent that the preamble is limiting, Tremblay discloses and renders obvious a method of
 a binary input signal of a   evaluating a binary input signal of a transmission link and of recognizing the edges of an eye diagram
 transmission link and of     of the input signal.
 recognizing the edges of
 an eye diagram of the        Tremblay discloses analyzing of eye closure diagrams to determine signal quality. See Tremblay, 3:20-
 input signal,                33.




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                         See Tremblay, Figs. 2a-2c.




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                         See Tremblay, 5:63-68, 6:1-12.




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   ’653 Claim Language                                                  Prior Art Teachings




 7(b) wherein a decision       Tremblay discloses wherein a decision circuit is directly connected to an integrator. Tremblay
 circuit is directly           discloses a decision circuit directly connected to an integrator. Although Tremblay discloses an EXOR
 connected to an integrator,   gate, the integrator in Tremblay is directly connected to the decision circuit (the comparator 40 and
 and                           flip flop 46 or the comparator 44 and the flip flop 50) with the integrator output connected to the input
                               of the decision circuit in a closed loop. See, Tremblay, Fig. 3.




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  ’653 Claim Language                                            Prior Art Teachings




                         Tremblay discloses a decision circuit which is directly connected to an integrator. Tremblay discloses
                         multiple difference integrators formed by various electrical components in Figure 3, with each of the
                         integrators being directly coupled to a decision circuit. See Tremblay, 6:45-55.




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  ’653 Claim Language                                         Prior Art Teachings
                         See Tremblay, 4:1-34.




                         See Tremblay, 4:52-68, 5:1-7.



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  ’653 Claim Language                                      Prior Art Teachings




                         See Tremblay, Fig. 3.




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  ’653 Claim Language                                                  Prior Art Teachings




                             Tremblay is using the decision circuit directly connected to an integrator taught by Tremblay.

                             To the extent this limitation is not explicitly disclosed by Tremblay, it is inherent or obvious.
                             Moreover, it would have been obvious to one of ordinary skill in the art to modify Tremblay so as to
                             include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(c) comprising the steps   Tremblay discloses an input signal and variable threshold provided to a decision circuit. Tremblay
 of providing the input      discloses a data input 28 provided to decision circuitry in Figure 3, with each of the integrators being
 signal and a variable       directly coupled to a decision circuit. See Tremblay, 6:45-55.
 threshold to the decision
 circuit and




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  ’653 Claim Language                                             Prior Art Teachings

                         Alternatively, the performance monitor in Tremblay may be identified as the decision circuitry. See
                         Tremblay, 5:13-37.




                         In Tremblay an input signal is provided to the decision circuit through the data input line 28. See
                         Tremblay, Fig. 1.




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  ’653 Claim Language                                            Prior Art Teachings




                         Variable thresholds are provided to the decision circuit through V+/V- outputs from the error counting
                         circuits (22, 24) and the output of the difference integrators 64 and 66. See Tremblay, Fig. 3.




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   ’653 Claim Language                                                  Prior Art Teachings




                               To the extent this limitation is not explicitly disclosed by Tremblay, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Tremblay so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(d) using an output signal   Tremblay discloses using an output signal of the integrator to recognize the edges of the eye diagram.
 of the integrator to
 recognize the edges of the    Tremblay discloses the use of thresholds provided to a decision circuit. See Tremblay, 5:13-37.
 eye diagram.




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  ’653 Claim Language                                      Prior Art Teachings




                         See Tremblay, 1:21-34.




                         See Tremblay, Figure 3.



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  ’653 Claim Language                                             Prior Art Teachings




                         To the extent this limitation is not explicitly disclosed by Tremblay, it is inherent or obvious.
                         Moreover, it would have been obvious to one of ordinary skill in the art to modify Tremblay so as to
                         include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                   U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated and/or obvious in view of U.S. Patent No.
6,188,737 entitled “Method and Apparatus for Regenerating Data” to Bruce et al. (“Bruce”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions.

Bruce was filed on November 24, 1999 and issued on February 13, 2001. Therefore, Bruce qualifies as prior art under at least pre-AIA
35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as
understood by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms.
Because discovery is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its
invalidity contentions based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                 Prior Art Teachings
 1(a) Eye monitor for         To the extent that the preamble is limiting, the combination of Bruce discloses and renders obvious an
 evaluating a binary input    eye monitor for evaluating a binary input signal of a transmission link and for recognizing the edges of
 signal of a transmission     an eye diagram of the input signal. Bruce discloses an eye monitor for evaluating an input signal and
 link and for recognizing     for recognizing the edges of the input signal.
 the edges of an eye
 diagram of the input         Bruce discloses a circuit or monitoring unit for evaluating binary input signals and detecting edges of
 signal,                      the signal. See Bruce, 1:39-36.




                              See Bruce, 3:62-68-4:1-10.




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  ’653 Claim Language                                            Prior Art Teachings




                        See Bruce, 6:1-8.




                        Bruce discloses a monitoring unit (eye monitor) for measuring a binary input signal (Sin(t)). See
                        Bruce, Fig. 1.




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  ’653 Claim Language                                           Prior Art Teachings




                        Bruce discloses generating an eye diagram at the monitoring unit for measuring bit error rates and
                        generating regenerated data based on the signal eye. See Bruce, Fig. 3.




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  ’653 Claim Language                                             Prior Art Teachings




                        To the extent that it is argued that Bruce does not explicitly teach “recognizing the edges of an eye
                        diagram,” it would have been obvious to a POSA to take the eye diagram of Bruce in view of the
                        knowledge of the POSA (including the benefits of identifying the edges of an eye diagram). For
                        example, Bruce notes that, “for low bit rate Signals where the optimum Sampling phase can be located
                        near an edge of the data eye, this can lead to a failure of the data path.” Bruce at 2:22-24.

                        To the extent this limitation is not explicitly disclosed by Bruce, it is inherent or obvious. Moreover, it
                        would have been obvious to one of ordinary skill in the art to modify Bruce so as to include this claim
                        limitation in light of the knowledge possessed by one of ordinary skill in the art.




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  ’653 Claim Language                                                   Prior Art Teachings
1(b) comprising a decision    Bruce discloses a decision circuit which is directly connected to an integrator. Although Bruce
circuit which is directly     discloses an EXOR gate, the integrator in Bruce is directly connected to the decision circuit with the
connected to an integrator,   integrator output connected to the input of the decision circuit in a closed loop. See Bruce, Fig. 4.

                              Bruce Figure 4 illustrates a monitoring circuit including a plurality of decisions circuits which include
                              electrical components for comparing the input signal and the output of the in tegrator. See Bruce, Fig.
                              4. The decision circuit is identified as REFH 20 or REFL 24 which are referred to as an upper pseudo
                              channel and lower pseudo channel for generating pseudo-errors on binary zeros. See Bruce, 7:15-35.




                              This is an example monitoring unit which includes integrators 46 and 62 which are directly connected
                              to the upper pseudo channel 20 and the lower pseudo channel 24 respectively. See Bruce, Fig. 4.




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  ’653 Claim Language                                           Prior Art Teachings




                        Bruce discloses inverting integrators which are directly connected to the respective pseudo channels
                        20, 24. See Bruce, 8:9-23, 8:45-58.




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                                                     U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated in view of U.S. Patent No. 4,376,309 entitled
“Method and Apparatus for Signal-eye Tracking in Digital Transmission Systems” to Fenderson et al. (“Fenderson”). Fenderson was
filed on May 29, 1981, and issued on March 8, 1983. Therefore, Fenderson qualifies as prior art under at least pre-AIA 35 U.S.C. §§
102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                   Prior Art Teachings
 1(a) Eye monitor for          To the extent that the preamble is limiting, Fenderson discloses and renders obvious an eye monitor for
 evaluating a binary input     evaluating a binary input signal of a transmission link and for recognizing the edges of an eye diagram
 signal of a transmission      of the input signal. Fenderson discloses a detection circuit for evaluating signal eyes and for recognizing
 link and for recognizing      the edges of the digital signal.
 the edges of an eye
 diagram of the input          Fenderson discloses analyzing signal eye diagrams to determine signal quality. See Fenderson, abstract.
 signal,




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  ’653 Claim Language                                          Prior Art Teachings



                        Fenderson discloses voltage over time diagrams for measuring the input signal which may, for example,
                        be eye diagrams. See Fenderson, Figs. 4, 5.




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  ’653 Claim Language                                            Prior Art Teachings




                        Fenderson discloses signal-eyes of all possible digital coded signals over the baud interval. These are
                        used to identify signal-eye distortions. Thus, Fenderson discloses analyzing a binary input using an eye
                        diagram which identified eye edges. See Fenderson, 5:63-68, 6:1-12.




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  ’653 Claim Language                                                   Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Fenderson, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Fenderson so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(b) comprising a decision    Fenderson discloses a decision circuit which is directly connected to an integrator. Fenderson
circuit which is directly     discloses a decision circuit comprising a data sampler and a detection circuit formed by various
connected to an integrator,   electrical components in Figs. 1, 2 and 6. The detection circuit is directly connected to the difference
                              integrator. See Fig. 1, 2, 6.

                              See Fenderson, 5:27-42.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Fenderson, 4:1-34.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Fenderson, 5: 27-32.




                        See Fenderson, 3: 42-59.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Fenderson, Fig. 1.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Fenderson, Fig. 6.




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  ’653 Claim Language                                              Prior Art Teachings




                          To the extent this limitation is not explicitly disclosed by Fenderson, it is inherent or obvious.
                          Moreover, it would have been obvious to one of ordinary skill in the art to modify Fenderson so as to
                          include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(c) wherein the input   Fenderson discloses an input signal and variable threshold provided to a decision circuit. Fenderson
 signal and a variable    discloses a data sampler and detection circuit receiving a digital signal. Fenderson also discloses
                          decision thresholds for difference integrators formed by various electrical components in Figure 6,
                          with each of the integrators being directly coupled to a decision circuit. See Fenderson, 2: 42-54.



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  ’653 Claim Language                                                  Prior Art Teachings
 threshold are provided to
 the decision circuit and    In Fenderson an input signal is provided to the decision circuit as a digital signal 101 and slicer output
                             signal 105. See Fig. 1.

                             See Fenderson, 2: 42-54.




                             See Fenderson, Fig. 3




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  ’653 Claim Language                                     Prior Art Teachings




                        See Fenderson, 4: 32:40.




                        See Fenderson, Fig. 1



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  ’653 Claim Language                                     Prior Art Teachings




                        See Fenderson, Fig. 6




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   ’653 Claim Language                                                  Prior Art Teachings




                               To the extent this limitation is not explicitly disclosed by Fenderson, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Fenderson so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(d) wherein an output        Fenderson discloses an output signal of the integrator is used to recognize the edges of the eye
 signal of the integrator is   diagram. Fenderson discloses the use of an error signal which may be used to adjust the timing of the
                               data sampler for identifying the center of the eye diagram. See Fenderson, 5:43-59.




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  ’653 Claim Language                                                Prior Art Teachings
 used to recognize the
 edges of the eye diagram.




                             See Fenderson 3: 60-68 - 4:1-14.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Fenderson, Figure 4.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Fenderson, Figure 5.




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                        See Fenderson, Figure 6.




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  ’653 Claim Language                                                  Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Fenderson, it is inherent or obvious.
                              Moreover, it would have been obvious to one of ordinary skill in the art to modify Fenderson so as to
                              include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.


 7(a) Method of evaluating    To the extent the preamble is limiting, Fenderson discloses and renders obvious a method of
 a binary input signal of a   evaluating a binary input signal of a transmission link and of recognizing the edges of an eye diagram
 transmission link and of     of the input signal. (See, e.g., the corresponding analysis for 1(a) for this preamble).
 recognizing the edges of




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   ’653 Claim Language                                                   Prior Art Teachings
 an eye diagram of the         To the extent this limitation is not explicitly disclosed by Fenderson, it is inherent or obvious.
 input signal,                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Fenderson so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(b) wherein a decision       Fenderson discloses a decision circuit is directly connected to an integrator. (See, e.g., the
 circuit is directly           corresponding analysis for 1(b)).
 connected to an integrator,
 and                           To the extent this limitation is not explicitly disclosed by Fenderson, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Fenderson so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(c) comprising the steps     Fenderson discloses providing the input signal and a variable threshold to the decision circuit. (See,
 of providing the input        e.g., the corresponding analysis for 1(c)).
 signal and a variable
 threshold to the decision     To the extent this limitation is not explicitly disclosed by Fenderson, it is inherent or obvious.
 circuit and                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Fenderson so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(d) using an output signal   Fenderson discloses using an output signal of the integrator to recognize the edges of the eye diagram..
 of the integrator to          (See, e.g., the corresponding analysis for 1(d)).
 recognize the edges of the
 eye diagram.                  To the extent this limitation is not explicitly disclosed by Fenderson, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Fenderson so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                      U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated and/or obvious in view of U.S. Patent No.
6,433,899 entitled “Eye Quality Monitor For A 2R Regenerator” to Anslow et al. (“Anslow”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions, including the other charted references.

Anslow was filed on December 15, 1998, and issued on August 13, 2002. Therefore, Anslow qualifies as prior art under at least pre-
AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                  Prior Art Teachings
 1(a) Eye monitor for          To the extent that the preamble is limiting, Anslow discloses an eye monitor for evaluating a binary
 evaluating a binary input     input signal of a transmission link and for capturing an eye diagram of the input signal. Anslow
 signal of a transmission      describes evaluating the signal quality of optical signals. Anslow generates an eye diagram to evaluate
 link and for recognizing      this signal quality, e.g., but identifying noise within the optical signal.
 the edges of an eye
 diagram of the input          See Anslow, 3:21-26.
 signal,




                               See Anslow, 1:56-65.



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  ’653 Claim Language                                     Prior Art Teachings




                        See Anslow, 2:61-67, 3:1-6.




                        See Anslow, 2:6-11.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Anslow, 3:7-20.




                        See Anslow, 5:40-46.




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             C   a   s   e        1   :   2   0   -   c   v  - 0 1 2       2   8   -    C   F   C    -   J   L   H              D   o   c   u
                                                             5 2 5 1
WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH                               U.S. Patent No. 6,784,653


  ’653 Claim Language                                             Prior Art Teachings




                             See Anslow, FIGs. 5A-5C.




                             See Anslow, FIGs. 6A-6C.




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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 6,784,653


  ’653 Claim Language                                                   Prior Art Teachings
                              To the extent this limitation is not explicitly disclosed by Anslow, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Anslow so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(b) comprising a decision    Anslow discloses and renders obvious a decision circuit which is directly connected to an integrator.
circuit which is directly     Anslow discloses a decision circuit (a comparator, slicer, average detector, and reflection version unit)
connected to an integrator,   directly connected to the integrator (an add unit). Both the decision circuit and the integrator are within
                              the eye monitor. Anslow discloses the integrator connected to the decision circuit without an EXOR
                              gate (or any EXOR function) between the decision circuit and the integrator.

                              Anslow discloses an eye monitor wherein the comparator/slicer is directly connected to the average
                              detector.

                              See Anslow, 4:23-36.




                              See Anslow, FIG. 1.




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  ’653 Claim Language                                                 Prior Art Teachings




                             To the extent this limitation is not explicitly disclosed by Anslow, it is inherent or obvious. Moreover,
                             it would have been obvious to one of ordinary skill in the art to modify Anslow so as to include this
                             claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

                             Although Anslow discloses a XOR gate in FIG. 8, this is an alternative embodiment as described in
                             Anslow 6:10-34,

 1(c) wherein the input      Anslow discloses wherein the input signal and a variable threshold are provided to the decision circuit.
 signal and a variable
 threshold are provided to   Anslow discloses a variable threshold supplied to the decision circuit. See Anslow, 4:56-65.
 the decision circuit and




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  ’653 Claim Language                                     Prior Art Teachings




                        See Anslow, FIG. 1.




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   ’653 Claim Language                                                  Prior Art Teachings
                               Anslow discloses the input signal supplied to the decision circuit. In particular the slicer/comparator
                               17 outputs above logic zero when Vin is greater than the supplied threshold. FIG. 1 discloses the input
                               signal supplied to positive input. See Anslow, 4:23-36.




                               To the extent this limitation is not explicitly disclosed by Anslow, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Anslow so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(d) wherein an output        Anslow discloses an output signal of the integrator used to recognize the edges of the eye diagram.
 signal of the integrator is
 used to recognize the         Anslow discloses the Add unit (integrator) used to generate Veye signal. The
 edges of the eye diagram.




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  ’653 Claim Language                                          Prior Art Teachings




                        See Anslow 5:14-20.




                        Output signals of Veye are disclosed in Anslow Figs. 6A-6C.


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  ’653 Claim Language                                                  Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Anslow, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Anslow so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.


 7(a) Method of evaluating    To the extent that the preamble is limiting, Anslow discloses and renders obvious a method of
 a binary input signal of a   evaluating a binary input signal of a transmission link and of recognizing the edges of an eye diagram
 transmission link and of     of the input signal. Anslow discloses an eye monitor for evaluating a binary input signal of a
 recognizing the edges of     transmission link and for capturing an eye diagram of the input signal.
 an eye diagram of the
 input signal,                Anslow describes evaluating the signal quality of optical signals. Anslow generates an eye diagram to
                              evaluate this signal quality, e.g., but identifying noise within the optical signal.

                              See Anslow, 3:21-26.




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  ’653 Claim Language                                      Prior Art Teachings
                        See Anslow, 1:56-65.




                        See Anslow, 2:61-67, 3:1-6.




                        See Anslow, 2:6-11.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Anslow, 3:7-20.




                        See Anslow, 5:40-46.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Anslow, FIGs. 5A-5C.




                        See Anslow, FIGs. 6A-6C.




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   ’653 Claim Language                                                   Prior Art Teachings
                               To the extent this limitation is not explicitly disclosed by Anslow, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Anslow so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(b) wherein a decision       Anslow discloses and renders obvious a decision circuit which is directly connected to an integrator.
 circuit is directly           Anslow discloses a decision circuit (a comparator, slicer, average detector, and reflection version unit)
 connected to an integrator,   directly connected to the integrator (an add unit). Both the decision circuit and the integrator are within
 and                           the eye monitor.

                               Anslow discloses an eye monitor wherein the comparator/slicer is directly connected to the average
                               detector.

                               See Anslow, 4:23-36.




                               See Anslow, FIG. 1.




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  ’653 Claim Language                                                 Prior Art Teachings




                             To the extent this limitation is not explicitly disclosed by Anslow, it is inherent or obvious. Moreover,
                             it would have been obvious to one of ordinary skill in the art to modify Anslow so as to include this
                             claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 7(c) comprising the steps   Anslow discloses wherein the input signal and a variable threshold are provided to the decision circuit.
 of providing the input
 signal and a variable       Anslow discloses a variable threshold supplied to the decision circuit. See Anslow, 4:56-65.
 threshold to the decision
 circuit and




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  ’653 Claim Language                                     Prior Art Teachings




                        See Anslow, FIG. 1.




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  ’653 Claim Language                                                  Prior Art Teachings
                              Anslow discloses the input signal supplied to the decision circuit. In particular the slicer/comparator
                              17 outputs above logic zero when Vin is greater than the supplied threshold. FIG. 1 discloses the input
                              signal supplied to positive input. See Anslow, 4:23-36.




                              To the extent this limitation is not explicitly disclosed by Anslow, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Anslow so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(d) using an output signal Anslow discloses an output signal of the integrator used to recognize the edges of the eye diagram.
 of the integrator to
 recognize the edges of the Anslow discloses the Add unit (integrator) used to generate Veye signal. The
 eye diagram.




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  ’653 Claim Language                                          Prior Art Teachings




                        See Anslow 5:14-20.




                        Output signals of Veye are disclosed in Anslow Figs. 6A-6C.


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  ’653 Claim Language                                            Prior Art Teachings




                        To the extent this limitation is not explicitly disclosed by Anslow, it is inherent or obvious. Moreover,
                        it would have been obvious to one of ordinary skill in the art to modify Anslow so as to include this
                        claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                     U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated and/or obvious in view of U.S. Patent No.
5,333,147 entitled “Automatic Monitoring of Digital Communication Channel conditions usinhg [sic] eye patterns” to Nohara et al.
(“Nohara”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSA”), or in combination with
one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Nohara was filed on August 25, 1992, and issued on July 26, 1994. Therefore, Nohara qualifies as prior art under at least pre-AIA 35
U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as
understood by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms.
Because discovery is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its
invalidity contentions based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                 Prior Art Teachings
 1(a) Eye monitor for         To the extent that the preamble is limiting, Nohara discloses and renders obvious an eye monitor for
 evaluating a binary input    evaluating a binary input signal of a transmission link and for recognizing the edges of an eye diagram
 signal of a transmission     of the input signal. Nohara discloses an eye monitor for evaluating a binary input signal of a
 link and for recognizing     transmission link and for capturing an eye diagram of the input signal.
 the edges of an eye
 diagram of the input         Nohara describes evaluating the signal quality of received signals. Nohara generates an eye diagram
 signal,                      to evaluate this signal quality, e.g., by identifying noise within the optical signal.

                              See Nohara, 3:21-26.




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  ’653 Claim Language                                     Prior Art Teachings
                        See Nohara, 1:56-65.




                        See Nohara, 2:61-67, 3:1-6.




                        See Nohara, 2:6-11.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Nohara, 3:7-20.




                        See Nohara, 5:40-46.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Nohara, FIGs. 3-4.




                        See Nohara, FIGs. 2a-2d.




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  ’653 Claim Language                                          Prior Art Teachings




                        To the extent Nohara does not explicitly teach “recognizing the edges of an eye diagram of the input
                        signal,” it would have been obvious to a POSA use the edge detection techniques of Nohara in view of
                        the knowledge of the POSA (including the benefits of identifying edges in a signal) and/or the other
                        references cited in these invalidity contentions which disclose this limitation.




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  ’653 Claim Language                                                   Prior Art Teachings
                              To the extent this limitation is not explicitly disclosed by Nohara, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Nohara so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(b) comprising a decision    Nohara discloses and renders obvious a decision circuit which is directly connected to an integrator.
circuit which is directly     Nohara discloses a decision circuit. Nohara discloses the integrator connected to the decision circuit
connected to an integrator,   without an EXOR gate (or any EXOR function) between the decision circuit and the integrator.

                              Nohara discloses a degradation monitor using quantized eye diagrams from comparators which is
                              directly connected to a complex integrator that separates the signal from the noise.

                              See Nohara, 4:10-14.




                              See Nohara, FIG. 7.




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  ’653 Claim Language                                          Prior Art Teachings




                        See Nohara, 7: 15-29.




                        See Nohara, FIGs 8a-8d. These disclose forms of complex integrators




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  ’653 Claim Language                                                  Prior Art Teachings




                             To the extent this limitation is not explicitly disclosed by Nohara, it is inherent or obvious. Moreover,
                             it would have been obvious to one of ordinary skill in the art to modify Nohara so as to include this
                             claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(c) wherein the input      Nohara discloses wherein the input signal provided to the decision circuit. Nohara discloses cells
 signal and a variable       formed with a predetermined voltage amplitude levels based on reference voltages. Nohara discloses a
 threshold are provided to   quantized eye diagram (decision circuit) which is provided the input signal and sorts voltage based on
 the decision circuit and    predetermined voltage thresholds.

                             See Nohara, 6:16-21.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Nohara, at FIG. 7




                        See Nohara, at FIG. 5a.




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  ’653 Claim Language                                             Prior Art Teachings




                        To the extent this limitation is not explicitly disclosed by Nohara, it is inherent or obvious. Moreover,
                        it would have been obvious to one of ordinary skill in the art to modify Nohara so as to include this
                        claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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   ’653 Claim Language                                                 Prior Art Teachings
 1(d) wherein an output        Nohara discloses the output of the complex integrator is used to indicate when a threshold count
 signal of the integrator is   exceeds a predetermined amount. The threshold detections may be utilized to identify the edges of an
 used to recognize the         eye diagram.
 edges of the eye diagram.
                               See Nohara, 4:10-14.




                               See Nohara, FIG. 7.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Nohara, FIGs. 3-4.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Nohara, FIGs. 2a-2d.




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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 6,784,653


  ’653 Claim Language                                             Prior Art Teachings




                        To the extent this limitation is not explicitly disclosed by Nohara, it is inherent or obvious. Moreover,
                        it would have been obvious to one of ordinary skill in the art to modify Nohara so as to include this
                        claim limitation in light of the knowledge possessed by one of ordinary skill in the art. In particular a
                        POSA would know to use that the output signal count could be used to identify edges of the diagram
                        by indicating excess error counts near the edges of the eye.




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   ’653 Claim Language                                                   Prior Art Teachings
 7(a) Method of evaluating     To the extent that the preamble is limiting, Nohara discloses and renders obvious a method of
 a binary input signal of a    evaluating a binary input signal of a transmission link and of recognizing the edges of an eye diagram
 transmission link and of      of the input signal. Nohara discloses an eye monitor for evaluating a binary input signal of a
 recognizing the edges of      transmission link and for capturing an eye diagram of the input signal.
 an eye diagram of the
 input signal,                 Nohara describes evaluating the signal quality of optical signals. Nohara generates an eye diagram to
                               evaluate this signal quality, e.g., by creating a quantized eye diagram and integrating each unit of the
                               diagram.

                               To the extent this limitation is not explicitly disclosed by Nohara, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Nohara so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 7(b) wherein a decision       Nohara discloses and renders obvious wherein a decision circuit is directly connected to an integrator.
 circuit is directly           Nohara discloses a decision circuit directly connected to a complex integrator (See, e.g. analysis for
 connected to an integrator,   claim 1(b)). Nohara discloses the integrator connected to the decision circuit without an EXOR gate
 and                           (or any EXOR function) between the decision circuit and the integrator.

                               To the extent this limitation is not explicitly disclosed by Nohara, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Nohara so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(c) comprising the steps     Nohara discloses providing the input signal and a variable threshold to the decision circuit. (see, e.g.,
 of providing the input        the analysis for claim 1(c)).
 signal and a variable
 threshold to the decision     To the extent this limitation is not explicitly disclosed by Nohara, it is inherent or obvious. Moreover,
 circuit and                   it would have been obvious to one of ordinary skill in the art to modify Nohara so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(d) using an output signal   Nohara discloses using an output signal of the integrator to recognize the edges of the eye diagram.
 of the integrator to          (see, e.g., the analysis for claim 1(d)).



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  ’653 Claim Language                                                   Prior Art Teachings
 recognize the edges of the   To the extent this limitation is not explicitly disclosed by Nohara, it is inherent or obvious. Moreover,
 eye diagram.                 it would have been obvious to one of ordinary skill in the art to modify Nohara so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                     U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated and/or obvious in view of U.S. Patent No.
6,643,346 entitled “Frequency Detection Circuit for Clock Recovery” to Pedrotti et al. (“Pedrotti”), either alone or combination with
the knowledge of a person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in
Xilinx’s Invalidity Contentions.

Pedrotti was filed on February 23, 1999 and issued on November 4, 2001. Therefore, Pedrotti qualifies as prior art under at least pre-
AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                   Prior Art Teachings
 1(a) Eye monitor for          To the extent that the preamble is limiting, Pedrotti discloses and renders obvious an eye monitor for
 evaluating a binary input     evaluating a binary input signal of a transmission link and for recognizing the edges of an eye diagram
 signal of a transmission      of the input signal. Pedrotti discloses an eye monitor for evaluating an input signal.
 link and for recognizing
 the edges of an eye           Pedrotti discloses a circuit or monitoring unit for evaluating binary input signals and detecting a
 diagram of the input          decision window which may be used to recognize edges. See Pedrotti, 2:56-68.
 signal,




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  ’653 Claim Language                                                   Prior Art Teachings

                              See Pedrotti, Fig 5.




                              To the extent Pedrotti does not explicitly teach “recognizing the edges of an eye diagram,” it would
                              have been obvious to a POSA to take the eye diagram of Pedrotti in view of the knowledge of the
                              POSA (including the benefits of identifying the edges of an eye diagram).

                              To the extent this limitation is not explicitly disclosed by Pedrotti, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Pedrotti so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(b) comprising a decision    Pedrotti discloses a decision circuit which is directly connected to an integrator. Pedrotti discloses the
circuit which is directly     integrator connected to the decision circuit without an EXOR gate (or any EXOR function) between
connected to an integrator,   the decision circuit and the integrator.

                              Pedrotti Figure 3 illustrates a frequency detector (decision circuits) which include electrical
                              components is directly connected to an integrator. See Pedrotti, Fig. 3.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Pedrotti, 7: 47-68.




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  ’653 Claim Language                                                   Prior Art Teachings
                             Alternatively, to the extent Pedrotti does not explicitly disclose “a decision circuit which is directly
                             connected to an integrator,” it would have been obvious to a POSA use the eye monitoring techniques
                             of Pedrotti in view of the knowledge of the POSA (including the benefits of identifying edges in a
                             signal) and/or the other references cited in these invalidity contentions which disclose this limitation.

                             To the extent this limitation is not explicitly disclosed by Pedrotti, it is inherent or obvious. Moreover,
                             it would have been obvious to one of ordinary skill in the art to modify Pedrotti so as to include this
                             claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(c) wherein the input      Pedrotti discloses an input signal and variable threshold provided to a decision circuit. Pedrotti
 signal and a variable       discloses a frequency detector (decision circuit) receiving a data signal. Pedrotti also discloses peak
 threshold are provided to   detectors which are configured to reject amplitudes above or below threshold values of the eye
 the decision circuit and    diagram. See Pedrotti, FIG. 5.




                             See Pedrotti, 8: 56-68.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Pedrotti, 9:1-15.




                        See Pedrotti, FIG. 3.




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   ’653 Claim Language                                                   Prior Art Teachings




                               To the extent this limitation is not explicitly disclosed by Pedrotti, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Pedrotti so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(d) wherein an output        Pedrotti discloses an output signal of the integrator is used to recognize the edges of the eye diagram.
 signal of the integrator is   See Pedrotti, 7: 47-68.
 used to recognize the
 edges of the eye diagram.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Pedrotti, FIG. 3.




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  ’653 Claim Language                                             Prior Art Teachings

                        See Pedrotti, FIG. 6.




                        Pedrotti discloses using the output of the integrator to lock the decision circuit on the data stream for
                        aligning the clock and data signals. This recognizes the edges of the data signal to align the clock and
                        data signal. See Pedrotti at 2:44-55.




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  ’653 Claim Language                                                   Prior Art Teachings




                              Alternatively, to the extent that Pedrotti does not disclose “an output signal of the integrator is used to
                              recognize the edges of the eye diagram.” it would have been obvious to a POSA to use a the output of
                              the integrator and the generated BER to identify the edges of the eye diagram. It would have been
                              obvious to a POSA to use the BER measuring and eye diagram techniques of Pedrotti in view of the
                              knowledge of the POSA (including the benefits of identifying edges in a signal) and/or the other
                              references cited in these invalidity contentions which disclose this limitation.

                              To the extent this limitation is not explicitly disclosed by Pedrotti, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Pedrotti so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



 7(a) Method of evaluating    To the extent the preamble is limiting, Pedrotti discloses and render obvious a method of evaluating a
 a binary input signal of a   binary input signal of a transmission link and of recognizing the edges of an eye diagram of the input
 transmission link and of     signal. (See, e.g., the corresponding analysis for 1(a) for this preamble).
 recognizing the edges of
 an eye diagram of the        To the extent this limitation is not explicitly disclosed by Pedrotti, it is inherent or obvious. Moreover,
 input signal,                it would have been obvious to one of ordinary skill in the art to modify Pedrotti so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



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   ’653 Claim Language                                                   Prior Art Teachings
 7(b) wherein a decision       Pedrotti discloses a decision circuit is directly connected to an integrator. Pedrotti discloses the
 circuit is directly           integrator connected to the decision circuit without an EXOR gate (or any EXOR function) between
 connected to an integrator,   the decision circuit and the integrator. (See, e.g., the corresponding analysis for 1(b)).
 and
                               To the extent this limitation is not explicitly disclosed by Pedrotti, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Pedrotti so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(c) comprising the steps     Pedrotti discloses providing the input signal and a variable threshold to the decision circuit. (See, e.g.,
 of providing the input        the corresponding analysis for 1(c)).
 signal and a variable
 threshold to the decision     To the extent this limitation is not explicitly disclosed by Pedrotti, it is inherent or obvious. Moreover,
 circuit and                   it would have been obvious to one of ordinary skill in the art to modify Pedrotti so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(d) using an output signal   Pedrotti discloses using an output signal of the integrator to recognize the edges of the eye diagram.
 of the integrator to          (See, e.g., the corresponding analysis for 1(d)).
 recognize the edges of the
 eye diagram.                  To the extent this limitation is not explicitly disclosed by Pedrotti, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Pedrotti so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                     U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated and/or obvious in view of U.S. Patent No.
5,220,581 entitled “Digital Data Link Performance Monitor” to Ferraiolo et al. (“Ferraiolo”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions, including the other charted references.

Ferraiolo was filed on March 28, 1991, and issued on June 15, 1993. Therefore, Ferraiolo qualifies as prior art under at least pre-AIA
35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                  Prior Art Teachings
 1(a) Eye monitor for          To the extent that the preamble is limiting, Ferraiolo discloses and renders obvious an eye monitor for
 evaluating a binary input     evaluating a binary input signal of a transmission link and for recognizing the edges of an eye diagram
 signal of a transmission      of the input signal. Ferraiolo discloses a monitor for evaluating a binary input signal of a transmission
 link and for recognizing      link and for monitoring the number of data edges of the input signal.
 the edges of an eye
 diagram of the input          Ferraiolo describes evaluating the signal quality of received signals. Ferraiolo generates an eye
 signal,                       diagram to evaluate this signal quality, e.g., by identifying noise within the optical signal. See
                               Ferraiolo 5:49-64, 6:1-14.




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  ’653 Claim Language                                           Prior Art Teachings




                        Ferraiolo discloses a number of edge sorts based on a count as to whether voltage exceeds a threshold
                        at different ties. As described these counts could be used to derive an eye with horizontal shrinkage
                        information; including identifying the timing or edges of the eye. See Ferraiolo, Fig. 3.




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  ’653 Claim Language                                                   Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Ferraiolo, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Ferraiolo so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(b) comprising a decision    Ferraiolo discloses and renders obvious a decision circuit which is directly connected to an integrator.
circuit which is directly     Ferraiolo discloses a decision circuit. Ferraiolo discloses the integrator connected to the decision
connected to an integrator,   circuit without an EXOR gate (or any EXOR function) between the decision circuit and the integrator.

                              Ferraiolo discloses a comparator which is directly connected to a counter (or integrator) which
                              identifies the number of signals to exceed a reference voltage threshold at different times.

                              See Ferraiolo, 6:15-37




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                        See Ferraiolo, 3:4-19.




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  ’653 Claim Language                                            Prior Art Teachings




                        Ferraiolo discloses comparators and counters (integrators) directly connected to decision logic (or a
                        decision circuit). See Ferraiolo, Fig. 5:11-35.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Ferraiolo, FIG. 5.




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  ’653 Claim Language                                                  Prior Art Teachings




                             To the extent this limitation is not explicitly disclosed by Ferraiolo, it is inherent or obvious.
                             Moreover, it would have been obvious to one of ordinary skill in the art to modify Ferraiolo so as to
                             include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(c) wherein the input      Ferraiolo discloses wherein the input signal provided to the decision circuit. Ferraiolo discloses a
 signal and a variable       decision logic circuit which utilizes a reference voltage threshold to generate flags for when a positive
 threshold are provided to   edge count exceeds a voltage threshold. Ferraiolo discloses the decision logic within “the choose
 the decision circuit and    correct clock” as provided the input data.

                             Ferraiolo discloses a “choose correct clock” element which includes a decision circuit. The choose
                             correct clock is provided an input data signal and utilizes a variable threshold. See Ferraiolo, Fig. 1.




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  ’653 Claim Language                                            Prior Art Teachings




                        Ferraiolo discloses a decision logic receiving the outputs of comparators which include the provided
                        data signal. See Ferraiolo, Fig. 5.




                        Ferraiolo discloses measurements of the input signal at different times (positive edge reads) based on
                        the slicing of the DPLL. Each sample of the input signal is checked against the reference voltage
                        threshold. The sort n counter may output n number of flags based on different voltage thresholds
                        operating as a variable threshold. See Ferraiolo, Fig. 4.

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  ’653 Claim Language                                            Prior Art Teachings




                        Ferraiolo discloses measurements of the input signal at different times (positive edge reads) based on
                        the slicing of the DPLL. Each sample of the input signal is checked against the reference voltage
                        threshold. See Ferraiolo, Fig. 5.

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   ’653 Claim Language                                                  Prior Art Teachings




                               To the extent this limitation is not explicitly disclosed by Ferraiolo, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Ferraiolo so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(d) wherein an output        Ferraiolo discloses a counter (or integrator) for which the output includes flags for identifying the
 signal of the integrator is   voltage of counted input signals. Ferraiolo disclose the integrator output recognizing an eye diagram
 used to recognize the         for retiming data. Counters integrate the locations of successively sorted data edge transitions.
 edges of the eye diagram.
                               See Ferraiolo, Fig. 5:11-35.




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  ’653 Claim Language                                                  Prior Art Teachings




                              To the extent this limitation is not explicitly disclosed by Ferraiolo, it is inherent or obvious.
                              Moreover, it would have been obvious to one of ordinary skill in the art to modify Ferraiolo so as to
                              include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.


 7(a) Method of evaluating    To the extent the preamble is limiting, Ferraiolo discloses and render obvious a method of evaluating a
 a binary input signal of a   binary input signal of a transmission link and of recognizing the edges of an eye diagram of the input
 transmission link and of     signal. (See, e.g., the corresponding analysis for 1(a) for this preamble).
 recognizing the edges of


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   ’653 Claim Language                                                   Prior Art Teachings
 an eye diagram of the         It would have been obvious to a POSA to combine the teachings of Ferraiolo, which are both directed
 input signal,                 to analyzing binary digital signals at a terminal link by analyzing eye diagrams. Both are designed to
                               determine the transmission quality which allowing the signal to continue performance.
 7(b) wherein a decision       Ferraiolo discloses a decision circuit is directly connected to an integrator. Ferraiolo discloses the
 circuit is directly           integrator connected to the decision circuit without an EXOR gate (or any EXOR function) between
 connected to an integrator,   the decision circuit and the integrator. (See, e.g., the corresponding analysis for 1(b)).
 and
                               To the extent this limitation is not explicitly disclosed by Ferraiolo, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Ferraiolo so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(c) comprising the steps     Ferraiolo discloses providing the input signal and a variable threshold to the decision circuit. (See, e.g.,
 of providing the input        the corresponding analysis for 1(c)).
 signal and a variable
 threshold to the decision     To the extent this limitation is not explicitly disclosed by Ferraiolo, it is inherent or obvious.
 circuit and                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Ferraiolo so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(d) using an output signal   Ferraiolo discloses using an output signal of the integrator to recognize the edges of the eye diagram.
 of the integrator to          (See, e.g., the corresponding analysis for 1(d)).
 recognize the edges of the
 eye diagram.                  To the extent this limitation is not explicitly disclosed by Ferraiolo, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Ferraiolo so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                    U.S. PATENT NO. 6,784,653

The asserted claims of U.S. Patent No. 6,784,653 B2 (“the ’653 patent”) are anticipated and/or obvious in view of U.S. Patent No.
4,837,642 entitled “Threshold Tracking System” to Smidth (“Smidth”), either alone or combination with the knowledge of a person of
ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s Invalidity Contentions,
including the other charted references.

Smidth was filed on January 12, 1988 and issued on June 6, 1989. Therefore, Smidth qualifies as prior art under at least pre-AIA 35
U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

   ’653 Claim Language                                                  Prior Art Teachings
 1(a) Eye monitor for         To the extent that the preamble is limiting, Smidth discloses and renders obvious an eye monitor for
 evaluating a binary input    evaluating a binary input signal of a transmission link and for recognizing the edges of an eye diagram
 signal of a transmission     of the input signal. Smidth discloses an eye monitor for evaluating an input signal and for recognizing
 link and for recognizing     the edges of the input signal.
 the edges of an eye
 diagram of the input         Smidth discloses a circuit or monitor for evaluating binary input signals and detecting edges of the
 signal,                      signal. See Smidth, 1:6-11.




                              See Smidth, Fig. 2.


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  ’653 Claim Language                                     Prior Art Teachings




                        See Smidth, 4:11-24.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Smidth, Fig. 3.




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  ’653 Claim Language                                           Prior Art Teachings




                        Smidth also discloses that decoding of signals as well as evaluating edges of signals was known in the
                        art for use in eye pattern diagrams. See Smidth, 3:23-30.




                        See Smidth, 1:50-66.


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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 6,784,653


  ’653 Claim Language                                     Prior Art Teachings




                        See Smidth, 4:11-24.




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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 6,784,653


  ’653 Claim Language                                                   Prior Art Teachings
                              To the extent that Smidth does not explicitly teach “a binary input signal of a transmission link,” it
                              would have been obvious to a POSA to take the output timing diagram of Smidth in view of the
                              knowledge of the POSA (including the benefits of decoding a binary input signal).

                              To the extent this limitation is not explicitly disclosed by Smidth, it is inherent or obvious. Moreover,
                              it would have been obvious to one of ordinary skill in the art to modify Smidth so as to include this
                              claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(b) comprising a decision    Smidth discloses a decision circuit which is directly connected to an integrator. Smidth discloses the
circuit which is directly     integrator connected to the decision circuit without an EXOR gate (or any EXOR function) between
connected to an integrator,   the decision circuit and the integrator.

                              Smidth Figure 2 illustrates a circuit having a comparator 15 in combination with a flip-flop 31
                              (decisions circuit) that is directly connected to a charge pump 37, which may also be an integrator.




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  ’653 Claim Language                                             Prior Art Teachings




                        See Smidth, 5:67-68, 6:1-2.




                        Alternatively, to the extent that Smidth does not explicitly disclose “a decision circuit which is directly
                        connected to an integrator,” it would have been obvious to a POSA use the threshold detection
                        techniques of Smidth in combination with the disclosed integrator for error reduction in view of the
                        knowledge of the POSA

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  ’653 Claim Language                                                  Prior Art Teachings

                             To the extent this limitation is not explicitly disclosed by Smidth, it is inherent or obvious. Moreover, it
                             would have been obvious to one of ordinary skill in the art to modify Smidth so as to include this claim
                             limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(c) wherein the input      Smidth discloses wherein the input signal and a variable threshold are provided to the decision circuit.
 signal and a variable
 threshold are provided to   Smidth discloses the use of a variable threshold, VT. See 1:50-66.
 the decision circuit and




                             A decision circuit in Figure 2 receives a threshold voltage and an input signal, VI.
                             See Smidth, 3:31-53.




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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 6,784,653


  ’653 Claim Language                                     Prior Art Teachings




                        See Smidth, 4:8-10.




                        See Smidth, Figure 2.




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   ’653 Claim Language                                                   Prior Art Teachings




                               To the extent this limitation is not explicitly disclosed by Smidth, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Smidth so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(d) wherein an output        Smidth discloses and/or renders obvious wherein an output signal of the integrator is used to recognize
 signal of the integrator is   the edges of the eye diagram. Smidth discloses wherein an output signal of the integrator is used to
 used to recognize the         recognize the edges of a signal.
 edges of the eye diagram.



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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 6,784,653


  ’653 Claim Language                                           Prior Art Teachings
                        Smidth discloses that the charge pump 37, which may also be an integrator, outputs currents that
                        causes changes in the threshold voltage, VT. This change in turn is used to recognized edges of the
                        input signal. See Smidth, 5:67-68, 6:1-2.




                        See, Smidth, Fig. 2.




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  ’653 Claim Language                                     Prior Art Teachings




                        See Smidth, 5:4-18.




                        See Smidth, Fig. 3E.




                        See Smidth, 5:19-43.




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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 6,784,653


  ’653 Claim Language                                             Prior Art Teachings




                        To the extent this limitation is not explicitly disclosed by Smidth, it is inherent or obvious. Moreover,
                        it would have been obvious to one of ordinary skill in the art to modify Smidth so as to include this
                        claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 6,784,653


   ’653 Claim Language                                                   Prior Art Teachings
 7(a) Method of evaluating     To the extent the preamble is limiting, Smidth discloses and renders obvious a method of evaluating a
 a binary input signal of a    binary input signal of a transmission link and of recognizing the edges of an eye diagram of the input
 transmission link and of      signal. (See, e.g., the corresponding analysis for 1(a) for this preamble).
 recognizing the edges of
 an eye diagram of the         To the extent this limitation is not explicitly disclosed by Smidth, it is inherent or obvious. Moreover,
 input signal,                 it would have been obvious to one of ordinary skill in the art to modify Smidth so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(b) wherein a decision       Smidth discloses a decision circuit is directly connected to an integrator. Smidth discloses the
 circuit is directly           integrator connected to the decision circuit without an EXOR gate (or any EXOR function) between
 connected to an integrator,   the decision circuit and the integrator. (See, e.g., the corresponding analysis for 1(b)).
 and
                               To the extent this limitation is not explicitly disclosed by Smidth, it is inherent or obvious. Moreover,
                               it would have been obvious to one of ordinary skill in the art to modify Smidth so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(c) comprising the steps     Smidth discloses providing the input signal and a variable threshold to the decision circuit. (See, e.g.,
 of providing the input        the corresponding analysis for 1(c)).
 signal and a variable
 threshold to the decision     To the extent this limitation is not explicitly disclosed by Smidth, it is inherent or obvious. Moreover,
 circuit and                   it would have been obvious to one of ordinary skill in the art to modify Smidth so as to include this
                               claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 7(d) using an output signal Smidth discloses using an output signal of the integrator to recognize the edges of the eye diagram..
 of the integrator to        (See, e.g., the corresponding analysis for 1(d)).
 recognize the edges of the
 eye diagram.                To the extent this limitation is not explicitly disclosed by Smidth, it is inherent or obvious. Moreover,
                             it would have been obvious to one of ordinary skill in the art to modify Smidth so as to include this
                             claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                           EXHIBIT B-1
                                                    U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,013,091,
entitled “SYNCHRONIZATION OF PULSE AND DATA SOURCES” to Corbeil et al. (“Corbeil”), either alone or combination with
the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed in
Xilinx’s Invalidity Contentions, including the other charted references.

Corbeil was filed on January 16, 2002 and issued on March 14, 2006. Therefore, Corbeil qualifies as prior art under at least pre-AIA
35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Corbeil discloses this limitation. Corbeil teaches an
 reducing misalignment            “improved method” and apparatus for synchronizing a pulse stream (carrier signal) with a data
 between a carrier signal and a   stream.
 data signal, the apparatus
 comprising:                      See, e.g.,




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WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Corbeil, 2:40-42.




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                            Corbeil, Fig. 4.
                                                      3
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    ’950 Claim Language                                                  Prior Art References

                                  To the extent this limitation is not explicitly disclosed by Corbeil, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Corbeil so as to
                                  include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) (a) an analyzer              Corbeil discloses this limitation. Corbeil discloses a feedback controller (analyzer) configured to
configured (i) to analyze         analyze the power level of an optical data signal formed from the pulse stream and data stream
spectral power of an input        (input signal corresponding to the carrier and data signals). The feedback controller then sends a
signal corresponding to the       signal (control signal) to the phase shifter to adjust the phase offset setting of the pulse stream
carrier and data signals, the     based on the analysis in order to maximize the optical power level of the optical data signal (thus
spectral power being in a         eliminating any spectral null in the analyzed signal).
spectral band corresponding
to a spectral null of the input   See, e.g.,
signal, and (ii) to generate a
control signal based on the
analysis; and




                                  Corbeil, 2:47-54.


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    ’950 Claim Language                                    Prior Art References




                           Corbeil, 3:17-29.




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WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                  Prior Art References
                                 Corbeil, Fig. 4.

                                 To the extent this limitation is not explicitly disclosed by Corbeil, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Corbeil so as to
                                 include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) (b) a phase shifter        Corbeil discloses this limitation. Corbeil discloses an apparatus comprising a phase shifter
 configured to introduce a       configured to introduce a phase shift between a data stream (data signal) and a clock signal using
 phase shift between the data    the information received from the feedback controller (control signal), wherein the pulse stream
 signal and a clock signal       (carrier signal) is based on the clock signal.
 using the control signal,
 wherein the carrier signal is   See, e.g.,
 based on the clock signal.




                                 Corbeil, 3:17-29.




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WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                                  Prior Art References
                                   Corbeil, Fig. 4.

                                   To the extent this limitation is not explicitly disclosed by Corbeil, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Corbeil so as to
                                   include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of

 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.


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                                                             EXHIBIT B-2
                                                      U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,312,909,
entitled “METHOD FOR SYNCHRONIZING THE PHASE OF OPTICAL RETURN-TO-ZERO (RZ) DATA SIGNALS” to Glingener
et al. (“Glingener”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in
combination with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Glingener claims priority to PCT No. PCT/DE00/04545, which was filed on December 19, 2000 and published on July 12, 2001 as PCT
Publication No. WO01/50664. Therefore, Glingener qualifies as prior art under at least pre-AIA 35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Glingener discloses it, either expressly or in combination
 reducing misalignment            with the knowledge of a POSITA. Glingener discloses an invention for synchronizing the phase of
 between a carrier signal and a   multiple RZ data signals.
 data signal, the apparatus
 comprising:                      See, e.g.,



                                  Glingener, 1:5-6.




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WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Glingener, 2:5-22.




                            Glingener, 2:33-48.

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    ’950 Claim Language                                    Prior Art References




                            Glingener, Fig. 1.




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    ’950 Claim Language                                                  Prior Art References




                                  Glingener, Fig. 2.

                                  To the extent Glingener does not expressly disclose reducing misalignment between a data signal
                                  and a carrier signal, a POSITA would have understood that the same principle of multiplexing
                                  signals to identify and correct phase drift could be applied to a data signal and a carrier signal.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Glingener so as
                                  to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                  art.
1(a) (a) an analyzer              Glingener discloses this limitation. Glingener discloses that the multiplex signal MS formed from
configured (i) to analyze         the two RZ data signals is converted to an electric signal by an optoelectric transducer OEW and
spectral power of an input        filtered, and then the power is measured in power meters LM1 and LM2 in order to obtain
signal corresponding to the       corresponding control signals RS1 and RS2, which are in turn converted into adjusting signal ERS
carrier and data signals, the     by a controller R (control signal based on the analysis). Power meters, LM1 and LM2, in
spectral power being in a         conjunction with controller R, thus compose an “analyzer.”
spectral band corresponding
to a spectral null of the input   See, e.g.,
                                                                   4
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    ’950 Claim Language                                    Prior Art References
signal, and (ii) to generate a
control signal based on the
analysis; and




                                 Glingener, 2:33-48.




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    ’950 Claim Language                                                 Prior Art References
                                 Glingener, Fig. 2.

                                 To the extent this limitation is not explicitly disclosed by Glingener, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Glingener so as
                                 to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                 art.

 1(b) (b) a phase shifter        Glingener discloses this limitation, either expressly or in combination with the knowledge of a
 configured to introduce a       POSITA. Glingener discloses a time-delay element VDEL2 that adjust the phase of the two data
 phase shift between the data    signals based on the adjusting signal ERS.
 signal and a clock signal
 using the control signal,       See, e.g.,
 wherein the carrier signal is
 based on the clock signal.




                                 Glingener, 2:42-48.




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    ’950 Claim Language                                                Prior Art References




                                Glingener, Fig. 2.

                                To the extent Glingener does not expressly disclose introducing a phase shift between a data signal
                                and a clock signal, wherein the carrier signal is based on the clock signal, a POSITA would have
                                understood that the same principle of multiplexing signals to identify and correct phase drift could
                                be applied to a data signal and a clock signal, wherein the carrier signal is based on the clock
                                signal. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                Glingener so as to include this claim limitation in light of the knowledge possessed by one of
                                ordinary skill in the art.



 17(pre) A method of reducing   See claim 1(pre).
 misalignment between a


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     ’950 Claim Language                                   Prior Art References
 carrier signal and a data
 signal, comprising the steps of

 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




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                                                           EXHIBIT B-3
                                                    U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of “A 1.25 Gigabit Per
Second Binary-Phase-Shift-Keyed Optical Homodyne Receiver,” by Igor D. Gonta (“Gonta”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions, including the other charted references.

Gonta is a master’s thesis dated June 1995. Therefore, Gonta qualifies as prior art under at least pre-AIA 35 U.S.C. § 102(a) and (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Gonta discloses it. Gonta discloses a transmitter-receiver
 reducing misalignment            setup (apparatus) for which measurement of the power spectral density is used to quantify noise
 between a carrier signal and a   (misalignment between a carrier signal and a data signal).
 data signal, the apparatus
 comprising:                      See, e.g.,




                                  Gonta, at 45.




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WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Gonta, at 54.




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    ’950 Claim Language                                    Prior Art References




                            Gonta, Fig. 11.




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    ’950 Claim Language                                    Prior Art References




                            Gonta, Fig. 13.




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WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                             Prior Art References




                             Gonta, Fig. 14.

                             To the extent this limitation is not explicitly disclosed by Gonta, it is inherent or obvious.
                             Moreover, it would have been obvious to one of ordinary skill in the art to modify Gonta so as to
                             include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) (a) an analyzer         Gonta discloses this limitation, either expressly or in combination with the knowledge of a
configured (i) to analyze    POSITA. Gonta discloses an analyzer configured to analyze spectral power of an input signal
spectral power of an input

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                                                  5341
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                   Prior Art References
signal corresponding to the       corresponding to noise in the apparatus (input signal corresponding to the carrier and data signals,
carrier and data signals, the     the spectral power being in a spectral band corresponding to a spectral null of the input signal).
spectral power being in a
spectral band corresponding       See, e.g.,
to a spectral null of the input
signal, and (ii) to generate a
control signal based on the
analysis; and




                                  Gonta, at 54.

                                  Gonta further discloses that the apparatus comprises a phase-locked loop (PLL) and that the power
                                  measurement can be used to quantify noise.

                                  See, e.g.,


                                                                   6
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                                                  5342
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Gonta, at 45.




                           Gonta, at 52.




                                                      7
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                                                  5343
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                Prior Art References




                                Gonta, Fig. 15.

                                Therefore, to the extent Gonta does not expressly disclose that the power analyzer generates a
                                control signal based on the analysis, a POSITA would have been motivated to modify the setup
                                Gonta discloses to generate a control signal that would be applied directly to the phase shifter (as
                                part of the PLL) to shift the phase and reduce the quantified noise (misalignment) in the apparatus.

 1(b) (b) a phase shifter       Gonta discloses this limitation, either expressly or in combination with the knowledge of a
 configured to introduce a      POSITA. Gonta discloses quantifying noise in the apparatus by means of performing power
 phase shift between the data   analysis.
 signal and a clock signal
 using the control signal,      See, e.g.,


                                                                 8
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                                                  5344
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                               Prior Art References
 wherein the carrier signal is
 based on the clock signal.




                                 Gonta, at 54.

                                 Gonta further discloses a PLL, which a POSITA would have understood to include a phase shifter.

                                 See, e.g.,




                                 Gonta, at 45.
                                                                9
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 280 of 808 PageID #:
                                                  5345
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                           Prior Art References




                            Gonta, at 52.




                            Gonta, Fig. 15.

                            To the extent Gonta does not expressly disclose that phase shifter introduces a phase shift based on
                            the control signal, a POSITA would have been motivated to modify the setup Gonta discloses to

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                                                  5346
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                                Prior Art References
                                   control the phase shifter based on the power measurement and quantified noise to reduce the
                                   amount of noise (misalignment) in the apparatus.



 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of

 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 282 of 808 PageID #:
                                                  5347
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


                                                           EXHIBIT B-4
                                                    U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of U.S. Patent Application
Publication No. 2005/0001115, entitled “OPTICAL TRANSMISSION APPARATUS, AND OUTPUT STABILIZATION CONTROL
METHOD FOR AN OPTICAL MODULATOR USED IN THE OPTICAL TRANSMISSION APPARATUS” to Ishida et al. (“Ishida”),
either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more
other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Ishida was filed on May 17, 2001 and published on January 3, 2002. Therefore, Ishida qualifies as prior art under at least pre-AIA 35
U.S.C. § 102(a) and (e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Ishida discloses it. Ishida discloses an external modulation
 reducing misalignment            type optical transmission apparatus that is used in an optical communication system, and an output
 between a carrier signal and a   stabilization control method for an optical modulator used for this apparatus. In particular, the
 data signal, the apparatus       optical modulator is stabilized by adjusting a phase difference to synchronize the optical
 comprising:                      transmission with the driving signal.

                                  See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 283 of 808 PageID #:
                                                  5348
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                     Prior Art References
                            Ishida, ¶ [0001].




                            Ishida, ¶¶ [0063]-[0065].
                                                        2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 284 of 808 PageID #:
                                                  5349
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Ishida, ¶ [0088].




                            Ishida, ¶ [0090].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 285 of 808 PageID #:
                                                  5350
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                              Prior Art References




                             Ishida, Fig. 6.

                             To the extent this limitation is not explicitly disclosed by Ishida, it is inherent or obvious.
                             Moreover, it would have been obvious to one of ordinary skill in the art to modify Ishida so as to
                             include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) (a) an analyzer         Ishida discloses this limitation. Ishida discloses an optical spectrum monitor 4 and error signal
configured (i) to analyze    generator circuit 11b (together, an analyzer). The optical spectrum monitor 4 monitors an optical
spectral power of an input   spectrum of the output optical signal, and outputs a monitor result to error signal generator circuit
                                                              4
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 286 of 808 PageID #:
                                                  5351
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                    Prior Art References
signal corresponding to the       11b. The error signal generator circuit 11b generates an error signal (control signal) corresponding
carrier and data signals, the     to the drift of an operation point based on the monitor result, and outputs a result to bias voltage
spectral power being in a         control circuit 5. The error signal generator circuit 11b can obtain a value “A/B” by dividing the
spectral band corresponding       light intensity “A” of the carrier frequency component by the light intensity “B” of the first
to a spectral null of the input   sideband frequency component (spectral power being in a spectral band corresponding to a spectral
signal, and (ii) to generate a    null) to generate the error signal.
control signal based on the
analysis; and                     See, e.g.,




                                  Ishida, ¶ [0051].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 287 of 808 PageID #:
                                                  5352
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 288 of 808 PageID #:
                                                  5353
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Ishida, ¶¶ [0053]-[0055].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 289 of 808 PageID #:
                                                  5354
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Ishida, ¶ [0064].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 290 of 808 PageID #:
                                                  5355
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                 Prior Art References




                                Ishida, Fig. 6.

                                To the extent this limitation is not explicitly disclosed by Ishida, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Ishida so as to
                                include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) (b) a phase shifter       Ishida discloses this limitation. Ishida discloses a variable phase shifter 15 that adjusts a phase
 configured to introduce a      difference between the driving signals and a phase shifter driving circuit 5b that makes the variable
 phase shift between the data   phase shifter 15 carry out the phase difference control corresponding to the error signal (control
 signal and a clock signal      signal).
                                                                 9
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 291 of 808 PageID #:
                                                  5356
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References
 using the control signal,
 wherein the carrier signal is   See, e.g.,
 based on the clock signal.




                                 Ishida, ¶ [0064].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 292 of 808 PageID #:
                                                  5357
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                            Prior Art References




                            Ishida, Fig. 6.

                            To the extent this limitation is not explicitly disclosed by Ishida, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Ishida so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                  5358
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                    Prior Art References
 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of

 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




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                                                  5359
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


                                                           EXHIBIT B-5
                                                    U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of “A novel method for
synchronizing the pulse carver and electroabsorption data modulator RZ optical transmitters” by Kang et al. (“Kang ’628”), either alone
or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other
references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Kang ’628 was filed as part of Provisional Patent Application No. 60/353,628 on February 1, 2002. Therefore, Kang ’628 qualifies as
prior art under at least pre-AIA 35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Kang ’628 discloses it. Kang ’628 teaches a device to
 reducing misalignment            detect and correct temporal misalignment of the data modulator and pulse carver in an optical
 between a carrier signal and a   transmitter.
 data signal, the apparatus
 comprising:                      See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 295 of 808 PageID #:
                                                  5360
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                  Prior Art References
                                  Kang ’628, at 4.




                                  Kang ’628, Fig. 5.

                                  To the extent this limitation is not explicitly disclosed by Kang ’628, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Kang ’628 so as
                                  to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                  art.

1(a) (a) an analyzer              Kang ’628 discloses this limitation. Kang ’628 discloses an optical spectrum analyzer with 2-GHz
configured (i) to analyze         spectral resolution configured to analyze the spectral power in a spectral band. Particularly, the
spectral power of an input        analyzer determines the normalized power difference in the upper and lower modulation side
signal corresponding to the       bands, where power has leaked from the main channel and therefore creates a spectral null within
carrier and data signals, the     the channel as the spectral power has dropped.
spectral power being in a
spectral band corresponding       See, e.g.,
to a spectral null of the input
                                                                   2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 296 of 808 PageID #:
                                                  5361
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References
signal, and (ii) to generate a
control signal based on the
analysis; and




                                 Kang ’628, at 6.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 297 of 808 PageID #:
                                                  5362
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                           Prior Art References




                           Kang ’628, Fig. 1(b).

                           The intensity at the upper and lower modulation side bands is then used to drive a voltage-
                           controlled phase shifter to adjust the time delay between the data and the clock signal (analyzer
                           configured to generate a control signal based on the analysis).

                           See, e.g.,




                                                            4
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 298 of 808 PageID #:
                                                  5363
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                 Prior Art References




                                 Kang ’628, at 7.

                                 To the extent this limitation is not explicitly disclosed by Kang ’628, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Kang ’628 so as
                                 to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                 art.

 1(b) (b) a phase shifter        Kang ’628 discloses this limitation. Kang ’628 discloses a voltage-controlled phase shifter to
 configured to introduce a       adjust the time delay between the data and the clock signal based on the detected intensity at the
 phase shift between the data    upper and lower modulation side bands.
 signal and a clock signal
 using the control signal,       See, e.g.,
 wherein the carrier signal is
 based on the clock signal.




                                 Kang ’628, at 7.

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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 299 of 808 PageID #:
                                                  5364
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                   Prior Art References




                                   Kang ’628, Fig. 5.

                                   To the extent this limitation is not explicitly disclosed by Kang ’628, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Kang ’628 so as
                                   to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                   art.



 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of

 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
                                                                    6
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 300 of 808 PageID #:
                                                  5365
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                   Prior Art References
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 301 of 808 PageID #:
                                                  5366
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


                                                           EXHIBIT B-6
                                                    U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,209,669,
entitled “METHOD AND APPARATUS FOR SYNCHRONIZING A PULSE CARVER AND A DATA MODULATOR FOR
OPTICAL TELECOMMUNICATION” to Kang et al. (“Kang ’669”), either alone or combination with the knowledge of a person of
ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed in Xilinx’s Invalidity Contentions,
including the other charted references.

Kang ’669 was filed on January 30, 2003, issued on April 24, 2007, and claims priority to Provisional Application No. 60/353,628, filed
on February 1, 2002. Therefore, Kang ’669 qualifies as prior art under at least pre-AIA 35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Kang ’669 discloses it. Kang ’669 discloses an optical data
 reducing misalignment            transmission system with improvements in synchronizing the operation of an optical pulse carver
 between a carrier signal and a   and an electroabsorption data modulator.
 data signal, the apparatus
 comprising:                      See, e.g.,




                                  Kang ’669, 1:15-20.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 302 of 808 PageID #:
                                                  5367
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Kang ’669, 2:19-35.




                            Kang ’669, 3:41-57.
                                                      2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 303 of 808 PageID #:
                                                  5368
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                            Prior Art References




                            Kang ’669, 4:17-20.




                            Kang ’669, Fig. 3.

                            To the extent this limitation is not explicitly disclosed by Kang ’669, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Kang ’669 so as
                            to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                            art.

1(a) (a) an analyzer        Kang ’669 discloses this limitation. Kang ’669 discloses a spectrum analyzer 318 configured to
configured (i) to analyze   determine the extent of misalignment and generate a control signal. Particularly, spectrum
                                                             3
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 304 of 808 PageID #:
                                                  5369
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                  Prior Art References
spectral power of an input        analyzer 318 receives an input signal corresponding to the carrier and data signals and determines
signal corresponding to the       the normalized power difference in the upper and lower modulation side bands, where power has
carrier and data signals, the     leaked from the main channel and therefore creates a spectral null within the channel as the
spectral power being in a         spectral power has dropped.
spectral band corresponding
to a spectral null of the input   See, e.g.,
signal, and (ii) to generate a
control signal based on the
analysis; and




                                  Kang ’669, 5:29-52.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 305 of 808 PageID #:
                                                  5370
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                 Prior Art References




                                 Kang ’669, Fig. 3.

                                 To the extent this limitation is not explicitly disclosed by Kang ’669, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Kang ’669 so as
                                 to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                 art.

 1(b) (b) a phase shifter        Kang ’669 discloses this limitation. Kang ’669 discloses a phase shifter 326 that receives
 configured to introduce a       differential control signal DS from the spectrum analyzer 318 and adjusts the phase of the clock
 phase shift between the data    signal based on the control signal. As a result, the optical carrier pulse train is shifted in time
 signal and a clock signal       relative to the data modulation pulses applied to the EAM.
 using the control signal,
 wherein the carrier signal is   See, e.g.,
 based on the clock signal.



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                                                  5371
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Kang ’669, 5:53-6:3.




                                                      6
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 307 of 808 PageID #:
                                                  5372
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                   Prior Art References




                                   Kang ’669, Fig. 3.

                                   To the extent this limitation is not explicitly disclosed by Kang ’669, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Kang ’669 so as
                                   to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                   art.



 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 308 of 808 PageID #:
                                                  5373
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                   Prior Art References
 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




                                                      8
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 309 of 808 PageID #:
                                                  5374
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


                                                           EXHIBIT B-7
                                                    U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,394,992,
entitled “CONTROL OF AN OPTICAL MODULATOR FOR DESIRED BIASING OF DATA AND PULSE MODULATORS” to
Kimmitt et al. (“Kimmitt”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in
combination with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Kimmitt was filed on March 11, 2003, issued on July 1, 2008, and claims priority to Provisional Application No. 60/364,822, which
was filed on March 15, 2002. Therefore, Kimmitt qualifies as prior art under at least pre-AIA 35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Kimmitt discloses it. Kimmitt discloses methods and
 reducing misalignment            apparatus for generating and controlling an optical transmitter, including synchronizing RZ pulses
 between a carrier signal and a   (a carrier signal) with data modulation (a data signal).
 data signal, the apparatus
 comprising:                      See, e.g.,




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WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Kimmitt, 2:16-30.




                            Kimmitt, 8:63-9:3.




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                                                  5376
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                            Prior Art References




                            Kimmitt, Fig. 5.

                            To the extent this limitation is not explicitly disclosed by Kimmitt, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Kimmitt so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.


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                                                  5377
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                    Prior Art References
1(a) (a) an analyzer              Kimmitt discloses this limitation. Kimmitt discloses a modulator controller 42 (analyzer) that
configured (i) to analyze         detects the optical output power. Specifically, the modulator controller 42 analyzes output power
spectral power of an input        fluctuation that results from dithering, and this fluctuation has a null indicating alignment or
signal corresponding to the       misalignment of phase. The modulator controller further comprises a feedback loop that is used to
carrier and data signals, the     maintain waveform alignment at the optimal point.
spectral power being in a
spectral band corresponding       See, e.g.,
to a spectral null of the input
signal, and (ii) to generate a
control signal based on the
analysis; and




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                                                  5378
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 314 of 808 PageID #:
                                                  5379
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Kimmitt, 4:35-5:40.




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                                                  5380
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Kimmitt, 6:5-24.




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                                                  5381
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Kimmitt, 8:63-9:27.




                           Kimmitt, 9:63-10:3.


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                                                  5382
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Kimmitt, Fig. 5.




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                                                  5383
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                           Prior Art References




                           Kimmitt, Fig. 6.

                           The modulator controller 42 also generates a phase control signal 48 (control signal) to control the
                           operation of phase shifters 50, which phase shift a reference clock CLK.

                           See, e.g.,


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                                                  5384
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                 Prior Art References




                                 Kimmitt, 5:52-63.

                                 To the extent this limitation is not explicitly disclosed by Kimmitt, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Kimmitt so as to
                                 include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) (b) a phase shifter        Kimmitt discloses this limitation. Kimmitt discloses phase shifters 50 that phase shift the reference
 configured to introduce a       clock CLK relative to the data signal based on phase control signal 48 from the modulator
 phase shift between the data    controller 42.
 signal and a clock signal
 using the control signal,       See, e.g.,
 wherein the carrier signal is
 based on the clock signal.




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                                                  5385
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Kimmitt, 5:52-63.




                            Kimmitt, 8:63-9:3.




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                                                  5386
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                            Prior Art References
                            Kimmitt, 9:35-45.




                            Kimmitt, Fig. 5.

                            To the extent this limitation is not explicitly disclosed by Kimmitt, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Kimmitt so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
                                                            13
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 322 of 808 PageID #:
                                                  5387
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                    Prior Art References




 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of

 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




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                                                  5388
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


                                                           EXHIBIT B-8
                                                    U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of “Method for Ensuring
Time Synchronization between Data Modulator and Pulse Carver in Return-to-Zero Optical Transmitters” by the Mintera Corporation
(“Mintera”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with
one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Mintera was filed as part of Provisional Patent Application No. 60/364,822 on March 15, 2002. Therefore, Mintera qualifies as prior
art under at least pre-AIA 35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Mintera discloses it. Mintera discloses methods and
 reducing misalignment            apparatus for ensuring time synchronization of a data modulator and pulse carver in return-to-zero
 between a carrier signal and a   (RZ) optical transmitters.
 data signal, the apparatus
 comprising:                      See, e.g.,




                                  Mintera, at 8.




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                                                  5389
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                             Prior Art References




                             Mintera, Fig. 3.

                             To the extent this limitation is not explicitly disclosed by Mintera, it is inherent or obvious.
                             Moreover, it would have been obvious to one of ordinary skill in the art to modify Mintera so as to
                             include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) (a) an analyzer         Mintera discloses this limitation. Mintera discloses methods and apparatus for controlling data-
configured (i) to analyze    clock delay by monitoring the output power from the transmitter (spectral power of an input signal
spectral power of an input   corresponding to the carrier and data signals). In different schemes, synchronization is achieved

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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 325 of 808 PageID #:
                                                  5390
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                  Prior Art References
signal corresponding to the       when spectral asymmetry is corrected or when the output power is maximized or minimized when
carrier and data signals, the     synchronization is achieved (the spectral power being in a spectral band corresponding to a spectral
spectral power being in a         null of the input signal).
spectral band corresponding
to a spectral null of the input   See, e.g.,
signal, and (ii) to generate a
control signal based on the
analysis; and




                                  Mintera, at 8.




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                                                  5391
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Mintera, Fig. 2.




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                                                  5392
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                Prior Art References




                                Mintera, Fig. 3.

                                To the extent this limitation is not explicitly disclosed by Mintera, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Mintera so as to
                                include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) (b) a phase shifter       Mintera discloses this limitation. Mintera discloses a time delay (phase shifter) to synchronize the
 configured to introduce a      data and clock signals by using a control loop that detects and minimizes an error signal to
 phase shift between the data   maximize/minimize output power.

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                                                  5393
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References
 signal and a clock signal
 using the control signal,       See, e.g.,
 wherein the carrier signal is
 based on the clock signal.




                                 Mintera, at 8.




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                                                  5394
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                            Prior Art References




                            Mintera, Fig. 3.

                            To the extent this limitation is not explicitly disclosed by Mintera, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Mintera so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                  5395
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                   Prior Art References
 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of

 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 331 of 808 PageID #:
                                                  5396
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


                                                           EXHIBIT B-9
                                                    U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of U.S. Patent No. 6,677,820,
entitled “DISTORTION COMPENSATION APPARATUS” to Tetsuhiko Miyatani (“Miyatani”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions, including the other charted references.

Miyatani was filed on December 31, 2001 and issued on January 13, 2004. Therefore, Miyatani qualifies as prior art under at least pre-
AIA 35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Miyatani discloses it. Miyatani discloses a distortion
 reducing misalignment            compensation apparatus to compensate for distortion in the amplifier of a transmitter by adjusting
 between a carrier signal and a   the timing for controlling the amount of distortion generated on a signal to be provided for the
 data signal, the apparatus       amplifier (reducing misalignment between a carrier signal and a data signal).
 comprising:
                                  See, e.g.,




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                                                  5397
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References
                            Miyatani, 1:8-13.




                            Miyatani, 2:3-11.




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                                                  5398
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                Prior Art References




                                Miyatani, Fig. 11.

                                To the extent this limitation is not explicitly disclosed by Miyatani, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Miyatani so as
                                to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                art.

1(a) (a) an analyzer            Miyatani discloses this limitation. Miyatani discloses a level detector 85 that detects the power
configured (i) to analyze       level of an input signal and issues the result of the detection to a controller 90 by a digital value.
spectral power of an input      The digital value is entered into controller 90, which sends a digital control signal for realizing a
signal corresponding to the     phase change corresponding to the detection results to a D/A converter 89, which then converts the
carrier and data signals, the   digital control signal to an analog control signal that is issued to variable phase shifter 83.
                                                                  3
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                                                  5399
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References
spectral power being in a
spectral band corresponding       See, e.g.,
to a spectral null of the input
signal, and (ii) to generate a
control signal based on the
analysis; and




                                  Miyatani, 3:5-14.




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                                                  5400
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Miyatani, 3:32-48.




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                                                  5401
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                           Prior Art References




                           Miyatani, Fig. 11.

                           Miyatani further discloses that the spectrum of a signal issued from the amplifier shows a distortion
                           component (leak power to adjacent channels) out of the band of use due to distortion occurring in
                           the amplifier (spectral power being in a spectral band corresponding to a spectral null of the input
                           signal).

                           See, e.g.,




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                                                  5402
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                           Miyatani, 2:51-63.




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                                                  5403
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                Prior Art References




                                Miyatani, Fig. 13.

                                To the extent this limitation is not explicitly disclosed by Miyatani, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Miyatani so as
                                to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                art.

 1(b) (b) a phase shifter       Miyatani discloses this limitation. Miyatani discloses a variable phase shifter 83 that introduces a
 configured to introduce a      phase shift based on the control signal entered from the D/A converter 89 to generate a phase
 phase shift between the data   distortion in an amount corresponding to the control signal to the input signal.
 signal and a clock signal
 using the control signal,      See, e.g.,



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 339 of 808 PageID #:
                                                  5404
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References
 wherein the carrier signal is
 based on the clock signal.




                                 Miyatani, 2:36-42.




                                 Miyatani, Fig. 11.


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                                                  5405
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                                  Prior Art References
                                   To the extent this limitation is not explicitly disclosed by Miyatani, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Miyatani so as
                                   to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                   art.



 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of

 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 341 of 808 PageID #:
                                                  5406
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


                                                           EXHIBIT B-10
                                                     U.S. PATENT NO. 7,068,950

The asserted claims of U.S. Patent No. 7,068,950 (“the ’950 patent”) are anticipated and/or obvious in view of U.S. Patent No. 6,952,534,
entitled “SYSTEM AND METHOD FOR GENERATING RETURN-TO-ZERO (RZ) OPTICAL DATA IN A DIGITAL
LIGHTWAVE COMMUNICATIONS SYSTEM” to John K. Sikora (“Sikora”), either alone or combination with the knowledge of a
person of ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed in Xilinx’s Invalidity
Contentions, including the other charted references.

Sikora was filed on August 10, 2001 and issued on October 4, 2005. Therefore, Sikora qualifies as prior art under at least pre-AIA 35
U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’950 Claim Language                                                 Prior Art References
 1(pre) An apparatus for          To the extent the preamble is limiting, Sikora discloses it. Sikora discloses a system and method
 reducing misalignment            for generating reliable optical data capable of long-haul transmission, including using a phase
 between a carrier signal and a   feedback control loop to reduce misalignment between a carrier signal driven by a clock signal and
 data signal, the apparatus       the data signal.
 comprising:
                                  See, e.g.,




                                  Sikora, 1:31-35.



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                                                  5407
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Sikora, 3:12-34.




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                                                  5408
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References




                            Sikora, Fig. 2.




                                                      3
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                                                  5409
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                            Prior Art References




                            Sikora, Fig. 14.

                            To the extent this limitation is not explicitly disclosed by Sikora, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Sikora so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 345 of 808 PageID #:
                                                  5410
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                    Prior Art References
1(a) (a) an analyzer              Sikora discloses this limitation, either expressly or in combination with the knowledge of a
configured (i) to analyze         POSITA. Sikora discloses a phase control feedback loop 224 operable to receive a signal from
spectral power of an input        NRZ stage RF data amplitude level feedback control loop 218. A POSITA would have understood
signal corresponding to the       that the RF data amplitude level corresponds to signal strength or power in the spectral band. The
carrier and data signals, the     phase control feedback loop 224 is further operable to determine the phase difference and generate
spectral power being in a         a phase control signal to phase adjuster block 124. The RF data amplitude level feedback control
spectral band corresponding       loop 218 and phase control feedback control loop 224 thus compose an “analyzer” configured to
to a spectral null of the input   analyze spectral power and generate a control signal based on the analysis.
signal, and (ii) to generate a
control signal based on the       See, e.g.,
analysis; and




                                                                  5
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 346 of 808 PageID #:
                                                  5411
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                 Prior Art References
                                Sikora, 8:1-25.




                                Sikora, Fig. 2.

                                To the extent this limitation is not explicitly disclosed by Sikora, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Sikora so as to
                                include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) (b) a phase shifter       Sikora discloses this limitation. Sikora discloses a phase adjuster block 124 that is operable
 configured to introduce a      responsive to the phase control signal in order that the RF clock input signal is appropriately
 phase shift between the data   modified into a phase-adjusted clock.
 signal and a clock signal
 using the control signal,      See, e.g.,

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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 347 of 808 PageID #:
                                                  5412
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                    Prior Art References
 wherein the carrier signal is
 based on the clock signal.




                                 Sikora, 8:6-25.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 348 of 808 PageID #:
                                                  5413
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


    ’950 Claim Language                                                   Prior Art References




                                   Sikora, Fig. 2.

                                   To the extent this limitation is not explicitly disclosed by Sikora, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Sikora so as to
                                   include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



 17(pre) A method of reducing      See claim 1(pre).
 misalignment between a
 carrier signal and a data
 signal, comprising the steps of



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 349 of 808 PageID #:
                                                  5414
WSOU v. Xilinx, Case No. 1:20-cv-01229-CFC-JLH                                      U.S. Patent No. 7,068,950


     ’950 Claim Language                                   Prior Art References
 17(a) (i) analyzing spectral      See claim 1(a).
 power of a data-modulated
 signal corresponding to the
 carrier and data signals, the
 spectral power being in a
 spectral band corresponding
 to a spectral null of the data-
 modulated si[g]nal; and

 17(b) (ii) introducing a phase    See claim 1(b).
 shift between the data signal
 and a clock signal based on
 the analysis, wherein the
 carrier signal is based on the
 clock signal.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 350 of 808 PageID #:
                                                  5415
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                           EXHIBIT C-1
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent No. 6,760,850,
entitled “METHOD AND APPARATUS EXECUTING POWER ON SELF TEST CODE TO ENABLE A WAKEUP DEVICE FOR
A COMPUTER SYSTEM RESPONSIVE TO DETECTING AN AC POWER SOURCE” to Atkinson et al. (“Atkinson”), either alone
or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other
references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Atkinson was filed on July 31, 2000 and issued on July 6, 2004. Therefore, Atkinson qualifies as prior art under at least pre-AIA 35
U.S.C. § 102(a), (b), and (e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           Atkinson teaches power management in a portable computer. To the extent Atkinson does not
 comprising:                      expressly teach implementing the disclosed power management components on the same “circuit
                                  card,” it would have been obvious to a POSITA that the disclosed power management component
                                  could be implemented on a single circuit card within the portable computer.

                                  See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 351 of 808 PageID #:
                                                  5416
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                              Atkinson, 7:35-52.



 13(a) one or more devices,   Atkinson discloses this limitation. Atkinson teaches power management systems and methods that
                              selectively enable a computer wakeup device (e.g., a network interface card, or NIC) (one or more
                              devices) in response to the presence or removal of a power source.

                              See, e.g.,




                                                              2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 352 of 808 PageID #:
                                                  5417
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 1:19-22.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 353 of 808 PageID #:
                                                  5418
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 5:2-21.




                            Atkinson, 8:49-51.



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                                                  5419
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                Prior Art References




                                Atkinson, Fig. 4.

                                To the extent this limitation is not explicitly disclosed by Atkinson, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Atkinson so as
                                to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                art.

 13(b) a controller for         Atkinson discloses this limitation. Atkinson discloses a system comprising a CPU (controller for
 controlling operation of the   controlling operation of the circuit card).
 circuit card,
                                See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 355 of 808 PageID #:
                                                  5420
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 4:44-58.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 356 of 808 PageID #:
                                                  5421
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References




                                    Atkinson, Fig. 4.

                                    To the extent this limitation is not explicitly disclosed by Atkinson, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Atkinson so as
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.

 13(c) a switch responsive to a     Atkinson discloses this limitation. Particularly, Atkinson discloses a power switch that supplies
 command received from the          power to a system comprising a CPU, and further discloses that the CPU may instruct that the
 controller, for causing            switch be opened. Therefore, the power switch is “responsive to a command received from the
 electrical power to at least one   controller.”
 device to be decoupled
 therefrom for a predetermined      See, e.g.,
 period of time, and




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                                                  5422
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 7:35-52.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 358 of 808 PageID #:
                                                  5423
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 8:49-9:6.



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                                                  5424
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Atkinson, Fig. 4.

                            Atkinson further discloses an RTC timer that functions to wake up the system a predetermined
                            period of time after power has been decoupled from the system.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 360 of 808 PageID #:
                                                  5425
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 10:1-12.




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                                                  5426
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 11:1-22.




                                                      12
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                                                  5427
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References




                                    Atkinson, 11:32-40.

                                    To the extent this limitation is not explicitly disclosed by Atkinson, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Atkinson so as
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.

 13(d) an electrical power          Atkinson discloses this limitation. Particularly, Atkinson teaches a power management controller
 device, operable independent       (electrical power device) for controlling the power switch. The power management controller
 of the controller, that causes     closes the power switch to restore electrical power to the wakeup device. Atkinson further
 electrical power to the at least   discloses an RTC timer that functions to wake up the NIC and wakeup device a predetermined
 one device and the controller      period of time after power has been decoupled from the NIC and wakeup device.
 to be restored after the
 predetermined time period if       See, e.g.,
 the electrical power was also
 decoupled from the controller.




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                                                  5428
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 7:35-52.




                                                      14
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                                                  5429
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, Fig. 4.




                            Atkinson, 10:1-12.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 365 of 808 PageID #:
                                                  5430
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Atkinson, 11:1-22.




                                                      16
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                                                  5431
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Atkinson, 11:32-40.

                            To the extent this limitation is not explicitly disclosed by Atkinson, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Atkinson so as
                            to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                            art.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 367 of 808 PageID #:
                                                  5432
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938

                                                           EXHIBIT C-2
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,659,746,
entitled “DISTRIBUTED SUPPLY CURRENT SWITCH CIRCUITS FOR ENABLING INDIVIDUAL POWER DOMAINS” to Chua-
Eoan et al. (“Chua-Eoan ’746”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or
in combination with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Chua-Eoan ’746 was filed on September 16, 2005 and issued on February 9, 2010, and claims priority to Provisional Application No.
60/652,925, which was filed on February 14, 2005. Therefore, Chua-Eoan ’746 qualifies as prior art under at least pre-AIA 35 U.S.C.
§ 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, Chua-Eoan ’746 discloses it, either expressly or in
 comprising:                      combination with the knowledge of a POSITA. Chua-Eoan ’746 teaches the powering up and/or
                                  powering down of a power domain within an integrated circuit (circuit card).

                                  See, e.g.,




                                  Chua-Eoan ’746, 1:15-17.




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                                                  5433
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Chua-Eoan ’746, 2:27-41.




                                                       2
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                                                  5434
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Chua-Eoan ’746, Fig. 6.

                            To the extent this limitation is not explicitly disclosed by Chua-Eoan ’746, it is inherent or
                            obvious. Moreover, it would have been obvious to a POSITA to implement the integrated-circuit
                            components Chua-Eoan ’746 discloses as discrete components on, for example, a printed circuit
                            board (PCB).




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                                                  5435
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                             Prior Art References
 13(a) one or more devices,   Chua-Eoan ’746 discloses this limitation, either expressly or in combination with the knowledge of
                              a POSITA. Chua-Eoan ’746 discloses an integrated circuit with multiple power domains. A
                              POSITA would have understood that any individual power domain may comprise one or more
                              devices operating within that domain.

                              See, e.g.,




                              Chua-Eoan ’746, 2:27-41.




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                                                  5436
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Chua-Eoan ’746, Fig. 4.

                            To the extent this limitation is not explicitly disclosed by Chua-Eoan ’746, it is inherent or
                            obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Chua-
                            Eoan ’746 so as to include this claim limitation in light of the knowledge possessed by one of
                            ordinary skill in the art.




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                                                  5437
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                               Prior Art References
 13(b) a controller for         Chua-Eoan ’746 discloses this limitation, either expressly or in combination with the knowledge of
 controlling operation of the   a POSITA. Chua-Eoan ’746 discloses an integrated circuit with multiple power domains, and
 circuit card,                  further discloses that the domain circuitry within a power domain may be powered off when not in
                                use. A POSITA would have understood that the domain circuitry within an individual power
                                domain may comprise a controller.

                                See, e.g.,




                                Chau-Eoan ’746, 6:7-17.




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                                                  5438
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Chua-Eoan ’746, Fig. 6.

                            To the extent this limitation is not explicitly disclosed by Chua-Eoan ’746, it is inherent or
                            obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Chua-
                            Eoan ’746 so as to include this claim limitation in light of the knowledge possessed by one of
                            ordinary skill in the art.



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                                                  5439
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                  Prior Art References


 13(c) a switch responsive to a     Chua-Eoan ’746 discloses this limitation, either expressly or in combination with the knowledge of
 command received from the          a POSITA. Chua-Eoan ’746 discloses one or more supply current switch circuits (SCSCs), and
 controller, for causing            each SCSC comprises a switch for powering or decoupling from power the domain circuitry.
 electrical power to at least one
 device to be decoupled             See, e.g.,
 therefrom for a predetermined
 period of time, and




                                    Chua-Eoan ’746, 2:27-41.




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                                                  5440
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Chua-Eoan ’746, Fig. 6.

                            To the extent Chua-Eoan ’746 does not expressly disclose that an SCSC may be responsive to a
                            command received from the domain circuity comprising a controller, it would have been obvious
                            to a POSITA to modify the integrated circuit Chua-Eoan ’746 teaches to enable a power domain to
                            power itself down when, for example, it was not in use.



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                                                  5441
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                  Prior Art References

                                    See, e.g.,




                                    Chau-Eoan ’746, 6:7-17.

 13(d) an electrical power          Chua-Eoan ’746 discloses this limitation, either expressly or in combination with the knowledge of
 device, operable independent       a POSITA. Chua-Eoan ’746 discloses a power management control circuit 110 (electrical power
 of the controller, that causes     device) that is connected to and controls the SCSCs within each of the power domains. When a
 electrical power to the at least   power domain is to be powered up, the control circuit 110 asserts an enable signal that is supplied
 one device and the controller      to the SCSC (switch).
 to be restored after the
 predetermined time period if       See, e.g.,
 the electrical power was also
 decoupled from the controller.




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                                                  5442
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                     Prior Art References




                            Chua-Eoan ’746, 2:42-56.




                            Chua-Eoan ’746, 5:30-45.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 378 of 808 PageID #:
                                                  5443
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                           Prior Art References




                            Chua-Eoan ’746, Fig. 6.

                            To the extent Chua-Eoan ’746 does not expressly disclose that control circuit 110 turns SCSCs
                            back on after a predetermined time period, this would have been obvious to a POSITA. In
                            particular, Chua-Eoan ’746 discloses that the control circuit 110 is clocked. Moreover, in some
                            embodiments, the control circuit 110 asserts a first enable signal and, after a programmable amount
                            of time, asserts a second enable signal, in order to spread out the turning on of multiple SCSCs


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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 379 of 808 PageID #:
                                                  5444
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References
                            over time. Thus, it would have been obvious to a POSITA to clock or program the control circuit
                            110 to turn back on an SCSC after a predetermined time period.

                            See, e.g.,




                            Chua-Eoan ’746, 2:42-56.




                            Chua-Eoan ’746, claim 6.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 380 of 808 PageID #:
                                                  5445
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                            EXHIBIT C-3
                                                     U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent No. 5,715,467,
entitled “EVENT DRIVEN POWER MANAGEMENT CONTROL CIRCUIT AND METHOD THEREFOR” to James J. Jirgal
(“Jirgal”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with
one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Jirgal was filed on April 4, 1996 and issued on February 3, 1998. Therefore, Jirgal qualifies as prior art under at least pre-AIA 35 U.S.C.
§ 102(a), (b), and (e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                  Prior Art References
 13(pre) A circuit card            To the extent the preamble is limiting, Jirgal discloses it, either expressly or in combination with
 comprising:                       the knowledge of a POSITA. Jirgal discloses an event driven power management control system.
                                   To the extent Jirgal does not expressly disclose that the event driven power management control
                                   system and its components reside on a “circuit card,” a POSITA would have appreciated that the
                                   system Jirgal discloses could be implemented on a “circuit card.”

                                   See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 381 of 808 PageID #:
                                                  5446
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                             Prior Art References
                              Jirgal, 1:7-13.




                              Jirgal, Fig. 2.

 13(a) one or more devices,   Jirgal discloses this limitation. Jirgal discloses an event driven power management control system
                              for a computer system including, for example, peripheral devices.

                              See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 382 of 808 PageID #:
                                                  5447
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Jirgal, 1:32-44.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 383 of 808 PageID #:
                                                  5448
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                Prior Art References
                                Jirgal, 3:14-28.

                                To the extent this limitation is not explicitly disclosed by Jirgal, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Jirgal so as to
                                include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(b) a controller for         Jirgal discloses this limitation. Jirgal discloses a central processing unit (CPU) means for
 controlling operation of the   controlling operation of the computer system (controller).
 circuit card,
                                See, e.g.,




                                Jirgal, 1:66-2:7.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 384 of 808 PageID #:
                                                  5449
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                 Prior Art References




                                 Jirgal, Fig. 2.

                                 To the extent this limitation is not explicitly disclosed by Jirgal, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Jirgal so as to
                                 include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(c) a switch responsive to a Jirgal discloses this limitation, either expressly or in combination with the knowledge of a
 command received from the        POSITA. Jirgal discloses that the CPU includes a CPU power management unit that asserts a
 controller, for causing          STPCLK# signal low to the CPU in order to deactivate the internal clock of the CPU. To the
 electrical power to at least one


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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 385 of 808 PageID #:
                                                  5450
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                               Prior Art References
 device to be decoupled          extent Jirgal does not expressly disclose a switch, a POSITA would have understood that the
 therefrom for a predetermined   asserted STPCLK# signal low functions as a switch in the system Jirgal discloses.
 period of time, and
                                 See, e.g.,




                                 Jirgal, 3:6-13.




                                 Jirgal, 3:29-39.

                                 Moreover, to the extent Jirgal does not expressly disclose that the controller is decoupled from
                                 power for a predetermined period of time, a POSITA would have understood that the system Jirgal



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                                                  5451
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References
                            discloses could be implemented to decouple power for a predetermined period of time.
                            Particularly, Jirgal discloses a system power management unit 26 that comprises a timer 34, which
                            helps to prevent a false entry into a CPU clock state. A POSITA would have appreciated that the
                            timer 34 could be used or modified to enable system power management unit 26 to restore power
                            to the CPU only after a predetermined period of time. Indeed, Jirgal discloses that the length of
                            time for the time may be pre-programmed in the preferred embodiment.

                            See, e.g.,




                            Jirgal, 3:60-61.




                            Jirgal, 4:14-27.




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                                                  5452
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                  Prior Art References
 13(d) an electrical power          Jirgal discloses this limitation, either expressly or in combination with the knowledge of a
 device, operable independent       POSITA. Jirgal discloses a system power management unit 26 (electrical power device) that
 of the controller, that causes     restores power to the CPU.
 electrical power to the at least
 one device and the controller      See, e.g.,
 to be restored after the
 predetermined time period if
 the electrical power was also
 decoupled from the controller.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 388 of 808 PageID #:
                                                  5453
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Jirgal, 3:49-4:13.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 389 of 808 PageID #:
                                                  5454
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Jirgal, Fig. 2.

                            Moreover, to the extent Jirgal does not expressly disclose that power is restored after a
                            predetermined period of time, a POSITA would have understood that the system Jirgal discloses
                            could be implemented to restore power after a predetermined period of time. Particularly, Jirgal
                            discloses that system power management unit 26 comprises a timer 34, which helps to prevent a
                            false entry into a CPU clock state. A POSITA would have appreciated that the timer 34 could be
                            used or modified to enable system power management unit 26 to restore power to the CPU only
                            after a predetermined period of time. Indeed, Jirgal discloses that the length of time for the time
                            may be pre-programmed in the preferred embodiment.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 390 of 808 PageID #:
                                                  5455
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References

                            See, e.g.,




                            Jirgal, 3:60-61.




                            Jirgal, 4:14-27.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 391 of 808 PageID #:
                                                  5456
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                            EXHIBIT C-4
                                                     U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent No. 5,721,936,
entitled “TIMER-CONTROLLED COMPUTER SYSTEM POWER MANAGEMENT” to Kikinis et al. (“Kikinis”), either alone or
combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references
disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Kikinis was filed on July 24, 1996 and issued on February 24, 1998. Therefore, Kikinis qualifies as prior art under at least pre-AIA 35
U.S.C. § 102(a), (b), and (e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, Kikinis discloses it, either expressly or in combination with
 comprising:                      the knowledge of a POSITA. Kikinis teaches a power control methods and apparatus for computer
                                  systems, including in some embodiments a system comprising power supply, one or more
                                  switches, a keyboard and keyboard controller, and a real-time clock (RTC). To the extent Kikinis
                                  does not expressly disclose that this system is disposed on a “circuit card,” it would have been
                                  obvious to a POSITA to implement the system Kikinis teaches on a circuit card.

                                  See, e.g.,




                                  Kikinis, 1:8-11.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 392 of 808 PageID #:
                                                  5457
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Kikinis, 2:28-60.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 393 of 808 PageID #:
                                                  5458
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                              Prior Art References




                              Kikinis, Fig. 1.

 13(a) one or more devices,   Kikinis discloses this limitation. Kikinis discloses, for instance, peripherals 19 and system board
                              21 (one or more devices) that are connected to power supply A.



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                                                  5459
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References

                            See, e.g.,




                            Kikinis, 2:45-60.




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                                                  5460
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Kikinis, Fig. 1.

                            To the extent this limitation is not explicitly disclosed by Kikinis, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Kikinis so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.


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                                                  5461
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                Prior Art References


 13(b) a controller for         Kikinis discloses this limitation. For instance, Kikinis discloses a keyboard controller 23
 controlling operation of the   (controller), which is enabled to assert a signal on line 40 to place the power subsystem in standby
 circuit card,                  mode and operate a solid-state switch turn off primary power to power supply A.

                                See, e.g.,




                                Kikinis, 2:45-65.




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                                                  5462
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Kikinis, Fig. 1.

                            To the extent this limitation is not explicitly disclosed by Kikinis, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Kikinis so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 398 of 808 PageID #:
                                                  5463
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                  Prior Art References


 13(c) a switch responsive to a     Kikinis discloses this limitation. Kikinis discloses a switch 27 that opens when line 13 (from
 command received from the          power supply A) loses power in response to the signal from keyboard controller 23. This
 controller, for causing            decouples the system board 21 and peripherals 19 from power.
 electrical power to at least one
 device to be decoupled             See, e.g.,
 therefrom for a predetermined
 period of time, and




                                    Kikinis, 2:61-3:7.

                                    Further, when using RTC 26 to set a time for shutdown or startup, power can be decoupled for a
                                    predetermined period of time.

                                    See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 399 of 808 PageID #:
                                                  5464
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Kikinis, 3:31-45.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 400 of 808 PageID #:
                                                  5465
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Kikinis, Fig. 1.

                            To the extent this limitation is not explicitly disclosed by Kikinis, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Kikinis so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                  5466
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                  Prior Art References
 13(d) an electrical power          Kikinis discloses this limitation. Kikinis discloses a wake-up circuit comprising the keyboard 25,
 device, operable independent       keyboard controller 23, ring indicator 10, and RTC 26 (electrical power device). Upon system
 of the controller, that causes     activity at keyboard 25 signaled on line 12, or on signal from RTC 26 on line 12, or on signal from
 electrical power to the at least   ring indicator 10 on line 12, the wake-up circuit signals power supply A on line 40 to power up,
 one device and the controller      restoring full power to the system.
 to be restored after the
 predetermined time period if       See, e.g.,
 the electrical power was also
 decoupled from the controller.




                                    Kikinis, 3:24-45.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 402 of 808 PageID #:
                                                  5467
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Kikinis, Fig. 1.

                            To the extent this limitation is not explicitly disclosed by Kikinis, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Kikinis so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 403 of 808 PageID #:
                                                  5468
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938




                                                      13
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 404 of 808 PageID #:
                                                  5469
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                           EXHIBIT C-5
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent No. 5,721,937,
entitled “METHOD AND APPARATUS FOR REDUCING POWER CONSUMPTION IN A COMPUTER SYSTEM BY PLACING
THE CPU IN A LOW POWER MODE” to Kurihara et al. (“Kurihara”), either alone or combination with the knowledge of a person of
ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed in Xilinx’s Invalidity Contentions,
including the other charted references.

Kurihara was filed on March 3, 1997 and issued on February 24, 1998. Therefore, Kurihara qualifies as prior art under at least pre-AIA
35 U.S.C. § 102(a), (b), and (e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, Kurihara discloses it, either alone or in combination with
 comprising:                      the knowledge of a POSITA. Specifically, Kurihara discloses a computer system with power
                                  management that includes a CPU 46, a power management circuit (PMC) 52, and I/O circuit 54.
                                  To the extent Kurihara does not expressly disclose that these components are all on the same
                                  “circuit card,” a POSITA would have understood that all of the components could be disposed
                                  upon the same circuit card.

                                  See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 405 of 808 PageID #:
                                                  5470
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                              Kurihara, 5:18-27.




                              Kurihara, Fig. 2.

 13(a) one or more devices,   Kurihara discloses this limitation. Kurihara discloses power management to power on and off
                              peripheral devices (one or more devices).




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 406 of 808 PageID #:
                                                  5471
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References
                            See, e.g.,




                            Kurihara, 7:17-34.




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                                                  5472
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                Prior Art References




                                Kurihara, Fig. 2.

                                To the extent this limitation is not explicitly disclosed by Kurihara, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Kurihara so as
                                to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                art.

 13(b) a controller for         Kurihara discloses this limitation. Kurihara discloses a CPU that implements the power
 controlling operation of the   management process (controller for controlling operation of the circuit card).
 circuit card,
                                See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 408 of 808 PageID #:
                                                  5473
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Kurihara, 7:17-34.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 409 of 808 PageID #:
                                                  5474
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References




                                    Kurihara, Fig. 2.

                                    To the extent this limitation is not explicitly disclosed by Kurihara, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Kurihara so as
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.

 13(c) a switch responsive to a     Kurihara discloses this limitation, either alone or in combination with the knowledge of a POSITA.
 command received from the          Kurihara discloses that the CPU 46 writes a standby bit to the PMC 52 to assert a standby mode.
 controller, for causing            The PMC responds by enabling standby line 66 (switch), which sends CPU into standby mode. A
 electrical power to at least one   POSITA would have understood standby line 66 to function as a switch responsive to a command
 device to be decoupled             received from the controller, for causing electrical power to at least one device to be decoupled
 therefrom for a predetermined      therefrom.
 period of time, and
                                    See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 410 of 808 PageID #:
                                                  5475
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Kurihara, 8:45-61.

                            Kurihara further discloses that the CMU may be reawakened by the PMC disabling the standby
                            line in response to an external event, which a POSITA would understand could be triggered after a
                            predetermined period of time.

                            See, e.g.,




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                                                  5476
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References




                                    Kurihara, 8:36-45.

                                    To the extent this limitation is not explicitly disclosed by Kurihara, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Kurihara so as
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.

 13(d) an electrical power          Kurihara discloses this limitation, either alone or in combination with the knowledge of a POSITA.
 device, operable independent       Kurihara discloses a PMC 52 (electrical power device, operable independent of the controller) that
 of the controller, that causes     wakes CPU 46.
 electrical power to the at least
 one device and the controller      See, e.g.,
 to be restored after the
 predetermined time period if
 the electrical power was also
 decoupled from the controller.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 412 of 808 PageID #:
                                                  5477
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Kurihara, 7:45-67.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 413 of 808 PageID #:
                                                  5478
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                           Prior Art References




                            Kurihara, 8:36-45.

                            Kurihara further discloses that the CMU may be reawakened by the PMC disabling the standby
                            line in response to an external event, which a POSITA would understand could be triggered after a
                            predetermined period of time. See claim 13(c). Moreover, it would have been obvious to one of
                            ordinary skill in the art to modify Kurihara so as to include this claim limitation in light of the
                            knowledge possessed by one of ordinary skill in the art.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 414 of 808 PageID #:
                                                  5479
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                            EXHIBIT C-6
                                                     U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent No. 5,715,465,
entitled “POWER SUPPLY CONTROL APPARATUS USING LAST POWER STATE MEMORY” to Savage et al. (“Savage”), either
alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other
references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Savage was filed on November 22, 1995 and issued on February 3, 1998. Therefore, Savage qualifies as prior art under at least pre-
AIA 35 U.S.C. § 102(a), (b), and (e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           Savage, alone or in combination with the knowledge of a POSITA, discloses this limitation.
 comprising:                      Savage teaches a “last power state” apparatus that is incorporated into an electronic device. To the
                                  extent Savage does not expressly teach that the apparatus and the disclosed components of the
                                  apparatus exist on the same “circuit card,” a POSITA would have appreciated that the apparatus
                                  and all disclosed components could be implemented on the same card.

                                  See, e.g.,




                                  Savage, 1:65-66.




                                                                   1
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                                                  5480
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                              Prior Art References
 13(a) one or more devices,   Savage discloses this limitation. Particularly, Savage teaches an electronic device, such as a
                              computer.

                              See, e.g.,




                                                               2
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                                                  5481
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Savage, 3:43-65.




                                                      3
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                                                  5482
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                Prior Art References
                                To the extent this limitation is not explicitly disclosed by Savage, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Savage so as to
                                include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(b) a controller for         Savage discloses this limitation, either expressly or in combination with the knowledge of a
 controlling operation of the   POSITA. Savage discloses an electrical device, which may be a computer. Although not
 circuit card,                  expressly disclosed in Savage, a POSITA would have understood that the computer comprises a
                                controller, such as a CPU.

                                Savage does disclose that the computer provides signals to the power supply controller, which
                                results in turning off the power supply (decoupling electrical power) by means of the switch.

                                See, e.g.,




                                Savage, 5:40-43.




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                                                  5483
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References
                                    Savage, 6:55-62.

                                    To the extent this limitation is not explicitly disclosed by Savage, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Savage so as to
                                    include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(c) a switch responsive to a     Savage discloses this limitation, either expressly or in combination with the knowledge of a
 command received from the          POSITA. Savage discloses a momentary switch that turns on or off a power supply that powers
 controller, for causing            the device. Savage also discloses that the computer provides signals to the power supply
 electrical power to at least one   controller, which results in turning off the power supply (decoupling electrical power) by means of
 device to be decoupled             the switch.
 therefrom for a predetermined
 period of time, and                See, e.g.,




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                                                  5484
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Savage, 4:57-5:10.




                            Savage, 5:40-43.




                            Savage, 6:55-62.



                                                      6
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 420 of 808 PageID #:
                                                  5485
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References

                                    To the extent this limitation is not explicitly disclosed by Savage, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Savage so as to
                                    include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(d) an electrical power          Savage discloses this limitation. Savage discloses a power supply controller (electrical power
 device, operable independent       device) that is operable independently of the controller. The power supply controller may include
 of the controller, that causes     a real time clock (RTC), which enables the power supply controller to restore electrical power to
 electrical power to the at least   the device and controller after a predetermined time (programmed as “alarm time”).
 one device and the controller
 to be restored after the           See, e.g.,
 predetermined time period if
 the electrical power was also
 decoupled from the controller.


                                    Savage, 5:24-26.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 421 of 808 PageID #:
                                                  5486
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References
                            Savage, 6:63-7:5.

                            To the extent this limitation is not explicitly disclosed by Savage, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Savage so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                  5487
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                           EXHIBIT C-7
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of Sentry Power
Management products from Server Technology, Inc., including for example the Sentry Remote Power Manager (“Sentry”), as evidenced
by the Sentry Remote Power Manager Installation and Setup Manual (“Sentry Manual”), Second Edition, either alone or combination
with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed
in Xilinx’s Invalidity Contentions, including the other charted references.

The Sentry Manual was published in January 2001. Therefore, the Sentry Manual qualifies as prior art under at least pre-AIA 35 U.S.C.
§ 102(a) and (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, the Sentry Manual discloses it, either expressly or in
 comprising:                      combination with the knowledge of a POSITA. Sentry enables remote power down or reboot of
                                  electronic devices, such as servers and routers.

                                  See, e.g.,




                                  Sentry Manual, at 1.

                                  To the extent the Sentry Manual does not disclose power management on a “circuit card,” it would
                                  have been obvious to a POSITA to implement the remote power management apparatus and


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                                                  5488
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                Prior Art References
                                techniques of Sentry on a single “circuit card.” As one example, it would have been obvious to a
                                POSITA that the power switch could be implemented on a circuit card, for instance at the interface
                                of the circuit card with a power supply.

 13(a) one or more devices,     The Sentry Manual discloses this limitation. Sentry enables remote power down or reboot of
                                electronic devices, such as servers and routers (one or more devices).

                                See, e.g.,




                                Sentry Manual, at 1.

                                To the extent this limitation is not explicitly disclosed by the Sentry Manual, it is inherent or
                                obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify the
                                Sentry so as to include this claim limitation in light of the knowledge possessed by one of ordinary
                                skill in the art.

 13(b) a controller for         The Sentry Manual discloses this limitation. Sentry comprises internal controller board(s)
 controlling operation of the   (controller) that provide the processor and programming functions for operational features of the
 circuit card,                  Sentry.

                                See, e.g.,




                                                                 2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 424 of 808 PageID #:
                                                  5489
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References




                                    Sentry Manual, at 2.

                                    To the extent this limitation is not explicitly disclosed by the Sentry Manual, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify the
                                    Sentry so as to include this claim limitation in light of the knowledge possessed by one of ordinary
                                    skill in the art.

 13(c) a switch responsive to a     The Sentry Manual discloses this limitation. Sentry functions as a power switch responsive to
 command received from the          commands to shut down or reboot electrical equipment. A POSITA would have understood that
 controller, for causing            performing a “reboot” meant decoupling power for a predetermined period of time, after which
 electrical power to at least one   power is restored.
 device to be decoupled
 therefrom for a predetermined      See, e.g.,
 period of time, and




                                    Sentry Manual, at 1.




                                                                     3
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                                                  5490
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References




                                    Sentry Manual, at 1.

                                    To the extent this limitation is not explicitly disclosed by the Sentry Manual, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify the
                                    Sentry so as to include this claim limitation in light of the knowledge possessed by one of ordinary
                                    skill in the art.

 13(d) an electrical power          The Sentry Manual discloses this limitation. Sentry comprises output power connectors (known as
 device, operable independent       Intelligent Power Modules or IPMs) (electrical power device) that contain relays and circuitry
 of the controller, that causes     required to allow the Sentry the ability to restore power to the electrical equipment.
 electrical power to the at least
 one device and the controller      See, e.g.,
 to be restored after the
 predetermined time period if
 the electrical power was also
 decoupled from the controller.




                                    Sentry Manual, at 6.

                                    To the extent this limitation is not explicitly disclosed by the Sentry Manual, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify the




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                                                  5491
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References
                            Sentry so as to include this claim limitation in light of the knowledge possessed by one of ordinary
                            skill in the art.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 427 of 808 PageID #:
                                                  5492
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                           EXHIBIT C-8
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent Application
Publication No. 2005/0276132, entitled “HEADSWITCH AND FOOTSWITCH CIRCUITRY FOR POWER MANAGEMENT” to
Severson et al. (“Severson”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in
combination with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Severson was filed on May 27, 2004 and published on December 15, 2005. Therefore, Severson qualifies as prior art under at least pre-
AIA 35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, Severson discloses it, either expressly or in combination
 comprising:                      with the knowledge of a POSITA. Severson teaches power management for integrated circuits
                                  (circuit card).

                                  See, e.g.,




                                  Severson, ¶ [0002].




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                                                  5493
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                           Prior Art References




                            Severson, Fig. 8.

                            Moreover, it would have been obvious to a POSITA to implement the integrated-circuit
                            components Severson discloses as discrete components on, for example, a printed circuit board
                            (PCB), or an application specific integrated circuit (ASIC) in a wireless communication device.



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                                                  5494
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    ’938 Claim Language                                              Prior Art References

                              See, e.g.,




                              Severson, ¶ [0003].




                              Severson, ¶ [0071].

 13(a) one or more devices,   Severson discloses this limitation. For example, Severson discloses an electronic device
                              incorporating a logic circuit, wherein the electronic device includes a receiver 78 and a transmitter
                              80 (one or more devices).

                              See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 430 of 808 PageID #:
                                                  5495
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Severson, ¶ [0071].




                                                      4
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 431 of 808 PageID #:
                                                  5496
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Severson, Fig. 8.

                            To the extent this limitation is not explicitly disclosed by Severson, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Severson so as
                            to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                            art.


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                                                  5497
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    ’938 Claim Language                                                Prior Art References


 13(b) a controller for         Severson discloses this limitation. Severson discloses processing circuitry 76 (controller for
 controlling operation of the   controlling operation of the circuit card) to drive transmitter 80 and process signals received by
 circuit card,                  receiver 78.




                                Severson, ¶¶ [0071]-[0072].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 433 of 808 PageID #:
                                                  5498
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                           Prior Art References




                            Severson, Fig. 8.

                            To the extent this limitation is not explicitly disclosed by Severson, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Severson so as




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                                                  5499
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.

 13(c) a switch responsive to a     Severson discloses this limitation, either expressly or in combination with the knowledge of a
 command received from the          POSITA. Severson discloses headswitch or footswitch circuitry 88 (switch) that selectively
 controller, for causing            connects logic cells within logic circuit 86 to an external power source 90.
 electrical power to at least one
 device to be decoupled             See, e.g.,
 therefrom for a predetermined
 period of time, and




                                    Severson, ¶¶ [0071]-[0072].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 435 of 808 PageID #:
                                                  5500
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Severson, Fig. 8.

                            To the extent Severson does not expressly disclose that headswitch or footswitch circuitry 88 may
                            be responsive to a command received from the processing circuitry 76, it would have been obvious




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 436 of 808 PageID #:
                                                  5501
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                  Prior Art References
                                    to a POSITA to modify the integrated circuit Severson teaches to enable part of an ASIC or
                                    wireless communication device to power itself down when, for example, it was not in use.

                                    See, e.g.,




                                    Severson, ¶ [0064].

 13(d) an electrical power          Severson discloses this limitation, either expressly or in combination with the knowledge of a
 device, operable independent       POSITA. Severson discloses a gate input (electrical power device) that selectively applies a sleep
 of the controller, that causes     signal to a headswitch, causing the headswitch to switch on/off.
 electrical power to the at least
 one device and the controller      See, e.g.,
 to be restored after the
 predetermined time period if
 the electrical power was also
 decoupled from the controller.




                                                                   10
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                                                  5502
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    ’938 Claim Language                                    Prior Art References




                            Severson, ¶ [0024].




                                                      11
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 438 of 808 PageID #:
                                                  5503
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                        Prior Art References




                            Severson, ¶¶ [0048]-[0049].




                            Severson, ¶ [0055].




                                                          12
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                                                  5504
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Severson, Fig. 4.

                            To the extent Severson does not expressly disclose that the gate input turns the headswitch or
                            footswitch back on after a predetermined time period, this would have been obvious to a POSITA.
                            In particular, Severson discloses that gate input turns the headswitch or footswitch off during a
                            low-power or standby mode, and turns the switch back on during an active mode. It would have
                            been obvious to a POSITA that the low-power or standby mode Severson discloses could last for a
                            predetermined time period, or a POSITA would have been motivated to modify the invention
                            disclosed in Severson to pre-program the time period of the low-power or standby mode, such as in
                            an instance where a wireless communication device may routinely “wake” to search for a beacon.

                            See, e.g.,


                                                           13
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                                                  5505
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                        Prior Art References




                            Severson, ¶¶ [0048]-[0049].




                                                          14
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                                                  5506
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Severson, ¶ [0055].




                                                      15
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                                                  5507
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                           EXHIBIT C-9
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of “Wake on Wireless: An
Event Driven Energy Saving Strategy for Battery Operated Devices” by Shih et al. (“Shih”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions, including the other charted references.

Shih was published in September 2002. Therefore, Shih qualifies as prior art under at least pre-AIA 35 U.S.C. § 102(a) and (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, Shih discloses it. Shih teaches a power saving “wake on
 comprising:                      wireless” technique for PDA and handheld devices. A POSITA would have understood that a
                                  PDA device comprises a “circuit card.”

                                  See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 443 of 808 PageID #:
                                                  5508
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Shih, at 1.




                            Shih, at 4.




                                                      2
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                                                  5509
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                          Prior Art References




                            Shih, at 5.

                            In particular, the experimental setup described in Shih included a “Minibrick” that would be
                            integrated with the PDA devices into a single package to form the “UCoM Client Device.” The
                            Minibrick would perform the wake-on-wireless technique, and is a “circuit card.”

                            See ,e.g.,




                                                           3
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 445 of 808 PageID #:
                                                  5510
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Shih, at 5.




                                                      4
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 446 of 808 PageID #:
                                                  5511
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                              Prior Art References




                              Shih, at 6.

                              To the extent this limitation is not explicitly disclosed by Shih, it is inherent or obvious.
                              Moreover, it would have been obvious to one of ordinary skill in the art to modify Shih so as to
                              include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(a) one or more devices,   Shih discloses this limitation. For example, Shih discloses that the wake-on-wireless technique is
                              used to power down a PDA device with an IEEE 802.11b card (one or more devices).

                              See, e.g.,




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                                                  5512
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                Prior Art References
                                Shih, at 4.




                                Shih, at 5.

                                To the extent this limitation is not explicitly disclosed by Shih, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Shih so as to
                                include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(b) a controller for         Shih discloses this limitation, either expressly or in combination with the knowledge of a POSITA.
 controlling operation of the   Shih discloses shutting down the PDA device and its high-power IEEE 802.11b card when not in
 circuit card,                  use. To the extent Shih does not expressly disclose a “controller,” it would have been obvious to a
                                POSITA that the PDA device would include a controller.

                                See, e.g.,




                                                                 6
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     ’938 Claim Language                                                  Prior Art References




                                    Shih, at 1.

 13(c) a switch responsive to a     Shih discloses this limitation, either expressly or in combination with the knowledge of a POSITA.
 command received from the          Shih discloses shutting down the PDA device and its high-power IEEE 802.11b card when not in
 controller, for causing            use. To the extent Shih does not expressly disclose a “switch” for powering off the device and
 electrical power to at least one   network card, it would have been obvious to a POSITA to implement a switch responsive to a
 device to be decoupled             command received from the controller for powering off the device and network card when not in
 therefrom for a predetermined      use.
 period of time, and
                                    See, e.g.,




                                                                    7
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                                                  5514
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                  Prior Art References




                                    Shih, at 1.

                                    Further, to the extent Shih does not expressly disclose powering off the device and network card
                                    for a predetermined period of time, while the period of time (as measured in a unit of time, e.g.,
                                    seconds) the device and network card are not in use may not be known beforehand, the wake-on-
                                    wireless technique Shih teaches involves waking up the device and network card at the occurrence
                                    of a known event (here, a call to the device). The period in which the device and network card are
                                    not in use therefore is well-defined with respect to its boundaries, and thus is a “predetermined
                                    period of time.”

 13(d) an electrical power          Shih discloses this limitation. Shih teaches adding a second, low-power channel that can receive a
 device, operable independent       wakeup message to the device. This second channel includes a low-power radio for receiving the
 of the controller, that causes     wakeup message, and a microcontroller (electrical power device) that is used to control the radio
 electrical power to the at least   and to send and receive messages to and from the radio when the PDA device and network card are
 one device and the controller      off. When a wakeup message is received, the electrical power device wakes the PDA device and
 to be restored after the           network card.
 predetermined time period if
 the electrical power was also      See, e.g.,
 decoupled from the controller.




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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Shih, at 1.




                            Shih, at 4.




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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Shih, at 5.




                            Shih, at 5-6.

                            To the extent this limitation is not explicitly disclosed by Shih, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Shih so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                          EXHIBIT C-10
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent No. 4,723,269,
entitled “METHOD AND APPARATUS FOR POWER-UP OF UNATTENDED COMPUTER” to Roger N. Summerlin
(“Summerlin”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination
with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Summerlin was filed on December 23, 1985 and issued on February 2, 1988. Therefore, Summerlin qualifies as prior art under at least
pre-AIA 35 U.S.C. § 102(a), (b), and (e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, Summerlin discloses it, either expressly or in combination
 comprising:                      with the knowledge of a POSITA. Summerlin discloses a power-up circuit, which a POSITA
                                  would have understood could be implemented on a “circuit card.”

                                  See, e.g.,




                                                                   1
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Summerlin, 1:36-63.




                                                      2
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                           Prior Art References




                            Summerlin, Fig. 2.

                            To the extent this limitation is not explicitly disclosed by Summerlin, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Summerlin so as



                                                            3
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                Prior Art References
                                to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                art.

 13(a) one or more devices,     Summerlin discloses this limitation, either expressly or in combination with the knowledge of a
                                POSITA. Summerlin discloses a power-up circuit for a computer, which a POSITA would have
                                known could additionally comprise one or more devices, such as I/O devices or other devices that
                                send and receive data.

                                See, e.g.,




                                Summerlin, 1:36-43.

                                To the extent this limitation is not explicitly disclosed by Summerlin, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Summerlin so as
                                to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                art.

 13(b) a controller for         Summerlin discloses this limitation. Summerlin discloses that a computer program may initiate an
 controlling operation of the   instruction for powering down the computer. This computer program is therefore a controller for
 circuit card,                  controlling operation of the circuit card.

                                See, e.g.,



                                                                 4
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     ’938 Claim Language                                                   Prior Art References




                                    Summerlin, 5:21-30.

                                    To the extent this limitation is not explicitly disclosed by Summerlin, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Summerlin so as
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.

 13(c) a switch responsive to a     Summerlin discloses this limitation. Summerlin discloses one or more transistors (switch)
 command received from the          responsive to a latch-in signal. A computer program (controller) may initiate an instruction to
 controller, for causing            cease generation of the latch-in signal, which causes the transistor to cease to conduct, and this
 electrical power to at least one   “opening of the switch” interrupts the application of AC power to the computer power supply 21
 device to be decoupled             and the computer is caused to power down.
 therefrom for a predetermined
 period of time, and                See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 457 of 808 PageID #:
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References




                                    Summerlin, 5:21-40.

                                    To the extent this limitation is not explicitly disclosed by Summerlin, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Summerlin so as
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.

 13(d) an electrical power          Summerlin discloses this limitation. Summerlin discloses a date timer 22 located in the computer
 device, operable independent       (electrical power device) that can be preprogrammed to generate an interrupt at a predetermined
 of the controller, that causes     time. At the predetermined time, the interrupt is generated and applied to a transistor, which acts
 electrical power to the at least   as a switch closing in response to the interrupt signal and completes the power-up circuit, thus
 one device and the controller      restoring power to the computer.
 to be restored after the



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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                       Prior Art References
 predetermined time period if     See, e.g.,
 the electrical power was also
 decoupled from the controller.




                                  Summerlin, 4:65-5:20.




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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                           Prior Art References




                            Summerlin, Fig. 2.

                            To the extent this limitation is not explicitly disclosed by Summerlin, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Summerlin so as



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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References
                            to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                            art.




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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                          EXHIBIT C-11
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of GC4016 and GC4116
chips (“GC chips”) from Texas Instruments, as evidenced at least by a TI Application Report entitled “GC4016 and GC4116 Power
Cycling Considerations” (“Application Report”) and the Data Sheet for the GC4016 Multi-Standard Quad DDC Chip (“GC4016 Data
Sheet”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one
or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

The Application Report was published in October 2004, and the Data Sheet was published on August 27, 2001. Therefore, both
references qualify as prior art under at least pre-AIA 35 U.S.C. § 102(a) and (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, the GC chips are each a “circuit card.”
 comprising:
                                  See, e.g.,




                                  Application Report, at 1.




                                                                   1
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                    Prior Art References




                            Data Sheet, at 2.

                            See also, e.g.,




                                                      2
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                             Prior Art References




                              Data Sheet, at 1.

                              Moreover, a POSITA would have understood that the GC chips could be connected to or disposed
                              on a separate circuit board. To the extent this limitation is not explicitly disclosed by the GC
                              chips, it is inherent or obvious. Moreover, it would have been obvious to one of ordinary skill in
                              the art to modify the GC chips so as to include this claim limitation in light of the knowledge
                              possessed by one of ordinary skill in the art.

 13(a) one or more devices,   The GC chips comprise this limitation. For example, the GC4016 chip is a quad receiver chip that
                              contains four identical down-conversion circuits (one or more devices) and outputs the down-
                              converted signals.

                              See, e.g.,


                                                              3
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                           Prior Art References




                            Data Sheet, at 2.

                            Moreover, a POSITA would have understood that the GC chips could be connected to or disposed
                            on a separate circuit board with one or more other devices disposed on the same board. To the
                            extent this limitation is not explicitly disclosed by the GC chips, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify the GC chips so
                            as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.




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     ’938 Claim Language                                                   Prior Art References
 13(b) a controller for             The Application Report discloses this limitation. According to the Application Report, the GC
 controlling operation of the       chips comprise a JTAG controller, which controls operation of the chip.
 circuit card,
                                    See, e.g.,




                                    Application Report, at 1.

                                    To the extent this limitation is not explicitly disclosed by the GC chips, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify the GC chips so
                                    as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.

 13(c) a switch responsive to a     The Application Report discloses this limitation. According to the Application Report, the GC
 command received from the          chips comprise power up reset circuits that assert a powerup_reset signal (switch) for powering up
 controller, for causing            the chip. This enables power cycling on the chip, which resets the JTAG controller.
 electrical power to at least one
 device to be decoupled             See, e.g.,
 therefrom for a predetermined
 period of time, and




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                                                  5531
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                     Prior Art References




                            Application Report, at 1.




                            Application Report, at 1.




                                                        6
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                           Prior Art References




                            Application Report, at 3.

                            The “off” time is determined by the time needed to charge or discharge an internal capacitor,
                            which is set by an internal RC time constant (predetermined time).

                            See, e.g.,




                                                            7
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                                                  5533
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


     ’938 Claim Language                                                   Prior Art References




                                    Application Report, at 1.




                                    Application Report, at 1.

                                    To the extent this limitation is not explicitly disclosed by the GC chips, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify the GC chips so
                                    as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.

 13(d) an electrical power          The Application Report discloses this limitation The GC chips comprise internal power up reset
 device, operable independent       circuits (electrical power device) that assert the powerup_reset signal to restore power to the chip
 of the controller, that causes     and JTAG controller.
 electrical power to the at least
 one device and the controller      See, e.g.,
 to be restored after the
 predetermined time period if
 the electrical power was also
 decoupled from the controller.


                                    Application Report, at 1.



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                                                  5534
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                     Prior Art References




                            Application Report, at 1.




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                                                  5535
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                            Prior Art References




                            Application Report, at 3.

                            To the extent this limitation is not explicitly disclosed by the GC chips, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify the GC chips so
                            as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.




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                                                  5536
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


                                                          EXHIBIT C-12
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of the ARM11 MPCore
Processor (“ARM11”), as evidenced by at least the ARM11 MPCore Processor Technical Reference Manual, Rev. r0p2 (“ARM11
Manual”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with
one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

The ARM11 Manual was published on September 14, 2005. Therefore, the ARM11 Manual qualifies as prior art under at least pre-
AIA 35 U.S.C. § 102(a). According to the ARM11 Manual, the ARM11 was on sale or offered for sale at least as early as February
2005. See ARM11 Manual, at ii. Therefore, the ARM11 qualifies as prior art under at least pre-AIA 35 U.S.C. § 102(a) and (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

    ’938 Claim Language                                                  Prior Art References
 13(pre) A circuit card          To the extent the preamble is limiting, the ARM11 is a processor system comprising between one and
 comprising:                     four Central Processing Units (CPUs), referred to as MP11 CPUs. A POSITA would have understood
                                 that the ARM11 processor could exist as or on a single “circuit card.”

                                 See, e.g.,




                                 ARM11 Manual, at xxiv.


                                                                   1
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                                                  5537
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


   ’938 Claim Language                                                Prior Art References




                              ARM Manual, at 1-2.

                              To the extent this limitation is not explicitly disclosed by the ARM11 Manual, it is inherent or
                              obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify ARM11
                              so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                              the art.

 13(a) one or more devices,   The ARM11 Manual discloses this limitation. According to the ARM11 Manual, the ARM11 is a
                              processor system that comprises one or more devices, such as memory.

                              See, e.g.,


                                                                2
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                                                  5538
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


   ’938 Claim Language                                     Prior Art References




                          ARM11 Manual, at xxiv.




                          ARM Manual, at 1-2.



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                                                  5539
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


    ’938 Claim Language                                                 Prior Art References




                                ARM Manual, at 11-9.

                                To the extent this limitation is not explicitly disclosed by the ARM11 Manual, it is inherent or
                                obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify ARM11
                                so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                the art.

 13(b) a controller for         The ARM11 Manual discloses this limitation. According to the ARM Manual, the ARM11 comprises
 controlling operation of the   one or more CPUs for controlling operation of the circuit card.
 circuit card,
                                See, e.g.,




                                                                  4
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                                                  5540
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


   ’938 Claim Language                                     Prior Art References




                          ARM11 Manual, at xxiv.




                          ARM11 Manual, at 1-2.




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                                                  5541
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


   ’938 Claim Language                                                  Prior Art References
                                To the extent this limitation is not explicitly disclosed by the ARM11 Manual, it is inherent or
                                obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify ARM11
                                so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                the art.

 13(c) a switch responsive to   The ARM11 Manual discloses this limitation, either expressly or in combination with the knowledge
 a command received from        of a POSITA. According to the ARM11 Manual, the ARM11 includes multiple levels of power
 the controller, for causing    management. Particularly, in at least the shutdown and dormant modes the MP11 CPU communicates
 electrical power to at least   with the power controller to signal that it is ready to be powered down. A POSITA would have
 one device to be decoupled     understood that the power controller would then comprise a switch or communicate with a switch to
 therefrom for a                power down the MP11 CPU.
 predetermined period of
 time, and                      See, e.g.,




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                                                  5542
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


   ’938 Claim Language                                         Prior Art References




                          ARM11 Manual, at 1-18 to 1-19.


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                                                  5543
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


   ’938 Claim Language                                     Prior Art References




                          ARM11 Manual, at 11-8.




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                                                  5544
WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


   ’938 Claim Language                                         Prior Art References




                          Further, according to the ARM11 Manual, the ARM11 comprises one or more times to enable wake-
                          up on interrupt. These timers could be set for a predetermined period of time.

                          See, e.g.,




                                                         9
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WSOU v. Xilinx, Case No. 1:20-cv-01231-CFC-JLH                                      U.S. Patent No. 7,613,938


   ’938 Claim Language                                          Prior Art References




                          ARM11 Manual, at 11-7.

                          See also, e.g.,




                          ARM11 Manual, at 10-23.

                          To the extent this limitation is not explicitly disclosed by the ARM11 Manual, it is inherent or
                          obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify ARM11



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    ’938 Claim Language                                                    Prior Art References
                                  so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                  the art.

 13(d) an electrical power        The ARM11 Manual discloses this limitation. According to the ARM11 Manual, the ARM11
 device, operable                 comprises a power controller (electrical power device, operable independent of the controller) that
 independent of the               causes electrical power to be restored to a power domain including the MP11 CPU and one or more
 controller, that causes          devices.
 electrical power to the at
 least one device and the         See, e.g.,
 controller to be restored
 after the predetermined time
 period if the electrical power
 was also decoupled from the
 controller.



                                  ARM11 Manual, at 1-18.




                                  ARM11 Manual, at 11-9.

                                  Further, according to the ARM11 Manual, the ARM11 comprises one or more times to enable wake-
                                  up on interrupt. These timers could be set for a predetermined period of time.

                                  See, e.g.,




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   ’938 Claim Language                                          Prior Art References




                          ARM11 Manual, at 11-7.

                          See also, e.g.,




                          ARM11 Manual, at 10-23.

                          To the extent this limitation is not explicitly disclosed by the ARM11 Manual, it is inherent or
                          obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify ARM11



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   ’938 Claim Language                                             Prior Art References
                          so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                          the art.




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                                                          EXHIBIT C-13
                                                    U.S. PATENT NO. 7,613,938

The asserted claims of U.S. Patent No. 7,613,938 (“the ’938 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,529,958,
entitled “PROGRAMMABLE POWER TRANSITION COUNTER” to Roth et al. (“Roth”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions, including the other charted references.

Roth was filed on November 15, 2004 and issued on May 5, 2009. Therefore, Roth qualifies as prior art under at least pre-AIA 35
U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’938 Claim Language                                                 Prior Art References
 13(pre) A circuit card           To the extent the preamble is limiting, Roth discloses it. Roth discloses a programmable counter
 comprising:                      register for power management, which in at least one embodiment is implemented as part of a
                                  system-on-chip (circuit card).

                                  See, e.g.,




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    ’938 Claim Language                                    Prior Art References




                            Roth, 2:10-22.




                            Roth, 5:3-12.




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    ’938 Claim Language                                    Prior Art References




                            Roth, Fig. 3.




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    ’938 Claim Language                                              Prior Art References
                              To the extent this limitation is not explicitly disclosed by Roth, it is inherent or obvious.
                              Moreover, it would have been obvious to one of ordinary skill in the art to modify Roth so as to
                              include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(a) one or more devices,   Roth discloses this limitation. Roth discloses that the circuit card may include a processing system
                              comprising a processor core 310, as well as a memory 330 and peripheral interface 340 (one or
                              more devices).

                              See, e.g.,




                              Roth, 5:3-12.




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    ’938 Claim Language                                    Prior Art References




                            Roth, Fig. 3.




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    ’938 Claim Language                                                Prior Art References
                                To the extent this limitation is not explicitly disclosed by Roth, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Roth so as to
                                include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(b) a controller for         Roth discloses this limitation. Roth discloses a processor core 310 for controlling operation of the
 controlling operation of the   circuit card (controller).
 circuit card,
                                See, e.g.,




                                Roth, 5:3-12.




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    ’938 Claim Language                                    Prior Art References




                            Roth, Fig. 3.



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    ’938 Claim Language                                                 Prior Art References
                                 To the extent this limitation is not explicitly disclosed by Roth, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Roth so as to
                                 include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(c) a switch responsive to a Roth discloses this limitation. Roth discloses that the circuit card may comprise an optional switch
 command received from the        845 for controlling power to a power island.
 controller, for causing
 electrical power to at least one See, e.g.,
 device to be decoupled
 therefrom for a predetermined
 period of time, and


                                 Roth, 6:61-65.




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    ’938 Claim Language                                    Prior Art References




                            Roth, Fig. 8.



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    ’938 Claim Language                                          Prior Art References
                            Further, Roth discloses one or more programmable counter registers 304 to hold a minimum
                            wakeup wait time value. Roth discloses that certain embodiments may comprise one or more
                            wakeup timers. It would have been obvious to a POSITA that the programmable wakeup timers
                            could be implemented to ensure that the controller or device were powered off for a predetermined
                            period of time.

                            See, e.g.,




                            Roth, 5:58-62.




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     ’938 Claim Language                                                   Prior Art References




                                    Roth, 6:3-25.

                                    To the extent this limitation is not explicitly disclosed by Roth, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Roth so as to
                                    include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 13(d) an electrical power          Roth discloses this limitation. Roth discloses a power management unit (PMU) (electrical power
 device, operable independent       device, operable independent of the controller) that causes power to be restored to a power island
 of the controller, that causes     that may comprise the processing core (controller) and one or more devices. Roth further discloses
 electrical power to the at least   that, in some embodiments, the PMU controls the switch 845 to close the switch 845, thereby
 one device and the controller      restoring power.
 to be restored after the


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    ’938 Claim Language                                    Prior Art References
 predetermined time period if     See, e.g.,
 the electrical power was also
 decoupled from the controller.




                                  Roth, 5:44-57.




                                  Roth, 6:54-65.




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    ’938 Claim Language                                    Prior Art References




                            Roth, 7:60-65.




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    ’938 Claim Language                                    Prior Art References




                            Roth, Fig. 3.




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    ’938 Claim Language                                        Prior Art References
                            Further, Roth discloses one or more programmable counter registers 304 to hold a minimum
                            wakeup wait time value. Roth discloses that certain embodiments may comprise one or more
                            wakeup timers. It would have been obvious to a POSITA that the programmable wakeup timers
                            could be implemented to ensure that the controller or device were powered back on after a
                            predetermined period of time.

                            See, e.g.,




                            Roth, 5:58-62.




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    ’938 Claim Language                                            Prior Art References




                            Roth, 6:3-25.

                            To the extent this limitation is not explicitly disclosed by Roth, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Roth so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                       U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No.
7,471,903 B1 entitled “Optical Communication System” to Friskney et al. (“Friskney”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSA”).

Friskney was filed on June 26, 2002 and published on December 30, 2008. Therefore, Friskney qualifies as prior art under at least
pre-AIA 35 U.S.C. § 102(e).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as
understood by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms.
Because discovery is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its
invalidity contentions based on new information produced in discovery or on the Court’s constructions.

     ’971 Claim Language                                                    Prior Art Teachings
 1(a) A method of operating a        To the extent that the preamble is limiting, Friskney teaches and/or renders obvious this limitation.
 passive optical network             Friskney discloses a method of operating a network comprising an optical line termination being
 comprising an optical line          connected via a plurality of optical fibers to a plurality of network terminations.
 termination being connected
 via a plurality of optical fibers   Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
 to a plurality of network           is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:
 terminations and




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    ’971 Claim Language                                           Prior Art Teachings




                           Alternatively, to the extent that Friskney does not explicitly teach “a passive optical network,” it
                           would have been obvious to a POSA to improve the network of Friskney by incorporating passive
                           components in view of the knowledge of the POSA (including the benefits of using a passive
                           network).

                           For example, Friskney discloses that nodes “may be thousands of kilometers in a long haul
                           network” and that “optical amplification is typically required” for such longer range transmission
                           systems. See Friskney 5:14-22.




                           A POSA would know that the system and method described in Friskney may be utilized for a
                           passive optical network, in particular where data rates could be generally maintained such as
                           networks with shorter distances between nodes.


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    ’971 Claim Language                                                   Prior Art Teachings

                                  To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                                  to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                  art.
1(b) comprising the step of       Friskney discloses this limitation. Friskney discloses the step of generating an optical signal for
generating an optical signal      transmission over one of the plurality of optical fibers.
for transmission over one of
the plurality of optical fibers   Friskney discloses an optical communications network and an optical signal. Friskney’s network
                                  includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                                  the context of an optical communication network, a POSA would know that the transmitter in
                                  Figure 1 generates optical signals.




                                  Friskney discloses optical signals. See Friskney, 29-38.




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     ’971 Claim Language                                                   Prior Art Teachings




                                   Friskney discloses a plurality of optical signals. See, Friskney 1:60-64.




                                   Friskney discloses optical signals transmitted by a plurality of optical fiber carriers. See, Friskeny
                                   9-14.




                                   To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as to
                                   include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(c) the optical signal           Friskney discloses this limitation. Friskney discloses the optical signal including a plurality of
 including a plurality of signal   signal states.
 states,



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    ’971 Claim Language                                           Prior Art Teachings
                           Friskney discloses a WDM optical signal. See Friskney, 5:9-13.




                           Friskney also discloses a number of signal states. See Friskney, 2:35-57.




                           To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                           Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as




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    ’971 Claim Language                                                 Prior Art Teachings
                                to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                art.
 1(d) each signal state         Friskney discloses this limitation. Friskney discloses that each signal state corresponding to a
 corresponding to a different   different sequence of bits. Friskney discloses a different sequence of bits. See Friskney, 2:36-39.
 sequence of bits,




                                See Friskney, 6:4-7.




                                See Friskney, 6:17-23.




                                See Friskney, 9:20-31.




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     ’971 Claim Language                                                    Prior Art Teachings




                                    See Friskney, 9:47-48.



                                    To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.
 1(e) wherein the plurality of      Friskney discloses this limitation. Friskney discloses that the plurality of signal states and the
 signal states and the number       number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are       on the one of the plurality of optical fibers.
 increased based on a
 transmission quality of the        See Friskney, 2:10-34.
 optical signal on the one of
 the plurality of optical fibers.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Friskney, 2:46-49.




                           See Friskney, 6:17-23.




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    ’971 Claim Language                                        Prior Art Teachings




                           See Friskney, 7:5-19.




                           See Friskney, 8:56-67, 9:1-4.




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    ’971 Claim Language                                                Prior Art Teachings




                               In Friskney Q measurements are quality factor measurements such as the transmission quality of
                               the optical signal. See Friskney, 7:57-59.




                               To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                               to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                               art.


 15(a) An optical line         To the extent that the preamble is limiting, Friskney teaches and/or renders obvious this limitation.
 termination being part of a   Friskney discloses an optical line termination being part of an optical network comprising said
 passive optical network



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     ’971 Claim Language                                                     Prior Art Teachings
 comprising said optical line        optical line termination being connected via a plurality of optical fibers to a plurality of network
 termination being connected         terminations.
 via a plurality of optical fibers
 to a plurality of network           Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
 terminations                        is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:




                                     Alternatively, to the extent that Friskney does not explicitly teach “a passive optical network,” it
                                     would have been obvious to a POSA to improve the network of Friskney by incorporating passive
                                     components in view of the knowledge of the POSA (including the benefits of using a passive
                                     network).
 15(b) wherein the optical line      Friskney discloses this limitation. Friskney discloses wherein the optical line termination is
 termination is configured to        configured to generate an optical signal including a plurality of signal states.
 generate an optical signal
 including a plurality of signal     Friskney discloses an optical communications network and an optical signal. Friskney’s network
 states,                             includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                                     the context of an optical communication network, a POSA would know that the transmitter in
                                     Figure 1 generates optical signals.



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    ’971 Claim Language                                                 Prior Art Teachings




                                To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                                to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                art.
 15(c) each signal state        Friskney discloses this limitation. Friskney discloses that each signal state corresponding to a
 corresponding to a different   different sequence of bits. Friskney discloses different sequence of bits. See Friskney, 2:36-39.
 sequence of bits,



                                See Friskney, 6:4-7.




                                See Friskney, 6:17-23.




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    ’971 Claim Language                                                   Prior Art Teachings




                                  See Friskney, 9:20-31.




                                  See Friskney, 9:47-48.



                                  To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                                  to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                  art.
 15(d) wherein the plurality of   Friskney discloses this limitation. Friskney discloses wherein the plurality of signal states and the
 signal states and the number     number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are     of the one of the plurality of optical fibers.
 increased based on a


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     ’971 Claim Language                                          Prior Art Teachings
 transmission quality of the        See Friskney, 2:10-34.
 optical signal of the one of the
 plurality of optical fibers.




                                    See Friskney, 2:46-49.




                                    See Friskney, 6:17-23.



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    ’971 Claim Language                                         Prior Art Teachings




                           See Friskney, 7:5-19.




                           See Friskney, 8:56-67, 9:1-4.




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    ’971 Claim Language                                            Prior Art Teachings




                           To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                           Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                           to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                           art.




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                                                       U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,602,806
entitled “Signaling and coding methods and apparatus for long-range 10 and 100 MBPS ethernet transmission” to Yang et al. (“Yang”),
either alone or combination with the knowledge of a person of ordinary skill in the art (“POSA”), or in combination with one or more
other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references, including U.S. Patent No. 6,411,410
entitled “Wavelength-Division Multiplexing In Passive Optical Networks” to Wright et al. (“Wright”)

Yang was filed on December 7, 2004, and issued on October 13, 2009. Therefore, Yang qualifies as prior art under at least pre-AIA 35
U.S.C. §§ 102(a), (b). Wright was filed on March, 4, 1998, and issued on June 25, 2002. Therefore, Wright qualifies as prior art under
at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’971 Claim Language                                                     Prior Art Teachings
 1(a) A method of operating a        To the extent that the preamble is limiting, Wright teaches this limitation. Wright discloses a
 passive optical network             passive optical network.
 comprising an optical line
 termination being connected         Wright discloses a passive optical network that transmits data-carrying optical signals from an
 via a plurality of optical fibers   optical line termination to a plurality of optical network units. See Wright, Abstract, FIG. 1.
 to a plurality of network
 terminations and




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    ’971 Claim Language                                    Prior Art Teachings




                           See Wright, 1:10-16.




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    ’971 Claim Language                                                   Prior Art Teachings




                                  It would have been obvious to a POSA to combine the teachings of Yang and Wright, which are
                                  both directed to communication systems, such that the communication system of Yang includes the
                                  passive components of Wright to facilitate a passive optical communication network. It would
                                  have been obvious to a POSA to improve the network of Yang by incorporating passive
                                  components in view of the knowledge of the POSA (including the benefits of using a passive
                                  network) and/or the other references cited in these invalidity contentions which disclose this
                                  limitation, including Wright.

                                  To the extent this limitation is not explicitly disclosed by Wright, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Wright so as to
                                  include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(b) comprising the step of       Yang discloses this limitation. In the alternative, Yang in combination with Wright teaches or
generating an optical signal      renders obvious this limitation. Yang and/or Wright discloses the step of generating an optical
for transmission over one of      signal for transmission over one of the plurality of optical fibers.
the plurality of optical fibers
                                  Yang discloses a communications network. Yang’s network includes transmitters. Transmitters
                                  are known by a POSA to generate signals for transmission. In the context of an optical
                                  communication network, a POSA would know that the transmitter in Figure 1 generates optical
                                  signals.




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    ’971 Claim Language                                           Prior Art Teachings




                           Alternatively, to the extent that it is argued that Yang does not explicitly describe that its
                           transmitters generate an optical signal, it would have been obvious to a POSA to improve the
                           transmitters of Yang by incorporating signal generation capabilities in view of the knowledge of
                           the POSA (including the benefits of signal generation within a network) and/or the other references
                           cited in these invalidity contentions which disclose this limitation, including Wright.

                           Wright describes an OLT that generates an optical signal for transmission over the plurality of
                           fibers. See Wright, 9:2-5.




                           See Wright, 14:22-27, FIG. 16.




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     ’971 Claim Language                                                   Prior Art Teachings




                                   It would have been obvious to a POSA to combine the teachings of Yang and Wright, which are
                                   both directed to optical communication systems. A POSA would combine the signal state
                                   determination for transmission quality as disclosed in Yang with the passive optical network
                                   disclosed in Wright.

                                   To the extent this limitation is not explicitly disclosed by Yang or Wright, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang or Wright
                                   so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                   the art.
 1(c) the optical signal           Yang discloses this limitation. Yang discloses the optical signal including a plurality of signal
 including a plurality of signal   states.
 states,
                                   Yang discloses a plurality of signal states, NRZ coding with pre-emphasis and PAM4 coding. See
                                   Yang, Abstract.




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    ’971 Claim Language                                                 Prior Art Teachings




                                Yang also discloses a number of signal states. See Yang, 3:7-17.




                                To the extent this limitation is not explicitly disclosed by Yang, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang so as to
                                include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(d) each signal state         Yang discloses this limitation. Yang discloses that each signal state corresponding to a different
 corresponding to a different   sequence of bits. Yang discloses a different sequence of bits.
 sequence of bits,
                                See Yang, 2:56-3:6.



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    ’971 Claim Language                                        Prior Art Teachings




                           See Yang, 4:5-19.




                           It would have been obvious to a POSA to combine the teachings of Yang and Wright, which are
                           both directed to optical communication systems. A POSA would combine the signal state


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     ’971 Claim Language                                                    Prior Art Teachings
                                    determination for transmission quality as disclosed in Yang with the passive optical network
                                    disclosed in Wright.

                                    To the extent this limitation is not explicitly disclosed by Yang, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang so as to
                                    include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 1(e) wherein the plurality of      Yang discloses this limitation. Yang discloses that the plurality of signal states and the number of
 signal states and the number       bits in each sequence are increased based on a transmission quality of the optical signal on the one
 of bits in each sequence are       of the plurality of optical fibers.
 increased based on a
 transmission quality of the        Yang discloses measuring the energy of a signal to identify transmission quality See Yang, 2:47-
 optical signal on the one of       56.
 the plurality of optical fibers.




                                    Yang discloses increasing bits based on transmission quality. See Yang, 4:5-19.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Yang, Fig. 4.




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    ’971 Claim Language                                          Prior Art Teachings




                           Yang discloses measuring the energy and determining distance traveled for identifying the ideal
                           signal state in response to transmission quality. See Yang, 4:65-5:7.




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    ’971 Claim Language                                          Prior Art Teachings




                           To the extent that Yang does not specifically teach increasing the number of bits based on
                           transmission quality, it would be obvious to a POSA to increase bits based on transmission quality
                           based on Yang which discloses increasing bits based on transmission distance. A POSA would
                           know that transmission quality and transmission distance are related. See Yang at 5:39-57.




                           It would have been obvious to a POSA to combine the teachings of Yang and Wright, which are
                           both directed to optical communication systems. A POSA would combine the signal state
                           determination for transmission quality as disclosed in Yang with the passive optical network
                           disclosed in Wright.



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     ’971 Claim Language                                                     Prior Art Teachings

                                     To the extent this limitation is not explicitly disclosed by Yang, it is inherent or obvious.
                                     Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang so as to
                                     include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 15(a) An optical line               To the extent that the preamble is limiting, Wright teaches this limitation. Wright discloses an
 termination being part of a         optical network with passive components such as using a single carrier. (See, e.g., the
 passive optical network             corresponding analysis for 1(a) for this preamble).
 comprising said optical line
 termination being connected
 via a plurality of optical fibers   To the extent this limitation is not explicitly disclosed by Wright, it is inherent or obvious.
 to a plurality of network           Moreover, it would have been obvious to one of ordinary skill in the art to modify Wright so as to
 terminations                        include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 15(b) wherein the optical line      Yang discloses this limitation. In the alternative, Yang in combination with Wright teaches or
 termination is configured to        renders obvious this limitation. Yang and/or Wright discloses wherein the optical line termination
 generate an optical signal          is configured to generate an optical signal including a plurality of signal states. (See, e.g., the
 including a plurality of signal     corresponding analysis for 1(b)-(c)).
 states,

                                     It would have been obvious to a POSA to combine the teachings of Yang and Wright, which are
                                     both directed to communication systems and optimizing .

                                     To the extent this limitation is not explicitly disclosed by Yang or Wright, it is inherent or obvious.
                                     Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang or Wright
                                     so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                     the art.
 15(c) each signal state             Yang discloses this limitation. Yang discloses that each signal state corresponding to a different
 corresponding to a different        sequence of bits. Yang discloses a different sequence of bits. In the alternative, Yang in
 sequence of bits,                   combination with Wright teaches or renders obvious this limitation (See, e.g., the corresponding
                                     analysis for 1(d)).


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     ’971 Claim Language                                                    Prior Art Teachings
                                    To the extent this limitation is not explicitly disclosed by Yang, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang so as to
                                    include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 15(d) wherein the plurality of     Yang discloses this limitation. Yang discloses that the plurality of signal states and the number of
 signal states and the number       bits in each sequence are increased based on a transmission quality of the optical signal on the one
 of bits in each sequence are       of the plurality of optical fibers. (See, e.g., the corresponding analysis for 1(e)).
 increased based on a
 transmission quality of the        To the extent this limitation is not explicitly disclosed by Yang, it is inherent or obvious.
 optical signal of the one of the   Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang so as to
 plurality of optical fibers.       include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art




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                C     a     s        e          1     :   2     0    -       c       v       -       0   1   2   2    8    -   C   F    C    -   J   L   H
                                                                         5       5       9       4
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                                                          U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,471,903
B1 entitled “Optical Communication System” to Friskney et al. (“Friskney”), either alone or combination with the knowledge of a
person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s Invalidity
Contentions, including the other charted references, including U.S. Patent No. 7,602,806 entitled “Signaling and coding methods and
apparatus for long-range 10 and 100 MBPS ethernet transmission” to Yang et al. (“Yang”),

Friskney was filed on June 26, 2002 and published on December 30, 2008. Therefore, Friskney qualifies as prior art under at least pre-
AIA 35 U.S.C. § 102(e). Yang was filed on December 7, 2004, and issued on October 13, 2009. Therefore, Yang qualifies as prior art
under at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.



     ’971 Claim Language                                                             Prior Art Teachings
 1(a) A method of operating a            To the extent this preamble is limiting, Friskney teaches and/or renders obvious this limitation.
 passive optical network                 Friskney discloses a method of operating a network comprising an optical line termination being
 comprising an optical line              connected via a plurality of optical fibers to a plurality of network terminations.
 termination being connected
 via a plurality of optical fibers       Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
 to a plurality of network               is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:
 terminations and




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   ’971 Claim Language                                           Prior Art Teachings




                          Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a passive
                          optical network,” it would have been obvious to a POSA to improve the network of Friskney by
                          incorporating passive components in view of the knowledge of the POSA (including the benefits of
                          using a passive network).

                          For example, Friskney discloses that nodes “may be thousands of kilometers in a long haul
                          network” and that “optical amplification is typically required” for such longer range transmission
                          systems. See Friskney 5:14-22.




                          A POSA would know that the system and method described in Friskney may be utilized for a
                          passive optical network, in particular where data rates could be generally maintained such as
                          networks with shorter distances between nodes.


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    ’971 Claim Language                                                  Prior Art Teachings

                                  To the extent this limitation is not explicitly disclosed by Friskney and Yang, it is inherent or
                                  obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                  Friskney and Yang so as to include this claim limitation in light of the knowledge possessed by one
                                  of ordinary skill in the art.
1(b) comprising the step of       Yang discloses this limitation. Friskney discloses this limitation. Friskney discloses the step of
generating an optical signal      generating an optical signal for transmission over one of the plurality of optical fibers. In the
for transmission over one of      alternative, Yang in combination with Friskney teaches or renders obvious this limitation. Yang
the plurality of optical fibers   and/or Friskney discloses the step of generating an optical signal for transmission over one of the
                                  plurality of optical fibers.

                                  Yang discloses a communications network. Yang’s network includes transmitters. Transmitters
                                  are known by a POSA to generate signals for transmission. In the context of an optical
                                  communication network, a POSA would know that the transmitter in Figure 1 generates optical
                                  signals.




                                  Alternatively, to the extent that it is argued that Yang does not explicitly describe that its
                                  transmitters generate an optical signal, it would have been obvious to a POSA to improve the

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   ’971 Claim Language                                            Prior Art Teachings
                          transmitters of Yang by incorporating signal generation capabilities in view of the knowledge of
                          the POSA (including the benefits of signal generation within a network) and/or the other references
                          cited in these invalidity contentions which disclose this limitation, including Friskney.

                          Friskney discloses an optical communications network and an optical signal. Friskney’s network
                          includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                          the context of an optical communication network, a POSA would know that the transmitter in Figure
                          1 generates optical signals.




                          Friskney discloses optical signals. See Friskney, 29-38.




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   ’971 Claim Language                                             Prior Art Teachings




                          Friskney discloses a plurality of optical signals. See, Friskney 1:60-64.




                          Friskney discloses optical signals transmitted by a plurality of optical fiber carriers. See, Friskeny 9-
                          14.




                          It would have been obvious to a POSA to combine the teachings of Yang and Friskney, which are
                          both directed to optical communication systems. A POSA would combine the signal state
                          determination for transmission quality as disclosed in Yang with the passive optical network
                          disclosed in Friskney.

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    ’971 Claim Language                                                    Prior Art Teachings

                                  To the extent this limitation is not explicitly disclosed by Friskney and Yang, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney and Yang
                                  so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                  the art.

1(c) the optical signal           Yang discloses this limitation. Yang discloses the optical signal including a plurality of signal
including a plurality of signal   states. Friskney discloses this limitation. Friskney discloses the optical signal including a plurality
states,                           of signal states.

                                  Yang discloses a plurality of signal states, NRZ coding with pre-emphasis and PAM4 coding. See
                                  Yang, Abstract.




                                  Yang also discloses a number of signal states. See Yang, 3:7-17.




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   ’971 Claim Language                                           Prior Art Teachings




                          Friskney discloses a WDM optical signal. See Friskney, 5:9-13.




                          Friskney also discloses a number of signal states. See Friskney, 2:35-57.




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   ’971 Claim Language                                                Prior Art Teachings




                               To the extent this limitation is not explicitly disclosed by Friskney and Yang, it is inherent or
                               obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                               Friskney and Yang so as to include this claim limitation in light of the knowledge possessed by one
                               of ordinary skill in the art.
1(d) each signal state         Yang discloses this limitation. Yang discloses that each signal state corresponding to a different
corresponding to a different   sequence of bits. Yang discloses a different sequence of bits. Friskney discloses this limitation.
sequence of bits,              Friskney discloses that each signal state corresponding to a different sequence of bits.

                               See Yang, 2:56-3:6.


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   ’971 Claim Language                                         Prior Art Teachings




                          See Yang, 4:5-19.




                          It would have been obvious to a POSA to combine the teachings of Yang and Friskney, which are
                          both directed to optical communication systems. A POSA would combine the signal state


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   ’971 Claim Language                                           Prior Art Teachings
                          determination for transmission quality as disclosed in Yang with the passive optical network
                          disclosed in Friskney.

                          Friskney discloses a different sequence of bits. See Friskney, 2:36-39.




                          See Friskney, 6:4-7.




                          See Friskney, 6:17-23.




                          See Friskney, 9:20-31.




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    ’971 Claim Language                                                   Prior Art Teachings




                                   See Friskney, 9:47-48.




                                   To the extent this limitation is not explicitly disclosed by Friskney and Yang, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                   Friskney and Yang so as to include this claim limitation in light of the knowledge possessed by one
                                   of ordinary skill in the art.
1(e) wherein the plurality of      Yang discloses this limitation. Yang discloses that the plurality of signal states and the number of
signal states and the number       bits in each sequence are increased based on a transmission quality of the optical signal on the one
of bits in each sequence are       of the plurality of optical fibers. Friskney discloses this limitation. Friskney discloses that the
increased based on a               plurality of signal states and the number of bits in each sequence are increased based on a
transmission quality of the        transmission quality of the optical signal on the one of the plurality of optical fibers.
optical signal on the one of
the plurality of optical fibers.   Yang discloses measuring the energy of a signal to identify transmission quality See Yang, 2:47-
                                   56.




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   ’971 Claim Language                                          Prior Art Teachings




                          Yang discloses increasing bits based on transmission quality. See Yang, 4:5-19.




                          See Yang, Fig. 4.




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   ’971 Claim Language                                          Prior Art Teachings




                          Yang discloses measuring the energy and determining distance traveled for identifying the ideal
                          signal state in response to transmission quality. See Yang, 4:65-5:7.




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   ’971 Claim Language                                          Prior Art Teachings




                          To the extent that Yang does not specifically teach increasing the number of bits based on
                          transmission quality, it would be obvious to a POSA to increase bits based on transmission quality
                          based on Yang which discloses increasing bits based on transmission distance. A POSA would
                          know that transmission quality and transmission distance are related. See Yang at 5:39-57.




                          It would have been obvious to a POSA to combine the teachings of Yang and Friskney, which are
                          both directed to optical communication systems. A POSA would combine the signal state
                          determination for transmission quality as disclosed in Yang with the passive optical network
                          disclosed in Friskney.


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                          See Friskney, 2:10-34.




                          See Friskney, 2:46-49.




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   ’971 Claim Language                                         Prior Art Teachings




                          See Friskney, 6:17-23.




                          See Friskney, 7:5-19.




                          See Friskney, 8:56-67, 9:1-4.


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   ’971 Claim Language                                                Prior Art Teachings




                              In Friskney Q measurements are quality factor measurements such as the transmission quality of the
                              optical signal. See Friskney, 7:57-59.




                              To the extent this limitation is not explicitly disclosed by Yang and Friskney, it is inherent or
                              obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang
                              or Friskney so as to include this claim limitation in light of the knowledge possessed by one of
                              ordinary skill in the art.
15(a) An optical line         To the extent this preamble is limiting, Friskney teaches this limitation. Friskney discloses an
termination being part of a   optical network with passive components such as using a single carrier. (See, e.g., the
passive optical network       corresponding analysis for 1(a) for this preamble).

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    ’971 Claim Language                                                     Prior Art Teachings
comprising said optical line
termination being connected         To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
via a plurality of optical fibers   Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
to a plurality of network           to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
terminations                        art.

15(b) wherein the optical line      Yang discloses this limitation. In the alternative, Yang in combination with Friskney teaches or
termination is configured to        renders obvious this limitation. Yang and/or Friskney discloses wherein the optical line
generate an optical signal          termination is configured to generate an optical signal including a plurality of signal states. (See,
including a plurality of signal     e.g., the corresponding analysis for 1(b)-(c)).
states,

                                    It would have been obvious to a POSA to combine the teachings of Yang and Friskney, which are
                                    both directed to communication systems and optimizing .

                                    To the extent this limitation is not explicitly disclosed by Friskney or Yang, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                    Friskney or Yang so as to include this claim limitation in light of the knowledge possessed by one
                                    of ordinary skill in the art.
15(c) each signal state             Yang discloses this limitation. Yang discloses that each signal state corresponding to a different
corresponding to a different        sequence of bits. Yang discloses a different sequence of bits. In the alternative, Yang in
sequence of bits,                   combination with Friskney teaches or renders obvious this limitation (See, e.g., the corresponding
                                    analysis for 1(d)).

                                    To the extent this limitation is not explicitly disclosed by Friskney or Yang, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                    Friskney or Yang so as to include this claim limitation in light of the knowledge possessed by one
                                    of ordinary skill in the art.
15(d) wherein the plurality of      Yang discloses this limitation. Yang discloses that the plurality of signal states and the number of
signal states and the number        bits in each sequence are increased based on a transmission quality of the optical signal on the one

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    ’971 Claim Language                                                     Prior Art Teachings
of bits in each sequence are       of the plurality of optical fibers. Friskney discloses this limitation. Friskney discloses that the
increased based on a               plurality of signal states and the number of bits in each sequence are increased based on a
transmission quality of the        transmission quality of the optical signal on the one of the plurality of optical fibers. (See, e.g., the
optical signal of the one of the   corresponding analysis for 1(e)).
plurality of optical fibers.

                                   To the extent this limitation is not explicitly disclosed by Friskney or Yang, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                   Friskney or Yang so as to include this claim limitation in light of the knowledge possessed by one
                                   of ordinary skill in the art.




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                                                       U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,471,903
B1 entitled “Optical Communication System” to Friskney et al. (“Friskney”), either alone or combination with the knowledge of a
person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s Invalidity
Contentions, including the other charted references, including U.S. Patent Pub. No. 2004/0170226 entitled “Method, apparatus and
system for high-speed transmission on fiber optic channel” to Agazzi et al. (“Agazzi”).

Friskney was filed on June 26, 2002 and published on December 30, 2008. Therefore, Friskney qualifies as prior art under at least pre-
AIA 35 U.S.C. § 102(e). Agazzi was filed on November 14, 2003, and published on September 2, 2004. Therefore, Agazzi qualifies
as prior art under at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.



     ’971 Claim Language                                                     Prior Art Teachings
 1(a) A method of operating a        To the extent this preamble is limiting, the combination of Friskney and Agazzi and Agazzi
 passive optical network             teaches and/or renders obvious this limitation. Friskney discloses a method of operating a network
 comprising an optical line          comprising an optical line termination being connected via a plurality of optical fibers to a plurality
 termination being connected         of network terminations. Agazzi discloses a fiber optical channels for a fiber optics network
 via a plurality of optical fibers   including use of passive componenets.
 to a plurality of network
 terminations and                    Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
                                     is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:




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    ’971 Claim Language                                            Prior Art Teachings




                           Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a passive
                           optical network,” it would have been obvious to a POSA to improve the network of Friskney by
                           incorporating passive components in view of the knowledge of the POSA (including the benefits of
                           using a passive network) and/or the other references cited in these invalidity contentions which
                           disclose this limitation, including Agazzi.

                           Agazzi discloses an optical network that transmits data-carrying optical signals from an optical line
                           termination to a plurality of optical network units utilizing a single optical carrier. See Agazzi, at 2
                           [0030].




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    ’971 Claim Language                                    Prior Art Teachings




                           See Agazzi, at 3, [0034]:




                           See Agazzi, at 8, [0084]:




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    ’971 Claim Language                                    Prior Art Teachings




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                           See Agazzi, at FIG. 9:




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    ’971 Claim Language                                           Prior Art Teachings




                           See Agazzi, at 7, [0073]:




                           See Agazzi, at 1, [0003]-[0005]:




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    ’971 Claim Language                                                    Prior Art Teachings

                                  It would have been obvious to a POSA to combine the teachings of Agazzi and Friskney, which
                                  are both directed to optical communication systems, such that the optical communication system of
                                  Friskney includes the passive components of Agazzi to facilitate a passive optical communication
                                  network.

                                  To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                  obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                  Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by
                                  one of ordinary skill in the art.

1(b) comprising the step of       Friskney discloses this limitation. In the alternative, Friskney in combination with Agazzi teaches
generating an optical signal      or renders obvious this limitation. Friskney and/or Agazzi discloses the step of generating an
for transmission over one of      optical signal for transmission over one of the plurality of optical fibers.
the plurality of optical fibers
                                  Friskney discloses an optical communications network and an optical signal. Friskney’s network
                                  includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                                  the context of an optical communication network, a POSA would know that the transmitter in
                                  Figure 1 generates optical signals.




                                  Alternatively, to the extent that it is argued that Friskney does not explicitly describe that its
                                  transmitters generate an optical signal, it would have been obvious to a POSA to improve the


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    ’971 Claim Language                                            Prior Art Teachings
                           transmitters of Friskney by incorporating signal generation capabilities in view of the knowledge of
                           the POSA (including the benefits of signal generation within a network) and/or the other references
                           cited in these invalidity contentions which disclose this limitation, including Agazzi.

                           See Agazzi, at Abstract.




                           See Agazzi, at 2 [0029].




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    ’971 Claim Language                                         Prior Art Teachings




                           It would have been obvious to a POSA to combine the teachings of Friskney and Agazzi, which are
                           both directed to optical communication systems.



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     ’971 Claim Language                                                    Prior Art Teachings
                                   To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                   Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by one
                                   of ordinary skill in the art.
 1(c) the optical signal           Friskney discloses this limitation. In the alternative, Friskney in combination with Agazzi teaches
 including a plurality of signal   or renders obvious this limitation. Friskney and/or Agazzi discloses the step of the optical signal
 states,                           including a plurality of signal states.

                                   Friskney discloses a WDM optical signal. See Friskney, 5:9-13.




                                   Friskney also discloses a number of signal states. See Friskney, 2:35-57.




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                           See Agazzi, at 2 [0029].




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    ’971 Claim Language                                         Prior Art Teachings




                           It would have been obvious to a POSA to combine the teachings of Friskney and Agazzi, which
                           are both directed to optical communication systems.


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    ’971 Claim Language                                                 Prior Art Teachings
                                To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by
                                one of ordinary skill in the art.
 1(d) each signal state         Friskney discloses this limitation. Friskney discloses that each signal state corresponding to a
 corresponding to a different   different sequence of bits. Friskney discloses a different sequence of bits. In the alternative,
 sequence of bits,              Friskney in combination with Agazzi teaches or renders obvious this limitation. Friskney and/or
                                Agazzi discloses the step of each signal state corresponding to a different sequence of bits.

                                See Friskney, 2:36-39.




                                See Friskney, 6:4-7.




                                See Friskney, 6:17-23.




                                See Friskney, 9:20-31.




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    ’971 Claim Language                                             Prior Art Teachings




                           See Friskney, 9:47-48.



                           Alternatively, to the extent that it is argued that Friskney does not explicitly teach each signal state
                           corresponding to a different sequence of bits,” it would have been obvious to a POSA to improve
                           the network of Friskney by utilizing signal sates corresponding to different sequences of bits in
                           view of the knowledge of the POSA and/or the other references cited in these invalidity
                           contentions which disclose this limitation, including Agazzi.

                           See Agazzi, 8:[0086]-[0087].




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     ’971 Claim Language                                                    Prior Art Teachings




                                    To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                    Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by
                                    one of ordinary skill in the art.
 1(e) wherein the plurality of      Friskney discloses this limitation. Friskney discloses that the plurality of signal states and the
 signal states and the number       number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are       on the one of the plurality of optical fibers. In the alternative, Friskney in combination with
 increased based on a               Agazzi teaches or renders obvious this limitation. Friskney and/or Agazzi discloses the step of
 transmission quality of the        increasing the number of bits in each sequence based on a transmission quality of the optical signal
 optical signal on the one of       on one of the optical fibers.
 the plurality of optical fibers.
                                    See Friskney, 2:10-34.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Friskney, 2:46-49.




                           See Friskney, 6:17-23.




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    ’971 Claim Language                                         Prior Art Teachings




                           See Friskney, 7:5-19.




                           See Friskney, 8:56-67, 9:1-4.




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     ’971 Claim Language                                                     Prior Art Teachings




                                     It would have been obvious to a POSA to combine the teachings of Friskney and Agazzi, which
                                     are both directed to optical communication systems.

                                     To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                     obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                     Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by
                                     one of ordinary skill in the art.
 15(a) An optical line               To the extent this preamble is limiting, the combination of Friskney and Agazzi teaches and/or
 termination being part of a         renders obvious this limitation. Friskney discloses an optical line termination being part of an
 passive optical network             optical network comprising said optical line termination being connected via a plurality of optical
 comprising said optical line        fibers to a plurality of network terminations. Agazzi discloses an optical network with passive
 termination being connected         components such as using a single carrier. (See, e.g., the corresponding analysis for 1(a) for this
 via a plurality of optical fibers   preamble).




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     ’971 Claim Language                                                   Prior Art Teachings
 to a plurality of network         Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a passive
 terminations                      optical network,” it would have been obvious to a POSA to improve the network of Friskney by
                                   incorporating passive components in view of the knowledge of the POSA (including the benefits of
                                   using a passive network) and/or the other references cited in these invalidity contentions which
                                   disclose this limitation, including Agazzi.

                                   It would have been obvious to a POSA to combine the teachings of Friskney and Agazzi, which
                                   are both directed to optical communication systems, such that the optical communication system of
                                   Friskney includes the passive components of Agazzi to facilitate a passive optical communication
                                   network.

                                   To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                   Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by
                                   one of ordinary skill in the art.
 15(b) wherein the optical line    Friskney discloses this limitation. In the alternative, Friskney in combination with Agazzi teaches
 termination is configured to      or renders obvious this limitation. Friskney and/or Agazzi discloses wherein the optical line
 generate an optical signal        termination is configured to generate an optical signal including a plurality of signal states. (See,
 including a plurality of signal   e.g., the corresponding analysis for 1(b)-(c)).
 states,

                                   It would have been obvious to a POSA to combine the teachings of Friskney and Agazzi, which
                                   are both directed to optical communication systems.

                                   To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                   Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by
                                   one of ordinary skill in the art.




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     ’971 Claim Language                                                    Prior Art Teachings
 15(c) each signal state            Friskney discloses this limitation. Friskney discloses that each signal state corresponding to a
 corresponding to a different       different sequence of bits. Friskney discloses a different sequence of bits. In the alternative,
 sequence of bits,                  Friskney in combination with Agazzi teaches or renders obvious this limitation. Friskney and/or
                                    Agazzi discloses the step of each signal state corresponding to a different sequence of bits. (See,
                                    e.g., the corresponding analysis for 1(d)).

                                    To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                    Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by
                                    one of ordinary skill in the art.
 15(d) wherein the plurality of     Friskney discloses this limitation. Friskney discloses that the plurality of signal states and the
 signal states and the number       number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are       on the one of the plurality of optical fibers. In the alternative, Friskney in combination with
 increased based on a               Agazzi teaches or renders obvious this limitation. Friskney and/or Agazzi discloses the step of
 transmission quality of the        increasing the number of bits in each sequence based on a transmission quality of the optical signal
 optical signal of the one of the   on one of the optical fibers. (See, e.g., the corresponding analysis for 1(e)).
 plurality of optical fibers.
                                    To the extent this limitation is not explicitly disclosed by Friskney and Agazzi, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                    Friskney or Agazzi so as to include this claim limitation in light of the knowledge possessed by
                                    one of ordinary skill in the art.




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                                                       U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No.
7,471,903 B1 entitled “Optical Communication System” to Friskney et al. (“Friskney”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions, including the other charted references, including U.S. Patent No. 7,242,868 entitled “System and method for
performing high-speed communications over fiber optical networks” to Soto et al. (“Soto”).

Friskney was filed on June 26, 2002 and published on December 30, 2008. Therefore, Friskney qualifies as prior art under at least
pre-AIA 35 U.S.C. § 102(e). Soto was filed on March, 4, 1998, and issued on June 25, 2002. Therefore, Soto qualifies as prior art
under at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as
understood by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms.
Because discovery is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its
invalidity contentions based on new information produced in discovery or on the Court’s constructions.


     ’971 Claim Language                                                    Prior Art Teachings
 1(a) A method of operating a        To the extent this preamble is limiting, the combination of Friskney and Soto teaches and/or
 passive optical network             renders obvious this limitation. Friskney discloses a method of operating a network comprising an
 comprising an optical line          optical line termination being connected via a plurality of optical fibers to a plurality of network
 termination being connected         terminations. Soto discloses a passive optical network.
 via a plurality of optical fibers
 to a plurality of network           Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
 terminations and                    is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:




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    ’971 Claim Language                                           Prior Art Teachings




                           Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a passive
                           optical network,” it would have been obvious to a POSA to improve the network of Friskney by
                           incorporating passive components in view of the knowledge of the POSA (including the benefits of
                           using a passive network) and/or the other references cited in these invalidity contentions which
                           disclose this limitation, including Soto.

                           Soto discloses a passive optical network that transmits data-carrying optical signals from an optical
                           line termination to a plurality of optical network units. See Soto, Abstract.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Soto, 2:20-29.




                           See Soto, 2:60-3:8.




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    ’971 Claim Language                                     Prior Art Teachings




                           See Soto, 8:24-44, Fig. 2.




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    ’971 Claim Language                                    Prior Art Teachings




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    ’971 Claim Language                                                  Prior Art Teachings




                                  It would have been obvious to a POSA to combine the teachings of Friskney and Soto, which are
                                  both directed to optical communication systems, such that the optical communication system of
                                  Friskney includes the passive components of Soto to facilitate a passive optical communication
                                  network.

                                  To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
                                  obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                  Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                                  of ordinary skill in the art.
1(b) comprising the step of       Friskney discloses this limitation. In the alternative, Friskney in combination with Soto teaches or
generating an optical signal      renders obvious this limitation. Friskney and/or Soto discloses the step of generating an optical
for transmission over one of      signal for transmission over one of the plurality of optical fibers.
the plurality of optical fibers



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    ’971 Claim Language                                           Prior Art Teachings
                           Friskney discloses an optical communications network and an optical signal. Friskney’s network
                           includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                           the context of an optical communication network, a POSA would know that the transmitter in
                           Figure 1 generates optical signals.




                           Alternatively, to the extent that it is argued that Friskney does not explicitly describe that its
                           transmitters generate an optical signal, it would have been obvious to a POSA to generate an
                           optical signal for transmission over one of the plurality of optical fibers. This would be obvious in
                           to a POSA in light of Friskney and/or the other references cited in these invalidity contentions
                           which disclose this limitation, including Soto.

                           Soto describes an OLT that generates an optical signal for transmission over the plurality of fibers.
                           See Soto, 2:7-29.




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    ’971 Claim Language                                       Prior Art Teachings




                           See Soto, 14:22-27, FIG. 16.




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     ’971 Claim Language                                                  Prior Art Teachings




                                   It would have been obvious to a POSA to combine the teachings of Friskney and Soto, which are
                                   both directed to optical communication systems.

                                   To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                   Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                                   of ordinary skill in the art.
 1(c) the optical signal           Friskney discloses this limitation. Friskney discloses the optical signal including a plurality of
 including a plurality of signal   signal states.
 states,
                                   Friskney discloses a WDM optical signal. See Friskney, 5:9-13.




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    ’971 Claim Language                                             Prior Art Teachings




                           Friskney also discloses a number of signal states. See Friskney, 2:35-57.




                           Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a plurality of
                           signal states,” it would have been obvious to a POSA to improve the network of Friskney by
                           incorporating passive components in view of the knowledge of the POSA and/or the other
                           references cited in these invalidity contentions which disclose this limitation, including Soto.


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    ’971 Claim Language                                           Prior Art Teachings

                           Soto discloses equalizing the receive channel for each of a plurality of transmitting sources and
                           selecting an “inner” and “outer” coding state for the receiver channel. See Soto, 5:8-28.




                           Soto discloses a burst state and a continuous output state. See Soto, 6:57-7:32.




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    ’971 Claim Language                                           Prior Art Teachings




                           To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
                           obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                           Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                           of ordinary skill in the art.



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    ’971 Claim Language                                                Prior Art Teachings
 1(d) each signal state         Friskney discloses this limitation. Friskney discloses that each signal state corresponding to a
 corresponding to a different   different sequence of bits. Friskney discloses a different sequence of bits.
 sequence of bits,
                                See Friskney, 2:36-39.




                                See Friskney, 6:4-7.




                                See Friskney, 6:17-23.




                                See Friskney, 9:20-31.




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    ’971 Claim Language                                            Prior Art Teachings




                           See Friskney, 9:47-48.



                           Alternatively, to the extent that it is argued that Friskney does not explicitly teach “each signal
                           state corresponding to a different sequence of bits,” it would have been obvious to a POSA that
                           each signal state may utilize a different sequence and/or the other references cited in these
                           invalidity contentions which disclose this limitation, including Soto.

                           Soto discloses changing the number of bits per symbol based on M-ary modulation. See Soto, 5:55-
                           6:11.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Soto, 9:38-59.




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    ’971 Claim Language                                                 Prior Art Teachings




                                 To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
                                 obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                 Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                                 of ordinary skill in the art.

 1(e) wherein the plurality of   Friskney discloses this limitation. Friskney discloses that the plurality of signal states and the
 signal states and the number    number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are    on the one of the plurality of optical fibers.
 increased based on a


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     ’971 Claim Language                                          Prior Art Teachings
 transmission quality of the        See Friskney, 2:10-34.
 optical signal on the one of
 the plurality of optical fibers.




                                    See Friskney, 2:46-49.




                                    See Friskney, 6:17-23.



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    ’971 Claim Language                                         Prior Art Teachings




                           See Friskney, 7:5-19.




                           See Friskney, 8:56-67, 9:1-4.




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    ’971 Claim Language                                          Prior Art Teachings




                           To the extent that Friskney does not specifically teach increasing the number of bits based on
                           transmission quality, it would be obvious to a POSA to increase bits based on transmission quality
                           based on Soto discloses of altering bits based on maximizing coding for transmission. A POSA
                           would know that transmission quality and transmission distance are related.

                           Soto discloses an increase to the number of bits per symbol transmitted performed by the MOD
                           block. Additionally the DeMux block discloses excluding fibers experiencing link failure which is
                           a response to transmission quality. See Soto, 8:45-9:59.




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    ’971 Claim Language                                    Prior Art Teachings




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    ’971 Claim Language                                         Prior Art Teachings




                           Soto additionally describes channel equalization by which the PON maximizes traffic bandwidth
                           by minimizing empty slots. This selects the signal state based on transmission quality through
                           weights on received data. See Soto, 11:34-65, Fig. 3.




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    ’971 Claim Language                                    Prior Art Teachings




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    ’971 Claim Language                                           Prior Art Teachings




                           It would have been obvious to a POSA to combine the teachings of Friskney and Soto, which are
                           both directed to optical communication systems.

                           To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
                           obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                           Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                           of ordinary skill in the art.




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     ’971 Claim Language                                                      Prior Art Teachings
 15(a) An optical line               To the extent this preamble is limiting, the combination of Friskney and Soto teaches and/or
 termination being part of a         renders obvious this limitation. Friskney discloses a method of operating a network comprising an
 passive optical network             optical line termination being connected via a plurality of optical fibers to a plurality of network
 comprising said optical line        terminations. Soto discloses a passive optical network. (See, e.g., the corresponding analysis for
 termination being connected         1(a) for this preamble).
 via a plurality of optical fibers
 to a plurality of network           To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
 terminations                        obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                     Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                                     of ordinary skill in the art.
 15(b) wherein the optical line      Friskney discloses this limitation. In the alternative, Friskney in combination with Soto teaches or
 termination is configured to        renders obvious this limitation. Friskney and/or Soto discloses wherein the optical line termination
 generate an optical signal          is configured to generate an optical signal including a plurality of signal states. (See, e.g., the
 including a plurality of signal     corresponding analysis for 1(b)-(c)).
 states,

                                     It would have been obvious to a POSA to combine the teachings of Friskney and Soto, which are
                                     both directed to optical communication systems.

                                     To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
                                     obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                     Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                                     of ordinary skill in the art.
 15(c) each signal state             Friskney discloses this limitation. Friskney discloses that each signal state corresponding to a
 corresponding to a different        different sequence of bits. Friskney discloses a different sequence of bits. In the alternative,
 sequence of bits,                   Friskney in combination with Soto teaches or renders obvious this limitation. (See, e.g., the
                                     corresponding analysis for 1(d)).

                                     To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
                                     obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify



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     ’971 Claim Language                                                   Prior Art Teachings
                                    Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                                    of ordinary skill in the art.
 15(d) wherein the plurality of     Friskney discloses this limitation. Friskney discloses that the plurality of signal states and the
 signal states and the number       number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are       on the one of the plurality of optical fibers. In the alternative, Friskney in combination with Soto
 increased based on a               teaches or renders obvious this limitation. (See, e.g., the corresponding analysis for 1(e)).
 transmission quality of the
 optical signal of the one of the   To the extent this limitation is not explicitly disclosed by Friskney or Soto, it is inherent or
 plurality of optical fibers.       obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                    Friskney or Soto so as to include this claim limitation in light of the knowledge possessed by one
                                    of ordinary skill in the art.




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                                                       U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,471,903
B1 entitled “Optical Communication System” to Friskney et al. (“Friskney”), either alone or combination with the knowledge of a
person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s Invalidity
Contentions, including the other charted references, including U.S. Patent No. 6,763,193 entitled “Optical communication system
optically combining both baseband and passband signals” to Chand et al. (“Chand”).

Friskney was filed on June 26, 2002 and published on December 30, 2008. Therefore, Friskney qualifies as prior art under at least pre-
AIA 35 U.S.C. § 102(e). Chand was filed on November 29, 1999, and issued on July 13, 2004. Therefore, Chand qualifies as prior art
under at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’971 Claim Language                                                    Prior Art Teachings
 1(a) A method of operating a        To the extent the preamble is limiting, the combination of Friskney and Chand teaches and/or
 passive optical network             renders obvious this limitation. Friskney discloses a method of operating a network comprising an
 comprising an optical line          optical line termination being connected via a plurality of optical fibers to a plurality of network
 termination being connected         terminations. Chand discloses a passive optical network.
 via a plurality of optical fibers
 to a plurality of network           Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
 terminations and                    is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:




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    ’971 Claim Language                                          Prior Art Teachings




                           Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a passive
                           optical network,” it would have been obvious to a POSA to improve the network of Friskney by
                           incorporating passive components in view of the knowledge of the POSA (including the benefits of
                           using a passive network) and/or the other references cited in these invalidity contentions which
                           disclose this limitation, including Chand.

                           See Chand, 1:42-65.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Chand, 3:16-47.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Chand, 2:4-9.




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    ’971 Claim Language                                            Prior Art Teachings




                           See Chand, FIG. 1A.




                           It would have been obvious to a POSA to combine the teachings of Friskney and Chand, which are
                           both directed to optical communication systems, such that the optical communication system of
                           Friskney includes the passive network of Chand to facilitate a passive optical communication
                           network.

                           To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                           obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify



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    ’971 Claim Language                                                  Prior Art Teachings
                                  Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                                  of ordinary skill in the art.

1(b) comprising the step of       Friskney discloses this limitation. In the alternative, Friskney in combination with Chand teaches
generating an optical signal      or renders obvious this limitation. Friskney and/or Chand discloses the step of generating an
for transmission over one of      optical signal for transmission over one of the plurality of optical fibers.
the plurality of optical fibers
                                  Friskney discloses an optical communications network and an optical signal. Friskney’s network
                                  includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                                  the context of an optical communication network, a POSA would know that the transmitter in
                                  Figure 1 generates optical signals.




                                  Alternatively, to the extent that it is argued that Friskney does not explicitly describe that its
                                  transmitters generate an optical signal, it would have been obvious to a POSA to improve the
                                  transmitters of Friskney by incorporating signal generation capabilities in view of the knowledge of
                                  the POSA (including the benefits of signal generation within a network) and/or the other references
                                  cited in these invalidity contentions which disclose this limitation, including Chand.


                                  See Chand, 4: 27-38.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Chand, 5: 12-22.




                           See Chand, 6:1-9.




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    ’971 Claim Language                                           Prior Art Teachings




                           See Chand, FIG. 2A.




                           It would have been obvious to a POSA to combine the teachings of Friskney and Chand, which are
                           both directed to optical communication systems.

                           To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                           obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                           Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                           of ordinary skill in the art.



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     ’971 Claim Language                                                  Prior Art Teachings
 1(c) the optical signal           Friskney discloses this limitation. In the alternative, Friskney in combination with Chand teaches
 including a plurality of signal   or renders obvious this limitation. Friskney discloses the optical signal including a plurality of
 states,                           signal states. Chand discloses modulation of signal states between various modulation schemes.

                                   Friskney discloses a WDM optical signal. See Friskney, 5:9-13.




                                   Friskney also discloses a number of signal states. See Friskney, 2:35-57.




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    ’971 Claim Language                                                Prior Art Teachings

                                See Chand, 2:40-48.




                                It would have been obvious to a POSA to combine the teachings of Friskney and Chand, which are
                                both directed to optical communication systems with multiple modulation schemes and signal
                                states.

                                To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                                obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                                of ordinary skill in the art.
 1(d) each signal state         Friskney discloses this limitation. In the alternative, Friskney in combination with Chand teaches
 corresponding to a different   or renders obvious this limitation. Friskney discloses that each signal state corresponding to a
 sequence of bits,              different sequence of bits. Chand discloses use of QAM, 16 QAM, 64 QAM, and QPSK
                                modulation schemes where different signal states correspond to a different sequence of bits.

                                Friskney discloses a different sequence of bits. See Friskney, 2:36-39.




                                See Friskney, 6:4-7.




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    ’971 Claim Language                                           Prior Art Teachings




                           See Friskney, 6:17-23.




                           See Friskney, 9:20-31.




                           See Friskney, 9:47-48.



                           Chand discloses use of a quadrature phase shift keying which uses multiple states with different
                           two bits of information in the carrier signal. See Chand, 2: 29-40.


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    ’971 Claim Language                                            Prior Art Teachings




                           Chand discloses use of 64 bit QAM which uses multiple states with different 6 bit per hertz of
                           information in the carrier signal. See Chand, 3: 47-58.




                           It would have been obvious to a POSA to combine the teachings of Friskney and Chand, which are
                           both directed to optical communication systems with various signal states.

                           To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                           obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify



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     ’971 Claim Language                                                   Prior Art Teachings
                                    Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                                    of ordinary skill in the art.
 1(e) wherein the plurality of      Friskney discloses this limitation. Friskney discloses that the plurality of signal states and the
 signal states and the number       number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are       on the one of the plurality of optical fibers.
 increased based on a
 transmission quality of the        See Friskney, 2:10-34.
 optical signal on the one of
 the plurality of optical fibers.




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    ’971 Claim Language                                         Prior Art Teachings
                           See Friskney, 2:46-49.




                           See Friskney, 6:17-23.




                           See Friskney, 7:5-19.




                           See Friskney, 8:56-67, 9:1-4.




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     ’971 Claim Language                                                    Prior Art Teachings




                                     To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                                     obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                     Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                                     of ordinary skill in the art.
 15(a) An optical line               To the extent this preamble is limiting, the combination of Friskney and Chand teaches and/or
 termination being part of a         renders obvious this limitation. Friskney discloses an optical line termination being part of an
 passive optical network             optical network comprising said optical line termination being connected via a plurality of optical
 comprising said optical line        fibers to a plurality of network terminations. Chand discloses a passive optical network.
 termination being connected
 via a plurality of optical fibers   Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
 to a plurality of network           is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:
 terminations




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    ’971 Claim Language                                                  Prior Art Teachings




                                  Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a passive
                                  optical network,” it would have been obvious to a POSA to improve the network of Friskney by
                                  incorporating passive components in view of the knowledge of the POSA (including the benefits of
                                  using a passive network) and/or the other references cited in these invalidity contentions which
                                  disclose this limitation, including Chand. (See, e.g., the corresponding analysis for 1(a) for this
                                  preamble).

                                  It would have been obvious to a POSA to combine the teachings of Friskney and Chand, which are
                                  both directed to optical communication systems, such that the optical communication system of
                                  Friskney includes the passive components of Chand to facilitate a passive optical communication
                                  network.

                                  To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                                  obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                  Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                                  of ordinary skill in the art.
 15(b) wherein the optical line   Friskney discloses this limitation. In the alternative, Friskney in combination with Chand teaches
 termination is configured to     or renders obvious this limitation. Friskney and/or Chand discloses wherein the optical line
 generate an optical signal       termination is configured to generate an optical signal including a plurality of signal states.




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     ’971 Claim Language                                                  Prior Art Teachings
 including a plurality of signal   Friskney discloses an optical communications network and an optical signal. Friskney’s network
 states,                           includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                                   the context of an optical communication network, a POSA would know that the transmitter in
                                   Figure 1 generates optical signals.




                                   Alternatively, to the extent that it is argued that Friskney does not explicitly describe that its
                                   transmitters generate an optical signal, it would have been obvious to a POSA to improve the
                                   transmitters of Friskney by incorporating signal generation capabilities in view of the knowledge
                                   of the POSA (including the benefits of signal generation within a network) and/or the other
                                   references cited in these invalidity contentions which disclose this limitation, including Chand.
                                   (See, e.g., the corresponding analysis for 1(b)).


                                   It would have been obvious to a POSA to combine the teachings of Friskney and Chand, which are
                                   both directed to optical communication systems.

                                   To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                   Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                                   of ordinary skill in the art.




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    ’971 Claim Language                                                Prior Art Teachings
 15(c) each signal state        Friskney discloses this limitation. In the alternative, Friskney in combination with Chand teaches
 corresponding to a different   or renders obvious this limitation. Friskney discloses that each signal state corresponding to a
 sequence of bits,              different sequence of bits. Chand discloses use of QAM, 16 QAM, 64 QAM, and QPSK
                                modulation schemes where different signal states correspond to a different sequence of bits. (See,
                                e.g., the corresponding analysis for 1(c)).

                                See Friskney, 2:36-39.




                                See Friskney, 6:4-7.




                                See Friskney, 6:17-23.




                                See Friskney, 9:20-31.




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     ’971 Claim Language                                                    Prior Art Teachings




                                    See Friskney, 9:47-48.



                                    It would have been obvious to a POSA to combine the teachings of Friskney and Chand, which are
                                    both directed to optical communication systems.

                                    To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                                    obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                    Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                                    of ordinary skill in the art.
 15(d) wherein the plurality of     Friskney discloses this limitation. Friskney discloses wherein the plurality of signal states and the
 signal states and the number       number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are       of the one of the plurality of optical fibers.
 increased based on a
 transmission quality of the        See Friskney, 2:10-34.
 optical signal of the one of the
 plurality of optical fibers.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Friskney, 2:46-49.




                           See Friskney, 6:17-23.




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    ’971 Claim Language                                         Prior Art Teachings




                           See Friskney, 7:5-19.




                           See Friskney, 8:56-67, 9:1-4.




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    ’971 Claim Language                                          Prior Art Teachings




                           To the extent this limitation is not explicitly disclosed by Friskney or Chand, it is inherent or
                           obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                           Friskney or Chand so as to include this claim limitation in light of the knowledge possessed by one
                           of ordinary skill in the art.




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                                                       U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No.
7,471,903 B1 entitled “Optical Communication System” to Friskney et al. (“Friskney”), either alone or combination with the
knowledge of a person of ordinary skill in the art (“POSA”), or in combination with one or more other references disclosed in Xilinx’s
Invalidity Contentions, including the other charted references, including U.S. Patent No. 6,411,410 entitled “Wavelength-Division
Multiplexing In Passive Optical Networks” to Wright et al. (“Wright”).

Friskney was filed on June 26, 2002 and published on December 30, 2008. Therefore, Friskney qualifies as prior art under at least
pre-AIA 35 U.S.C. § 102(e). Wright was filed on March, 4, 1998, and issued on June 25, 2002. Therefore, Wright qualifies as prior
art under at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as
understood by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms.
Because discovery is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its
invalidity contentions based on new information produced in discovery or on the Court’s constructions.

     ’971 Claim Language                                                    Prior Art Teachings
 1(a) A method of operating a        To the extent the preamble is limiting, the combination of Friskney and Wright teaches and/or
 passive optical network             renders obvious this limitation. Friskney discloses a method of operating a network comprising an
 comprising an optical line          optical line termination being connected via a plurality of optical fibers to a plurality of network
 termination being connected         terminations. Wright discloses a passive optical network.
 via a plurality of optical fibers
 to a plurality of network           Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
 terminations and                    is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:




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    ’971 Claim Language                                           Prior Art Teachings




                           Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a passive
                           optical network,” it would have been obvious to a POSA to improve the network of Friskney by
                           incorporating passive components in view of the knowledge of the POSA (including the benefits of
                           using a passive network) and/or the other references cited in these invalidity contentions which
                           disclose this limitation, including Wright.

                           Wright discloses a passive optical network that transmits data-carrying optical signals from an
                           optical line termination to a plurality of optical network units. See Wright, Abstract, FIG. 1.




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    ’971 Claim Language                                                Prior Art Teachings

                               See Wright, 1:10-16.




                               It would have been obvious to a POSA to combine the teachings of Friskney and Wright, which
                               are both directed to optical communication systems, such that the optical communication system of
                               Friskney includes the passive components of Wright to facilitate a passive optical communication
                               network.

                               To the extent this limitation is not explicitly disclosed by Friskney or Wright, it is inherent or
                               obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                               Friskney or Wright so as to include this claim limitation in light of the knowledge possessed by
                               one of ordinary skill in the art.

1(b) comprising the step of    Friskney discloses this limitation. In the alternative, Friskney in combination with Wright teaches
generating an optical signal   or renders obvious this limitation. Friskney and/or Wright discloses the step of generating an
                               optical signal for transmission over one of the plurality of optical fibers.


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     ’971 Claim Language                                                 Prior Art Teachings
for transmission over one of
the plurality of optical fibers   Friskney discloses an optical communications network and an optical signal. Friskney’s network
                                  includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                                  the context of an optical communication network, a POSA would know that the transmitter in
                                  Figure 1 generates optical signals.




                                  Alternatively, to the extent that it is argued that Friskney does not explicitly describe that its
                                  transmitters generate an optical signal, it would have been obvious to a POSA to improve the
                                  transmitters of Friskney by incorporating signal generation capabilities in view of the knowledge of
                                  the POSA (including the benefits of signal generation within a network) and/or the other references
                                  cited in these invalidity contentions which disclose this limitation, including Wright.

                                  Wright describes an OLT that generates an optical signal for transmission over the plurality of
                                  fibers. See Wright, 9:2-5.




                                  See Wright, 14:22-27, FIG. 16.




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     ’971 Claim Language                                                   Prior Art Teachings




                                   It would have been obvious to a POSA to combine the teachings of Friskney and Wright, which are
                                   both directed to optical communication systems.

                                   To the extent this limitation is not explicitly disclosed by Friskney or Wright, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                   Friskney or Wright so as to include this claim limitation in light of the knowledge possessed by one
                                   of ordinary skill in the art.

 1(c) the optical signal           Friskney discloses this limitation. Friskney discloses the optical signal including a plurality of
 including a plurality of signal   signal states.
 states,
                                   Friskney discloses a WDM optical signal. See Friskney, 5:9-13.




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    ’971 Claim Language                                            Prior Art Teachings




                           Friskney also discloses a number of signal states. See Friskney, 2:35-57.




                           To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                           Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                           to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                           art.


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    ’971 Claim Language                                                Prior Art Teachings
 1(d) each signal state         Friskney discloses this limitation. Friskney discloses that each signal state corresponding to a
 corresponding to a different   different sequence of bits. Friskney discloses a different sequence of bits. See Friskney, 2:36-39.
 sequence of bits,



                                See Friskney, 6:4-7.




                                See Friskney, 6:17-23.




                                See Friskney, 9:20-31.




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     ’971 Claim Language                                                    Prior Art Teachings

                                    See Friskney, 9:47-48.



                                    To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                                    to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                    art.
 1(e) wherein the plurality of      Friskney discloses this limitation. Friskney discloses that the plurality of signal states and the
 signal states and the number       number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are       on the one of the plurality of optical fibers.
 increased based on a
 transmission quality of the        See Friskney, 2:10-34.
 optical signal on the one of
 the plurality of optical fibers.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Friskney, 2:46-49.




                           See Friskney, 6:17-23.




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    ’971 Claim Language                                         Prior Art Teachings




                           See Friskney, 7:5-19.




                           See Friskney, 8:56-67, 9:1-4.




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     ’971 Claim Language                                                     Prior Art Teachings




                                     To the extent this limitation is not explicitly disclosed by Friskney, it is inherent or obvious.
                                     Moreover, it would have been obvious to one of ordinary skill in the art to modify Friskney so as
                                     to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                     art.


 15(a) An optical line               To the extent the preamble is limiting, the combination of Friskney and Wright teaches and/or
 termination being part of a         renders obvious this limitation. Friskney discloses an optical line termination being part of an
 passive optical network             optical network comprising said optical line termination being connected via a plurality of optical
 comprising said optical line        fibers to a plurality of network terminations. Wright discloses a passive optical network.
 termination being connected
 via a plurality of optical fibers   Friskney discloses an optical communications network having optical nodes 10, 12 of FIG. 1. Data
 to a plurality of network           is transmitted between nodes using optical fiber carriers 14. See Friskney, 5:9-13:
 terminations




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    ’971 Claim Language                                           Prior Art Teachings




                           Alternatively, to the extent that it is argued that Friskney does not explicitly teach “a passive
                           optical network,” it would have been obvious to a POSA to improve the network of Friskney by
                           incorporating passive components in view of the knowledge of the POSA (including the benefits of
                           using a passive network) and/or the other references cited in these invalidity contentions which
                           disclose this limitation, including Wright.

                           Wright discloses a passive optical network that transmits data-carrying optical signals from an
                           optical line termination to a plurality of optical network units. See Wright, Abstract, FIG. 1.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Wright, 1:10-16.




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     ’971 Claim Language                                                  Prior Art Teachings




                                   It would have been obvious to a POSA to combine the teachings of Friskney and Wright, which
                                   are both directed to optical communication systems, such that the optical communication system of
                                   Friskney includes the passive components of Wright to facilitate a passive optical communication
                                   network.
 15(b) wherein the optical line    Friskney discloses this limitation. In the alternative, Friskney in combination with Wright teaches
 termination is configured to      or renders obvious this limitation. Friskney and/or Wright discloses wherein the optical line
 generate an optical signal        termination is configured to generate an optical signal including a plurality of signal states.
 including a plurality of signal
 states,                           Friskney discloses an optical communications network and an optical signal. Friskney’s network
                                   includes transmitters. Transmitters are known by a POSA to generate signals for transmission. In
                                   the context of an optical communication network, a POSA would know that the transmitter in
                                   Figure 1 generates optical signals.




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    ’971 Claim Language                                           Prior Art Teachings




                           Alternatively, to the extent that it is argued that Friskney does not explicitly describe that its
                           transmitters generate an optical signal, it would have been obvious to a POSA to improve the
                           transmitters of Friskney by incorporating signal generation capabilities in view of the knowledge
                           of the POSA (including the benefits of signal generation within a network) and/or the other
                           references cited in these invalidity contentions which disclose this limitation, including Wright..

                           Wright describes an OLT that generates an optical signal for transmission over the plurality of
                           fibers. See Wright, 9:2-5.




                           See Wright, 14:22-27, FIG. 16.




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    ’971 Claim Language                                                Prior Art Teachings




                                It would have been obvious to a POSA to combine the teachings of Friskney and Wright, which
                                are both directed to optical communication systems.

 15(c) each signal state        Friskney discloses this limitation. Friskney discloses that each signal state corresponding to a
 corresponding to a different   different sequence of bits. Friskney discloses different sequence of bits. See Friskney, 2:36-39.
 sequence of bits,



                                See Friskney, 6:4-7.




                                See Friskney, 6:17-23.




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     ’971 Claim Language                                                    Prior Art Teachings




                                    See Friskney, 9:20-31.




                                    See Friskney, 9:47-48.




 15(d) wherein the plurality of     Friskney discloses this limitation. Friskney discloses wherein the plurality of signal states and the
 signal states and the number       number of bits in each sequence are increased based on a transmission quality of the optical signal
 of bits in each sequence are       of the one of the plurality of optical fibers.
 increased based on a
 transmission quality of the        See Friskney, 2:10-34.
 optical signal of the one of the
 plurality of optical fibers.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Friskney, 2:46-49.




                           See Friskney, 6:17-23.




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    ’971 Claim Language                                         Prior Art Teachings




                           See Friskney, 7:5-19.




                           See Friskney, 8:56-67, 9:1-4.




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    ’971 Claim Language                                    Prior Art Teachings




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                                                    U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,602,806
entitled “Programmable optical vector modulator and method for use in coherent optical communications” to Spickermann et al.
(“Spickermann”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSA”), or in combination
with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references, including U.S.
Patent No. 6,411,410 entitled “Wavelength-Division Multiplexing In Passive Optical Networks” to Wright et al. (“Wright”)

Spickermann was filed on August 30, 2001, and issued on August 1, 2006. Therefore, Spickermann qualifies as prior art under at least
pre-AIA 35 U.S.C. §§ 102(a), (b). Wright was filed on March, 4, 1998, and issued on June 25, 2002. Therefore, Wright qualifies as
prior art under at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.




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     ’971 Claim Language                                                     Prior Art Teachings
 1(a) A method of operating a        To the extent that the preamble is limiting, Wright teaches this limitation. Wright discloses a
 passive optical network             passive optical network.
 comprising an optical line
 termination being connected         Wright discloses a passive optical network that transmits data-carrying optical signals from an
 via a plurality of optical fibers   optical line termination to a plurality of optical network units. See Wright, Abstract, FIG. 1.
 to a plurality of network
 terminations and




                                     See Wright, 1:10-16.




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    ’971 Claim Language                                                   Prior Art Teachings




                                  It would have been obvious to a POSA to combine the teachings of Spickermann and Wright,
                                  which are both directed to communication systems, such that the communication system of
                                  Spickermann includes the passive components of Wright to facilitate a passive optical
                                  communication network. it would have been obvious to a POSA to improve the network of
                                  Spickermann by incorporating passive components in view of the knowledge of the POSA
                                  (including the benefits of using a passive network) and/or the other references cited in these
                                  invalidity contentions which disclose this limitation, including Wright.

                                  To the extent this limitation is not explicitly disclosed by Wright, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Wright so as to
                                  include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(b) comprising the step of       Spickermann discloses this limitation. In the alternative, Spickermann in combination with Wright
generating an optical signal      teaches or renders obvious this limitation. Spickermann and/or Wright discloses the step of
for transmission over one of      generating an optical signal for transmission over one of the plurality of optical fibers.
the plurality of optical fibers
                                  Spickermann discloses an optical vector modulator for an optical communications network.
                                  Spickermann’s network includes transmitters. Transmitters are known by a POSA to generate
                                  signals for transmission and Spickermann discloses generating a modulated light output. In the




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    ’971 Claim Language                                           Prior Art Teachings
                           context of an optical communication network, a POSA would know that the transmitter in Figure 1
                           generates optical signals. See Spickermann, Abstract, Fig. 1




                           Spickermann discloses generating an optical signal on an optical fiber. See Spickermann, 3:11-20.


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    ’971 Claim Language                                            Prior Art Teachings




                           Alternatively, to the extent that it is argued that Spickermann does not explicitly describe that its
                           transmitters generate an optical signal, it would have been obvious to a POSA to improve the
                           transmitters of Spickermann by incorporating signal generation capabilities in view of the
                           knowledge of the POSA (including the benefits of signal generation within a network) and/or the
                           other references cited in these invalidity contentions which disclose this limitation, including
                           Wright.

                           Wright describes an OLT that generates an optical signal for transmission over the plurality of
                           fibers. See Wright, 9:2-5.




                           See Wright, 14:22-27, FIG. 16.




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     ’971 Claim Language                                                  Prior Art Teachings




                                   It would have been obvious to a POSA to combine the teachings of Spickermann and Wright,
                                   which are both directed to optical communication systems. A POSA would combine the signal
                                   state determination for transmission quality as disclosed in Spickermann with the passive optical
                                   network disclosed in Wright.

                                   To the extent this limitation is not explicitly disclosed by Wright or Spickermann, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Wright
                                   or Spickermann so as to include this claim limitation in light of the knowledge possessed by one of
                                   ordinary skill in the art.

 1(c) the optical signal           Spickermann discloses this limitation. Spickermann discloses the optical signal including a
 including a plurality of signal   plurality of signal states.
 states,
                                   Spickermann also discloses a number of signal states. See Spickermann, 5:11-19.




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    ’971 Claim Language                                                Prior Art Teachings




                                It would have been obvious to a POSA to combine the teachings of Spickermann and Wright,
                                which are both directed to optical communication systems.

                                To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so
                                as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                the art.

 1(d) each signal state         Spickermann discloses this limitation. Spickermann discloses that each signal state corresponding
 corresponding to a different   to a different sequence of bits. Spickermann discloses a different sequence of bits.
 sequence of bits,
                                Spickermann discloses a weighted programmable optical vector modulator with 7 bits per symbol
                                See Spickermann, 3:47-56.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Spickermann, 5:1-19.




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    ’971 Claim Language                                           Prior Art Teachings




                           It would have been obvious to a POSA to combine the teachings of Spickermann and Wright,
                           which are both directed to optical communication systems. A POSA would combine the signal
                           state determination for transmission quality as disclosed in Spickermann with the passive optical
                           network disclosed in Wright.

                           To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
                           Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so
                           as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                           the art.




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     ’971 Claim Language                                                   Prior Art Teachings
 1(e) wherein the plurality of      Spickermann discloses this limitation. Spickermann discloses that the plurality of signal states and
 signal states and the number       the number of bits in each sequence are increased based on a transmission quality of the optical
 of bits in each sequence are       signal on the one of the plurality of optical fibers.
 increased based on a
 transmission quality of the        Spickermann discloses measuring the energy of a signal to identify transmission quality See
 optical signal on the one of       Spickermann, Abstract.
 the plurality of optical fibers.




                                    Spickermann discloses modifying bits and symbols based on transmission quality. See
                                    Spickermann, 1:19-23.




                                    See Spickermann, 2:28-40.




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    ’971 Claim Language                                          Prior Art Teachings




                           Spickermann discloses selecting signal states baseed. See Spickermann, 1:37-48.




                           See Spickermann, Fig. 3.




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    ’971 Claim Language                                           Prior Art Teachings




                           It would have been obvious to a POSA to combine the teachings of Spickermann and Wright,
                           which are both directed to optical communication systems. A POSA would combine the signal
                           state determination for transmission quality as disclosed in Spickermann with the passive optical
                           network disclosed in Wright.

                           To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
                           Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so



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     ’971 Claim Language                                                     Prior Art Teachings
                                     as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                     the art.
 15(a) An optical line               To the extent this preamble is limiting, Wright teaches this limitation. Wright discloses an optical
 termination being part of a         network with passive components such as using a single carrier. (See, e.g., the corresponding
 passive optical network             analysis for 1(a) for this preamble).
 comprising said optical line
 termination being connected         To the extent this limitation is not explicitly disclosed by Wright, it is inherent or obvious.
 via a plurality of optical fibers   Moreover, it would have been obvious to one of ordinary skill in the art to modify Wright so as to
 to a plurality of network           include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 terminations

 15(b) wherein the optical line      Spickermann discloses this limitation. In the alternative, Spickermann in combination with Wright
 termination is configured to        teaches or renders obvious this limitation. Spickermann and/or Wright discloses wherein the
 generate an optical signal          optical line termination is configured to generate an optical signal including a plurality of signal
 including a plurality of signal     states. (See, e.g., the corresponding analysis for 1(b)-(c)).
 states,

                                     It would have been obvious to a POSA to combine the teachings of Spickermann and Wright,
                                     which are both directed to communication systems and optimizing .

                                     To the extent this limitation is not explicitly disclosed by Spickermann or Wright, it is inherent or
                                     obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                     Spickermann or Wright so as to include this claim limitation in light of the knowledge possessed
                                     by one of ordinary skill in the art.
 15(c) each signal state             Spickermann discloses this limitation. Spickermann discloses that each signal state corresponding
 corresponding to a different        to a different sequence of bits. Spickermann discloses a different sequence of bits. In the
 sequence of bits,                   alternative, Spickermann in combination with Wright teaches or renders obvious this limitation
                                     (See, e.g., the corresponding analysis for 1(d)).




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     ’971 Claim Language                                                    Prior Art Teachings
                                    To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so
                                    as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.
 15(d) wherein the plurality of     Spickermann discloses this limitation. Spickermann discloses that the plurality of signal states and
 signal states and the number       the number of bits in each sequence are increased based on a transmission quality of the optical
 of bits in each sequence are       signal on the one of the plurality of optical fibers. (See, e.g., the corresponding analysis for 1(e)).
 increased based on a
 transmission quality of the        To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
 optical signal of the one of the   Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so
 plurality of optical fibers.       as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.




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                                                    U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,602,806
entitled “Programmable optical vector modulator and method for use in coherent optical communications” to Spickermann et al.
(“Spickermann”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSA”), or in combination
with one or more other references disclosed in Xilinx’s Invalidity Contentions, including U.S. Patent No. 7,242,868 entitled “System
and method for performing high-speed communications over fiber optical networks” to Soto et al. (“Soto”).

Spickermann was filed on August 30, 2001, and issued on August 1, 2006. Therefore, Spickermann qualifies as prior art under at least
pre-AIA 35 U.S.C. §§ 102(a), (b). Soto was filed on March, 4, 1998, and issued on June 25, 2002. Therefore, Soto qualifies as prior art
under at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.




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     ’971 Claim Language                                                    Prior Art Teachings
 1(a) A method of operating a        To the extent this preamble is limiting, Soto teaches and/or renders obvious this limitation. Soto
 passive optical network             discloses a passive optical network.
 comprising an optical line
 termination being connected         Soto discloses a passive optical network that transmits data-carrying optical signals from an optical
 via a plurality of optical fibers   line termination to a plurality of optical network units. See Soto, Abstract.
 to a plurality of network
 terminations and




                                     See Soto, 2:20-29.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Soto, 2:60-3:8.




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    ’971 Claim Language                                     Prior Art Teachings
                           See Soto, 8:24-44, Fig. 2.




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    ’971 Claim Language                                                   Prior Art Teachings




                                  To the extent this limitation is not explicitly disclosed by Soto, it is inherent or obvious. Moreover,
                                  it would have been obvious to one of ordinary skill in the art to modify Soto so as to include this
                                  claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(b) comprising the step of       Spickermann discloses this limitation. In the alternative, Spickermann in combination with Soto
generating an optical signal      teaches or renders obvious this limitation. Spickermann and/or Soto discloses the step of
for transmission over one of      generating an optical signal for transmission over one of the plurality of optical fibers.
the plurality of optical fibers
                                  Spickermann discloses an optical vector modulator for an optical communications network.
                                  Spickermann’s network includes transmitters. Transmitters are known by a POSA to generate
                                  signals for transmission and Spickermann discloses generating a modulated light output. In the
                                  context of an optical communication network, a POSA would know that the transmitter in Figure 1
                                  generates optical signals. See Spickermann, Abstract, Fig. 1


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    ’971 Claim Language                                          Prior Art Teachings




                           Spickermann discloses generating an optical signal on an optical fiber. See Spickermann, 3:11-20.




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    ’971 Claim Language                                            Prior Art Teachings




                           Alternatively, to the extent that it is argued that Spickermann does not explicitly describe that its
                           transmitters generate an optical signal, it would have been obvious to a POSA to generate an
                           optical signal for transmission over one of the plurality of optical fibers. This would be obvious in
                           to a POSA in light of Spickermann and/or the other references cited in these invalidity contentions
                           which disclose this limitation, including Soto.

                           Soto describes an OLT that generates an optical signal for transmission over the plurality of fibers.
                           See Soto, 2:7-29.




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    ’971 Claim Language                                       Prior Art Teachings




                           See Soto, 14:22-27, FIG. 16.




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     ’971 Claim Language                                                  Prior Art Teachings




                                   It would have been obvious to a POSA to combine the teachings of Spickermann and Soto, which
                                   are both directed to optical communication systems.

                                   To the extent this limitation is not explicitly disclosed by Soto or Spickermann, it is inherent or
                                   obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Soto or
                                   Spickermann so as to include this claim limitation in light of the knowledge possessed by one of
                                   ordinary skill in the art.

 1(c) the optical signal           Spickermann discloses this limitation. Spickermann discloses the optical signal including a
 including a plurality of signal   plurality of signal states.
 states,
                                   Spickermann also discloses a number of signal states. See Spickermann, 5:11-19.




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    ’971 Claim Language                                                Prior Art Teachings




                                It would have been obvious to a POSA to combine the teachings of Spickermann and Soto, which
                                are both directed to optical communication systems.

                                To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
                                Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so
                                as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                the art.

 1(d) each signal state         Spickermann discloses this limitation. Spickermann discloses that each signal state corresponding
 corresponding to a different   to a different sequence of bits. Spickermann discloses a different sequence of bits.
 sequence of bits,
                                Spickermann discloses a weighted programmable optical vector modulator with 7 bits per symbol
                                See Spickermann, 3:47-56.




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    ’971 Claim Language                                    Prior Art Teachings




                           See Spickermann, 5:1-19.




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WSOU Investments, LLC v. Xilinx, Inc., Case No. 1:20-cv-01231-CFC-JLH              U.S. Patent No. 7,903,971


    ’971 Claim Language                                                 Prior Art Teachings




                                 To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so
                                 as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                 the art.
 1(e) wherein the plurality of   Spickermann discloses this limitation. Spickermann discloses that the plurality of signal states and
 signal states and the number    the number of bits in each sequence are increased based on a transmission quality of the optical
 of bits in each sequence are    signal on the one of the plurality of optical fibers.
 increased based on a
 transmission quality of the     Spickermann discloses measuring the energy of a signal to identify transmission quality See
                                 Spickermann, Abstract.


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     ’971 Claim Language                                                  Prior Art Teachings
 optical signal on the one of
 the plurality of optical fibers.




                                    Spickermann discloses modifying bits and symbols based on transmission quality. See
                                    Spickermann, 1:19-23.




                                    See Spickermann, 2:28-40.




                                    Spickermann discloses selecting signal states baseed. See Spickermann, 1:37-48.



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    ’971 Claim Language                                    Prior Art Teachings




                           See Spickermann, Fig. 3.




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    ’971 Claim Language                                           Prior Art Teachings




                           To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
                           Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so
                           as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                           the art.




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     ’971 Claim Language                                                     Prior Art Teachings
 15(a) An optical line               To the extent this preamble is limiting, Soto teaches this limitation. Soto discloses an optical
 termination being part of a         network with passive components such as using a single carrier. (See, e.g., the corresponding
 passive optical network             analysis for 1(a) for this preamble).
 comprising said optical line
 termination being connected         To the extent this limitation is not explicitly disclosed by Soto, it is inherent or obvious. Moreover,
 via a plurality of optical fibers   it would have been obvious to one of ordinary skill in the art to modify Soto so as to include this
 to a plurality of network           claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
 terminations

 15(b) wherein the optical line      Spickermann discloses this limitation. In the alternative, Spickermann in combination with Soto
 termination is configured to        teaches or renders obvious this limitation. Spickermann and/or Soto discloses wherein the optical
 generate an optical signal          line termination is configured to generate an optical signal including a plurality of signal states.
 including a plurality of signal     (See, e.g., the corresponding analysis for 1(b)-(c)).
 states,

                                     It would have been obvious to a POSA to combine the teachings of Spickermann and Soto, which
                                     are both directed to communication systems and optimizing .

                                     To the extent this limitation is not explicitly disclosed by Spickermann or Soto, it is inherent or
                                     obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify
                                     Spickermann or Soto so as to include this claim limitation in light of the knowledge possessed by
                                     one of ordinary skill in the art.
 15(c) each signal state             Spickermann discloses this limitation. Spickermann discloses that each signal state corresponding
 corresponding to a different        to a different sequence of bits. Spickermann discloses a different sequence of bits. In the
 sequence of bits,                   alternative, Spickermann in combination with Soto teaches or renders obvious this limitation (See,
                                     e.g., the corresponding analysis for 1(d)).

                                     To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
                                     Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so




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     ’971 Claim Language                                                    Prior Art Teachings
                                    as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.
 15(d) wherein the plurality of     Spickermann discloses this limitation. Spickermann discloses that the plurality of signal states and
 signal states and the number       the number of bits in each sequence are increased based on a transmission quality of the optical
 of bits in each sequence are       signal on the one of the plurality of optical fibers. (See, e.g., the corresponding analysis for 1(e)).
 increased based on a
 transmission quality of the        To the extent this limitation is not explicitly disclosed by Spickermann, it is inherent or obvious.
 optical signal of the one of the   Moreover, it would have been obvious to one of ordinary skill in the art to modify Spickermann so
 plurality of optical fibers.       as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.




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                                                       U.S. PATENT NO. 7,903,971

The asserted claims of U.S. Patent No. 7,903,971 (“the ’971 patent”) are anticipated and/or obvious in view of U.S. Patent No.
7,602,806 entitled “Signaling and coding methods and apparatus for long-range 10 and 100 MBPS ethernet transmission” to Yang et
al. (“Yang”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSA”), or in combination with
one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references, including U.S. Patent
No. 7,242,868 entitled “System and method for performing high-speed communications over fiber optical networks” to Soto et al.
(“Soto”).

Yang was filed on December 7, 2004, and issued on October 13, 2009. Therefore, Yang qualifies as prior art under at least pre-AIA
35 U.S.C. §§ 102(a), (b). Soto was filed on March, 4, 1998, and issued on June 25, 2002. Therefore, Soto qualifies as prior art under
at least pre-AIA 35 U.S.C. §§ 102(a), (b).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as
understood by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms.
Because discovery is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its
invalidity contentions based on new information produced in discovery or on the Court’s constructions.

     ’971 Claim Language                                                    Prior Art Teachings
 1(a) A method of operating a        To the extent this preamble is limiting, Soto teaches and/or renders obvious this limitation. Soto
 passive optical network             discloses a passive optical network.
 comprising an optical line
 termination being connected         Soto discloses a passive optical network that transmits data-carrying optical signals from an optical
 via a plurality of optical fibers   line termination to a plurality of optical network units. See Soto, Abstract.
 to a plurality of network
 terminations and




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   ’971 Claim Language                                   Prior Art Teachings




                          See Soto, 2:20-29.




                          See Soto, 2:60-3:8.




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   ’971 Claim Language                                     Prior Art Teachings




                          See Soto, 8:24-44, Fig. 2.




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   ’971 Claim Language                                   Prior Art Teachings




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    ’971 Claim Language                                                   Prior Art Teachings




                                  To the extent this limitation is not explicitly disclosed by Soto, it is inherent or obvious. Moreover,
                                  it would have been obvious to one of ordinary skill in the art to modify Soto so as to include this
                                  claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(b) comprising the step of       Soto teaches or renders obvious this limitation. Soto discloses the step of generating an optical
generating an optical signal      signal for transmission over one of the plurality of optical fibers.
for transmission over one of
the plurality of optical fibers   Soto describes an OLT that generates an optical signal for transmission over the plurality of fibers.
                                  See Soto, 2:7-29.




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   ’971 Claim Language                                       Prior Art Teachings




                          See Soto, 14:22-27, FIG. 16.




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    ’971 Claim Language                                                   Prior Art Teachings




                                  To the extent this limitation is not explicitly disclosed by Soto, it is inherent or obvious. Moreover,
                                  it would have been obvious to one of ordinary skill in the art to modify Soto so as to include this
                                  claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(c) the optical signal           Yang discloses this limitation. Yang discloses the signal including a plurality of signal states. It
including a plurality of signal   would be obvious to one of ordinary skill in the art that an optical signal may include a plurality of
states,                           signal states, especially in the context of selecting signal states as disclosed by Yang.

                                  Yang discloses a plurality of signal states, NRZ coding with pre-emphasis and PAM4 coding. See
                                  Yang, Abstract.




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   ’971 Claim Language                                                 Prior Art Teachings




                               Yang also discloses a number of signal states. See Yang, 3:7-17.




                               To the extent this limitation is not explicitly disclosed by Yang, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(d) each signal state         Yang discloses this limitation. Yang discloses that each signal state corresponding to a different
corresponding to a different   sequence of bits. Yang discloses a different sequence of bits.
sequence of bits,
                               See Yang, 2:56-3:6.

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   ’971 Claim Language                                   Prior Art Teachings




                          See Yang, 4:5-19.




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    ’971 Claim Language                                                    Prior Art Teachings
                                   To the extent this limitation is not explicitly disclosed by Yang, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang so as to
                                   include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
1(e) wherein the plurality of      Yang discloses this limitation. Yang discloses that the plurality of signal states and the number of
signal states and the number       bits in each sequence are increased based on a transmission quality of the optical signal on the one
of bits in each sequence are       of the plurality of optical fibers.
increased based on a
transmission quality of the        Yang discloses measuring the energy of a signal to identify transmission quality See Yang, 2:47-
optical signal on the one of       56.
the plurality of optical fibers.




                                   Yang discloses increasing bits based on transmission quality. See Yang, 4:5-19.




                                   See Yang, Fig. 4.

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   ’971 Claim Language                                          Prior Art Teachings




                          Yang discloses measuring the energy and determining distance traveled for identifying the ideal
                          signal state in response to transmission quality. See Yang, 4:65-5:7.




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   ’971 Claim Language                                            Prior Art Teachings




                          To the extent that Yang does not specifically teach increasing the number of bits based on
                          transmission quality, it would be obvious to a POSA to increase bits based on transmission quality
                          based on Yang which discloses increasing bits based on transmission distance. A POSA would
                          know that transmission quality and transmission distance are related. See Yang at 5:39-57.




                          To the extent this limitation is not explicitly disclosed by Yang, it is inherent or obvious.
                          Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang so as to
                          include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.


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    ’971 Claim Language                                                     Prior Art Teachings


15(a) An optical line               To the extent this preamble is limiting, Soto teaches and/or renders obvious this limitation. Soto
termination being part of a         discloses a passive optical network. (See, e.g., the corresponding analysis for 1(a) for this
passive optical network             preamble).
comprising said optical line
termination being connected         To the extent this limitation is not explicitly disclosed by Soto, it is inherent or obvious. Moreover,
via a plurality of optical fibers   it would have been obvious to one of ordinary skill in the art to modify Soto so as to include this
to a plurality of network           claim limitation in light of the knowledge possessed by one of ordinary skill in the art.
terminations
15(b) wherein the optical line      Soto teaches or renders obvious this limitation. Soto discloses wherein the optical line termination
termination is configured to        is configured to generate an optical signal including a plurality of signal states. (See, e.g., the
generate an optical signal          corresponding analysis for 1(b)-(c)).
including a plurality of signal
states,                             To the extent this limitation is not explicitly disclosed by Yang or Soto, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang or Soto so
                                    as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.
15(c) each signal state             Yang discloses this limitation. Yang discloses that each signal state corresponding to a different
corresponding to a different        sequence of bits. Yang discloses a different sequence of bits. In the alternative, Yang in
sequence of bits,                   combination with Soto teaches or renders obvious this limitation. (See, e.g., the corresponding
                                    analysis for 1(d)).

                                    To the extent this limitation is not explicitly disclosed by Yang or Soto, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang or Soto so
                                    as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.
15(d) wherein the plurality of      Yang discloses this limitation. Yang discloses that the plurality of signal states and the number of
signal states and the number        bits in each sequence are increased based on a transmission quality of the optical signal on the one
of bits in each sequence are        of the plurality of optical fibers. (See, e.g., the corresponding analysis for 1(e)).

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    ’971 Claim Language                                                   Prior Art Teachings
increased based on a
transmission quality of the        To the extent this limitation is not explicitly disclosed by Yang or Soto, it is inherent or obvious.
optical signal of the one of the   Moreover, it would have been obvious to one of ordinary skill in the art to modify Yang or Soto so
plurality of optical fibers.       as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                   the art.




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WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                           EXHIBIT E-1
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of U.S. Patent No. 8,531,222,
entitled “PHASE LOCKED LOOP CIRCUIT WITH SELECTABLE FEEDBACK PATHS” to Britton et al. (“Britton”), either alone or
combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references
disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Britton was filed on April 4, 2011 and issued on September 10, 2013. Therefore, Britton qualifies as prior art under at least AIA 35
U.S.C. § 102(a)(1) and (a)(2).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, Britton discloses a device (apparatus) with a phase-locked
 comprising:                      loop (PLL) circuit.

                                  See, e.g.,




                                                                   1
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    ’838 Claim Language                                                  Prior Art References



                                  Britton, 1:56-2:3.

                                  To the extent this limitation is not explicitly disclosed by Britton, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Britton so as to
                                  include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) first and second clocks      Britton teaches this limitation. Britton discloses reference signals ref1 and ref2 (first input clock
operable to generate first and    signal) that are generated by an external clock. The PLL circuit Britton describes further contains
second input clock signals,       an oscillator 548 that generates a clock signal. This clock signal is fed back through either an
respectively, wherein the first   internal or external feedback path as signal fbk1 or fbk2 (second input clock signal). Because the
and second input clock signals    first and second input clock signals are generated by separate clocks, reference signals ref1 and
are asynchronous in relation      ref2 need not be synchronous with signals fbk1 and fbk2.
to one another;
                                  To the extent Britton does not expressly disclose multiple clocks, Britton teaches that “one or more
                                  components” of the invention “may be used to generate one or more clock signals.” Therefore, a
                                  POSITA would have been appreciated the use of multiple clocks to generate first and second input
                                  clock signals that are asynchronous in relation to one another.

                                  See, e.g.,




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WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References
                           Britton, 9:49-58.




                           Britton, 9:59-62.



                           Britton, 10:4-5.




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     ’838 Claim Language                                                   Prior Art References




                                   Britton, Fig. 5.

                                   To the extent this limitation is not explicitly disclosed by Britton, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Britton so as to
                                   include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) a first edge detector        Britton discloses this limitation. According to WSOU’s infringement contentions, multiplexers
 configured to receive the first   can serve as edge detectors and generate enable signals. Particularly, Britton discloses a
 input clock signal, the first     multiplexer (a first edge detector) that receives one or more input clock signals (e.g., ref1 and ref2)



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     ’838 Claim Language                                                     Prior Art References
 edge detector operable to           and a select signal (e.g., ref_sel). Britton discloses that the multiplexer selects one of the two input
 detect a rising edge of the first   signals based on the select signal and generates an output signal triggered off the rising edge of the
 input clock signal and to           selected input signal.
 generate a first enable signal;
                                     See, e.g.,




                                     Britton, 10:4-10.




                                     Britton, 6:30-32.




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    ’838 Claim Language                                                  Prior Art References




                                  Britton, Fig. 5.

                                  To the extent this limitation is not explicitly disclosed by Britton, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Britton so as to
                                  include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(c) a second edge detector      Britton discloses multiplexers that serve as edge detectors. According to WSOU’s infringement
 configured to receive the        contentions, multiplexers can serve as edge detectors and generate enable signals. Particularly,
 second input clock signal, the   Britton discloses a second edge detector that receives one or more input clock signals (e.g., fbk1



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     ’838 Claim Language                                                    Prior Art References
 second edge detector operable      and fbk2) and a select signal (e.g., fbk_sel). Britton discloses that the multiplexer selects one of
 to detect the rising edge of the   the two input signals based on the select signal and generates an output signal triggered off the
 second input clock signal and      rising edge of the selected input signal.
 to generate a second enable
 signal;                            See, e.g.,




                                    Britton, 9:59-62.




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    ’838 Claim Language                                                    Prior Art References




                                   Britton, Fig. 5.

                                   To the extent this limitation is not explicitly disclosed by Britton, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Britton so as to
                                   include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(d) a first divider configured   Britton discloses a first divider configured to receive the first enable signal and operable to
 to receive the first enable       generate a first adjusted enable signal.
 signal and operable to



                                                                     8
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                                                  5754
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References
 generate a first adjusted        See, e.g.,
 enable signal based on a first
 predetermined factor; and




                                  Britton, 10:4-10.




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                                                  5755
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Britton, Fig. 5.

                            While Britton does not expressly disclose that the divider generates a first adjusted enable signal
                            “based on a first predetermined factor,” a POSITA would have understood a divider, such as that
                            disclosed in Britton, to adjust the signal based on a preselected value (typically an integer).
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Britton so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                  5756
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References
 1(e) a dual clock generator       Britton discloses this limitation. According to WSOU’s infringement contentions, blocks PFD to
 configured to receive the first   VCO make up a dual clock generator. Britton discloses a dual clock generator (blocks PFD
 adjusted enable signal and the    through VCO) configured to receive the first adjusted enable signal and the second enable signal,
 second enable signal, and in      and in response operable to generate a reference clock signal (e.g., pll_out) over a single
 response operable to generate     conductor.
 a reference clock signal and
 transmit the reference clock      See, e.g.,
 signal over a single
 conductor.


                                   Britton, 8:64-66.




                                   Britton, 9:49-58.




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WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Britton, Fig. 5.

                            To the extent this limitation is not explicitly disclosed by Britton, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Britton so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                           EXHIBIT E-2
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of U.S. Patent No. 6,756,822,
entitled “PHASE DETECTOR EMPLOYING ASYNCHRONOUS LEVEL-MODE SEQUENTIAL CIRCUITRY” to Alireza S.
Kaviani (“Kaviani”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in
combination with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Kaviani was filed on October 31, 2002 and issued on June 29, 2004. Therefore, Kaviani qualifies as prior art under at least AIA 35
U.S.C. § 102(a)(1) and (a)(2).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, Kaviani discloses it. Kaviani teaches a “phase detector,”
 comprising:                      which is an apparatus.

                                  See, e.g.,




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                                                  5759
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References




                                  Kaviani, 1:43-55.

                                  To the extent this limitation is not explicitly disclosed by Kaviani, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Kaviani so as to
                                  include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) first and second clocks      Kaviani discloses this limitation. Kaviani teaches a frequency synthesis circuit 100 that
operable to generate first and    synchronizes clock signal REF_CLK (first input clock signal) with clock signal OSC_CLK
second input clock signals,       (second input clock signal).
respectively, wherein the first
and second input clock signals    See, e.g.,
are asynchronous in relation
to one another;




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                                                  5760
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                          Prior Art References




                           Kaviani, 2:37-56.

                           Kaviani further teaches that the frequency circuit comprises a phase detector 104, which compares
                           phase differences between OSC_CLK and REF_CLK. According to WSOU’s infringement
                           contentions, a phase detector is equipped to compare two asynchronous signals. Hence, the input
                           clock signals are asynchronous relative to one another.

                           See, e.g.,




                                                           3
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                                                  5761
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                           Kaviani, 3:37-57.




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                                                  5762
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                    Prior Art References




                                     Kaviani, Fig. 1.

                                     To the extent this limitation is not explicitly disclosed by Kaviani, it is inherent or obvious.
                                     Moreover, it would have been obvious to one of ordinary skill in the art to modify Kaviani so as to
                                     include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) a first edge detector          Kaviani discloses this limitation. According to WSOU’s infringement contentions, an edge
 configured to receive the first     detector can generate enable signals. Kaviani discloses a first edge detector configured to receive
 input clock signal, the first       clock signal REF_CLK (first input clock signal), detect the positive (rising) edge of the clock
 edge detector operable to           signal, and generate edge detection signal REF_EDGE (first enable signal).
 detect a rising edge of the first
 input clock signal and to           See, e.g.,
 generate a first enable signal;




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                                                  5763
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




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                                                  5764
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                   Prior Art References
                                    Kaviani, 3:37-4:6.




                                    Kaviani, Fig. 2.

                                    To the extent this limitation is not explicitly disclosed by Kaviani, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Kaviani so as to
                                    include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(c) a second edge detector        Kaviani discloses this limitation. According to WSOU’s infringement contentions, an edge
 configured to receive the          detector can generate enable signals. Kaviani discloses a second edge detector configured to
 second input clock signal, the     receive clock signal OSC_CLK (second input clock signal), detect the positive (rising) edge of the
 second edge detector operable      clock signal, and generate edge detection signal OSC_EDGE (first enable signal).
 to detect the rising edge of the
 second input clock signal and      See, e.g.,




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                                                  5765
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    ’838 Claim Language                                    Prior Art References
 to generate a second enable
 signal;




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                                                  5766
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                   Prior Art References
                                   Kaviani, 3:37-4:6.




                                   Kaviani, Fig. 2.

                                   To the extent this limitation is not explicitly disclosed by Kaviani, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Kaviani so as to
                                   include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(d) a first divider configured   Kaviani discloses this limitation, either alone or in combination with the knowledge of a POSITA.
 to receive the first enable       Kaviani discloses a frequency divider 102 (first divider) that is responsive to clock signal
 signal and operable to            REF_CLK and divides the frequency of REF_CLK by a selected amount D (first predetermined
 generate a first adjusted         factor).
 enable signal based on a first
 predetermined factor; and         See, e.g.,




                                                                    9
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                                                  5767
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            Kaviani, 2:37-67.




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                                                  5768
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References




                                   Kaviani, Fig. 1.

                                   To the extent Kaviani expressly discloses only that the divider 102 receives REF_CLK but not
                                   REF_EDGE (i.e., to the extent Kaviani discloses that the divider comes before the edge detector
                                   202, rather than after), it would have been obvious to a POSITA to modify Kaviani to place to
                                   divider 102 after edge detector 202. Specifically, a POSITA would have known that, because
                                   divider 102 divides by a predetermined amount D, it would make no difference to the result if the
                                   divider 102 operated to divide REF_CLK (when placed before the edge detector) or REF_EDGE
                                   (when placed after the edge detector).

 1(e) a dual clock generator       Kaviani discloses this limitation, either alone or in combination with the knowledge of a POSITA.
 configured to receive the first   Kaviani discloses a phase detector 104 that generates an output signal to provide proper direction
 adjusted enable signal and the    for adjusting the frequency of oscillator 106, which is then adjusted such that clock signal
 second enable signal, and in      OSC_CLK is synchronized with REF_CLK (reference clock signal). The signal output by phase
 response operable to generate     detector 104 is generated by lead-lag state machine 204 located within the phase detector, which
 a reference clock signal and      itself is responsive to edge detection signals REF_EDGE (first adjusted enable signal, see element



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                                                  5769
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                               Prior Art References
 transmit the reference clock   1(d), supra) and OSC_EDGE (second enable signal). According to WSOU’s infringement
 signal over a single           contentions, a phase detector followed by an oscillator can make up a “dual clock generator.”
 conductor.                     Therefore, phase detector 104 and oscillator 106 together function as a “dual clock generator” that
                                generates a reference clock signal and transmits over a single conductor.

                                See, e.g.,




                                Kaviani, 3:3-8.




                                Kaviani, 3:17-29.




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                                                  5770
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            Kaviani, 3:37-57.




                            Kaviani, 4:18-27.




                                                      13
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                                                  5771
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            Kaviani, Fig. 1.




                                                      14
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                                                  5772
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Kaviani, Fig. 2.

                            To the extent this limitation is not explicitly disclosed by Kaviani, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Kaviani so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                  5773
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                           EXHIBIT E-3
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of U.S. Patent No. 7,471,120,
entitled “CLOCK SWITCH FOR GENERATION OF MULTI-FREQUENCY CLOCK SIGNAL” to Wenkwei Lou (“Lou”), either
alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other
references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Lou was filed on May 15, 2007 and issued on December 30, 2008. Therefore, Lou qualifies as prior art under at least AIA
35 U.S.C. § 102(a)(1) and (a)(2).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, Lou discloses it.
 comprising:
                                  See, e.g.,




                                  Lou, 3:54-59.




                                                                   1
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                                                  5774
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                     Prior Art References
                                     To the extent this limitation is not explicitly disclosed by Lou, it is inherent or obvious. Moreover,
                                     it would have been obvious to one of ordinary skill in the art to modify Lou so as to include this
                                     claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) first and second clocks    Lou discloses this limitation.
operable to generate first and
second input clock signals,     See, e.g.,
respectively, wherein the first
and second input clock signals
are asynchronous in relation
to one another;




                                     Lou, 3:54-59.



                                     Lou, 3:37.

                                     To the extent this limitation is not explicitly disclosed by Lou, it is inherent or obvious. Moreover,
                                     it would have been obvious to one of ordinary skill in the art to modify Lou so as to include this
                                     claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) a first edge detector          Lou discloses this limitation. Specifically, Lou discloses a first clock selection circuit (a first edge
 configured to receive the first     detector) configured to receive the first input clock signal and generate a first clock selection signal
 input clock signal, the first       (a first enable signal) based on the state of the first input clock signal. Lou further discloses
 edge detector operable to           generating the first clock selection signal by latching the clock selection signal on the rising edge
 detect a rising edge of the first   of the first input clock signal.



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                                                  5775
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                   Prior Art References
 input clock signal and to         See, e.g.,
 generate a first enable signal;




                                   Lou, 3:61-66.




                                   Lou, 3:2-7.




                                                      3
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                                                  5776
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                   Prior Art References




                                    Lou, 3:8-11.

                                    To the extent this limitation is not explicitly disclosed by Lou, it is inherent or obvious. Moreover,
                                    it would have been obvious to one of ordinary skill in the art to modify Lou so as to include this
                                    claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(c) a second edge detector        Lou discloses this limitation. Specifically, Lou discloses a second clock selection circuit (a second
 configured to receive the          edge detector) configured to receive the second input clock signal and generate a second clock
 second input clock signal, the     selection signal (a second enable signal) based on the state of the second input clock signal. Lou
 second edge detector operable      further discloses generating the second clock selection signal by latching the clock selection signal
 to detect the rising edge of the   on the rising edge of the second input clock signal.
 second input clock signal and
 to generate a second enable        See, e.g.,
 signal;




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                                                  5777
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                   Prior Art References




                                   Lou, 3:66-4:3.

                                   To the extent this limitation is not explicitly disclosed by Lou, it is inherent or obvious. Moreover,
                                   it would have been obvious to one of ordinary skill in the art to modify Lou so as to include this
                                   claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(d) a first divider configured   To the extent this limitation is not explicitly disclosed by Lou, it is inherent or obvious. Moreover,
 to receive the first enable       it would have been obvious to one of ordinary skill in the art to modify Lou so as to include this
 signal and operable to            claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 713 of 808 PageID #:
                                                  5778
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                     Prior Art References
 generate a first adjusted
 enable signal based on a first
 predetermined factor; and

 1(e) a dual clock generator       Lou discloses this limitation. Lou teaches an improved clock switch with a multiplexer configured
 configured to receive the first   to receive a first input clock signal, a second input clock signal, a first clock selection signal (a first
 adjusted enable signal and the    adjusted enable signal) and a second clock selection signal (a second enable signal) and generate a
 second enable signal, and in      multi-frequency clock signal (a reference clock signal) to transmit on a clock output line (a single
 response operable to generate     conductor).
 a reference clock signal and
 transmit the reference clock      See, e.g.,
 signal over a single
 conductor.




                                   Lou, 2:38-48.




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                                                  5779
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                             Prior Art References




                            Lou, 2:60-67.

                            To the extent this limitation is not explicitly disclosed by Lou, it is inherent or obvious. Moreover,
                            it would have been obvious to one of ordinary skill in the art to modify Lou so as to include this
                            claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 715 of 808 PageID #:
                                                  5780
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                           EXHIBIT E-4
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of U.S. Patent Application
Publication No. 2009/0289667, entitled “CLOCK GENERATION USING A FRACTIONAL PHASE DETECTOR” to Novellini et al.
(“Novellini”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination
with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Novellini was filed on May 22, 2008 and published on November 26, 2009. Therefore, Novellini qualifies as prior art under at least
AIA 35 U.S.C. § 102(a)(1) and (a)(2).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, Novellini discloses it. Novellini discloses circuits that
 comprising:                      generate one or more output clock signals from an input signal, which constitute an “apparatus.”

                                  See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 716 of 808 PageID #:
                                                  5781
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References




                                  Novellini, ¶ [0007].

                                  To the extent this limitation is not explicitly disclosed by Novellini, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Novellini so as
                                  to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                  art.

1(a) first and second clocks      Novellini discloses this limitation. Novellini discloses a circuit with an input clock signal on line
operable to generate first and    204 (first input clock signal) and a high-frequency input clock signal on line 212 (second input
second input clock signals,       clock signal). These signals are derived from independent sources (first and second clocks) and are
respectively, wherein the first   asynchronous in relation to one another.
and second input clock signals
are asynchronous in relation      See, e.g.,
to one another;




                                                                   2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 717 of 808 PageID #:
                                                  5782
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                           Novellini, ¶ [0020].




                                                      3
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                                                  5783
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                  Prior Art References




                                   Novellini, Fig. 2.

                                   To the extent this limitation is not explicitly disclosed by Novellini, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Novellini so as
                                   to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                   art.

 1(b) a first edge detector        Novellini discloses this limitation. Novellini discloses a transition detector 214 configurable to
 configured to receive the first   detect rising transitions of the input clock signal on line 204 (first edge detector configured to
 input clock signal, the first     receive the first input clock signal and operable to detect a rising edge of the first input clock



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                                                  5784
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                 Prior Art References
 edge detector operable to           signal). According to WSOU’s infringement contentions, an edge detector can generate enable
 detect a rising edge of the first   signals. Therefore, the output of transition detector 214 is a first enable signal.
 input clock signal and to
 generate a first enable signal;     See, e.g.,




                                     Novellini, ¶ [0021].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 720 of 808 PageID #:
                                                  5785
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References




                                  Novellini, Fig. 2.

                                  To the extent this limitation is not explicitly disclosed by Novellini, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Novellini so as
                                  to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                  art.

 1(c) a second edge detector      Novellini discloses this limitation in combination with the knowledge of a POSITA. As discussed
 configured to receive the        in relation to claim 1(b), supra, Novellini discloses a transition detector 214 that is a first edge
 second input clock signal, the   detector. To the extent Novellini does not expressly disclose a second edge detector, it would have


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                                                  5786
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                   Prior Art References
 second edge detector operable      been obvious to a POSITA merely to implement a second transition detector (second edge
 to detect the rising edge of the   detector) configured to receive the second input clock signal and generate a second enable signal.
 second input clock signal and      See, e.g., In re Theresa, 720 F. App’x 634, 637-38 (Fed. Cir. 2018) (affirming that it was “common
 to generate a second enable        and well known in the [art] to provide a plurality of parts for a system” by merely duplicating a
 signal;                            part); In re Abrahamsen, 53 F.2d 893, 894 (C.C.P.A. 1931) (“However, the use of two such blades
                                    would readily suggest itself to the mechanic. It is a mere duplication of parts, and this has been
                                    uniformly held to be not patentable.”); KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 417 (2007)
                                    (obvious where the “two in combination” “did not create some new synergy”).

 1(d) a first divider configured    Novellini discloses this limitation. Novellini discloses that the output clock signal on line 202 has
 to receive the first enable        a frequency that multiplies the frequency of input clock signal on line 204 by a ratio of N/M of
 signal and operable to             integers N and M. In particular, Novellini discloses a counter 230 “M” (first divider) that receives
 generate a first adjusted          the signal output from transition detector 214 and counts the transitions. The output of counter 230
 enable signal based on a first     “M” is a first adjusted enable signal based on a first predetermined factor (“M”).
 predetermined factor; and
                                    See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 722 of 808 PageID #:
                                                  5787
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                        Prior Art References




                            Novellini, ¶¶ [0023]-[0024].


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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 723 of 808 PageID #:
                                                  5788
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                  Prior Art References




                                   Novellini, Fig. 2.

                                   To the extent this limitation is not explicitly disclosed by Novellini, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Novellini so as
                                   to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                                   art.

 1(e) a dual clock generator       Novellini discloses this limitation, either alone or in combination with the knowledge of a
 configured to receive the first   POSITA. Novellini discloses an adder 236 that digitally adds the phase compensation value 238


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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 724 of 808 PageID #:
                                                  5789
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                 Prior Art References
 adjusted enable signal and the   for the current value c of counter 230 to the feedback phase value on line 240. Novellini further
 second enable signal, and in     discloses a generator 244 (dual clock generator) that generates an output clock signal on line 202
 response operable to generate    (reference clock signal transmitted over a single conductor) from the feedback phase value on line
 a reference clock signal and     240.
 transmit the reference clock
 signal over a single             See, e.g.,
 conductor.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 725 of 808 PageID #:
                                                  5790
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                         Prior Art References




                            Novellini, ¶¶ [0025]-[0026].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 726 of 808 PageID #:
                                                  5791
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Novellini, Fig. 2.

                            To the extent this limitation is not explicitly disclosed by Novellini, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Novellini so as
                            to include this claim limitation in light of the knowledge possessed by one of ordinary skill in the
                            art.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 727 of 808 PageID #:
                                                  5792
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                           EXHIBIT E-5
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of U.S. Patent Application
Publication No. 2010/0123492, entitled “CONTROL APPARATUS AND CLOCK SYNCHRONIZING METHOD” to Ken Atsumi
(“Atsumi”), either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with
one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Atsumi was filed on October 30, 2009 and issued on May 20, 2010. Therefore, Atsumi qualifies as prior art under at least AIA 35
U.S.C. § 102(a)(1) and (a)(2).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, Atsumi discloses it. Atsumi teaches a control apparatus that
 comprising:                      performs control to synchronize an output clock signal with an input clock signal.

                                  See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 728 of 808 PageID #:
                                                  5793
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References




                                  Atsumi, ¶ [0033].

                                  To the extent this limitation is not explicitly disclosed by Atsumi, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Atsumi so as to
                                  include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) first and second clocks      Atsumi discloses this limitation. Atsumi discloses a clock signal output from oscillator 3 and then
operable to generate first and    input to the phase comparator 1 (FB input clock signal; first input clock signal) and a clock signal
second input clock signals,       extracted from an external line (REF input clock signal; second input clock signal). According to
respectively, wherein the first   WSOU’s infringement contentions, a phase comparator is equipped to compare two asynchronous
and second input clock signals    signals (i.e., two signals with variable phase and frequency difference). Hence, both of the input
are asynchronous in relation      clock signals are asynchronous in relation to one another.
to one another;
                                  See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 729 of 808 PageID #:
                                                  5794
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                           Atsumi, ¶¶ [0060]-[0061].




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                                                  5795
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                     Prior Art References
                                     Atsumi, Fig. 2.

                                     To the extent this limitation is not explicitly disclosed by Atsumi, it is inherent or obvious.
                                     Moreover, it would have been obvious to one of ordinary skill in the art to modify Atsumi so as to
                                     include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) a first edge detector          Atsumi discloses this limitation. According to WSOU’s infringement contentions, an edge
 configured to receive the first     detector can generate enable signals. Atsumi discloses edge detector 102 that detects the rising
 input clock signal, the first       edge of the FB input clock signal and sends detection information (first enable signal) to the phase
 edge detector operable to           difference counter 103.
 detect a rising edge of the first
 input clock signal and to           See, e.g.,
 generate a first enable signal;




                                     Atsumi, ¶ [0065].




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                                                  5796
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                   Prior Art References




                                    Atsumi, Fig. 2.

                                    To the extent this limitation is not explicitly disclosed by Atsumi, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify Atsumi so as to
                                    include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(c) a second edge detector        Atsumi discloses this limitation. According to WSOU’s infringement contentions, an edge
 configured to receive the          detector can generate enable signals. Atsumi discloses edge detector 101 that detects the rising
 second input clock signal, the     edge of the REF input clock signal and sends detection information (second enable signal) to the
 second edge detector operable      phase difference counter 103.
 to detect the rising edge of the
 second input clock signal and      See, e.g.,



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                                                  5797
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                               Prior Art References
 to generate a second enable
 signal;



                               Atsumi, ¶ [0065].




                               Atsumi, Fig. 2.

                               To the extent this limitation is not explicitly disclosed by Atsumi, it is inherent or obvious.
                               Moreover, it would have been obvious to one of ordinary skill in the art to modify Atsumi so as to
                               include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.



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                                                  5798
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References
 1(d) a first divider configured   Atsumi discloses this limitation, either expressly or in combination with the knowledge of a
 to receive the first enable       POSITA. Astumi discloses a frequency divider 4 (first divider) operable to output a signal that is
 signal and operable to            frequency-divided by “N” (a first adjusted enable signal based on a first predetermined factor).
 generate a first adjusted
 enable signal based on a first    See, e.g.,
 predetermined factor; and




                                   Atsumi, ¶¶ [0053]-[0056].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 734 of 808 PageID #:
                                                  5799
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References




                                   Atsumi, Fig. 1.

                                   To the extent Atsumi discloses only that the frequency divider 4 receives the clock signal output
                                   from the oscillator 3 as opposed to the output of edge detector 102 (i.e., to the extent Atsumi
                                   discloses that the divider comes before edge detector 102, rather than after), it would have been
                                   obvious to a POSITA to modify Atsumi to place frequency divider after edge detector 102.
                                   Specifically, a POSITA would have known that, because frequency divider 4 divides by a
                                   predetermined amount N, it would make no difference to the result if frequency divider 4 operated
                                   to divide the output of oscillator 3 (when placed before the edge detector) or the output of edge
                                   detector 102.

 1(e) a dual clock generator       Atsumi discloses this limitation, either expressly or in combination with the knowledge of a
 configured to receive the first   POSITA. According to WSOU’s infringement contentions, a “dual clock generator” includes an
 adjusted enable signal and the    oscillator that generates an output clock signal synchronized with the input. Atsumi discloses that
 second enable signal, and in      oscillator 3 (dual clock generator) generates an output clock signal (reference clock signal)



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 735 of 808 PageID #:
                                                  5800
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                Prior Art References
 response operable to generate   synchronized with the input clock signal by changing the output frequency on the basis of the input
 a reference clock signal and    phase difference information (first adjusted enable signal and second enable signal). The output
 transmit the reference clock    clock signal is transmitted over a single conductor.
 signal over a single
 conductor.                      See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 736 of 808 PageID #:
                                                  5801
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                      Prior Art References




                            Atsumi, ¶¶ [0052]-[0060].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 737 of 808 PageID #:
                                                  5802
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Atsumi, Fig. 1.

                            To the extent this limitation is not explicitly disclosed by Atsumi, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Atsumi so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 738 of 808 PageID #:
                                                  5803
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                           EXHIBIT E-6
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of U.S. Patent Application
Publication No. 2013/0135011, entitled “PHASE FREQUENCY DETECTOR CIRCUIT” to Chen et al. (“Chen”), either alone or
combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references
disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

Chen was filed on November 30, 2011 and published on May 30, 2013. Therefore, Chen qualifies as prior art under at least AIA 35
U.S.C. § 102(a)(1) and (a)(2).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, Chen discloses it. Chen teaches a phase-locked loop
 comprising:                      (“PLL”) circuit, which is an apparatus.

                                  See, e.g.,




                                  Chen, ¶¶ [0022]-[0023].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 739 of 808 PageID #:
                                                  5804
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                 Prior Art References




                                 Chen, Fig. 1.

                                 To the extent this limitation is not explicitly disclosed by Chen, it is inherent or obvious.
                                 Moreover, it would have been obvious to one of ordinary skill in the art to modify Chen so as to
                                 include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

1(a) first and second clocks     Chen discloses this limitation. Chen discloses clock signals FB (first input clock signal) and REF
operable to generate first and   (second input clock signal) that are received into phase-frequency detector (PFD) 110. Chen
second input clock signals,      further discloses that FB and REF have a time or phase difference, which is detected by PFD 110.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 740 of 808 PageID #:
                                                  5805
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References
respectively, wherein the first According to WSOU’s infringement contentions, a PFD is equipped to compare two asynchronous
and second input clock signals signals. Hence, FB and REF are asynchronous in relation to one another.
are asynchronous in relation
to one another;                 See, e.g.,




                              Chen, ¶¶ [0022]-[0023].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 741 of 808 PageID #:
                                                  5806
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                   Prior Art References




                                   Chen, Fig. 1

                                   To the extent this limitation is not explicitly disclosed by Chen, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify Chen so as to
                                   include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(b) a first edge detector        Chen discloses this limitation. Chen discloses an edge detector circuit 210 that receives FB (first
 configured to receive the first   input clock signal) and generates a signal relative to FB. According to WSOU’s infringement
 input clock signal, the first     contentions, an edge detector can generate enable signals. Edge detector 210, when combined with
 edge detector operable to         PFD 230, generates a signal corresponding to the rising edge of FB (first enable signal).



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 742 of 808 PageID #:
                                                  5807
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                   Prior Art References
 detect a rising edge of the first
 input clock signal and to           See, e.g.,
 generate a first enable signal;




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 743 of 808 PageID #:
                                                  5808
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            Chen, ¶¶ [0028]-[0031].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 744 of 808 PageID #:
                                                  5809
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References




                                  Chen, Fig. 2.

                                  To the extent this limitation is not explicitly disclosed by Chen, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify Chen so as to
                                  include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.

 1(c) a second edge detector      Chen discloses this limitation, either expressly or in combination with the knowledge of a
 configured to receive the        POSITA. Chen discloses an edge detector circuit 210 that receives REF (second input clock
 second input clock signal, the   signal) and generates a signal relative to REF. According to WSOU’s infringement contentions, an
 second edge detector operable


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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 745 of 808 PageID #:
                                                  5810
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                Prior Art References
 to detect the rising edge of the   edge detector can generate enable signals. Edge detector 210, when combined with PFD 220,
 second input clock signal and      generates a signal corresponding to the rising edge of REF (second enable signal).
 to generate a second enable
 signal;                            See, e.g.,




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 746 of 808 PageID #:
                                                  5811
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            Chen, ¶¶ [0028]-[0031].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 747 of 808 PageID #:
                                                  5812
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                           Prior Art References




                            Chen, Fig. 2.

                            To the extent Chen does not expressly disclose a second edge detector circuit (distinct from edge
                            detector 210), it would have been obvious to a POSITA merely to implement a second edge
                            detector (second edge detector) configured to receive the second input clock signal and generate a
                            second enable signal. See, e.g., In re Theresa, 720 F. App’x 634, 637-38 (Fed. Cir. 2018)
                            (affirming that it was “common and well known in the [art] to provide a plurality of parts for a
                            system” by merely duplicating a part); In re Abrahamsen, 53 F.2d 893, 894 (C.C.P.A. 1931)
                            (“However, the use of two such blades would readily suggest itself to the mechanic. It is a mere
                            duplication of parts, and this has been uniformly held to be not patentable.”); KSR Int’l Co. v.


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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 748 of 808 PageID #:
                                                  5813
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References
                                   Teleflex Inc., 550 U.S. 398, 417 (2007) (obvious where the “two in combination” “did not create
                                   some new synergy”).

 1(d) a first divider configured   Chen discloses this limitation, either expressly or in combination with the knowledge of a
 to receive the first enable       POSITA. Chen discloses a divider circuit 150 (first divider) that divides the frequency of signal
 signal and operable to            OUT (produced by the PLL) by a dividing factor “N,” where N is an integer (first predetermined
 generate a first adjusted         factor).
 enable signal based on a first
 predetermined factor; and         See, e.g.,




                                   Chen, ¶¶ [0026]-[0027].




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 749 of 808 PageID #:
                                                  5814
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Chen, Fig. 1.

                            To the extent Chen discloses only that the frequency divider 150 receives the clock signal output
                            OUT as opposed to the output of the first edge detector (i.e., to the extent Chen discloses a divider
                            that comes before the first edge detector, rather than after), it would have been obvious to a
                            POSITA to modify Chen to place frequency divider 150 after the first edge detector. Specifically,
                            a POSITA would have known that, because frequency divider 150 divides by a predetermined
                            amount N, it would make no difference to the result if frequency divider 150 operated to divide the
                            output OUT (when placed before the first edge detector) or the output of the first edge detector.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 750 of 808 PageID #:
                                                  5815
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                 Prior Art References
 1(e) a dual clock generator       Chen discloses this limitation, either expressly or in combination with the knowledge of a
 configured to receive the first   POSITA. According to WSOU’s infringement contentions, blocks PFD to VCO make up a dual
 adjusted enable signal and the    clock generator. Chen discloses a voltage-controlled oscillator (VCO) 140 (dual clock generator)
 second enable signal, and in      that provides a signal OUT (reference clock signal) over a single conductor. The VCO 140
 response operable to generate     receives as an input signals from PFD 110 related to the phase difference between signal REF and
 a reference clock signal and      signal FB (first adjusted enable signal and second enable signal).
 transmit the reference clock
 signal over a single              See, e.g.,
 conductor.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 751 of 808 PageID #:
                                                  5816
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            Chen, ¶¶ [0022]-[0026].




                            Chen, Fig. 1.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 752 of 808 PageID #:
                                                  5817
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References
                            To the extent this limitation is not explicitly disclosed by Chen, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify Chen so as to
                            include this claim limitation in light of the knowledge possessed by one of ordinary skill in the art.




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                                                  5818
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                           EXHIBIT E-7
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of the Virtex-5 family of
FPGAs from Xilinx (“Virtex-5”) and in view of the Xilinx UG190 Virtex-5 FPGA User Guide v3.2 (“User Guide”), either alone or
combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other references
disclosed in Xilinx’s Invalidity Contentions, including the other charted references. Schematics further evidencing the design of the
Virtex-5 FPGA device are available for review on a Source Code Review computer, as set forth in paragraph 12 of the Protective Order,
at the offices of Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, DE 19801.

Virtex-5 FPGA devices were in public use, on sale, or otherwise available to the public at least as early as December 2007. The User
Guide was published as version 3.2 on December 11, 2007 and as version 5.4 on March 16, 2012. Therefore, both Virtex-5 FPGA
devices and the User Guide qualify as prior art at least under 35 U.S.C. § 102(a)(1).

WSOU alleges that the mixed-mode clock manager (MMCM) architecture in the accused products infringes the ’838 Patent. (See
Plaintiff’s Amended Initial Claim Charts, Ex. 5 (Nov. 8, 2021).) To be clear, Xilinx disputes these allegations. Furthermore, Xilinx
developed the MMCM architecture before the application for the ’838 Patent was filed in December 2013, and has been making and
selling products that incorporate that architecture ever since. To the extent that the ’838 Patent claims are construed to encompass the
accused products as alleged by WSOU, then the claims are invalid as anticipated by that same functionality in Xilinx’s Virtex-5 products
that were developed and sold before the ’838 Patent was filed, as illustrated in the chart below. Upsher-Smith Labs., Inc. v. Pamlab,
L.L.C., 412 F.3d 1319, 1322 (Fed. Cir. 2005) (“A century-old axiom of patent law holds that a product ‘which would literally infringe
if later in time anticipates if earlier.’” (quoting Schering Corp. v. Geneva Pharms., Inc., 339 F.3d 1373, 1379 (Fed. Cir. 2003))).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, the User Guide discloses it. According to WSOU’s
 comprising:                      infringement contentions, the Virtex-5 includes an apparatus comprising first and second clocks
                                  operable to generate first and second input clock signals, respectively, wherein the first and second
                                  input clock signals are asynchronous in relation to one another.


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                                                  5819
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References
 1(a) first and second clocks
 operable to generate first and    The Virtex-5 clock resources manage complex and simple clocking requirements. The clock
 second input clock signals,       management tiles (CMT) are used to provide clock frequency synthesis, deskew, and jitter filtering
 respectively, wherein the first   functionality. In Virtex-5 devices, the CMT comprises two digital clock managers (DCMs) and a
 and second input clock signals    phase-locked loop (PLL). The PLL functions as a frequency synthesizer, and jitter filter for either
 are asynchronous in relation      internal/external clocks and deskew clocks, as exemplified below.
 to one another;
                                   See, e.g.,




                                   User Guide, at 85.




                                                                   2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 755 of 808 PageID #:
                                                  5820
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                           Prior Art References




                            User Guide, at 86.

                            For example, the PLL architecture comprises two input multiplexers that select a first input clock
                            (input or reference clock; CLKIN1 or CLKIN2) signal and a second input clock (feedback clock;
                            CLKFB or CLKFBOUT) signal. The PLL block diagram shown below also comprises blocks PFD
                            to VCO. The phase-frequency detector (PFD) in the PLL is equipped to compare two
                            asynchronous signals (i.e two signals with variable phase and frequency difference). Hence,
                            according to WSOU’s infringement contentions, both of the input clock signals are asynchronous
                            relative to each other, as shown below.

                            See, e.g.,




                                                            3
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 756 of 808 PageID #:
                                                  5821
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            User Guide, at 87.




                                                      4
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 757 of 808 PageID #:
                                                  5822
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                   Prior Art References




                                   User Guide, at 88.

                                   To the extent this limitation is not explicitly disclosed by the User Guide, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-5 so
                                   as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                   the art.

 1(b) a first edge detector        The User Guide discloses this limitation. According to WSOU’s infringement contentions, the
 configured to receive the first   Virtex-5 comprises a first edge detector configured to receive the first input clock signal, the first



                                                                     5
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 758 of 808 PageID #:
                                                  5823
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                     Prior Art References
 input clock signal, the first       edge detector operable to detect a rising edge of the first input clock signal and to generate a first
 edge detector operable to           enable signal.
 detect a rising edge of the first
 input clock signal and to           As examples, the PLL comprises two input MUXes (Multiplexers) that serve as edge detectors
 generate a first enable signal;     (asynchronous MUX), as exemplified below. According to WSOU’s infringement contentions,
                                     each edge detector receives an input clock signal (select line ‘S’) and detects a rising edge of that
                                     input clock signal to generate enable signals (Clock output of the asynchronous MUX).

                                     For instance, each MUX has two input lines and a select line. The asynchronous MUX timing
                                     diagram below shows that, before the ‘S’ line transitioned from low to high, I0 was selected to be
                                     the output signal ‘O’. When the S line transitioned from low to high (i.e., rising edge of the clock
                                     was detected), I1 was selected to be the output signal ‘O’, and thus a first clock signal was enabled.

                                     See, e.g.,




                                                                       6
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                                                  5824
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            User Guide, at 88.




                                                      7
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 760 of 808 PageID #:
                                                  5825
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            User Guide, at 29.




                                                      8
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                                                  5826
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                    Prior Art References
                                    User Guide, at 32.

                                    To the extent this limitation is not explicitly disclosed by the User Guide, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-5 so
                                    as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                    the art.

 1(c) a second edge detector        UG572 discloses this limitation. According to WSOU’s infringement contentions, the Virtex-5
 configured to receive the          comprises a second edge detector configured to receive the second input clock signal, the second
 second input clock signal, the     edge detector operable to detect a rising edge of the second input clock signal and to generate a
 second edge detector operable      second enable signal.
 to detect the rising edge of the
 second input clock signal and      For instance, the PLL comprises two input MUXes (Multiplexers) that serve as edge detectors
 to generate a second enable        (asynchronous MUX), as exemplified below. According to WSOU’s infringement contentions,
 signal;                            each edge detector receives an input clock signal (select line ‘S’) and detects a rising edge of that
                                    input clock signal to generate enable signals (Clock output of the asynchronous MUX).

                                    As other examples, each MUX has two input lines and a select line. The asynchronous MUX
                                    timing diagram below shows that, before the ‘S’ line transitioned from low to high, I0 was selected
                                    to be the output signal ‘O’. When the S line transitioned from low to high (i.e., rising edge of the
                                    clock was detected), I1 was selected to be the output signal ‘O’, and thus a clock signal was
                                    enabled.

                                    See, e.g.,




                                                                      9
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                                                  5827
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            User Guide, at 88.




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                                                  5828
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            User Guide, at 29.




                                                      11
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                                                  5829
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                    Prior Art References
                                   User Guide, at 32.

                                   To the extent this limitation is not explicitly disclosed by the User Guide, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-5 so
                                   as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                   the art.

 1(d) a first divider configured   The User Guide discloses this limitation. According to WSOU’s infringement contentions, the
 to receive the first enable       Virtex-5 comprises a first divider configured to receive the first enable signal and operable to
 signal and operable to            generate a first adjusted enable signal based on a first predetermined factor.
 generate a first adjusted
 enable signal based on a first    For example, in the PLL architecture, the clock output signal (first enable signal) from one of the
 predetermined factor; and         two BUFGMUX is connected to a counter divider ‘D’ (first divider). The counter divider (‘D’) is
                                   thus configured to receive the clock output signal (first enable signal), as exemplified below. The
                                   output from the counter divider ‘D’ is a first adjusted enable signal generated based on a first
                                   predetermined factor.

                                   The 8 signals were included in the line from LF to VCO.

                                   See, e.g.,




                                                                    12
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                                                  5830
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                             Prior Art References




                            User Guide, at 88.




                            User Guide, at 87.

                            To the extent this limitation is not explicitly disclosed by the User Guide, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-5 so


                                                             13
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                                                  5831
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                   Prior Art References
                                   as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                   the art.

 1(e) a dual clock generator       The User Guide discloses this limitation. According to WSOU’s infringement contentions, the
 configured to receive the first   Virtex-5 comprises a dual clock generator configured to receive the first adjusted enable signal and
 adjusted enable signal and the    the second enable signal, and in response operable to generate a reference clock signal and transmit
 second enable signal, and in      the reference clock signal over a single conductor.
 response operable to generate
 a reference clock signal and      For instance, the first adjusted enable signal and the second enable signal that are output from the
 transmit the reference clock      counter divider ‘D’ and a second MUX ‘BUFGMUX’, respectively, are sent to a dual clock
 signal over a single              generator module (blocks from PFD to VCO, according to WSOU’s infringement contentions).
 conductor.                        The phase-frequency detector (PFD) generates a signal proportional to the phase and frequency of
                                   both enable signals. The PFD produces an up or down signal to the charge pump (CP) and loop
                                   filter (LF) to determine whether the voltage-controlled oscillator (VCO) should operate at a higher
                                   or lower frequency, as exemplified below. Eight signals can eventually be sent out from the VCO
                                   and one of those signals is the reference clock signal (CLKOUT), which is then transmitted
                                   forward over a single conductor, as exemplified below.

                                   See, e.g.,




                                                                   14
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                                                  5832
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            User Guide, at 88.




                                                      15
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                                                  5833
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                             Prior Art References




                            User Guide, at 87.

                            To the extent this limitation is not explicitly disclosed by the User Guide, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-5 so
                            as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 769 of 808 PageID #:
                                                  5834
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                           EXHIBIT E-8
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of Xilinx Virtex-6 FPGA
devices (“Virtex-6”) and in view of Application Note 878 (“XAPP878”) v1.1, entitled “MMCM Dynamic Reconfiguration” and
published by Xilinx, Inc., either alone or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in
combination with one or more other references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.
Schematics further evidencing the design of the Virtex-6 FPGA device are available for review on a Source Code Review computer, as
set forth in paragraph 12 of the Protective Order, at the offices of Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North
King Street, Wilmington, DE 19801.

Virtex-6 FPGA devices were in public use, on sale, or otherwise available to the public at least as early as June 2010. XAPP878 was
published on June 9, 2010. Therefore, both Virtex-6 FPGA devices and XAPP878 qualify as prior art under at least AIA 35 U.S.C. §
102(a)(1).

WSOU alleges that the mixed-mode clock manager (MMCM) architecture in the accused products infringes the ’838 Patent. (See
Plaintiff’s Amended Initial Claim Charts, Ex. 5 (Nov. 8, 2021).) To be clear, Xilinx disputes these allegations. Furthermore, Xilinx
developed the MMCM architecture before the application for the ’838 Patent was filed in December 2013, and has been making and
selling products that incorporate that architecture ever since. To the extent that the ’838 Patent claims are construed to encompass the
accused products as alleged by WSOU, then the claims are invalid as anticipated by that same functionality in Xilinx’s Virtex-6 products
that were developed and sold before the ’838 Patent was filed, as illustrated in the chart below. Upsher-Smith Labs., Inc. v. Pamlab,
L.L.C., 412 F.3d 1319, 1322 (Fed. Cir. 2005) (“A century-old axiom of patent law holds that a product ‘which would literally infringe
if later in time anticipates if earlier.’” (quoting Schering Corp. v. Geneva Pharms., Inc., 339 F.3d 1373, 1379 (Fed. Cir. 2003))).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, XAPP878 discloses it. XAPP878 describes the mixed-
 comprising:                      mode clock manager (“MMCM”) of the Virtex-6 FPGA, which is an apparatus.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 770 of 808 PageID #:
                                                  5835
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References
                                  See, e.g.,




                                  XAPP878, at 1.

                                  To the extent this limitation is not explicitly disclosed by XAPP878, it is inherent or obvious.
                                  Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-6 so
                                  as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                  the art.

1(a) first and second clocks      XAPP878 discloses this limitation. As illustrated in XAPP878, the MMCM comprises two
operable to generate first and    multiplexers that select a first input clock signal (input or reference clock; CLKIN1 or CLKIN2)
second input clock signals,       and a second input clock signal (feedback clock; CLKFB or CLKFBOUT). The MMCM also
respectively, wherein the first   comprises a phase-frequency detector (PFD), which—according to WSOU’s infringement
and second input clock signals    contentions—is equipped to compare two asynchronous signals. Hence, both of the input clock
are asynchronous in relation      signals are asynchronous in relation to one another.
to one another;
                                  See, e.g.,




                                                                   2
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                                                  5836
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                  Prior Art References




                                   XAPP878, at 3.

                                   To the extent this limitation is not explicitly disclosed by XAPP878, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-6 so
                                   as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                   the art.

 1(b) a first edge detector        XAPP878 discloses this limitation. According to WSOU’s infringement contentions, multiplexers
 configured to receive the first   can serve as edge detectors and generate enable signals. As illustrated in XAPP878, the MMCM
 input clock signal, the first     comprises a first multiplexer (first edge detector) configured to receive a first input clock signal
 edge detector operable to



                                                                    3
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                                                  5837
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                    Prior Art References
 detect a rising edge of the first   (CLKIN1 or CLKIN2) and to detect a rising edge of that input clock signal to generate a first
 input clock signal and to           enable signal.
 generate a first enable signal;
                                     See, e.g.,




                                     XAPP878, at 3.

                                     To the extent this limitation is not explicitly disclosed by XAPP878, it is inherent or obvious.
                                     Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-6 so
                                     as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                     the art.



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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 773 of 808 PageID #:
                                                  5838
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                 Prior Art References


 1(c) a second edge detector        XAPP878 discloses this limitation. According to WSOU’s infringement contentions, multiplexers
 configured to receive the          can serve as edge detectors and generate enable signals. As illustrated in XAPP878, the MMCM
 second input clock signal, the     comprises a second multiplexer (second edge detector) configured to receive a second input clock
 second edge detector operable      signal (CLKFB or CLKFBOUT) and to detect a rising edge of that input clock signal to generate a
 to detect the rising edge of the   second enable signal.
 second input clock signal and
 to generate a second enable        See, e.g.,
 signal;




                                    XAPP878, at 3.



                                                                   5
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                                                  5839
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                   Prior Art References

                                   To the extent this limitation is not explicitly disclosed by XAPP878, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-6 so
                                   as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                   the art.

 1(d) a first divider configured   XAPP878 discloses this limitation. According to WSOU’s infringement contentions, the MMCM
 to receive the first enable       comprises a first divider configured to receive the first enable signal and operable to generate a
 signal and operable to            first adjusted enable signal based on a first predetermined factor. Specifically, as illustrated in
 generate a first adjusted         XAPP878, the clock output signal (first enable signal) from one of the two multiplexers (edge
 enable signal based on a first    detectors) is connected to a counter divider ‘D’ (first divider). The counter divider (‘D’) is thus
 predetermined factor; and         configured to receive the clock output signal (first enable signal). The output from the counter
                                   divider ‘D’ is a first adjusted enable signal generated based on a first predetermined factor.

                                   See, e.g.,




                                                                    6
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 775 of 808 PageID #:
                                                  5840
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                   Prior Art References




                                   XAPP878, at 3.

                                   To the extent this limitation is not explicitly disclosed by XAPP878, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-6 so
                                   as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                                   the art.

 1(e) a dual clock generator       XAPP878 discloses this limitation. According to WSOU’s infringement contentions, the first
 configured to receive the first   adjusted enable signal and the second enable signal that are output from the counter divider and a
 adjusted enable signal and the    second edge detector are sent to a dual clock generator module (blocks from PFD to VCO).
 second enable signal, and in      Specifically, the first adjusted enable signal and the second enable signal are passed to the PFD.


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                                                  5841
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                Prior Art References
 response operable to generate   According to WSOU’s infringement contentions, the PFD generates a signal proportional to the
 a reference clock signal and    phase and frequency of both enable signals. The PFD produces an up or down signal to the charge
 transmit the reference clock    pump CP and the loop filter LF to determine whether the VCO should operate at a higher or lower
 signal over a single            frequency. The VCO then produces multiple output phases, each of which can be selected as a
 conductor.                      reference clock (reference clock signal) that is then transmitted forward over a single conductor.
                                 According to WSOU’s infringement contentions, blocks PFD to VCO make up a dual clock
                                 generator. Therefore, the module comprising blocks PFD to VCO is a dual clock generator.

                                 See, e.g.,




                                 XAPP878, at 3.


                                                                 8
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 777 of 808 PageID #:
                                                  5842
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References

                            To the extent this limitation is not explicitly disclosed by XAPP878, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify the Virtex-6 so
                            as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.




                                                             9
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 778 of 808 PageID #:
                                                  5843
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                             EXHIBIT E-9
                                                      U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of Xilinx Kintex and Virtex
UltraScale FPGA devices (“UltraScale FPGAs”) and in view of the UltraScale Architecture Clocking Resources: Advance Specification
User Guide, UG572 (v1.0) (“UG572”), published by Xilinx, Inc., either alone or combination with the knowledge of a person of ordinary
skill in the art (“POSITA”), or in combination with one or more other references disclosed in Xilinx’s Invalidity Contentions, including
the other charted references. Schematics and RTL code further evidencing the design of the UltraScale FPGA device are available for
review on a Source Code Review computer, as set forth in paragraph 12 of the Protective Order, at the offices of Young Conaway
Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street, Wilmington, DE 19801.

UltraScale FPGA devices were in public use, on sale, or otherwise available to the public at least as early as December 2013. UG572
was published on December 10, 2013. Therefore, both UltraScale FPGA devices and UG572 qualify as prior art under at least AIA 35
U.S.C. § 102(a)(1).

WSOU alleges that the mixed-mode clock manager (MMCM) architecture in the accused products infringes the ’838 Patent. (See
Plaintiff’s Amended Initial Claim Charts, Ex. 5 (Nov. 8, 2021).) To be clear, Xilinx disputes these allegations. Furthermore, Xilinx
developed the MMCM architecture before the application for the ’838 Patent was filed in December 2013, and has been making and
selling products that incorporate that architecture ever since. To the extent that the ’838 Patent claims are construed to encompass the
accused products as alleged by WSOU, then the claims are invalid as anticipated by that same functionality in Xilinx’s UltraScale
products that were developed and sold before the ’838 Patent was filed, as illustrated in the chart below. Upsher-Smith Labs., Inc. v.
Pamlab, L.L.C., 412 F.3d 1319, 1322 (Fed. Cir. 2005) (“A century-old axiom of patent law holds that a product ‘which would literally
infringe if later in time anticipates if earlier.’” (quoting Schering Corp. v. Geneva Pharms., Inc., 339 F.3d 1373, 1379 (Fed. Cir. 2003))).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                   Prior Art References
 1(pre) An apparatus,              To the extent the preamble is limiting, UG572 discloses it. According to WSOU’s infringement
 comprising:                       contentions, the UltraScale FPGAs include an apparatus comprising first and second clocks



                                                                     1
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                                                  5844
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                   Prior Art References
 1(a) first and second clocks      operable to generate first and second input clock signals, respectively, wherein the first and second
 operable to generate first and    input clock signals are asynchronous in relation to one another.
 second input clock signals,
 respectively, wherein the first   For instance, the Xilinx UltraScale Architecture governs the design and function of the Xilinx
 and second input clock signals    Kintex, Virtex, and Zynq devices, as exemplified below.
 are asynchronous in relation
 to one another;                   Further, the Xilinx UltraScale Architecture clock resources manage complex and simple clocking
                                   requirements. The clock management tiles (CMT) are used to provide clock frequency synthesis,
                                   deskew, and jitter filtering functionality. In the Xilinx UltraScale architecture-based devices, the
                                   CMT comprises a mixed-mode clock manager (MMCM) and two phase-locked loops (PLLs). The
                                   MMCMs function as frequency synthesizers, and jitter filters for either internal/external clocks and
                                   deskew clocks, as exemplified below.

                                   See, e.g.,




                                                                    2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 780 of 808 PageID #:
                                                  5845
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                          Prior Art References




                            UG572, at 30.

                            For example, the MMCM architecture comprises two input multiplexers that select a first input
                            clock (input or reference clock; CLKIN1 or CLKIN2) signal and a second input clock (feedback
                            clock; CLKFB or CLKFBOUT) signal. The MMCM block diagram shown below also comprises a
                            PLL (blocks PFD to VCO). The phase-frequency detector (PFD) in the PLL is equipped to
                            compare two asynchronous signals (i.e two signals with variable phase and frequency difference).
                            Hence, according to WSOU’s infringement contentions, both of the input clock signals are
                            asynchronous relative to each other, as shown below.

                            See, e.g.,




                                                           3
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                                                  5846
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            UG572, at 30-31.




                                                      4
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 782 of 808 PageID #:
                                                  5847
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            UG572, at 31.

                            According to WSOU’s infringement contentions, the following exemplary schematic evidence
                            shows that the UltraScale FPGAs have clocks that are operable to generate first and second input
                            clock signals that are asynchronous in relation to one another. For instance, according to WSOU’s
                            infringement contentions, the asynchronous relation can occur for a change in phase or frequency
                            for the reference frequency, or for a change in the feedback divider value. For either situation, the
                            inputs to the phase / frequency detector (PFD) become asynchronous at that moment in time.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 783 of 808 PageID #:
                                                  5848
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                     Prior Art References




                                     To the extent this limitation is not explicitly disclosed by UG572, it is inherent or obvious.
                                     Moreover, it would have been obvious to one of ordinary skill in the art to modify the UltraScale
                                     FPGAs so as to include this claim limitation in light of the knowledge possessed by one of
                                     ordinary skill in the art.

 1(b) a first edge detector          UG572 discloses this limitation. According to WSOU’s infringement contentions, the UltraScale
 configured to receive the first     FPGAs comprise a first edge detector configured to receive the first input clock signal, the first
 input clock signal, the first       edge detector operable to detect a rising edge of the first input clock signal and to generate a first
 edge detector operable to           enable signal.
 detect a rising edge of the first
 input clock signal and to           As examples, the MMCM comprises two input MUXes (Multiplexers) that serve as edge detectors
 generate a first enable signal;     (asynchronous MUX), as exemplified below. According to WSOU’s infringement contentions,
                                     each edge detector receives an input clock signal (select line ‘S’) and detects a rising edge of that
                                     input clock signal to generate enable signals (Clock output of the asynchronous MUX).

                                     For instance, each MUX has two input lines and a select line. The asynchronous MUX timing
                                     diagram below shows that, before the ‘S’ line transitioned from low to high, I0 was selected to be
                                     the output signal ‘O’. When the S line transitioned from low to high (i.e., rising edge of the clock
                                     was detected), I1 was selected to be the output signal ‘O’, and thus a first clock signal was enabled.

                                     See, e.g.,




                                                                       6
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                                                  5849
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            UG572, at 31.




                                                      7
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 785 of 808 PageID #:
                                                  5850
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            UG572, at 20.




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                                                  5851
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                   Prior Art References
                                    UG572, at 23.

                                    According to WSOU’s infringement contentions, the following exemplary schematic evidence
                                    further illustrates how this claim element is met by the UltraScale FPGAs:




                                    To the extent this limitation is not explicitly disclosed by UG572, it is inherent or obvious.
                                    Moreover, it would have been obvious to one of ordinary skill in the art to modify the UltraScale
                                    FPGAs so as to include this claim limitation in light of the knowledge possessed by one of
                                    ordinary skill in the art.

 1(c) a second edge detector        UG572 discloses this limitation. According to WSOU’s infringement contentions, the UltraScale
 configured to receive the          FPGAs comprise a second edge detector configured to receive the second input clock signal, the
 second input clock signal, the     second edge detector operable to detect a rising edge of the second input clock signal and to
 second edge detector operable      generate a second enable signal.
 to detect the rising edge of the
 second input clock signal and      For instance, the MMCM comprises two input MUXes (Multiplexers) that serve as edge detectors
 to generate a second enable        (asynchronous MUX), as exemplified below. According to WSOU’s infringement contentions,
 signal;                            each edge detector receives an input clock signal (select line ‘S’) and detects a rising edge of that
                                    input clock signal to generate enable signals (Clock output of the asynchronous MUX).




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                                                  5852
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References
                            As other examples, each MUX has two input lines and a select line. The asynchronous MUX
                            timing diagram below shows that, before the ‘S’ line transitioned from low to high, I0 was selected
                            to be the output signal ‘O’. When the S line transitioned from low to high (i.e., rising edge of the
                            clock was detected), I1 was selected to be the output signal ‘O’, and thus a clock signal was
                            enabled.

                            See, e.g.,




                            UG572, at 31.




                                                            10
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                                                  5853
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                            UG572, at 20.




                                                      11
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                                                  5854
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References
                                   UG572, at 23.

                                   According to WSOU’s infringement contentions, the following exemplary schematic evidence
                                   further illustrates how this claim element is met by the UltraScale FPGAs:




                                   To the extent this limitation is not explicitly disclosed by UG572, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify the UltraScale
                                   FPGAs so as to include this claim limitation in light of the knowledge possessed by one of
                                   ordinary skill in the art.

 1(d) a first divider configured   UG572 discloses this limitation. According to WSOU’s infringement contentions, the UltraScale
 to receive the first enable       FPGAs comprise a first divider configured to receive the first enable signal and operable to
 signal and operable to            generate a first adjusted enable signal based on a first predetermined factor.
 generate a first adjusted
 enable signal based on a first    For example, in the MMCM architecture, the clock output signal (first enable signal) from one of
 predetermined factor; and         the two BUFGMUX is connected to a counter divider ‘D’ (first divider). The counter divider (‘D’)
                                   is thus configured to receive the clock output signal (first enable signal), as exemplified below.
                                   The output from the counter divider ‘D’ is a first adjusted enable signal generated based on a first
                                   predetermined factor.




                                                                   12
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                                                  5855
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                          Prior Art References
                            The 9 signals were included in the line from LF to VCO.

                            See, e.g.,




                            UG572, at 31.




                            UG572, at 30.




                                                           13
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                                                  5856
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                   Prior Art References
                                   According to WSOU’s infringement contentions, the following exemplary schematic evidence
                                   further illustrates how this claim element is met by the UltraScale FPGAs:




                                   To the extent this limitation is not explicitly disclosed by UG572, it is inherent or obvious.
                                   Moreover, it would have been obvious to one of ordinary skill in the art to modify the UltraScale
                                   FPGAs so as to include this claim limitation in light of the knowledge possessed by one of
                                   ordinary skill in the art.

 1(e) a dual clock generator       UG572 discloses this limitation. According to WSOU’s infringement contentions, the UltraScale
 configured to receive the first   FPGAs comprise a dual clock generator configured to receive the first adjusted enable signal and
 adjusted enable signal and the    the second enable signal, and in response operable to generate a reference clock signal and transmit
 second enable signal, and in      the reference clock signal over a single conductor.
 response operable to generate
 a reference clock signal and      For instance, the first adjusted enable signal and the second enable signal that are output from the
 transmit the reference clock      counter divider ‘D’ and a second MUX ‘BUFGMUX’, respectively, are sent to a dual clock
 signal over a single              generator module (blocks from PFD to VCO, according to WSOU’s infringement contentions).
 conductor.                        The phase-frequency detector (PFD) generates a signal proportional to the phase and frequency of
                                   both enable signals. The PFD produces an up or down signal to the charge pump (CP) and loop
                                   filter (LF) to determine whether the voltage-controlled oscillator (VCO) should operate at a higher
                                   or lower frequency, as exemplified below. Eight signals can eventually be sent out from the VCO



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                                                  5857
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                           Prior Art References
                            and one of those signals is the reference clock signal (CLKOUT), which is then transmitted
                            forward over a single conductor, as exemplified below.

                            See, e.g.,




                            UG572, at 31.




                                                           15
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                                                  5858
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                        Prior Art References




                            UG572, at 30-31.

                            According to WSOU’s infringement contentions, the following exemplary schematic evidence
                            further illustrates how this claim element is met by the UltraScale FPGAs:




                                                         16
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                                                  5859
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                           Prior Art References




                            To the extent this limitation is not explicitly disclosed by UG572, it is inherent or obvious.
                            Moreover, it would have been obvious to one of ordinary skill in the art to modify the UltraScale
                            FPGAs so as to include this claim limitation in light of the knowledge possessed by one of
                            ordinary skill in the art.




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                                                  5860
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


                                                          EXHIBIT E-10
                                                    U.S. PATENT NO. 9,312,838

The asserted claims of U.S. Patent No. 9,312,838 (“the ’838 patent”) are anticipated and/or obvious in view of the Altera Stratix &
Stratix GL Enhanced PLL (“Stratix”), as evidenced by the Altera Stratix Device Handbook, Volume 2 (“Stratix Handbook”) either alone
or combination with the knowledge of a person of ordinary skill in the art (“POSITA”), or in combination with one or more other
references disclosed in Xilinx’s Invalidity Contentions, including the other charted references.

The Stratix Handbook was published in April 2004. Therefore, the Stratix Handbook qualifies as prior art under at least AIA 35 U.S.C.
§ 102(a)(1).

The use of claim terms in the chart below is based on WSOU’s construction of claim terms in its infringement contentions, as understood
by Xilinx. This chart should not be construed as consenting to or agreeing with WSOU’s construction of claim terms. Because discovery
is ongoing and the Court has not completed the claim construction process, Xilinx reserves all rights to amend its invalidity contentions
based on new information produced in discovery or on the Court’s constructions.

     ’838 Claim Language                                                 Prior Art References
 1(pre) An apparatus,             To the extent the preamble is limiting, the Stratix Handbook discloses it. The Stratix Handbook
 comprising:                      describes phase-locked loops (PLLs) used in Altera Stratix and Stratix devices. A Stratix PLL is
                                  an apparatus.

                                  See, e.g.,




                                                                   1
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                                                  5861
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                     Prior Art References




                            Stratix Handbook, at 1-1.




                                                        2
             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 797 of 808 PageID #:
                                                  5862
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Stratix Handbook, at 1-6.

                            To the extent this limitation is not explicitly disclosed by the Stratix Handbook, it is inherent or
                            obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Stratix
                            so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.



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                                                  5863
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                 Prior Art References


1(a) first and second clocks      The Stratix Handbook discloses this limitation. The Stratix PLL receives a first input clock signal
operable to generate first and    (INCLK0 or INCLK1) and a second input clock signal (FBIN). The Stratix PLL comprises a
second input clock signals,       phase-frequency detector (PFD), which—according to WSOU’s infringement contentions—is
respectively, wherein the first   equipped to compare two asynchronous signals (i.e., two signals with variable phase and frequency
and second input clock signals    difference). Hence, both of the input clock signals are asynchronous in relation to one another.
are asynchronous in relation
to one another;                   See, e.g.,




                                                                  4
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                                                  5864
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                           Prior Art References




                           Stratix Handbook, at 1-6.

                           To the extent this limitation is not explicitly disclosed by the Stratix Handbook, it is inherent or
                           obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Stratix
                           so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                           the art.



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                                                  5865
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                     Prior Art References

 1(b) a first edge detector          The Stratix Handbook discloses this limitation. According to WSOU’s infringement contentions,
 configured to receive the first     multiplexers can serve as edge detectors and generate enable signals. The Stratix PLL comprises a
 input clock signal, the first       first multiplexer (first edge detector) configured to receive a first input clock signal and to detect a
 edge detector operable to           rising edge of that input clock signal to generate a first enable signal.
 detect a rising edge of the first
 input clock signal and to           See, e.g.,
 generate a first enable signal;




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                                                  5866
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Stratix Handbook, at 1-6.

                            To the extent this limitation is not explicitly disclosed by the Stratix Handbook, it is inherent or
                            obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Stratix
                            so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.



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                                                  5867
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


     ’838 Claim Language                                                  Prior Art References


 1(c) a second edge detector        The Stratix Handbook discloses this limitation. According to WSOU’s infringement contentions,
 configured to receive the          multiplexers can serve as edge detectors and generate enable signals. The Stratix PLL comprises a
 second input clock signal, the     second multiplexer (second edge detector) configured to receive a second input clock signal and to
 second edge detector operable      detect a rising edge of that input clock signal to generate a second enable signal.
 to detect the rising edge of the
 second input clock signal and      See, e.g.,
 to generate a second enable
 signal;




                                                                    8
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                                                  5868
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Stratix Handbook, at 1-6.

                            To the extent this limitation is not explicitly disclosed by the Stratix Handbook, it is inherent or
                            obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Stratix
                            so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.



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                                                  5869
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                     Prior Art References


 1(d) a first divider configured   The Stratix Handbook discloses this limitation. The Stratix PLL comprises a divider block “÷n”
 to receive the first enable       (first divider) that is configured to receive the output of the first edge detector (first enable signal)
 signal and operable to            and divide the first enable signal to generate a first adjusted enable signal based on a first
 generate a first adjusted         predetermined factor “n.”
 enable signal based on a first
 predetermined factor; and         See, e.g.,




                                   Stratix Handbook, at 1-9.




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             Case 1:20-cv-01228-CFC-JLH Document 132-1 Filed 03/10/22 Page 805 of 808 PageID #:
                                                  5870
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Stratix Handbook, at 1-6.

                            To the extent this limitation is not explicitly disclosed by the Stratix Handbook, it is inherent or
                            obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Stratix
                            so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.



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                                                  5871
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                                  Prior Art References


 1(e) a dual clock generator       The Stratix Handbook discloses this limitation. According to WSOU’s infringement contentions,
 configured to receive the first   blocks PFD to VCO make up a dual clock generator. The Stratix PLL comprises a dual clock
 adjusted enable signal and the    generator (blocks PFD to VCO) configured to receive the first adjusted enable signal and the
 second enable signal, and in      second enable signal. The PFD generates a signal proportional to the phase and frequency of the
 response operable to generate     enable signals, and produces an up or down signal to the charge pump (CP) and loop filter (LF) to
 a reference clock signal and      determine whether the voltage-controlled oscillator (VCO) should operate at a higher or lower
 transmit the reference clock      frequency. The VCO then generates a reference clock signal (CLKOUT), which is then
 signal over a single              transmitted forward over a single conductor.
 conductor.
                                   See, e.g.,




                                                                  12
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                                                  5872
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                            Prior Art References




                            Stratix Handbook, at 1-6.

                            To the extent this limitation is not explicitly disclosed by the Stratix Handbook, it is inherent or
                            obvious. Moreover, it would have been obvious to one of ordinary skill in the art to modify Stratix
                            so as to include this claim limitation in light of the knowledge possessed by one of ordinary skill in
                            the art.


                                                            13
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                                                  5873
WSOU v. Xilinx, Case No. 1:20-cv-01233-CFC-JLH                                      U.S. Patent No. 9,312,838


    ’838 Claim Language                                    Prior Art References




                                                      14
